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 Counsel for Shang Peng Gao Ke Inc. SEZC and SPGK Pte Ltd

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


In re
                                                                    Case No. 21-11854-dsj
ASCENTRA HOLDINGS, INC. (in Official
Liquidation),                                                       Chapter 15

                              Debtor in a
                              Foreign Proceeding.1


          REPLY DECLARATION OF JEFFREY M. DINE IN FURTHER SUPPORT
                    OF MOTION OF SHANG PENG GAO KE INC. SEZC
                 AND SPGK PTE LTD. PURSUANT TO 11 U.S.C. §§ 1517(d)
         AND 1520(c) FOR AN ORDER TERMINATING THE RECOGNITION ORDER

                     I, Jeffrey M. Dine, declare as follows:

                     1.        I am an attorney with the law firm of Pachulski Stang Ziehl & Jones LLP

 (“PSZJ”), with offices located at 780 Third Avenue, 34th Floor, New York, New York 10017, and

 with other offices in Texas, California, and Delaware.


 1
        The Debtor’s company registration number is 283719. The Debtor’s registered office is c/o JTC (Cayman) Ltd.,
        94 Solaris Avenue, Second Floor, Camana Bay, PO Box 30745, Grand Cayman, Cayman Islands, KY1-1203.


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                    2.       PSZJ is counsel to Shang Peng Gao Ke Inc. SEZC (“SPGK Cayman”) and

SPGK Pte Ltd (“SPGK Singapore”, and together with SPGK Cayman, “SPGK”) in the above-

captioned chapter 15 case.

                    3.       I am duly admitted to practice law in, among other places, the State of New

York and the United States District Court for the Southern District of New York.

                    4.       I submit this reply declaration in further support of the Motion of Shang

Peng Gao Ke Inc. SEZC and SPGK Pte Ltd. Pursuant to 11 U.S.C. §§ 1517(d) and 1520(c) for an

Order Terminating the Recognition Order (the “Motion”).

                    5.       A copy of the transcript of the deposition of Graham Robinson, taken

February 29, 2024, is attached as Exhibit 1.

                    6.       A copy of the JOLS’ Fourth Letter to Court re Status Report [ECF No. 82]

(December 29, 2023), is attached hereto as Exhibit 2.

                    7.       A copy of the transcript of the deposition of Alexander Gray Henderson,

taken September 28, 2023, is attached as Exhibit 3.

                    8.       A copy of the Judgment of the Court of Appeal of the Republic of Singapore

in Civil Appeal No. 23 of 2022 is attached hereto as Exhibit 4.

                    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of

the United States of America that the foregoing is true and correct.

Dated: March 14, 2023
       New York, New York
                                                           /s/ Jeffrey M. Dine
                                                           Jeffrey M. Dine




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                           EXHIBIT 1
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  GRAHAM ROBINSON· 30(b)(6)                                      February 29, 2024
  In Re Ascentra Holdings Inc.                                                 1–4
                                                        Page 1                                                 Page 3
  ·1· ·IN THE UNITED STATES BANKRUPTCY COURT                     ·1· ·A P P E A R A N C E S:
  ·2· ·FOR THE SOUTHERN DISTRICT OF NEW YORK                     ·2
                                                                 ·3· · · PILLSBURY WINTHROP SHAW PITTMAN LLP
  ·3· ·-------------------------------------x                    · · · · Attorneys for Petitioners
  ·4· ·In re                                                     ·4· · · · · ·31 West 52nd Street
  ·5· ·ASCENTRA HOLDINGS, INC. (In Official                      · · · · · · ·New York, New York 10019
                                                                 ·5
  ·6· ·Liquidation),· · · · · · · · ·Chapter 15                  · · · · BY:· HUGH M. McDONALD, ESQ.
  ·7· · · · · · · · · · · · · · · · ·Case No.21-11854(DSJ)       ·6· · · · · ·(hugh.mcdonald@pillsburylaw.com)
                                                                 · · · · · · ·JOHN A. PINTARELLI, ESQ.
  ·8
                                                                 ·7· · · · · ·(john.pintarelli@pillsburylaw.com)
  ·9· · · · · · ·Debtor in a                                     ·8
  10· · · · · · ·Foreign Proceeding.                             ·9· · · CAMPBELLS LLP
                                                                 · · · · JOLs Cayman Islands Counsel
  11· ·--------------------------------------x
                                                                 10· · · · · ·Floor 4, Willow House, Cricket Square
  12                                                             · · · · · · ·Grand Cayman KY1-9010
  13                                                             11· · · · · ·Cayman Islands
                                                                 12· · · BY:· GUY COWAN, ESQ.
  14· · · · · · · ·VIDEOTAPED 30(b)(6) DEPOSITION
                                                                 · · · · · · ·(gcowan@campbellslegal.com)
  15· · · · · · · · · · · · · · · OF                             13
  16· · · · · · · · · · ·ASCENTRA HOLDINGS, INC.                 · · · · · · ·KATIE LOGAN, ESQ.(Via Zoom)
                                                                 14· · · · · ·(klogan@campbellslegal.com)
  17· · · · ·By:· GRAHAM ROBINSON, Corporate Representative
                                                                 15
  18· · · · · · · · · · ·New York, New York                      16· · · BLAIR LEAHY KC (Via Zoom)
  19· · · · · · · · ·Thursday, February 29, 2024                 · · · · For Joint Liquidators of Ascentra Holdings
                                                                 17· · · · · · 20 Essex St. Chambers
  20
                                                                 · · · · · · · London, England, United Kingdom
  21                                                             18· · · · · · (bleahy@twentyessex.com)
  22                                                             19
                                                                 20
  23
                                                                 21
  24· ·Reported by:                                              22
  · · ·Frank J. Bas, RPR, CRR                                    23
                                                                 24
  25· ·Job No. J10806182
                                                                 25

                                                        Page 2                                                 Page 4
  ·1                                                             ·1· ·A P P E A R A N C E S:
                                                                 ·2
  ·2
                                                                 · · · · PACHULSKI STANG ZIEHL JONES LLP
  ·3· · · · · · · · · ·February 29, 2024                         ·3· · · Attorneys for SPGK Pte. Ltd.
                                                                 · · · · · · ·780 Third Avenue, 34th Floor
  ·4· · · · · · · · · ·9:38 a.m. EST                             ·4· · · · · ·New York, New York 10017
  ·5                                                             ·5· · · BY:· JOHN A. MORRIS, ESQ.
                                                                 · · · · · · ·BETH E. LEVINE, ESQ.
  ·6· · · · · Videotaped 30(b)(6) Deposition of ASCENTRA         ·6· · · · · ·JEFFREY DINE, ESQ.
  ·7· ·HOLDINGS, INC., by GRAHAM ROBINSON, Corporate             · · · · · · ·(jmorris@pszjlaw.com)
                                                                 ·7· · · · · ·(blevine@pszjlaw.com)
  ·8· ·Representative, held at the offices of Pachulski Stang    · · · · · · ·(jdine@pszjlaw.com)
  ·9· ·Ziehl & Jones, 780 Third Avenue, New York, New York,      ·8
                                                                 ·9
  10· ·before Frank J. Bas, a Registered Professional            10· · · HARNEY WESTWOOD & RIEGELS
                                                                 · · · · · · ·3rd Floor, Harbour Place
  11· ·Reporter, Certified Realtime Reporter, and Notary
                                                                 11· · · · · ·103 South Church Street
  12· ·Public of the State of New York.                          · · · · · · ·Grand Cayman
                                                                 12· · · · · ·PO Box 10240 KY1-1002
  13                                                             · · · · · · ·Cayman Islands
  14                                                             13
                                                                 · · · · BY:· CAITLIN MURDOCK, ESQ.
  15                                                             14· · · · · ·(caitlin.murdock@harneys.com)
  16                                                             15
                                                                 · · ·ALSO PRESENT:
  17                                                             16· · · DMITRY ZVONKOV, Videographer
  18                                                             · · · · RYUNOSUKE "LUKE" YOSHIDA
                                                                 17
  19                                                             18· · · (APPEARING VIA ZOOM):
                                                                 19· · · NIENKE LILLINGTON, Campbells
  20
                                                                 · · · · SUI HUNG YEUNG, Harneys
  21                                                             20· · · ALIANA DODDS, Campbells
                                                                 · · · · MINNA WU, Harneys
  22                                                             21· · · KELSEY SABINE, Harneys
  23                                                             22
                                                                 23
  24                                                             · · · · · · · · · · · · · · - o0o -
  25                                                             24
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  In Re Ascentra Holdings Inc.                                                 5–8
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  ·1· · · · · · · G. ROBINSON                           ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · THE VIDEOGRAPHER:· We are on the            ·2· · · · ·A.· ·Once.
  ·3· ·record.· Today's date is February 29,            ·3· · · · ·Q.· ·And how long ago was that?
  ·4· ·2024.· The time on the video is                  ·4· · · · ·A.· ·Good question.· I would say 2018.
  ·5· ·9:38 a.m.                                        ·5· · · · ·Q.· ·And was it in a personal capacity
  ·6· · · · This is video 1 in the deposition           ·6· ·or in a professional capacity?
  ·7· ·of Graham Robinson In Re Ascentra                ·7· · · · ·A.· ·Professional capacity.
  ·8· ·Holdings, Inc., in the U.S. Bankruptcy           ·8· · · · ·Q.· ·Was it in the United States or was
  ·9· ·Court, Southern District of New York.            ·9· ·it elsewhere?
  10· ·Case No. 21-11854(DSJ).                          10· · · · ·A.· ·In the United States.
  11· · · · This deposition is taking place at          11· · · · ·Q.· ·Okay.· So I don't know how much of
  12· ·780 Third Avenue, New York, New York.            12· ·that you remember, it's six years ago, but
  13· ·The videographer is Dmitry Zvonkov, the          13· ·really general ground rules:
  14· ·court reporter is Frank Bas, both with           14· · · · · · · I'm not here to trick you.· I'm
  15· ·Esquire.                                         15· ·going to ask you a series of questions.· It's
  16· · · · Will counsel please identify                16· ·very important that you allow me to complete
  17· ·themselves for the record.                       17· ·my question before you begin your answer.
  18· · · · MR. MORRIS:· John Morris, Pachulski         18· · · · · · · Is that fair?
  19· ·Stang Ziehl & Jones, for SPGK.                   19· · · · ·A.· ·Understood.
  20· · · · THE COURT REPORTER:· Just the main          20· · · · ·Q.· ·And it's very important for me to
  21· ·players, that's fine.                            21· ·allow you to complete your answer before I
  22· · · · MR. McDONALD:· Hugh McDonald,               22· ·begin the next question.· And if I fail to do
  23· ·Pillsbury Winthrop, for the witness,             23· ·that, will you let me know?
  24· ·Mr. Robinson.                                    24· · · · ·A.· ·Yes.
  25· · · · THE VIDEOGRAPHER:· Will the                 25· · · · ·Q.· ·If at any time I ask a question
                                              Page 6                                                Page 8
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·reporter please swear in the witness.      ·2· ·that you don't understand, will you let me
  ·3· · · · · · · · · · · ·_ _ _                        ·3· ·know that, too?
  ·4                                                    ·4· · · · ·A.· ·Okay.
  ·5· ·GRAHAM ROBINSON,                                 ·5· · · · ·Q.· ·Okay.· If you need a break at any
  ·6· ·called as a witness, having been first duly      ·6· ·time, feel free to let me know that, as long
  ·7· ·sworn by a Notary Public, was examined and       ·7· ·as a question is not pending.
  ·8· ·testified                                        ·8· · · · · · · Is that fair?
  ·9· ·as follows:                                      ·9· · · · ·A.· ·Understood.
  10· ·EXAMINATION BY                                   10· · · · ·Q.· ·Okay.
  11· ·MR. MORRIS:                                      11· · · · · · · MR. McDONALD:· John, just before we
  12· · · · ·Q.· ·Good morning, Mr. Robinson.           12· · · · ·go on, it's not his personal deposition.
  13· · · · ·A.· ·Good morning.                         13· · · · ·He's here as the foreign representative
  14· · · · ·Q.· ·My name is John Morris.· I'm an       14· · · · ·of Ascentra.· You've noticed this --
  15· ·attorney at Pachulski Stang Ziehl & Jones, and   15· · · · · · · MR. PINTARELLI:· Somebody's device
  16· ·we represent SPGK in connection with the         16· · · · ·is on so it's echoing.· Is the Zoom
  17· ·Ascentra Chapter 15 proceeding.· Thank you       17· · · · ·connected too?
  18· ·very much for coming to New York.                18· · · · · · · (Pause in proceedings.)
  19· · · · · · · Do you understand that we're here     19· · · · · · · MR. MORRIS:· I agree.· He's not
  20· ·for your deposition today?                       20· · · · ·here in his individual -- as a personal
  21· · · · ·A.· ·Yes.                                  21· · · · ·deposition.· He's here as a
  22· · · · ·Q.· ·And have you ever been deposed        22· · · · ·representative of the estate.
  23· ·before, sir?                                     23· · · · · · · MR. McDONALD:· Correct.· You've
  24· · · · ·A.· ·Yes.                                  24· · · · ·noticed this as a 30(b)(6).· And he's
  25· · · · ·Q.· ·How many times?                       25· · · · ·here as the foreign representative, as a

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  In Re Ascentra Holdings Inc.                                                9–12
                                              Page 9                                               Page 11
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·representative of the Ascentra Holdings    ·2· ·got --
  ·3· · · · ·estate.                                    ·3· · · · · · · MR. McDONALD:· Can we --
  ·4· · · · · · · THE COURT REPORTER:· Can we go off    ·4· · · · · · · MR. PINTARELLI:· Graham, it's okay
  ·5· · · · ·the record?                                ·5· · · · ·to answer.· All of the information is
  ·6· · · · · · · MR. MORRIS:· I think we should.       ·6· · · · ·public.· It's in the public filing in
  ·7· · · · · · · THE VIDEOGRAPHER:· Are we going off   ·7· · · · ·the U.S., verified petitions, so it's
  ·8· · · · ·the record?                                ·8· · · · ·okay.
  ·9· · · · · · · THE COURT REPORTER:· Yes.             ·9· · · · · · · THE WITNESS:· It's in the public
  10· · · · · · · THE VIDEOGRAPHER:· This ends          10· · · · ·filing, okay.
  11· · · · ·media 1.· We're going off the record at    11· · · · ·Q.· ·Before you answer I want to make
  12· · · · ·9:42.                                      12· ·something really clear here.
  13· · · · · · · (Pause in proceedings.)               13· · · · ·A.· ·Yes.
  14· · · · · · · THE VIDEOGRAPHER:· This begins        14· · · · ·Q.· ·So I am going to ask questions, and
  15· · · · ·media 2.· On the record at 9:46.           15· ·from time to time Mr. McDonald might object.
  16· ·BY MR. MORRIS:                                   16· · · · ·A.· ·Understood.
  17· · · · ·Q.· ·Okay.· Back on the record.            17· · · · ·Q.· ·And when he objects, sometimes he's
  18· · · · · · · Mr. Robinson, you serve as one of     18· ·objecting because he's trying to preserve the
  19· ·the joint official liquidators for an entity     19· ·record because he thinks there's something
  20· ·called Ascentra Holdings, Inc., is that          20· ·improper about the question from an
  21· ·correct?                                         21· ·evidentiary point of view.· That gives me the
  22· · · · ·A.· ·Yes.                                  22· ·opportunity to either correct the question, if
  23· · · · ·Q.· ·Okay.· When did you become a          23· ·I agree with him, or say I don't really care,
  24· ·liquidator of that entity?                       24· ·for whatever reason in my head, and you'll
  25· · · · ·A.· ·A voluntary liquidator or official    25· ·answer the question.
                                             Page 10                                               Page 12
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·liquidator?                                      ·2· · · · · · · He may also from time to time
  ·3· · · · ·Q.· ·Let's start with voluntary.           ·3· ·specifically direct you not to answer a
  ·4· · · · ·A.· ·That was the 1st of June 2021, I      ·4· ·question, and he and I will discuss why he's
  ·5· ·believe.                                         ·5· ·doing that so I understand the basis for it.
  ·6· · · · ·Q.· ·And you became the official           ·6· ·If he doesn't direct you not to answer a
  ·7· ·liquidator in September?                         ·7· ·question -- and, you know, Mr. MacDonald will
  ·8· · · · ·A.· ·17th of September 2021.               ·8· ·give you the ultimate advice -- but as a
  ·9· · · · ·Q.· ·Okay.· How did you come to be         ·9· ·general matter, if he doesn't direct you not
  10· ·the voluntary liquidator for Ascentra            10· ·to answer, you should answer the question.
  11· ·Holdings, Inc.?                                  11· ·Okay?
  12· · · · ·A.· ·I was appointed via the shareholder   12· · · · · · · MR. MORRIS:· Is that fair, Hugh?
  13· ·resolutions.                                     13· · · · · · · MR. McDONALD:· And to the extent
  14· · · · ·Q.· ·And do you recall who the             14· · · · ·that you believe that your answer may
  15· ·shareholders were?                               15· · · · ·implicate the attorney-client privilege,
  16· · · · ·A.· ·Of Ascentra Holdings?                 16· · · · ·please let us know, and then we can
  17· · · · ·Q.· ·Yes, sir.                             17· · · · ·consult.· Okay?
  18· · · · ·A.· ·I do, yes.                            18· · · · · · · MR. MORRIS:· Yes.
  19· · · · ·Q.· ·And who were they at the time that    19· · · · ·Q.· ·To be very clear, if in your head
  20· ·you were appointed?                              20· ·you think the divulging -- you know, answering
  21· · · · ·A.· ·I am slightly uncertain whether       21· ·a question will violate a duty or a law or an
  22· ·under Cayman law you would be entitled to know   22· ·obligation on your part, we'll take a break,
  23· ·who the shareholders of Ascentra are.            23· ·and you can consult with Mr. MacDonald and
  24· · · · ·Q.· ·Are you not going to tell me?         24· ·we'll figure out how to go forward.· Okay?
  25· · · · ·A.· ·I'm happy to tell you.· But I've      25· · · · ·A.· ·Okay.· Yes.

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  In Re Ascentra Holdings Inc.                                              13–16
                                             Page 13                                               Page 15
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·Q.· ·All right?                            ·2· · · · ·Q.· ·And did you have an understanding
  ·3· · · · · · · So let's go back to where I was.      ·3· ·at that time as to who Campbells represented?
  ·4· ·Do you recall who the shareholders were who      ·4· · · · ·A.· ·Yes.
  ·5· ·appointed you as the voluntary liquidator?       ·5· · · · ·Q.· ·And what was your understanding as
  ·6· · · · ·A.· ·Of Ascentra Holdings?                 ·6· ·to who Campbells represented at the time they
  ·7· · · · ·Q.· ·Yes.· Sir.                            ·7· ·approached you about the possibility of
  ·8· · · · ·A.· ·IR-P Holdings Limited.· INTL Media.   ·8· ·serving as the voluntary liquidator?
  ·9· ·And the other shareholders are Jeffrey           ·9· · · · ·A.· ·They represented, I believe, or
  10· ·Boshears.                                        10· ·acted for Marty Matthews.
  11· · · · · · · Ryan -- I can't remember Ryan's       11· · · · ·Q.· ·And who at Campbells first
  12· ·name.· It begins with K.                         12· ·approached you about this potential
  13· · · · · · · And Alex Olivia.· Or Oliva.· Oliva.   13· ·engagement?
  14· · · · ·Q.· ·Do you know who the principal was     14· · · · ·A.· ·Guy Cowan.
  15· ·of IR-P who appointed you on behalf of that      15· · · · ·Q.· ·And do you recall what Mr. Cowan
  16· ·entity?                                          16· ·told you about the potential engagement?
  17· · · · ·A.· ·The liquidator of IR-P Holdings.      17· · · · · · · MR. McDONALD:· Objection.
  18· · · · ·Q.· ·And what's that person's name?        18· · · · ·A.· ·I would say that the conversations
  19· · · · ·A.· ·That person's name is me.             19· ·I had with Guy Cowan would be privileged.
  20· · · · ·Q.· ·And when did you become the           20· · · · ·Q.· ·At the time that he approached you
  21· ·liquidator of IR-P?                              21· ·had you been appointed --
  22· · · · ·A.· ·I became the liquidator of --         22· · · · ·A.· ·No.
  23· ·voluntary liquidator of IR-P Holdings on the     23· · · · ·Q.· ·-- in any capacity?
  24· ·28th of May 2021.                                24· · · · · · · MR. McDONALD:· Let him finish the
  25· · · · ·Q.· ·And so as the liquidator of IR-P,     25· · · · ·question.
                                             Page 14                                               Page 16
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·you voted as that entity in its capacity as a    ·2· · · · · · · THE WITNESS:· Sorry.
  ·3· ·contributory to Ascentra Holdings, Inc. to       ·3· · · · ·Q.· ·At the time that he approached you
  ·4· ·appoint you as the voluntary liquidator of       ·4· ·about the possibility of serving, is it your
  ·5· ·that company, is that right?                     ·5· ·contention that there was some type of
  ·6· · · · ·A.· ·Yes.                                  ·6· ·privilege relationship?
  ·7· · · · ·Q.· ·Do you know who the principal was     ·7· · · · · · · MR. McDONALD:· John, I've given you
  ·8· ·at -- I think you said INTL?                     ·8· · · · ·a lot of latitude here.· We have
  ·9· · · · ·A.· ·(Nodding head affirmatively.)         ·9· · · · ·specific topics on the 30(b)(6).· He's
  10· · · · ·Q.· ·-- who acted to appoint you the       10· · · · ·not here, again, in his personal
  11· ·voluntary liquidator of Ascentra Holdings,       11· · · · ·capacity.· He's here as the
  12· ·Inc.?                                            12· · · · ·representative to answer questions
  13· · · · ·A.· ·I do.· That was Marty Matthews.       13· · · · ·concerning specific topics, not the
  14· · · · · · · THE COURT REPORTER:· Can you spell    14· · · · ·circumstances surrounding his
  15· · · · ·the name?                                  15· · · · ·appointment.
  16· · · · · · · THE WITNESS:· Marty.· It's Martin     16· · · · · · · MR. MORRIS:· Okay.
  17· · · · ·Matthews, but he goes as Marty.            17· · · · · · · MR. McDONALD:· I've given you a lot
  18· · · · ·M-A-R-T-Y.                                 18· · · · ·of latitude up until now, but you're
  19· · · · ·Q.· ·And how did it come to be; can you    19· · · · ·going beyond the scope of this
  20· ·recall the circumstances under which you         20· · · · ·deposition.
  21· ·became the voluntary liquidator of Ascentra      21· · · · · · · MR. MORRIS:· Okay.· Is it your
  22· ·Holdings, Inc.?· Do you recall who approached    22· · · · ·position that I'm not allowed to ask any
  23· ·you?                                             23· · · · ·questions unless they specifically
  24· · · · ·A.· ·I was approached by Campbells         24· · · · ·relate to the topics?
  25· ·attorneys in the Cayman Islands.                 25· · · · · · · MR. McDONALD:· Yes.· We have

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  In Re Ascentra Holdings Inc.                                              17–20
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  ·1· · · · · · · G. ROBINSON                   ·1· · · · · · · · · · G. ROBINSON
  ·2· ·specific enumerated topics.· We've gone ·2· ·to do any work with respect to Ascentra prior
  ·3· ·over this with the Court.· Our objection ·3· ·to the time you accepted the appointment of
  ·4· ·to four of them still stands, and we'll  ·4· ·voluntary liquidator on or about June 1, 2021?
  ·5· ·deal with them when you get to them.     ·5· · · · · · · MR. McDONALD:· Objection.
  ·6· ·But I've given you a lot of latitude.    ·6· · · · · · · Direct the witness not to answer.
  ·7· ·Again, he is not here in his individual  ·7· · · · ·Q.· ·Are you going to follow your
  ·8· ·personal capacity.                       ·8· ·counsel's       advice?
  ·9· · · · MR. MORRIS:· I appreciate that.     ·9· · · · ·A.· ·Yes.
  10· ·And I am going to tell you our position  10· · · · ·Q.· ·Did you ever do any work on behalf
  11· ·is that the 30(b)(6) topics are the      11· ·of Ascentra prior to June 1, 2021?
  12· ·topics in which he had an affirmative    12· · · · ·A.· ·No.
  13· ·obligation to educate himself.· It       13· ·DIR· ·Q.· ·Did you have any relationship with
  14· ·doesn't mean that I'm not allowed to ask 14· ·any of Ascentra's principals prior to the time
  15· ·any question.· I've never in my life     15· ·you accepted the appointment on June 1, 2021?
  16· ·heard in a 30(b)(6) deposition that I    16· · · · · · · MR. McDONALD:· Objection.
  17· ·can't ask a question.· Because otherwise 17· · · · · · · Direct the witness not to answer.
  18· ·I would have had to put in the topic     18· · · · ·Q.· ·Are you going to follow your
  19· ·"Background," how were you appointed. 19· ·counsel's advice?
  20· ·Like, I might as well have put in my     20· · · · ·A.· ·Yes.
  21· ·outline.                                 21· · · · ·Q.· ·Did your work as the voluntary
  22· · · · But that's our position.· I have    22· ·liquidator of IR-P concern Ascentra in any way
  23· ·heard your position.· I am going to ask  23· ·prior to June 1, 2021?
  24· ·my questions, and you can feel free to   24· · · · · · · MR. McDONALD:· Objection to form.
  25· ·direct him not to answer any time you    25· · · · ·A.· ·You're going to have to rephrase
                                             Page 18                                               Page 20
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·want.                                      ·2· ·that question.· It doesn't make sense.
  ·3· · · · · · · Is that fair?                         ·3· · · · ·Q.· ·Okay.· I think you mentioned -- you
  ·4· · · · · · · MR. McDONALD:· Fair.                  ·4· ·mentioned that you became the voluntary
  ·5· · · · · · · MR. MORRIS:· Okay.                    ·5· ·liquidator of IR-P on May 28, 2021.
  ·6· ·DIR· ·Q.· ·Do you recall what Mr. Cowan told     ·6· · · · ·A.· ·Okay.
  ·7· ·you initially when he approached you about the   ·7· · · · ·Q.· ·In your capacity as the voluntary
  ·8· ·possibility of serving as the voluntary          ·8· ·liquidator of that entity, did you do anything
  ·9· ·liquidator of Ascentra?                          ·9· ·that concerned Ascentra before you accepted
  10· · · · · · · MR. McDONALD:· Objection.             10· ·the appointment as Ascentra's voluntary
  11· · · · · · · Direct the witness not to answer.     11· ·liquidator?
  12· · · · ·Q.· ·Are you going to follow your          12· · · · · · · MR. McDONALD:· Objection to form.
  13· ·counsel's advice?                                13· · · · ·Q.· ·And this is where you can answer.
  14· · · · ·A.· ·Yes.                                  14· ·If you understand.· If you don't, I can try
  15· · · · ·Q.· ·Okay.· How long in advance of your    15· ·again.
  16· ·acceptance of the appointment did Mr. Cowan      16· · · · ·A.· ·No.
  17· ·approach you?                                    17· · · · ·Q.· ·Okay.· Do you know when --
  18· · · · · · · MR. McDONALD:· Objection to form.     18· ·withdrawn.
  19· · · · ·A.· ·So when -- you're asking me when I    19· · · · · · · Has Ascentra -- withdrawn.
  20· ·was first approached by Campbells prior to me    20· · · · · · · Is Ascentra a holding company?
  21· ·being appointed?                                 21· · · · · · · MR. McDONALD:· Objection to form.
  22· · · · ·Q.· ·Yes, sir.                             22· · · · · · · MR. MORRIS:· Withdrawn.
  23· · · · ·A.· ·This is from memory.· I would say     23· · · · ·Q.· ·Do you understand what a holding
  24· ·it would be in some period of time in 2020.      24· ·company is, sir?
  25· ·DIR· ·Q.· ·Okay.· Were you engaged by anybody    25· · · · ·A.· ·Yes.

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·Q.· ·What's your understanding of a        ·2· ·was conducted exclusively through the names of
  ·3· ·holding company?                                 ·3· ·the direct and indirect subsidiaries?
  ·4· · · · ·A.· ·A holding company is a, what I        ·4· · · · · · · MR. McDONALD:· Objection.
  ·5· ·would say is the top co. of a group structure,   ·5· · · · · · · I direct the witness not to answer.
  ·6· ·and underneath will be numerous entities, and    ·6· · · · · · · (Reporter requests clarification.)
  ·7· ·the shareholding flows eventually to the top     ·7· · · · ·Q.· ·Are you going to follow counsel's
  ·8· ·co.                                              ·8· ·advice?
  ·9· · · · ·Q.· ·Is it your understanding that         ·9· · · · ·A.· ·Yes.
  10· ·Ascentra was a holding company?                  10· · · · ·Q.· ·Okay.· Do you serve as a liquidator
  11· · · · ·A.· ·I considered it a holding co., yes.   11· ·for any entity that was directly or indirectly
  12· · · · ·Q.· ·And it had certain entities that it   12· ·controlled by Ascentra Holdings, Inc.?
  13· ·directly or indirectly owned that -- conducted   13· · · · ·A.· ·Yes.
  14· ·the operations of the Ascentra enterprise, is    14· · · · ·Q.· ·Can you identify each entity?
  15· ·that fair?                                       15· · · · ·A.· ·I am currently the official
  16· · · · ·A.· ·Yes.                                  16· ·liquidator of HEC International Limited.
  17· · · · ·Q.· ·Okay.· I am going to use the phrase   17· · · · · · · I was the voluntary liquidator of
  18· ·"Ascentra" to refer to the whole enterprise;     18· ·Interush (Singapore), which is now closed and
  19· ·not just Ascentra Holdings, Inc., but also to    19· ·been dissolved.
  20· ·its direct and indirect affiliates who carried   20· · · · · · · And I believe I am the liquidator
  21· ·out the operations.                              21· ·of -- at the HEC International (Taiwan)
  22· · · · · · · Is that fair?                         22· ·company.
  23· · · · ·A.· ·Yes.                                  23· · · · ·Q.· ·Did you become -- apologies.
  24· · · · ·Q.· ·And if I want to refer specifically   24· · · · · · · Was that in an official capacity or
  25· ·to the entity that filed the Chapter 15          25· ·as a voluntary liquidator?
                                             Page 22                                               Page 24
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·proceeding in New York, I'll say "Ascentra       ·2· · · · · · · MR. McDONALD:· Objection to form.
  ·3· ·Holdings, Inc."                                  ·3· · · · ·A.· ·For which entity?· Sorry.
  ·4· · · · ·A.· ·Okay.                                 ·4· · · · ·Q.· ·Fair.· Let's take them one at a
  ·5· · · · ·Q.· ·That's the distinction that I am      ·5· ·time.
  ·6· ·making.                                          ·6· · · · ·A.· ·Okay.
  ·7· · · · ·A.· ·Okay.· Yes.                           ·7· · · · ·Q.· ·I think you said HGC?
  ·8· · · · ·Q.· ·So with that distinction, do you --   ·8· · · · · · · MR. McDONALD:· HEC, I believe.
  ·9· ·is Ascentra engaged in any operations today?     ·9· · · · ·Q.· ·Did you ever serve as an official
  10· · · · ·A.· ·(No response.)                        10· ·liquidator for that entity?
  11· · · · · · · MR. MORRIS:· Withdrawn.               11· · · · ·A.· ·HEC International I was the
  12· · · · ·Q.· ·As of today is Ascentra engaged in    12· ·voluntary liquidator, and now I'm the official
  13· ·any operations other than those that are         13· ·liquidator.
  14· ·attendant to its liquidation?                    14· · · · ·Q.· ·And did that happen after you
  15· · · · · · · MR. McDONALD:· Objection to form.     15· ·became the official liquidator of Ascentra
  16· · · · ·A.· ·No.                                   16· ·Holdings, Inc. or before?
  17· · · · ·Q.· ·Okay.· Do you know when Ascentra      17· · · · ·A.· ·After.
  18· ·ceased operating as a commercial entity?         18· · · · ·Q.· ·The same question with respect to
  19· · · · · · · MR. McDONALD:· Objection to form.     19· ·Interush (Singapore).· Before --
  20· · · · ·A.· ·My understanding is early 2021.       20· · · · · · · Withdrawn.· One question at a time.
  21· ·DIR· ·Q.· ·Do you know whether Ascentra          21· · · · · · · Did you become -- did you ever
  22· ·Holdings Inc. -- withdrawn.                      22· ·become an official liquidator of Interush
  23· · · · · · · Prior to that time, do you know       23· ·(Singapore)?
  24· ·whether Ascentra Holdings, Inc. conducted        24· · · · ·A.· ·No.
  25· ·business in its own name or whether business     25· · · · ·Q.· ·Did you serve as the voluntary

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·liquidator of that entity?                       ·2· ·just identified subject to a liquidation
  ·3· · · · ·A.· ·Yes.                                  ·3· ·proceeding in the Cayman Islands?
  ·4· · · · ·Q.· ·And were you appointed voluntary      ·4· · · · ·A.· ·Yes.
  ·5· ·liquidator of that entity before or after you    ·5· · · · ·Q.· ·Which one?
  ·6· ·became the official liquidator of Ascentra       ·6· · · · ·A.· ·HEC International.
  ·7· ·Holdings, Inc.?                                  ·7· · · · ·Q.· ·And in your capacity as the
  ·8· · · · ·A.· ·After.                                ·8· ·official liquidator of that entity have you
  ·9· · · · ·Q.· ·And then I think the last one was     ·9· ·declared that entity to be solvent, insolvent
  10· ·the Taiwan entity, is that right?                10· ·or doubtful solvency?
  11· · · · ·A.· ·Correct.                              11· · · · ·A.· ·Solvent.
  12· · · · ·Q.· ·Were you ever appointed the           12· · · · ·Q.· ·Do you recall when that entity was
  13· ·official liquidator of that entity?              13· ·placed into liquidation under the court
  14· · · · ·A.· ·I'm not trying to be difficult on     14· ·supervision of the Cayman Islands?
  15· ·the question.· The Taiwanese liquidation         15· · · · ·A.· ·7th of December 2021.
  16· ·process is a very unusual and complicated one.   16· · · · · · · THE COURT REPORTER:· Can you say
  17· ·I would say it was -- it would be considered     17· · · · ·the date again?
  18· ·as like an official liquidation, is how I        18· · · · · · · THE WITNESS:· 7th of December 2021.
  19· ·would look at it.· Yes.                          19· · · · · · · MR. MORRIS:· Okay.· I am going to
  20· · · · ·Q.· ·I appreciate that.· I am going to     20· · · · ·mark as Robinson exhibit 1 the amended
  21· ·confess to having no familiarity with Taiwan     21· · · · ·notice of deposition.
  22· ·insolvency proceedings.                          22· · · · · · · (Robinson Exhibit 1, Amended Notice
  23· · · · ·A.· ·I am still struggling, yes.           23· · · · ·of Deposition of Ascentra Holdings, Inc.
  24· · · · ·Q.· ·Did that occur after you were         24· · · · ·was marked for identification.)
  25· ·appointed the official liquidator in the         25· ·BY MR. MORRIS:
                                             Page 26                                               Page 28
  ·1· · · · · · · · · · G. ROBINSON                   ·1· · · · · · · · · · G. ROBINSON
  ·2· ·Ascentra Holdings, Inc. case?                  ·2· · · · ·Q.· ·Mr. Robinson, do you have exhibit 1
  ·3· · · · ·A.· ·After.                              ·3· ·in front of you?
  ·4· · · · ·Q.· ·Did the same people who appointed ·4· · · · ·A.· ·Yes.
  ·5· ·you as the voluntary liquidator of Ascentra    ·5· · · · ·Q.· ·Okay.· Have you seen this before?
  ·6· ·Holdings, Inc. also appoint you as the         ·6· · · · ·A.· ·I believe I have, yes.
  ·7· ·voluntary liquidator of the three entities you ·7· · · · ·Q.· ·Do you know what it is?
  ·8· ·just identified?                               ·8· · · · ·A.· ·I'm reading the title.· It says
  ·9· · · · · · · MR. McDONALD:· Objection to form. ·9· ·Amended Notice of Deposition of Ascentra
  10· · · · · · · MR. MORRIS:· Withdrawn.             10· ·Holdings, Inc.
  11· · · · ·Q.· ·Did the same people and entities    11· · · · ·Q.· ·Okay.· And if you can turn to --
  12· ·that you identified earlier as having          12· ·the pages aren't numbered, but I think it's
  13· ·appointed you as the voluntary liquidator of 13· ·the third page of the document, at the bottom
  14· ·Ascentra Holdings, Inc. also appoint you as 14· ·you'll see a heading "Amended Topics" --
  15· ·the voluntary liquidator of the three entities 15· · · · ·A.· ·Yes.
  16· ·you just identified?                           16· · · · ·Q.· ·-- that go on through the rest of
  17· · · · ·A.· ·No.                                 17· ·the document.
  18· · · · ·Q.· ·Who first appointed you the         18· · · · ·A.· ·Okay.
  19· ·voluntary liquidator of International Limited? 19· · · · ·Q.· ·Have you seen those topics before?
  20· · · · · · · MR. McDONALD:· Objection to form. 20· · · · ·A.· ·Yes.
  21· · · · ·Q.· ·If you recall.                      21· · · · ·Q.· ·And when did you see them for the
  22· · · · ·A.· ·So say the question again?          22· ·first time, if you recall?
  23· · · · ·Q.· ·You know what?· It's okay.· I'm     23· · · · ·A.· ·I don't -- from memory I couldn't
  24· ·just going to move on.                         24· ·give you a specific date.· I know SPGK filed
  25· · · · · · · Are any of the three entities you   25· ·its motion to terminate the recognition at the

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·end of June 2023, so it's going to be sometime   ·2· · · · ·A.· ·Not -- no, not specific documents.
  ·3· ·after that.· And I couldn't give you a           ·3· · · · ·Q.· ·Did you speak with anybody who is
  ·4· ·specific date.· I'm sorry.                       ·4· ·or purports to be a creditor in connection
  ·5· · · · ·Q.· ·Subject to whatever objections or     ·5· ·with your preparation for today's deposition?
  ·6· ·directions you received from counsel, are you    ·6· · · · · · · MR. McDONALD:· Objection to form.
  ·7· ·otherwise prepared to answer questions on the    ·7· · · · ·A.· ·No.
  ·8· ·topics set forth in exhibit 1?                   ·8· · · · ·Q.· ·Did you speak with anybody who is
  ·9· · · · ·A.· ·Yes.                                  ·9· ·or who claims to be a contributory to Ascentra
  10· · · · ·Q.· ·Okay.· Did you do anything to         10· ·Holdings, Inc. in connection with the
  11· ·prepare for today's deposition?                  11· ·preparation of your deposition?
  12· · · · ·A.· ·I did, yes.                           12· · · · ·A.· ·No.
  13· · · · ·Q.· ·What did you do?                      13· · · · ·Q.· ·Have you spoken with anybody, with
  14· · · · ·A.· ·I met with my counsel yesterday in    14· ·any person or entity, who represents --
  15· ·New York.· And I also reviewed and kind of       15· ·withdrawn.
  16· ·refreshed my memory on past documents.· And      16· · · · · · · Going back to June 1, when you were
  17· ·specific documents would be the status reports   17· ·appointed the voluntary liquidator, and
  18· ·filed in the Chapter 15 process; the two joint   18· ·thinking about the people who appointed you or
  19· ·official liquidator reports that have been       19· ·appointed you on behalf of corporate entities,
  20· ·filed in the Cayman courts; my deposition --     20· ·have you spoken with any of those people in
  21· ·not deposition.· My declaration that I filed     21· ·connection with today's deposition?
  22· ·regarding the application for Chapter 15 back    22· · · · ·A.· ·No.
  23· ·in October 2021.                                 23· · · · ·Q.· ·What do you do for a living, sir?
  24· · · · · · · I reviewed the, our objection to      24· · · · ·A.· ·I am an insolvency practitioner.
  25· ·the motion to remove the restraint, which is     25· · · · ·Q.· ·And do you work for a company?
                                             Page 30                                               Page 32
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·dated September 23.                              ·2· · · · ·A.· ·Yes.
  ·3· · · · · · · And I also reviewed the amended       ·3· · · · ·Q.· ·What company do you work for?
  ·4· ·written statement of the claim that Ascentra     ·4· · · · ·A.· ·That is Crowe, which is C-R-O-W-E,
  ·5· ·has filed against SPGK in the Cayman courts,     ·5· ·Cayman Limited.
  ·6· ·which is dated 11th of October 2023.             ·6· · · · ·Q.· ·And do you have a role or a title
  ·7· · · · · · · And I also looked at some old         ·7· ·or a position at Crowe Cayman Limited?
  ·8· ·financial kind of Excel spreadsheet documents    ·8· · · · ·A.· ·Director.
  ·9· ·that we received from the company when we got    ·9· · · · ·Q.· ·When did you become a director at
  10· ·appointed.                                       10· ·Crowe?
  11· · · · ·Q.· ·What Excel spreadsheet documents      11· · · · ·A.· ·That was November 2019.
  12· ·are you referring to?                            12· · · · ·Q.· ·How long have you been affiliated
  13· · · · ·A.· ·These are documents that we           13· ·with Crowe?
  14· ·obtained that -- at the beginning of your        14· · · · ·A.· ·Since that date.
  15· ·appointment from Whinney, who was the account    15· · · · ·Q.· ·What does it mean to be an
  16· ·manager, that does set out a summary of          16· ·insolvency practitioner?
  17· ·creditors of Ascentra.                           17· · · · ·A.· ·How long have you got?
  18· · · · ·Q.· ·And did you rely on that Excel        18· · · · · · · What does it mean to be an
  19· ·spreadsheet to identify Ascentra Holdings,       19· ·insolvency practitioner?
  20· ·Inc.'s creditors?                                20· · · · ·Q.· ·Mm-hmm.
  21· · · · ·A.· ·It was one of the documents that      21· · · · · · · THE COURT REPORTER:· "Yes"?
  22· ·we -- we used.                                   22· ·BY MR. MORRIS:
  23· · · · ·Q.· ·Do you recall any other documents     23· · · · ·Q.· ·Yes.
  24· ·that you reviewed in connection with your        24· · · · ·A.· ·I am appointed official liquidator
  25· ·preparation for today's deposition?              25· ·or voluntary liquidator of Cayman entities. I

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·also potentially assist companies with           ·2· · · · · · · Who were you employed by before you
  ·3· ·financial matters.                               ·3· ·joined Crowe in 2019?· Can you give me -- let
  ·4· · · · ·Q.· ·And how long have you been an         ·4· ·me back up.
  ·5· ·insolvency practitioner?· When did you first     ·5· · · · · · · From 1993, give me an overview of
  ·6· ·become one?                                      ·6· ·your professional history and affiliations.
  ·7· · · · ·A.· ·Well, are you asking me when I        ·7· · · · ·A.· ·I initially worked for a company
  ·8· ·became licensed or when I -- how long have I     ·8· ·called Casson Beckman & Partners in
  ·9· ·worked in insolvency matters?                    ·9· ·Manchester.
  10· · · · ·Q.· ·We'll get to the license in a         10· · · · · · · I left them and went to PwC,
  11· ·moment.                                          11· ·PricewaterhouseCoopers.
  12· · · · ·A.· ·Okay.                                 12· · · · · · · I then left PricewaterhouseCoopers
  13· · · · ·Q.· ·When did you first start working in   13· ·and went to a company called RPG.
  14· ·the insolvency space?                            14· · · · · · · After RPGK I went to PKF.· After
  15· · · · ·A.· ·In 1993.                              15· ·PKF I went to Kroll, which is K-R-O-L-L.
  16· · · · ·Q.· ·Can you describe for me generally     16· · · · · · · I left Kroll in 2009 and went to
  17· ·your educational background?                     17· ·the Cayman Islands, where in the Cayman
  18· · · · ·A.· ·Yes.· I'm obviously English, so       18· ·Islands I worked for Robinson & Hunter until
  19· ·I've got O levels, A levels, and a degree.       19· ·2012.
  20· ·And I also have accountancy qualifications,      20· · · · · · · I then went back to the U.K. in
  21· ·but I'm not a chartered accountant.· And I       21· ·2012.· I worked for myself and I also worked
  22· ·also have an insolvency qualification, formal    22· ·for a company called BB Financial Services.
  23· ·insolvency qualification, from the U.K.          23· · · · · · · In 2014 I went back to the Cayman
  24· · · · ·Q.· ·So you're a chartered accountant?     24· ·Islands.· I then worked for Chris Johnson
  25· · · · ·A.· ·I am not a chartered accountant,      25· ·Associates up until I started work for Crowe
                                             Page 34                                               Page 36
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·no.· I have accountancy qualifications, but I    ·2· ·Cayman Limited.
  ·3· ·am not a chartered accountant.                   ·3· · · · ·Q.· ·Okay.· When did you receive your
  ·4· · · · ·Q.· ·Okay.                                 ·4· ·first appointment as an official liquidator in
  ·5· · · · · · · THE COURT REPORTER:· Did you say O    ·5· ·the Cayman Islands?
  ·6· · · · ·level and A level?                         ·6· · · · ·A.· ·That would be two thousand and --
  ·7· · · · · · · THE WITNESS:· Yes.· O level and       ·7· ·it's going to be late 2009 or early 2010.
  ·8· · · · ·then A level, yes.                         ·8· · · · ·Q.· ·Can you give me an estimate of how
  ·9· · · · ·Q.· ·And you have a license?               ·9· ·many times you've been appointed an official
  10· · · · ·A.· ·I've got a -- yes, I have a           10· ·liquidator by the Cayman courts?
  11· ·U.K. license through the Insolvency              11· · · · ·A.· ·Ten to 15.
  12· ·Practitioners Association in the U.K.            12· · · · ·Q.· ·And does that include the several
  13· · · · ·Q.· ·When did you get that?                13· ·that you have mentioned today?
  14· · · · ·A.· ·I passed my qualification in 2000.    14· · · · · · · MR. McDONALD:· Objection to form.
  15· ·I got my license in 2008.                        15· · · · ·A.· ·Yes.
  16· · · · ·Q.· ·What does one need to do to obtain    16· · · · ·Q.· ·Have you ever been appointed a
  17· ·a license?                                       17· ·liquidator in any jurisdiction other than the
  18· · · · ·A.· ·Short answer, certain amount of       18· ·United Kingdom or the Cayman Islands?
  19· ·hours worked and some exams that you need to     19· · · · ·A.· ·Well, the companies we referred to
  20· ·pass.                                            20· ·today would be Singapore and Taiwan.· No.
  21· · · · ·Q.· ·So is it fair to say that you         21· · · · ·Q.· ·Prior to this case have you ever
  22· ·worked in the insolvency space for about 15      22· ·been involved in a Chapter 15 proceeding in
  23· ·years before you obtained your license?          23· ·the United States?
  24· · · · ·A.· ·Seven and eight is 15, yes.           24· · · · ·A.· ·No.
  25· · · · ·Q.· ·Exactly.                              25· · · · ·Q.· ·I want to see if we can just make

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  GRAHAM ROBINSON· 30(b)(6)                                      February 29, 2024
  In Re Ascentra Holdings Inc.                                              37–40
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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·sure that we have an understanding of kind of    ·2· ·your understanding of what has changed?
  ·3· ·where we started earlier with respect to the     ·3· · · · ·A.· ·Basically, Mari Matthews holds her
  ·4· ·corporate organization.· And I'm going to        ·4· ·50 percent shares in a separate entity.
  ·5· ·just --                                          ·5· · · · ·Q.· ·Okay.· But she still now, instead
  ·6· · · · · · · MR. MORRIS:· Let's mark as exhibit    ·6· ·of directly, indirectly owns 50 percent of
  ·7· · · · ·2 a portion of a document that was filed   ·7· ·International Media Holdings Inc. --
  ·8· · · · ·in the Chapter 7 -- Chapter 15             ·8· ·International Media Holdings, LLC; is that
  ·9· · · · ·proceeding at Docket No. 77.· It's just    ·9· ·your understanding?
  10· · · · ·an organizational chart that I am going    10· · · · · · · MR. McDONALD:· Objection to form.
  11· · · · ·to be focused on.                          11· · · · ·A.· ·She -- she doesn't own any -- she's
  12· · · · · · · THE WITNESS:· Okay.                   12· ·not a shareholder of INTL Media anymore.· But
  13· · · · · · · (Robinson Exhibit 2, Organizational   13· ·she's a shareholder in her own right of IR-P
  14· · · · ·chart was marked for identification.)      14· ·Holdings.
  15· ·BY MR. MORRIS:                                   15· · · · ·Q.· ·Okay.
  16· · · · ·Q.· ·I am going to represent to you that   16· · · · ·A.· ·Through a separate entity to INTL.
  17· ·we actually copied this from a filing I think    17· · · · ·Q.· ·Are there any other changes that
  18· ·that originated in the Cayman Islands but that   18· ·you're aware of?
  19· ·was filed in New York.· I think it was part of   19· · · · ·A.· ·No.· That looks -- that looks okay.
  20· ·the complaint that was filed in the Cayman       20· · · · ·Q.· ·Okay.· So now, just to make sure I
  21· ·Islands.                                         21· ·understood what you said earlier, if we look
  22· · · · · · · Have you seen this organizational     22· ·at the chart, you'll see Ascentra Holdings,
  23· ·chart before?                                    23· ·Inc. is a Cayman Islands entity there; and
  24· · · · ·A.· ·Yes.                                  24· ·above that there are three shareholders, three
  25· · · · ·Q.· ·And did you personally, in your       25· ·direct shareholders:· IR-P Holdings Inc.,
                                             Page 38                                               Page 40
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·capacity as the official liquidator of           ·2· ·International Media Holdings, LLC, and then a
  ·3· ·Ascentra Holdings, Inc., authorize it to be      ·3· ·box called "Management and Related Parties."
  ·4· ·filed on behalf of that entity?                  ·4· · · · · · · Do I have that right?
  ·5· · · · · · · MR. McDONALD:· Objection to form.     ·5· · · · ·A.· ·Yes.
  ·6· · · · ·A.· ·Filed in which proceeding?            ·6· · · · ·Q.· ·And are those the people and the
  ·7· · · · ·Q.· ·In the Cayman Islands.                ·7· ·entities that appointed you as the voluntary
  ·8· · · · ·A.· ·Yes.                                  ·8· ·liquidator back in June of 2021?
  ·9· · · · ·Q.· ·And did you also authorize it to be   ·9· · · · ·A.· ·Yeah.· I was appointed through the
  10· ·filed in the Chapter 15 proceeding in            10· ·shareholder resolutions.· Yes.
  11· ·New York?                                        11· · · · ·Q.· ·Yes.· And IR-P Holdings, Inc.
  12· · · · ·A.· ·Yes.                                  12· ·(Cayman Islands), that's one that you
  13· · · · ·Q.· ·To the best of your knowledge, is     13· ·mentioned earlier is in liquidation, is that
  14· ·this corporate organizational chart accurate?    14· ·right?
  15· · · · ·A.· ·There is one error on this chart.     15· · · · ·A.· ·Yes.
  16· · · · ·Q.· ·Can you just point that out to me,    16· · · · ·Q.· ·And that's a solvent -- that's
  17· ·please?                                          17· ·subject to a solvency certificate, is that
  18· · · · ·A.· ·The -- the shareholding in IR-P for   18· ·right?
  19· ·INTL Media has changed since this document has   19· · · · · · · MR. McDONALD:· Objection to form.
  20· ·been filed.                                      20· · · · ·A.· ·Yes.
  21· · · · ·Q.· ·So I think you're referring to the    21· · · · ·Q.· ·Interush I think you said has been
  22· ·box that's below Martin Matthews and Mari        22· ·dissolved, is that right?
  23· ·Matthews, is that right?                         23· · · · ·A.· ·Interush -- sorry.· Interush
  24· · · · ·A.· ·Correct.· Yes.                        24· ·(Singapore), yes.
  25· · · · ·Q.· ·Okay.· And can you describe for me    25· · · · ·Q.· ·Yes.· Sorry for the ambiguity.· Let

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·me ask the question again.                       ·2· ·Ascentra over the years in one way, shape or
  ·3· · · · · · · Interush Singapore has been           ·3· ·form.
  ·4· ·dissolved, is that right?                        ·4· · · · ·Q.· ·On the lower left-hand corner of
  ·5· · · · ·A.· ·Yes.                                  ·5· ·this organizational chart there's four
  ·6· · · · ·Q.· ·Okay.· And HEC International          ·6· ·entities under the name Ted Sanders.
  ·7· ·Company Limited in Taiwan, that's also subject   ·7· · · · · · · Do you see that?
  ·8· ·to liquidation, correct?                         ·8· · · · ·A.· ·Yes.
  ·9· · · · ·A.· ·Yes.                                  ·9· · · · ·Q.· ·Do you have an understanding of who
  10· · · · ·Q.· ·Okay.· HEC International Limited      10· ·Mr. Sanders is?
  11· ·Cayman Islands, that's also subject to           11· · · · ·A.· ·Yes.
  12· ·judicially supervised liquidation proceedings    12· · · · ·Q.· ·What's your understanding of who
  13· ·in the Cayman Islands, right?                    13· ·Mr. Sanders is in relation to this
  14· · · · ·A.· ·Yes.                                  14· ·organizational chart?
  15· · · · ·Q.· ·And you serve as the official         15· · · · ·A.· ·Mr. Sanders was the former CFO of
  16· ·liquidator of that entity?                       16· ·Ascentra.
  17· · · · ·A.· ·Yes.                                  17· · · · ·Q.· ·Did he ever serve as a director, to
  18· · · · ·Q.· ·And that entity is also subject to    18· ·the best of your knowledge?
  19· ·a solvency certificate, correct?                 19· · · · ·A.· ·Of Ascentra?
  20· · · · · · · MR. McDONALD:· Object to the form.    20· · · · ·Q.· ·Let me ask a better question.
  21· · · · ·A.· ·Yes.                                  21· · · · · · · Do you know whether Mr. Sanders
  22· · · · ·Q.· ·I think there's a statement in        22· ·ever served as a director of Ascentra
  23· ·documents somewhere that HEC International,      23· ·Holdings, Inc.?
  24· ·Limited Singapore branch has stopped doing       24· · · · ·A.· ·No.
  25· ·business.                                        25· · · · ·Q.· ·Do you know if Mr. Sanders ever
                                             Page 42                                               Page 44
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · · · · Is my recollection about that         ·2· ·served as a director -- withdrawn.
  ·3· ·correct?                                         ·3· · · · · · · I am going to refer to the one,
  ·4· · · · · · · MR. McDONALD:· Object to the form.    ·4· ·two, three, four, five, six -- seven entities
  ·5· · · · ·A.· ·That is correct.                      ·5· ·below the Ascentra Holdings, Inc. box as
  ·6· · · · ·Q.· ·Is that entity the subject of any     ·6· ·"Ascentra's subsidiaries."
  ·7· ·liquidation proceeding or has it simply ceased   ·7· · · · · · · Is that fair?
  ·8· ·doing business?                                  ·8· · · · ·A.· ·Okay.
  ·9· · · · ·A.· ·It's not -- it's not in a             ·9· · · · ·Q.· ·Do you know whether Mr. Sanders
  10· ·liquidation process.· And that branch has been   10· ·ever served as the director of any of
  11· ·closed.                                          11· ·Ascentra's subsidiaries?
  12· · · · ·Q.· ·So am I right that all of the         12· · · · ·A.· ·From my memory, no.
  13· ·entities that are directly beneath Ascentra      13· · · · ·Q.· ·Do you know what period of time
  14· ·Holdings, Inc. Cayman Islands served as          14· ·Mr. Sanders served as the CFO of Ascentra?
  15· ·operating companies of Ascentra Holdings,        15· · · · ·A.· ·I know it was -- I don't know the
  16· ·Inc. before it ceased to do business in          16· ·exact start date.· I know he was involved from
  17· ·early 2021?                                      17· ·2018 up until his resignation in May 2021, and
  18· · · · · · · MR. McDONALD:· Objection to form.     18· ·that he could possibly be involved in the
  19· · · · ·A.· ·They -- they -- I would -- they       19· ·group before April 2018.· Sorry, I can't fully
  20· ·were part -- they were part of the group and I   20· ·recall.
  21· ·am sure at some time over the years --           21· · · · ·Q.· ·Do you know, did he serve as the
  22· · · · · · · (Reporter requests clarification.)    22· ·CFO of Ascentra Holdings, Inc.?
  23· · · · ·A.· ·Those entities underneath Ascentra    23· · · · ·A.· ·Of Ascentra.
  24· ·are part of the group, yes.· And they've all     24· · · · ·Q.· ·And when you use the phrase
  25· ·been part of the operational business of         25· ·"Ascentra" in the context of Mr. Sanders'

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·role, what do you mean?                          ·2· ·had a direct or indirect ownership interest in
  ·3· · · · · · · MR. McDONALD:· Object to the form.    ·3· ·any of the four entities under Mr. Sanders'
  ·4· · · · ·A.· ·Can you just explain the question     ·4· ·name?
  ·5· ·better for me, please?                           ·5· · · · · · · MR. McDONALD:· Objection to form.
  ·6· · · · ·Q.· ·Yes.· I'll try again.                 ·6· · · · ·A.· ·The two entities at the bottom
  ·7· · · · · · · You've got Ascentra Holdings,         ·7· ·there, AOS Property Ventures, and they
  ·8· ·Inc. and then you've got the seven               ·8· ·obviously -- it's got formerly known as
  ·9· ·subsidiaries.· Right?                            ·9· ·Interush, Inc., and then there's also Interush
  10· · · · ·A.· ·Mm-hmm.· Yes.                         10· ·International, they may have been set over the
  11· · · · ·Q.· ·Okay.· Let's take them separately.    11· ·side of the structure at one time, but I can't
  12· · · · · · · Do you know whether Mr. Sanders       12· ·recall from memory.
  13· ·ever served as the CFO of any of the seven       13· · · · ·Q.· ·Okay.· Is it fair to say that this
  14· ·subsidiaries?                                    14· ·chart doesn't depict any direct or indirect
  15· · · · · · · MR. McDONALD:· Objection to form.     15· ·relationship between any of the four entities
  16· · · · ·A.· ·In my view, Mr. Ted Sanders was the   16· ·under Mr. Sanders' names and any of the
  17· ·CFO of Ascentra group, and that included         17· ·Ascentra Holdings entities, is that fair?
  18· ·Ascentra Holdings, all the subsidiaries, and     18· · · · · · · MR. McDONALD:· Objection to form.
  19· ·also SPGK.                                       19· · · · ·A.· ·Just say that again for me, please?
  20· · · · · · · MR. McDONALD:· John, you're going     20· · · · ·Q.· ·Yeah.· I am talking specifically
  21· · · · ·way off topic here.· Can you please        21· ·now of ownership.
  22· · · · ·explain how any of this line of            22· · · · ·A.· ·Okay.
  23· · · · ·questioning relates to any of the topics   23· · · · ·Q.· ·Okay.· Do you have any reason to
  24· · · · ·that are set forth in the deposition       24· ·believe, as you sit here today, that Ascentra
  25· · · · ·notice?                                    25· ·Holdings, Inc. or any of its subsidiaries ever
                                             Page 46                                               Page 48
  ·1· · · · · · · G. ROBINSON                   ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · MR. MORRIS:· I will tell you that   ·2· ·had a direct or indirect ownership interest in
  ·3· ·it goes to, number 1, the likelihood of  ·3· ·any of the four entities under Mr. Sanders'
  ·4· ·success on the merits and the            ·4· ·name?
  ·5· ·relationship of these entities.· And     ·5· · · · · · · MR. McDONALD:· Objection; form.
  ·6· ·number 2, it's background.               ·6· · · · ·A.· ·Like I said, they might have had
  ·7· · · · And if you want to direct him not   ·7· ·some ownership of these two at one time
  ·8· ·to answer, you're free to do that at any ·8· ·previously, but I don't believe they had any
  ·9· ·time.· I don't think this stuff is       ·9· ·direct or indirect of Asian Offshore Services
  10· ·controversial, but you'll defend your    10· ·and SPGK International.
  11· ·witness as you wish.                     11· · · · ·Q.· ·And what's the basis for that
  12· · · · MR. McDONALD:· It goes to number 1, 12· ·belief?
  13· ·the certificate of solvency?             13· · · · ·A.· ·Just -- just from I know the names
  14· · · · MR. MORRIS:· No, the last four.     14· ·Interush, and I believe that they might --
  15· ·The last four questions.· Likelihood of  15· ·just from memory -- they might have been part
  16· ·success on the merits and facts relating 16· ·of a bigger group structure that Ascentra had
  17· ·thereto.                                 17· ·prior to -- prior to 2016.
  18· · · · MR. McDONALD:· Again, we're giving 18· · · · ·Q.· ·Are you aware of any facts
  19· ·you some latitude, but it's going to be  19· ·concerning either how, when or why they would
  20· ·very limited.                            20·  ·have ceased to have an ownership interest in
  21· · · · MR. MORRIS:· You'll do what you do, 21·  ·those     two entities at the bottom of the
  22· ·and I'll do what I do, and we'll do it   22· ·left-hand corner?
  23· ·respectfully.                            23· · · · · · · MR. McDONALD:· Objection to form.
  24· · · · MR. McDONALD:· Okay.                24· · · · ·A.· ·I do have a memory that they --
  25· ·Q.· ·Do you know whether Ascentra ever 25· ·that Ted could have -- Ted Sanders, sorry,

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·could have purchased those companies from        ·2· · · · ·proceeding in the Cayman Islands, and
  ·3· ·Ascentra.                                        ·3· · · · ·SPGK has answered that complaint, we
  ·4· · · · ·Q.· ·Do you have any understanding or      ·4· · · · ·have responded.· And to the extent that
  ·5· ·memory as to when that may have happened?        ·5· · · · ·there is any interrelationship between
  ·6· · · · ·A.· ·No.· I've got no memory.              ·6· · · · ·these entities, which we allege there
  ·7· · · · ·Q.· ·In the upper left-hand portion of     ·7· · · · ·is, will be dealt with in connection
  ·8· ·the document you've got Mr. Yoshida, is that     ·8· · · · ·with those proceedings.
  ·9· ·right?                                           ·9· · · · · · · MR. MORRIS:· I'm not asking if
  10· · · · ·A.· ·Yes.                                  10· · · · ·there's a relationship between the two.
  11· · · · ·Q.· ·And then below him you've got two     11· · · · ·I'm asking a very narrow question.· Let
  12· ·entities, Scuderia Bianco Limited --             12· · · · ·me just ask -- let me just ask --
  13· · · · ·A.· ·Yes.                                  13· · · · · · · MR. McDONALD:· Can you just
  14· · · · ·Q.· ·-- and Lequios Holdings?· Lequios?    14· · · · ·rephrase that question, please?
  15· · · · ·A.· ·Lequios?                              15· · · · · · · MR. MORRIS:· Yes, I appreciate
  16· · · · ·Q.· ·I'll go with your --                  16· · · · ·that.
  17· · · · ·A.· ·I'm not good at any of those fancy    17· ·BY MR. MORRIS:
  18· ·words.                                           18· · · · ·Q.· ·To the best of your knowledge, sir,
  19· · · · ·Q.· ·And then there's also a third         19· ·has Ascentra Holdings, Inc. or any of its
  20· ·entity called Growth Today Inc.                  20· ·subsidiaries ever had a direct or indirect
  21· · · · · · · Do I have that right?                 21· ·ownership interest in Growth Today Inc.?
  22· · · · ·A.· ·Yes.· I see them.                     22· · · · ·A.· ·What do you mean by "ownership
  23· · · · ·Q.· ·Okay.· Do you know if Ascentra        23· ·interest"?
  24· ·Holdings, Inc. or any of its subsidiaries ever   24· ·DIR· ·Q.· ·That they -- that they were an
  25· ·had a direct or indirect ownership interest in   25· ·owner of that entity.· That they held some
                                             Page 50                                               Page 52
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·Scuderia Bianco Limited?                         ·2· ·portion -- all or some portion of the shares.
  ·3· · · · · · · MR. McDONALD:· Objection to form.     ·3· · · · ·A.· ·Shares.
  ·4· · · · ·A.· ·No.                                   ·4· · · · · · · MR. McDONALD:· Objection.
  ·5· · · · ·Q.· ·Okay.· Do you know if Ascentra        ·5· · · · · · · I direct the witness not to answer.
  ·6· ·Holdings, Inc. or any of its subsidiaries ever   ·6· · · · · · · MR. MORRIS:· What's the basis for
  ·7· ·had a direct or indirect ownership interest in   ·7· · · · ·the direction?· Just so the record's
  ·8· ·Lequios Holdings?                                ·8· · · · ·clear.
  ·9· · · · ·A.· ·No.                                   ·9· · · · · · · MR. McDONALD:· That is a subject to
  10· · · · ·Q.· ·Do you know if Ascentra Holdings,     10· · · · ·the litigation in the Cayman Islands,
  11· ·Inc. or any of its subsidiaries ever had a       11· · · · ·and as we have stated to the Court, we
  12· ·direct or indirect ownership interest in         12· · · · ·are not litigating the Cayman proceeding
  13· ·Growth Today Inc.?                               13· · · · ·here as part of this 30(b)(6).
  14· · · · · · · MR. McDONALD:· Objection to form.     14· · · · · · · MR. MORRIS:· You've made that
  15· · · · ·A.· ·Just so I'm clear, what do you mean   15· · · · ·argument.· I just want to make my
  16· ·by "direct or indirect ownership"?               16· · · · ·record.
  17· · · · ·Q.· ·That they were -- that they held      17· · · · · · · MR. McDONALD:· I just want to be
  18· ·shares in, that they held equity, that they      18· · · · ·perfectly clear.
  19· ·were a contributory, either in their own name    19· · · · · · · MR. MORRIS:· I appreciate that.
  20· ·or through another entity or person that they    20· · · · · · · MR. McDONALD:· The
  21· ·controlled.                                      21· · · · ·interrelationship between Growth Today,
  22· · · · · · · MR. McDONALD:· I'm going to object    22· · · · ·its ultimate switch in ownership and the
  23· · · · ·and direct the witness not to answer.      23· · · · ·relationship between its prior principal
  24· · · · ·The ownership and interrelationship of     24· · · · ·and the principals of Ascentra are being
  25· · · · ·these entities is subject to the           25· · · · ·litigated in the Cayman Islands.

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  ·1· · · · · · · G. ROBINSON                   ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · MR. MORRIS:· So this is my          ·2· ·BY MR. MORRIS:
  ·3· ·opportunity -- because I want to make my ·3· ·DIR· ·Q.· ·Sir, do you know if Ascentra
  ·4· ·record, too -- this is my opportunity to ·4· ·Holdings, Inc. or any of its subsidiaries ever
  ·5· ·inquire as to the facts that relate to   ·5· ·had a contract with Growth Today Inc. or any
  ·6· ·the likelihood of success on the merits  ·6· ·of its subsidiaries?
  ·7· ·in New York.· And I appreciate your      ·7· · · · · · · MR. McDONALD:· Objection.
  ·8· ·argument, and I know you made it to the ·8· · · · · · · I direct the witness not to answer.
  ·9· ·New York court and here we are.          ·9· · · · ·Q.· ·Are you going to follow your
  10· · · · So I believe that the answer to     10· ·counsel's advice?
  11· ·this question goes to the likelihood of  11· · · · ·A.· ·Yes.
  12· ·success of the merits, which is why I am 12· · · · ·Q.· ·Do you know if Ascentra Holdings,
  13· ·asking it, to be clear.                  13· ·Inc. or any of its subsidiaries ever commenced
  14· · · · And with that, if you are going to  14· ·legal proceeding to enforce any agreement that
  15· ·direct him not to answer, we'll just     15· ·it contended it had with Growth Today or any
  16· ·move on.                                 16· ·of its subsidiaries?
  17· · · · MR. McDONALD:· I am directing him 17· · · · · · · MR. McDONALD:· Objection to form.
  18· ·not to answer.                           18· · · · ·A.· ·Just repeat the question, please?
  19· · · · MR. MORRIS:· Okay.· I am just going 19· · · · ·Q.· ·Yes, I appreciate that.· I could do
  20· ·to reserve my right, for all of the      20· ·better.
  21· ·questions that you direct him not to     21· · · · · · · Prior to the commencement of the
  22· ·answer, to either seek -- because I want 22· ·Ascentra Holdings, Inc. Cayman Islands
  23· ·to be clear -- to seek a preclusion      23· ·liquidation proceeding, are you aware of any
  24· ·order in New York from Ascentra offering 24· ·enforcement action that Ascentra Holdings,
  25· ·any evidence that would have been        25· ·Inc. or any of its subsidiaries took against
                                          Page 54                                           Page 56
  ·1· · · · · · · G. ROBINSON                   ·1· · · · · · · · · · G. ROBINSON
  ·2· ·responsive to these questions in the     ·2· ·Growth Today Inc. or any of its subsidiaries
  ·3· ·New York proceeding, or to compel        ·3· ·with respect to any contract?
  ·4· ·further deposition.                      ·4· · · · ·A.· ·No.
  ·5· · · · So those are the two things that    ·5· · · · ·Q.· ·Okay.· Thank you.
  ·6· ·I'm reserving my right for, and we'll    ·6· · · · · · · Do you know if Ascentra Holdings,
  ·7· ·just go forward.                         ·7· ·Inc., as distinguished from the subsidiaries,
  ·8· · · · MR. McDONALD:· And the judge made ·8· ·do you know if Ascentra Holdings, Inc. ever
  ·9· ·it very clear that if you're inquiring   ·9· ·provided any goods or services to Growth Today
  10· ·into the success of the Cayman           10· ·Inc. or any of Growth Today Inc.'s
  11· ·proceeding, that is privileged and that  11· ·subsidiaries?
  12· ·goes beyond the scope of this            12· · · · · · · MR. McDONALD:· Objection to form.
  13· ·deposition.· He made that crystal clear  13·  · · · ·A.· ·Just say the question again,
  14· ·at the last hearing, and we reserve our  14· ·please?
  15· ·rights as well.                          15· · · · ·Q.· ·Sure.· Do you know whether Ascentra
  16· · · · MR. MORRIS:· Okay.· I don't think   16· ·Holdings, Inc. -- withdrawn.
  17· ·he said anything about privilege.        17· · · · · · · Prior to the commencement of the
  18· · · · MR. McDONALD:· He did.              18· ·Cayman Islands liquidation proceedings do you
  19· · · · MR. MORRIS:· I don't think he said  19· ·know whether Ascentra Holdings, Inc. ever
  20· ·anything about privilege, but okay.      20· ·provided goods and services to Growth Today
  21· · · · MR. McDONALD:· John, he did.· He    21· ·Inc. or any of the three subsidiaries listed
  22· ·said if the question is basically do you 22· ·underneath it in this organizational chart?
  23· ·think you're going to win Cayman, and    23· · · · ·A.· ·And you're asking me for
  24· ·all of these are going to that, he said  24· ·specifically Ascentra Holdings, Inc., or --
  25· ·that's privileged.· He was very clear.   25· · · · ·Q.· ·Correct.


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  In Re Ascentra Holdings Inc.                                              57–60
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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·A.· ·-- or not the Ascentra group?         ·2· · · · · · · · · (Recess taken.)
  ·3· · · · ·Q.· ·Exactly.                              ·3· · · · · · · THE VIDEOGRAPHER:· This begins
  ·4· · · · · · · MR. McDONALD:· Objection to form.     ·4· · · · ·unit 3.· We're on the record at 10:56.
  ·5· · · · ·A.· ·Then the answer is no.                ·5· · · · · · · MR. MORRIS:· I am going to mark as
  ·6· ·DIR· ·Q.· ·Okay.· Do you know if Growth Today    ·6· · · · ·the next exhibit, which I think is
  ·7· ·or any of the entities beneath Growth Today      ·7· · · · ·number 3, Robinson number 3, a document
  ·8· ·ever paid money to a third party for the         ·8· · · · ·that was previously marked as Hernandez
  ·9· ·benefit of Ascentra Holdings, Inc. or any of     ·9· · · · ·exhibit 5.· And it's entitled Joint
  10· ·its subsidiaries?                                10· · · · ·Official Liquidators' Certificate.
  11· · · · · · · MR. McDONALD:· Objection.             11· · · · · · · (Robinson Exhibit 3, CWR Form
  12· · · · · · · I direct the witness not to answer.   12· · · · ·Number 13, Joint Official Liquidators'
  13· · · · · · · MR. MORRIS:· Can I ask him if he      13· · · · ·Certificate was marked for
  14· · · · ·knows the answer to the question?· I'm     14· · · · ·identification.)
  15· · · · ·going to ask him the question, and then    15· ·BY MR. MORRIS:
  16· · · · ·you can decide.                            16· · · · ·Q.· ·All right, sir.· Do you have
  17· ·DIR· ·Q.· ·Without divulging the answer to the   17· ·Robinson exhibit 3 in front of you?
  18· ·question, just yes or no, do you know whether    18· · · · ·A.· ·Yes.
  19· ·Growth Today Inc. or any of the three entities   19· · · · ·Q.· ·Okay.· Do you know what that is?
  20· ·beneath it ever paid any third party for the     20· · · · ·A.· ·Yes.
  21· ·benefit of Ascentra Holdings, Inc. or any of     21· · · · ·Q.· ·And what is this document?
  22· ·its subsidiaries?· Just yes or no.               22· · · · ·A.· ·This is the Joint Official
  23· · · · · · · MR. McDONALD:· I'm still going to     23· ·Liquidators' Certificate of Determination of
  24· · · · ·direct him not to answer.                  24· ·Solvency for Ascentra Holdings, Inc.
  25· · · · · · · MR. MORRIS:· You're not even going    25· · · · ·Q.· ·And in this document it says that
                                             Page 58                                               Page 60
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·to let me know if he knows the answer to   ·2· ·the joint official liquidators, quote, "hereby
  ·3· · · · ·the question?                              ·3· ·certify that they have determined that the
  ·4· · · · · · · MR. McDONALD:· Yes.                   ·4· ·above-named company should be treated as
  ·5· · · · · · · MR. MORRIS:· Okay.                    ·5· ·solvent."
  ·6· · · · ·Q.· ·Are you going to follow counsel's     ·6· · · · · · · Did I read that correctly?
  ·7· ·advice?                                          ·7· · · · ·A.· ·Yes.
  ·8· · · · ·A.· ·Yes.                                  ·8· · · · ·Q.· ·How did you make that
  ·9· · · · · · · MR. McDONALD:· John, when you come    ·9· ·determination?
  10· · · · ·to an appropriate point, can we take a     10· · · · ·A.· ·So when we -- when we are appointed
  11· · · · ·break?                                     11· ·official liquidators, one of our duties is to
  12· · · · · · · MR. MORRIS:· Yes.· Now would be       12· ·just analyze the books and records that we
  13· · · · ·great.                                     13· ·have in our possession.· I spoke to
  14· · · · · · · MR. McDONALD:· Is that okay?          14· ·stakeholders, management, former officers of
  15· · · · · · · MR. MORRIS:· Yes.· So we agree he's   15· ·the company.· Reviewed financial information
  16· · · · ·under oath.                                16· ·in our possession.· And we make a
  17· · · · · · · MR. McDONALD:· Yes.                   17· ·determination on whether the -- the company is
  18· · · · · · · MR. MORRIS:· No communication with    18· ·solvent.· And that's also discussed in
  19· · · · ·the witness while the deposition           19· ·consultation with our attorneys.
  20· · · · ·continues.· But I'm happy to take a        20· · · · · · · And then we make a decision that we
  21· · · · ·break.                                     21· ·should -- whether we should -- what
  22· · · · · · · MR. McDONALD:· Thank you.             22· ·determination we should file.
  23· · · · · · · MR. MORRIS:· You bet.                 23· · · · · · · And after that initial review, in
  24· · · · · · · THE VIDEOGRAPHER:· This ends          24· ·consultation, the decision was taken to file a
  25· · · · ·unit 2.· We're off the record at 10:44.    25· ·certificate of solvency.


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  In Re Ascentra Holdings Inc.                                              61–64
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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·Q.· ·You used the phrase "stakeholders."   ·2· · · · ·A.· ·No.
  ·3· · · · · · · Do you recall which stakeholders      ·3· · · · ·Q.· ·You mentioned "books and records."
  ·4· ·you communicated with with respect to the        ·4· · · · · · · Do you recall, and I appreciate
  ·5· ·decision to identify Ascentra Holdings,          ·5· ·it's been some time, do you recall what books
  ·6· ·Inc. as solvent?                                 ·6· ·and records you reviewed and relied upon to
  ·7· · · · · · · MR. McDONALD:· Objection to form.     ·7· ·reach your determination that Ascentra
  ·8· · · · ·I think there's confusion.· I think        ·8· ·Holdings, Inc. is solvent?
  ·9· · · · ·you're saying -- did you "stakeholders"    ·9· · · · ·A.· ·It would have been through
  10· · · · ·or "stockholders"?                         10· ·communication and discussions with the
  11· · · · · · · MR. MORRIS:· I heard him say          11· ·stakeholders and with the financial
  12· · · · ·"stakeholders."                            12· ·information that we were provided to --
  13· · · · · · · MR. McDONALD:· Okay.                  13· ·provided with by Whinney.
  14· · · · · · · MR. MORRIS:· Let me try again.        14· · · · ·Q.· ·Among that information, was there a
  15· · · · · · · MR. McDONALD:· It just came across    15· ·general ledger, if you recall?
  16· · · · ·as stockholders or stakeholders. I         16· · · · ·A.· ·We were aware of the -- the assets
  17· · · · ·wasn't sure which you were going with.     17· ·of the group and what pertained to the assets
  18· · · · · · · MR. MORRIS:· I'll try again.          18· ·of the Ascentra group.
  19· · · · ·Q.· ·Did you speak with any stakeholders   19· · · · ·Q.· ·Did the determination of solvency
  20· ·in connection with your determination to         20· ·take into account not just assets but
  21· ·declare Ascentra Holdings, Inc. to be solvent?   21· ·liabilities?
  22· · · · · · · MR. McDONALD:· Objection to the       22· · · · ·A.· ·Yes.
  23· · · · ·form.                                      23· · · · ·Q.· ·Is there a particular test that you
  24· · · · ·A.· ·When I say the word "stakeholder,"    24· ·utilized to determine that Ascentra Holdings,
  25· ·I am talking about numerous parties involved     25· ·Inc. is solvent?
                                             Page 62                                               Page 64
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·in the affairs of the company.                   ·2· · · · · · · MR. McDONALD:· Objection to form.
  ·3· · · · ·Q.· ·Okay.· Can you identify those         ·3· · · · ·A.· ·There is no -- there is no specific
  ·4· ·parties who were involved in the affairs of      ·4· ·test that official liquidators undertake when
  ·5· ·the company?                                     ·5· ·he's determining solvency.· It's the joint
  ·6· · · · ·A.· ·That I spoke to?                      ·6· ·official liquidators' opinion.
  ·7· · · · ·Q.· ·Yes.                                  ·7· · · · ·Q.· ·Do you know whether Ascentra
  ·8· · · · ·A.· ·On the process, okay.· Yes.           ·8· ·Holdings, Inc. maintained financial statements
  ·9· · · · · · · That would be employees of the        ·9· ·for itself and its subsidiaries?
  10· ·group.· It would have been Ted Sanders.· It      10· · · · ·A.· ·Yes.· There are -- there are.· Yep.
  11· ·was also, I believe, from memory, that I also    11· · · · ·Q.· ·And would those financial
  12· ·had communications with Luke Ryu.· Marty         12· ·statements include balance sheets?
  13· ·Matthews.· And that would be it.                 13· · · · · · · MR. McDONALD:· Object to the form.
  14· · · · · · · Did I say staff?                      14· · · · ·A.· ·Yes.
  15· · · · ·Q.· ·You said employees.                   15· · · · ·Q.· ·What other financial statements are
  16· · · · ·A.· ·Employees, okay.· Yes.                16· ·you -- do you have in mind when you think back
  17· · · · ·Q.· ·Do you remember the names of any of   17· ·to what you reviewed in connection with this
  18· ·the employees?                                   18· ·analysis?
  19· · · · ·A.· ·Communication on that would have      19· · · · ·A.· ·Yeah, okay.
  20· ·been with Whinney.                               20· · · · · · · MR. McDONALD:· Let him finish the
  21· · · · ·Q.· ·Okay.· Out of the people that you     21· · · · ·question.
  22· ·just identified, did any of them disagree with   22· · · · ·A.· ·Say the question again?· Sorry.
  23· ·the determination that you ultimately made       23· · · · ·Q.· ·Okay.· Did you review financial
  24· ·that Ascentra Holdings, Inc. is solvent?         24· ·statements in connection with your analysis of
  25· · · · · · · MR. McDONALD:· Objection to form.     25· ·solvency?


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  In Re Ascentra Holdings Inc.                                              65–68
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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·A.· ·So when we got -- when we appointed   ·2· · · · ·Q.· ·Okay.· In your review of the
  ·3· ·and we were reviewing the books and records in   ·3· ·records did you see anything that would have
  ·4· ·our possession -- so when you say "financial     ·4· ·reflected any disagreement between Ascentra
  ·5· ·statements," there were no audited statements    ·5· ·Holdings, Inc. and the last outside auditor
  ·6· ·for the recent period leading up to the          ·6· ·that it did have?
  ·7· ·liquidation.· There were management accounts     ·7· · · · · · · MR. McDONALD:· Objection to form.
  ·8· ·and financial summaries and bank statements      ·8· · · · ·A.· ·I can't from memory remember if
  ·9· ·and Excel spreadsheets showing balances at       ·9· ·there was any statements in the last signed
  10· ·bank and assets and stuff that is very basic.    10· ·audited statements from the auditor
  11· ·It wasn't complicated.· It was easy to look      11· ·questioning anything, how the accounts were --
  12· ·at, easy to assess.· And we deemed, after        12· ·were shown.
  13· ·reviewing those kind of financials, that the     13· · · · ·Q.· ·Okay.· And I think you testified
  14· ·company -- that Ascentra should be deemed        14· ·that your recollection is the last audited
  15· ·solvent.                                         15· ·financial statements were for either 2018 or
  16· · · · ·Q.· ·Thank you very much.                  16· ·2019.
  17· · · · · · · Do you recall whether Ascentra        17· · · · · · · Do I have that right?
  18· ·Holdings, Inc. reported their financial          18· · · · · · · MR. McDONALD:· Objection.
  19· ·statements on a consolidated basis with their    19· · · · ·Q.· ·Or was it '17 and '18?
  20· ·subsidiaries?                                    20· · · · ·A.· ·You're talking about --
  21· · · · · · · MR. McDONALD:· Objection to form.     21· · · · ·Q.· ·Audited.
  22· · · · ·A.· ·We have seen draft financial          22· · · · ·A.· ·-- today?
  23· ·statements and previous signed financial         23· · · · ·Q.· ·Mm-hmm.
  24· ·statements where the accounts are                24· · · · ·A.· ·Yeah, probably seven -- maybe 2017.
  25· ·consolidated, yes.                               25· · · · ·Q.· ·Are you aware of any reason why
                                             Page 66                                               Page 68
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·Q.· ·Do you know the last period for       ·2· ·audited financial statements were not
  ·3· ·which Ascentra Holdings, Inc. received audited   ·3· ·completed for any period after the last one?
  ·4· ·financial statements?                            ·4· · · · ·A.· ·I would say from the financials it
  ·5· · · · ·A.· ·I'm not a hundred percent, but I      ·5· ·would be how -- how the account should be
  ·6· ·think it could be either 2017 maybe or 2018.     ·6· ·recorded, and all the parties involved, how
  ·7· ·But that's from memory.· Sorry.                  ·7· ·they wanted the account to be shown.
  ·8· · · · ·Q.· ·Do you recall if Ascentra Holdings,   ·8· · · · ·Q.· ·Okay.· I think you said you are an
  ·9· ·Inc. prepared its financial statements on a      ·9· ·accountant, is that right?
  10· ·calendar-year basis, or was there some other     10· · · · ·A.· ·I have accountant qualifications.
  11· ·time period that they utilized?· Or              11· · · · ·Q.· ·Do you know whether Ascentra's
  12· ·year-basis, fiscal year?                         12· ·books and records were maintained under GAAP
  13· · · · ·A.· ·Again, from memory I think the        13· ·accounting or, I guess, IFRS?
  14· ·financial year-end was December, but I           14· · · · ·A.· ·I do not know.
  15· ·don't -- I don't fully recall.· I'm sorry.       15· · · · ·Q.· ·You don't know.
  16· · · · ·Q.· ·Do you remember the name of           16· · · · · · · MR. McDONALD:· John, just to be
  17· ·Ascentra's outside auditors for the period of    17· · · · ·clear, when you say "Ascentra" you mean
  18· ·time that audited financial statements were      18· · · · ·Ascentra Holdings or Ascentra group?
  19· ·completed?                                       19· · · · · · · MR. MORRIS:· I appreciate that.
  20· · · · ·A.· ·I don't recall the name, no.          20· · · · ·Ascentra Holdings, Inc.· Yes.
  21· · · · ·Q.· ·In your capacity as Ascentra's        21· · · · · · · MR. McDONALD:· Okay.
  22· ·joint official liquidator did you ever speak     22· · · · ·Q.· ·And the same question then for any
  23· ·with Ascentra's outside auditors?                23· ·of the subsidiaries.
  24· · · · ·A.· ·There were no outside auditors        24· · · · · · · Do you know if --
  25· ·appointed at the time of my appointment.         25· · · · · · · MR. McDONALD:· Ascentra group.· You


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  In Re Ascentra Holdings Inc.                                              69–72
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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·distinguished between Ascentra and         ·2· · · · ·identification.)
  ·3· · · · ·Ascentra Holdings.· So just to be          ·3· · · · ·Q.· ·Mr. Robinson, do you see this is a
  ·4· · · · ·precise.                                   ·4· ·declaration that was submitted to the Court in
  ·5· · · · · · · MR. MORRIS:· Okay.                    ·5· ·New York back in October 2021?
  ·6· · · · ·Q.· ·You have never withdrawn the          ·6· · · · ·A.· ·Yes.
  ·7· ·certificate that's been marked as Robinson       ·7· · · · ·Q.· ·Okay.· And do you recall this
  ·8· ·exhibit 3, correct?                              ·8· ·particular declaration?
  ·9· · · · ·A.· ·Correct.                              ·9· · · · ·A.· ·Yes.
  10· · · · ·Q.· ·Okay.· As an experienced and          10· · · · ·Q.· ·And do you recall reviewing it
  11· ·licensed insolvency practitioner, can you        11· ·before it was filed with the court?
  12· ·share with me your understanding of the          12· · · · ·A.· ·Yes.
  13· ·circumstances that would require you to either   13· · · · ·Q.· ·And did you have an opportunity to
  14· ·withdraw or amend this certificate?              14· ·make comments and changes to the declaration?
  15· · · · · · · MR. McDONALD:· To the extent you      15· · · · ·A.· ·I did, yes.
  16· · · · ·can answer that without divulging          16· · · · ·Q.· ·Okay.· Let's go to paragraph 18.
  17· · · · ·attorney-client privilege, please          17· ·And if you could just read that to yourself
  18· · · · ·answer.                                    18· ·for the moment.
  19· · · · ·A.· ·Just say the question again?          19· · · · · · · (The witness complied.)
  20· ·Sorry.                                           20· · · · ·A.· ·Okay.
  21· · · · ·Q.· ·Just as a Cayman Islands insolvency   21· · · · ·Q.· ·Was it your understanding at the
  22· ·practitioner can you tell me your                22· ·time you signed this that that statement was
  23· ·understanding of the circumstances that would    23· ·true and accurate?
  24· ·require you to withdraw, amend or modify the     24· · · · ·A.· ·Yes.
  25· ·certificate?                                     25· · · · ·Q.· ·Do you believe it's true and
                                             Page 70                                               Page 72
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·A.· ·This is a general question, not       ·2· ·accurate today?
  ·3· ·related to Ascentra?                             ·3· · · · ·A.· ·Yes.
  ·4· · · · ·Q.· ·Correct.                              ·4· · · · ·Q.· ·Just one little wrinkle here.
  ·5· · · · ·A.· ·That would be, as an officer of the   ·5· · · · · · · It's a statement that's made as of
  ·6· ·court and you've got a duty to monitor the       ·6· ·December 31, 2021, but the document is
  ·7· ·solvency during a lifecycle of the               ·7· ·prepared in October 2021.
  ·8· ·liquidation, you would look and check            ·8· · · · · · · Is this kind of a forward-looking
  ·9· ·constantly on asset values and liability         ·9· ·statement?
  10· ·values.· And if those change.                    10· · · · ·A.· ·Yeah, I would say that we probably
  11· · · · ·Q.· ·So is it fair to say that they        11· ·forecast what expenses were likely to incur up
  12· ·haven't changed in a manner in which it caused   12· ·to the end of the year, yes.
  13· ·you to withdraw the solvency certificate?        13· · · · ·Q.· ·Was it also true as of the date you
  14· · · · · · · MR. McDONALD:· Objection to form.     14· ·filed the application in the Cayman Islands
  15· · · · ·A.· ·Since I filed this in September       15· ·court for supervision of the liquidation; was
  16· ·2021 there's nothing that's come into my         16· ·this statement true at that time as well?
  17· ·possession or been filed by the parties that     17· · · · · · · MR. McDONALD:· Objection to form.
  18· ·has made me determine my solvency                18· · · · · · · MR. MORRIS:· Withdrawn.
  19· ·determination should change.                     19· · · · ·Q.· ·The liquidation was commenced
  20· · · · ·Q.· ·Okay, thank you.                      20· ·officially in --
  21· · · · · · · MR. MORRIS:· We'll mark as the next   21· · · · ·A.· ·17th of September.
  22· · · · ·exhibit, it will be Robinson number 4.     22· · · · ·Q.· ·September 17th.
  23· · · · ·It's one of your earlier declarations.     23· · · · · · · If we changed "December 31, 2021"
  24· · · · · · · (Robinson Exhibit 4, Declaration of   24· ·to September 17, 2021, would the statement in
  25· · · · ·Graham Robinson was marked for             25· ·paragraph 18 be accurate?


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  GRAHAM ROBINSON· 30(b)(6)                                      February 29, 2024
  In Re Ascentra Holdings Inc.                                              73–76
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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·A.· ·Accurate in what way?                 ·2· · · · ·A.· ·That's a difficult question to
  ·3· · · · ·Q.· ·Would there be any modification to    ·3· ·answer because what I think you're asking me
  ·4· ·this statement if you just took it and turned    ·4· ·is did other creditors come about after the
  ·5· ·it back, you know, ten weeks, to the date of     ·5· ·31st of December 2021 that weren't potentially
  ·6· ·commencement?                                    ·6· ·contingent at that time or I was totally
  ·7· · · · ·A.· ·So -- okay.· So you're saying         ·7· ·unaware of at that time.
  ·8· ·Ascentra's main liabilities as of 17th of        ·8· · · · · · · I can't recall.· Because as part of
  ·9· ·September, 2021, basically?                      ·9· ·the liquidation process, I've been dealing
  10· · · · ·Q.· ·Correct.· Mm-hmm.                     10· ·with creditor -- previous creditors and
  11· · · · ·A.· ·Yes.                                  11· ·potential creditors through the whole
  12· · · · ·Q.· ·Okay.· And when you use the term      12· ·liquidation process.
  13· ·"main liabilities" there, are you aware of       13· · · · ·Q.· ·Go back to exhibit 1, which was the
  14· ·any liabilities that Ascentra had as of          14· ·30(b)(6) notice.· And if you can turn I think
  15· ·September 17, 2021 other than the costs that     15· ·to the third page, at the bottom it says
  16· ·were going to be incurred by the liquidators     16· ·"Amended Topics."
  17· ·and certain ordinary course operating            17· · · · ·A.· ·Okay.
  18· ·expenses?· Were there any other liabilities      18· · · · ·Q.· ·And 2(a) asks about the number of
  19· ·that you can recall?                             19· ·creditors existing as of the date of
  20· · · · ·A.· ·At the time, are you talking about    20· ·commencement.
  21· ·17th of September, or are you talking about      21· · · · · · · Let me just modify that a tiny bit,
  22· ·the day of this declaration?                     22· ·in light of what you just said.
  23· · · · ·Q.· ·September 17.                         23· · · · · · · Do you recall whether Ascentra had
  24· · · · ·A.· ·Okay.· So just state the question     24· ·any non -- any creditors who held
  25· ·again, please?                                   25· ·non-contingent claims, right, who you agree
                                             Page 74                                               Page 76
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·Q.· ·Sure.· When you use the phrase        ·2· ·they had a claim, as of the date of
  ·3· ·"main liabilities" -- actually, let's do this    ·3· ·commencement?· Did they have any such
  ·4· ·in pieces.                                       ·4· ·creditors?
  ·5· · · · · · · Are you aware of any other -- any     ·5· · · · · · · MR. McDONALD:· Objection to form.
  ·6· ·liabilities as of December 31, 2021 other than   ·6· · · · ·A.· ·Yes.
  ·7· ·the costs incurred by the liquidators and        ·7· · · · ·Q.· ·Okay.· Do you recall how many
  ·8· ·certain ordinary course operating expenses for   ·8· ·creditors they had that fell into that very
  ·9· ·storage and maintenance of Ascentra's            ·9· ·specific category of non-contingent claims?
  10· ·information?                                     10· · · · · · · MR. McDONALD:· Objection to form.
  11· · · · ·A.· ·I think the key sentence there        11· · · · ·A.· ·I struggle for the exact number,
  12· ·would be "Ascentra may have other contingent     12· ·but you are looking, I would say, at ten, 12.
  13· ·liabilities that my team and are I               13· ·Ten to 12, maybe.
  14· ·investigating."                                  14· · · · ·Q.· ·Okay.· So to the best of your
  15· · · · ·Q.· ·Okay.· I appreciate that and I want   15· ·recollection, on the date of commencement
  16· ·to separate, you know, stuff that may be         16· ·Ascentra Holdings, Inc. had approximately ten
  17· ·subject to investigation from what you knew,     17· ·to 12 creditors who held undisputed claims, is
  18· ·what was -- you know, what was on the books      18· ·that fair?
  19· ·and records, what you knew at the time.· Okay?   19· · · · ·A.· ·Exactly the day of appointment you
  20· · · · · · · So with that distinction, were        20· ·don't know if they're going to be -- if they
  21· ·there any liabilities that you're aware of       21· ·may be still disputed until you've reviewed.
  22· ·that existed as of the end of 2021 other than    22· ·So ...
  23· ·the ones that are described here?                23· · · · ·Q.· ·So when you referred to the ten or
  24· · · · · · · Any non-contingent liabilities.       24· ·12, were those ten or 12 disputed claims,
  25· ·How about that?                                  25· ·undisputed claims or a mix?

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·A.· ·We were provided with that list       ·2· · · · · · · MR. MORRIS:· Withdrawn.
  ·3· ·when we got appointed, and then we reviewed      ·3· · · · ·Q.· ·What was the biggest claim?
  ·4· ·and analyzed it, and if they were not            ·4· · · · · · · MR. McDONALD:· Objection to form.
  ·5· ·disputed, they would have been paid.             ·5· · · · ·A.· ·If you exclude the monies that are
  ·6· · · · ·Q.· ·Okay.· And as a total group, how      ·6· ·due to the members on the commissions, the
  ·7· ·many disputed, undisputed or contingent claims   ·7· ·biggest creditor claim was -- for a service
  ·8· ·existed, to the best of your knowledge, on the   ·8· ·provider was approximately 3.9 million.
  ·9· ·date of commencement?                            ·9· · · · ·Q.· ·Do you know whether under the
  10· · · · · · · MR. McDONALD:· Objection to form.     10· ·Cayman Companies Act a solvent entity
  11· · · · ·A.· ·Again, you don't know which ones      11· ·liquidating under court supervision is
  12· ·are disputed when you get appointed.             12· ·required to pay creditors within 12 months?
  13· · · · ·Q.· ·And that's why I am trying to say I   13· · · · · · · MR. McDONALD:· Objection to form.
  14· ·don't really care whether it's disputed or       14· · · · ·A.· ·Sorry, say again.
  15· ·undisputed or contingent.                        15· · · · ·Q.· ·Do you know whether under the
  16· · · · · · · How many claims existed, to the       16· ·Cayman Companies Act a solvent entity
  17· ·best of your knowledge, on the commencement      17· ·operating under court supervision is required
  18· ·date, irrespective of whether they were          18· ·to pay its debts within 12 months?
  19· ·contingent or disputed claims?                   19· · · · · · · MR. McDONALD:· Objection to form.
  20· · · · ·A.· ·So on top of the ten to 12 is --      20· · · · ·Q.· ·You can answer.
  21· · · · ·Q.· ·Mm-hmm.                               21· · · · ·A.· ·Under court supervision, no.
  22· · · · ·A.· ·I would say maybe another ten.        22· · · · ·Q.· ·Is that a rule that applies outside
  23· · · · ·Q.· ·Okay.· So somewhere between 20 and    23· ·of court?
  24· ·22 claims in total, which included undisputed    24· · · · · · · MR. McDONALD:· Objection to form.
  25· ·claims, disputed claims and contingent claims.   25· · · · ·A.· ·For a voluntary liquidation --
                                             Page 78                                               Page 80
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · · · · Is that fair?                         ·2· ·well, a director, if he signs a declaration of
  ·3· · · · · · · MR. McDONALD:· Objection to form.     ·3· ·solvency, he's swearing in the declaration
  ·4· · · · ·A.· ·I would say okay, yes.                ·4· ·that all the debts of the company will be paid
  ·5· · · · ·Q.· ·Do you know the aggregate value of    ·5· ·off in full within 12 months.
  ·6· ·those claims?                                    ·6· · · · ·Q.· ·That's what I am asking.
  ·7· · · · · · · MR. McDONALD:· Objection to form.     ·7· · · · · · · Did that happen in this case?
  ·8· · · · ·A.· ·Which -- do you want to break it      ·8· · · · ·A.· ·No.
  ·9· ·down?                                            ·9· · · · ·Q.· ·So which debts were not paid in
  10· · · · ·Q.· ·Sure.                                 10· ·full within 12 months?
  11· · · · ·A.· ·Are you asking for the full amount?   11· · · · · · · MR. McDONALD:· Objection to form.
  12· · · · ·Q.· ·Let's start with the full amount.     12· · · · ·A.· ·Within 12 -- in the first 12
  13· · · · · · · MR. MORRIS:· Withdrawn.· Let me ask   13· ·months?
  14· · · · ·a different question.                      14· · · · ·Q.· ·Mm-hmm.
  15· · · · ·Q.· ·As of the commencement date, what     15· · · · ·A.· ·I don't know from memory.· As I
  16· ·did Ascentra's books and records show as their   16· ·said, there's no requirement for debts to be
  17· ·obligations owing to creditors?                  17· ·paid, all creditors to be paid in 12 months.
  18· · · · · · · MR. McDONALD:· Objection to form.     18· · · · · · · Like I said before, and I'll repeat
  19· · · · ·A.· ·I think from memory it was over       19· ·again, we've been dealing with creditors for
  20· ·20 million U.S. dollars.· That is for            20· ·the full -- through the whole liquidation
  21· ·creditors and other potential creditors.         21· ·process, and some have been paid, some have
  22· · · · ·Q.· ·Right.· And was there any creditor,   22· ·been agreed and paid, and we have probably
  23· ·to the best of your recollection, who held a     23· ·some creditors that we have not verified and
  24· ·claim, whether it was disputed or not, that      24· ·paid.
  25· ·was more than a million dollars?                 25· · · · ·Q.· ·Has Ascentra paid all creditors in


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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·full who hold undisputed claims?                 ·2· · · · ·read back.)
  ·3· · · · · · · MR. McDONALD:· Objection to form.     ·3· · · · ·A.· ·Seven separate entities.
  ·4· · · · ·A.· ·Yes.                                  ·4· · · · ·Q.· ·Okay.· So is it fair to say that
  ·5· · · · ·Q.· ·And is the only reason the            ·5· ·Ascentra Holdings, Inc. has paid all creditors
  ·6· ·remaining creditors haven't been paid in full    ·6· ·in full except for the seven entities who hold
  ·7· ·is because there's a dispute as to either the    ·7· ·one disputed claim each?
  ·8· ·validity or the amount of their claim?           ·8· · · · · · · MR. McDONALD:· Objection to form.
  ·9· · · · · · · MR. McDONALD:· Objection to form.     ·9· · · · ·A.· ·Yes.
  10· · · · ·A.· ·Yes, the verification -- I would      10· ·DIR· ·Q.· ·Does the Ascentra Holdings estate
  11· ·say that the verification -- sorry.· The         11· ·have sufficient assets to pay those disputed
  12· ·verification of the process of agreeing the      12· ·claims in full if the holders of those claims
  13· ·claims is still ongoing.                         13· ·prevail on their position that their claims
  14· · · · ·Q.· ·How many claims are subject to        14· ·are valid?
  15· ·dispute today?                                   15· · · · · · · MR. McDONALD:· We're getting into
  16· · · · ·A.· ·Seven.                                16· · · · ·the -- that line, and I'm going to
  17· · · · ·Q.· ·Are those seven claims held by        17· · · · ·object and direct the witness not to
  18· ·seven different people and entities, or does     18· · · · ·answer.
  19· ·one or more entity own one or more of those      19· · · · · · · MR. MORRIS:· I just want to be
  20· ·disputed claims?                                 20· · · · ·really clear.· I'm just asking for a
  21· · · · · · · MR. McDONALD:· John, just to          21· · · · ·yes-or-no answer here.
  22· · · · ·interject.· There are reports filed with   22· ·DIR· ·Q.· ·Does the state -- does the estate
  23· · · · ·the Cayman court, and we're kind of        23· ·have the sufficient assets to satisfy those
  24· · · · ·cutting close to a line here.              24· ·contingent claims if they are ultimately
  25· · · · · · · To the extent generally you can       25· ·deemed to be valid in the amounts that the
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  ·1· · · · · · · G. ROBINSON                   ·1· · · · · · · · · · G. ROBINSON
  ·2· ·answer.                                  ·2· ·claim-holders contend?
  ·3· · · · But the court has sealed these      ·3· · · · · · · MR. McDONALD:· Again I'm going to
  ·4· ·reports, and they remain subject to      ·4· · · · ·object and direct the witness not to
  ·5· ·court seal.· So I'm just trying to keep  ·5· · · · ·answer.
  ·6· ·that in mind here so that the witness    ·6· · · · ·Q.· ·Are you going to follow counsel's
  ·7· ·isn't divulging information that is      ·7· ·advice?
  ·8· ·currently subject to a court order under ·8· · · · ·A.· ·Yes.
  ·9· ·seal.                                    ·9· · · · ·Q.· ·Okay.
  10· · · · MR. MORRIS:· Okay.· I appreciate    10· · · · · · · MR. McDONALD:· And, again, the
  11· ·that --                                  11· · · · ·basis of that is that it's requesting
  12· · · · MR. McDONALD:· In generality, yes.  12· · · · ·information that is currently under seal
  13· · · · MR. MORRIS:· I have no knowledge of 13· · · · ·with the Cayman court by court order.
  14· ·any of that.· And you'll instruct him    14· ·REQ· · · · MR. MORRIS:· I would request a copy
  15· ·not to answer if you think it's your     15· · · · ·of that court order in due course.
  16· ·responsibility to do that.               16· ·BY MR. MORRIS:
  17· · · · MR. McDONALD:· Right.· I just       17· ·DIR· ·Q.· ·Can you tell me the aggregate value
  18· ·wanted to make you aware of that, and    18· ·of the claims that are being asserted against
  19· ·that may be an objection or a direction  19· ·the Ascentra Holdings, Inc. entity by the
  20· ·at some point.                           20· ·seven claim-holders?
  21· · · · MR. MORRIS:· Okay.                  21· · · · · · · MR. McDONALD:· Again I am going to
  22· · · · MR. McDONALD:· Okay?                22· · · · ·object and direct the witness not to
  23· · · · MR. MORRIS:· Can we have the        23· · · · ·answer.
  24· ·question read back, please?              24· · · · · · · MR. MORRIS:· And is that also
  25· · · · (Requested portion of the record    25· · · · ·because there's a court order that would


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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·preclude him from answering?               ·2· ·reports, and that court report is sealed.
  ·3· · · · · · · MR. McDONALD:· There's a court        ·3· · · · ·Q.· ·So I want to be really clear what I
  ·4· · · · ·order that has sealed that information     ·4· ·am asking here.
  ·5· · · · ·that is contained in a report, yes.· It    ·5· · · · · · · Do you understand what a reserve
  ·6· · · · ·would be requiring him to divulge          ·6· ·is?
  ·7· · · · ·information that is currently under        ·7· · · · ·A.· ·In what way?
  ·8· · · · ·seal.· And we will happily send you that   ·8· · · · ·Q.· ·Has Ascentra Holdings, Inc. set
  ·9· · · · ·order.                                     ·9· ·money aside for the specific purpose of
  10· · · · · · · MR. MORRIS:· Okay.                    10· ·satisfying these disputed claims at some point
  11· ·BY MR. MORRIS:                                   11· ·in the future?· Just yes or no.
  12· ·DIR· ·Q.· ·Can you identify for me the holders   12· · · · ·A.· ·I'm going to refer you to my last
  13· ·of the seven disputed claims?                    13· ·answer.
  14· · · · · · · MR. McDONALD:· Objection.             14· · · · ·Q.· ·Are you going to refuse to answer
  15· · · · · · · I direct the witness not to answer.   15· ·that question?
  16· · · · ·Q.· ·Are you going to follow counsel's     16· · · · ·A.· ·I can't answer that question
  17· ·advice?                                          17· ·because it's based in the reports and those
  18· · · · ·A.· ·Yes.                                  18· ·reports are sealed.
  19· · · · ·Q.· ·Can you tell me the value of any of   19· · · · · · · So I'm not refusing to answer the
  20· ·the disputed claims?                             20· ·question.
  21· · · · · · · MR. McDONALD:· I think that's been    21· · · · ·Q.· ·You believe you have an obligation
  22· · · · ·answered already.                          22· ·not to disclose whether or not a reserve has
  23· · · · · · · MR. MORRIS:· If you are objecting     23· ·been established.
  24· · · · ·as asked and answered, that's fine. I      24· · · · · · · Do I understand that correctly?
  25· · · · ·don't believe it was.· So I'll ask for     25· · · · ·A.· ·I'm an officer of the court in the
                                             Page 86                                               Page 88
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·an answer.                                 ·2· ·Cayman Islands.· My report's been filed with
  ·3· · · · ·A.· ·I believe I've answered that          ·3· ·the court, and the court has sealed it.· I'm
  ·4· ·question.                                        ·4· ·an officer of the court.· I follow what the
  ·5· · · · ·Q.· ·Okay.· Can you tell me again?         ·5· ·court has done.
  ·6· · · · ·A.· ·3.9 million.                          ·6· · · · ·Q.· ·Okay.· I just wanted to make sure.
  ·7· · · · ·Q.· ·Oh, I -- so that's the answer to      ·7· · · · · · · Certain persons and entities have
  ·8· ·the question of the largest claim, right?        ·8· ·made claims in the liquidation by way of proof
  ·9· ·That's what I understood.                        ·9· ·of debt, is that right?
  10· · · · ·A.· ·Yeah.                                 10· · · · · · · MR. McDONALD:· Objection to form.
  11· · · · ·Q.· ·Okay.· Is that a disputed claim or    11· · · · ·A.· ·Yes.
  12· ·an undisputed claim?                             12· · · · ·Q.· ·How many proofs of debt have been
  13· · · · ·A.· ·Again, we discussed this and          13· ·filed?
  14· ·answered it was a disputed claim.                14· · · · · · · MR. McDONALD:· Objection to form.
  15· · · · ·Q.· ·So that has not been paid, is that    15· · · · ·A.· ·Eight, I believe.
  16· ·fair?                                            16· · · · · · · MR. MORRIS:· I'll mark as the next
  17· · · · ·A.· ·Yes.                                  17· · · · ·exhibit, exhibit 5, Robinson 5, the
  18· · · · ·Q.· ·Okay.· Has Ascentra Holdings, Inc.    18· · · · ·report that was filed with the
  19· ·made any reserve on account of these claims?     19· · · · ·bankruptcy court in New York.
  20· · · · · · · MR. McDONALD:· Objection to the       20· · · · · · · (Robinson Exhibit 5, letter to the
  21· · · · ·form.                                      21· · · · ·Court, dated December 29, 2023 was
  22· · · · ·A.· ·I'm uncertain if I can answer that    22· · · · ·marked for identification.)
  23· ·because that refers to the ongoing incoming      23· ·BY MR. MORRIS:
  24· ·receipts and payments of the liquidation of      24· · · · ·Q.· ·You could take a quick look at it,
  25· ·the estate, and that's within the court          25· ·or take as long as you need to look at it.· My

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·first question for you is whether you have       ·2· · · · · · · MR. McDONALD:· Objection to form.
  ·3· ·seen this before?                                ·3· · · · ·A.· ·The proof of debt that was approved
  ·4· · · · ·A.· ·Yes, I've seen this document          ·4· ·by the liquidator has been paid, yes.
  ·5· ·before.                                          ·5· · · · ·Q.· ·In full.· So again --
  ·6· · · · ·Q.· ·Okay.· And did you see it before it   ·6· · · · · · · MR. McDONALD:· Objection to form.
  ·7· ·was filed?                                       ·7· · · · ·Q.· ·So again, the only thing that is
  ·8· · · · ·A.· ·Yes.                                  ·8· ·outstanding today are the seven disputed
  ·9· · · · ·Q.· ·And so you were aware that it was     ·9· ·claims, is that fair?
  10· ·being filed on behalf of the joint official      10· · · · · · · MR. McDONALD:· Objection to form.
  11· ·liquidators in the Ascentra Chapter 15 case,     11· · · · ·A.· ·In the Ascentra liquidation?
  12· ·right?                                           12· · · · ·Q.· ·Yes, sir.
  13· · · · ·A.· ·Yes.                                  13· · · · ·A.· ·Those seven, yes, and the members'
  14· · · · ·Q.· ·Okay.· If you could go to I guess     14· ·commissions that remain payable, yes.
  15· ·the last substantive page, page 4.               15· · · · ·Q.· ·Are the members' commissions
  16· · · · ·A.· ·Okay.                                 16· ·obligations of the company or are they part of
  17· · · · ·Q.· ·So directing your recollection to     17· ·the members' equity?
  18· ·the middle of the page, underneath the heading   18· · · · · · · MR. McDONALD:· Objection to form.
  19· ·"Additional Actions Undertaken By the            19· · · · ·A.· ·(No response.)
  20· ·Liquidators," your counsel informed the court    20· · · · · · · MR. MORRIS:· Withdrawn.
  21· ·in New York, quote, "The liquidators continue    21· · · · ·Q.· ·When you use the phrase "members'
  22· ·to correspond with potential creditors and       22· ·commission," what are you referring to?
  23· ·parties who have made claims in the              23· · · · ·A.· ·This -- this is the commissions
  24· ·liquidation by proof of debt."                   24· ·that are due to the -- to the members that
  25· · · · · · · Have I read that first sentence       25· ·sold products on behalf of the Ascentra group.
                                             Page 90                                               Page 92
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·correctly?                                       ·2· · · · ·Q.· ·And are those commissions subject
  ·3· · · · ·A.· ·Yes.                                  ·3· ·to the proof-of-debt process?
  ·4· · · · ·Q.· ·Okay.· The phrase "potential          ·4· · · · ·A.· ·Not at this stage.
  ·5· ·creditors," are those creditors who hold         ·5· · · · ·Q.· ·Why not?
  ·6· ·contingent or disputed claims?                   ·6· · · · ·A.· ·No -- no -- no member has written
  ·7· · · · ·A.· ·The two referred to here are the      ·7· ·to the liquidators.
  ·8· ·seven I listed before, yes.· Part of the         ·8· · · · ·Q.· ·So as of today no claim has been
  ·9· ·seven.· Yes.                                     ·9· ·made for the payment of a member's commission,
  10· · · · ·Q.· ·Okay.· So the potential creditors     10· ·is that fair?
  11· ·are seven, and there's two of whom that are      11· · · · ·A.· ·In the Ascentra liquidation?
  12· ·referred to in the second sentence, is that      12· · · · ·Q.· ·Yes, sir.
  13· ·fair?                                            13· · · · ·A.· ·No.
  14· · · · ·A.· ·Yes.                                  14· · · · ·Q.· ·That's not fair?
  15· · · · ·Q.· ·Okay.· So if there are seven          15· · · · ·A.· ·Sorry.· No, they have not
  16· ·potential creditors -- I think you mentioned     16· ·submitted ...
  17· ·that there are eight proofs of debt that were    17· · · · ·Q.· ·Have members made claims for
  18· ·filed?                                           18· ·commissions in any other liquidation that's
  19· · · · · · · Do I have that right?                 19· ·related to Ascentra Holdings, Inc.?
  20· · · · ·A.· ·From memory, yes.                     20· · · · ·A.· ·No.
  21· · · · ·Q.· ·And is that because one of the        21· · · · ·Q.· ·Would you have an obligation as the
  22· ·proofs of debt was resolved?                     22· ·joint official liquidator to pay the member
  23· · · · ·A.· ·Yes.                                  23· ·claim if you believe today that the claim was
  24· · · · ·Q.· ·And that proof of debt that was       24· ·valid?
  25· ·resolved was paid in full, correct?              25· · · · · · · MR. McDONALD:· Objection to form.


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  GRAHAM ROBINSON· 30(b)(6)                                      February 29, 2024
  In Re Ascentra Holdings Inc.                                              93–96
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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·A.· ·Say the question again?· Sorry.       ·2· ·"The liquidators also received three
  ·3· · · · ·Q.· ·In your capacity as a joint           ·3· ·additional proofs of debt from Mr. Sanders on
  ·4· ·official liquidator, would you be duty-bound     ·4· ·November 10, 2023, which have not been
  ·5· ·to pay the commissions if you concluded that     ·5· ·adjudicated yet."
  ·6· ·they were a due and valid obligation of the      ·6· · · · · · · Have I read that correctly?
  ·7· ·Ascentra Holdings, Inc. company?                 ·7· · · · ·A.· ·You have.
  ·8· · · · · · · MR. McDONALD:· Objection to form.     ·8· · · · ·Q.· ·And are those three proofs of debt
  ·9· · · · ·A.· ·If we've gone through the             ·9· ·among the eight that you identified earlier?
  10· ·verification process and we believed they were   10· · · · ·A.· ·Yes.
  11· ·due and payable, then they would be paid as      11· · · · ·Q.· ·Okay.· Does Mr. Sanders have any
  12· ·part of the liquidation process.                 12· ·other proofs of debt -- withdrawn.
  13· · · · ·Q.· ·And did you, in your capacity as      13· · · · · · · Have any proofs of debt been filed
  14· ·the joint official liquidator, undertake a       14· ·on Mr. Sanders' behalf other than those three?
  15· ·review of whether any membership commissions     15· · · · ·A.· ·No.
  16· ·were due by Ascentra Holdings, Inc.?             16· · · · ·Q.· ·And are those three proofs of debt,
  17· · · · ·A.· ·Yes.                                  17· ·are they filed on behalf of different entities
  18· · · · ·Q.· ·And have you concluded that no        18· ·that are either owned or controlled by
  19· ·membership commissions are due by Ascentra       19· ·Mr. Sanders, to the best of your knowledge?
  20· ·Holdings, Inc.?                                  20· · · · ·A.· ·Yes.
  21· · · · · · · MR. McDONALD:· Objection to form.     21· · · · ·Q.· ·So that among -- when you said
  22· · · · ·A.· ·Say the question again?               22· ·earlier that there were seven different
  23· · · · ·Q.· ·Have you concluded that Ascentra      23· ·claim-holders or potential claim-holders,
  24· ·Holdings, Inc. doesn't owe any membership        24· ·three of them were affiliated with
  25· ·commissions?                                     25· ·Mr. Sanders, right?
                                             Page 94                                               Page 96
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·A.· ·I have not concluded that, no.        ·2· · · · ·A.· ·Yes.
  ·3· · · · ·Q.· ·You're still reviewing it?            ·3· · · · ·Q.· ·Okay.· Of the other four, is there
  ·4· · · · ·A.· ·The review process of the             ·4· ·any affiliation between the holders of those
  ·5· ·commissions has not been finalized.              ·5· ·potential claims?
  ·6· · · · ·Q.· ·Okay.· But no member has made a       ·6· · · · ·A.· ·No.
  ·7· ·claim for commission, correct?                   ·7· · · · ·Q.· ·So you've got Mr. Sanders plus four
  ·8· · · · ·A.· ·No member has made a claim for        ·8· ·other folks who collectively hold seven
  ·9· ·commission in the Ascentra liquidation,          ·9· ·disputed claims, correct?
  10· ·correct.                                         10· · · · ·A.· ·Yes.
  11· · · · ·Q.· ·Okay.· Has any member made a claim    11· · · · ·Q.· ·Okay.· Can you describe for me the
  12· ·for commission in any other liquidation that     12· ·nature of the three proofs of debt that were
  13· ·you are involved with?                           13· ·filed on behalf of Mr. Sanders?
  14· · · · ·A.· ·No.                                   14· · · · · · · MR. McDONALD:· Objection to form.
  15· · · · ·Q.· ·Other than the seven disputed         15· · · · · · · To the extent you can disclose
  16· ·claims or proofs of debt that you've             16· · · · ·that.
  17· ·identified, are you aware of any other           17· · · · ·A.· ·No, we probably -- I probably
  18· ·contingent obligation that Ascentra Holdings,    18· ·discussed the proof of debts with my Cayman
  19· ·Inc. has?                                        19· ·counsel, so I would say those discussions are
  20· · · · · · · MR. McDONALD:· Objection to form.     20· ·privileged.
  21· · · · ·A.· ·No.                                   21· · · · ·Q.· ·But you've discussed it with
  22· · · · ·Q.· ·Looking down, still staying with      22· ·somebody representing Mr. Sanders, right?
  23· ·the same report --                               23· · · · ·A.· ·My attorneys have spoken to
  24· · · · ·A.· ·Okay.                                 24· ·Mr. Sanders' attorneys.
  25· · · · ·Q.· ·-- towards the end it says, quote,    25· · · · ·Q.· ·Okay.· So focussing on those

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·discussions, do you know what the nature of      ·2· ·with the court, or are they just given to you
  ·3· ·Mr. Sanders' claim is?                           ·3· ·in your capacity as the joint official
  ·4· · · · · · · Have you read the proofs of debt      ·4· ·liquidator?
  ·5· ·that were filed on behalf of Mr. Sanders?        ·5· · · · ·A.· ·Just to me.
  ·6· · · · ·A.· ·Yes.                                  ·6· · · · ·Q.· ·Okay.· So these are documents that
  ·7· · · · ·Q.· ·Do you have an understanding as to    ·7· ·have not been filed with the court, correct?
  ·8· ·the nature of the claim?                         ·8· · · · ·A.· ·There's no requirement to file
  ·9· · · · ·A.· ·He claims he's owed money.            ·9· ·proof of debts separately into the Cayman
  10· · · · ·Q.· ·Does he state why he believes he's    10· ·court.
  11· ·owed money?                                      11· · · · ·Q.· ·I appreciate that there's no
  12· · · · ·A.· ·He does.                              12· ·requirement.· I'm just asking you if it
  13· ·DIR· ·Q.· ·Does he cite to any contract that     13· ·happened.
  14· ·he believes he's entitled to recover damages     14· · · · · · · To the best of your knowledge, were
  15· ·for, for breach?                                 15· ·Mr. Sanders' proofs of debt filed with the
  16· · · · · · · MR. McDONALD:· I'm going to object.   16· ·Cayman court?
  17· · · · ·Those proofs of debt are still             17· · · · ·A.· ·No.
  18· · · · ·confidential and the nature of those       18· · · · ·Q.· ·Okay.· Can you share with me
  19· · · · ·claims and the nature of the               19· ·anything about the nature of the claims that
  20· · · · ·disagreement over those claims and the     20· ·were delivered to you but not filed with the
  21· · · · ·negotiation of those claims are sealed     21· ·Cayman court?
  22· · · · ·under -- as part of the report to the      22· · · · ·A.· ·Say that question again?· Sorry.
  23· · · · ·court.                                     23· · · · ·Q.· ·Can you tell me the amount of any
  24· · · · · · · MR. MORRIS:· So you're not going to   24· ·of the three claims that were given to you but
  25· · · · ·let him tell me if there's a contract      25· ·not filed with the court?
                                             Page 98                                              Page 100
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·claim or a tort claim?                     ·2· · · · · · · MR. McDONALD:· Again, that
  ·3· · · · · · · MR. McDONALD:· No.                    ·3· · · · ·information is subject to the seal
  ·4· · · · ·Q.· ·Do you dispute Mr. Sanders' claims?   ·4· · · · ·order.
  ·5· · · · ·A.· ·The verification process is still     ·5· · · · · · · MR. MORRIS:· But it wasn't filed
  ·6· ·ongoing.· So ...                                 ·6· · · · ·with the court, right?
  ·7· · · · ·Q.· ·You haven't agreed to pay the         ·7· · · · · · · MR. McDONALD:· The report
  ·8· ·claims, is that fair?                            ·8· · · · ·discussing the claims has been filed
  ·9· · · · ·A.· ·The verification process is still     ·9· · · · ·with the court.· The claims have been
  10· ·ongoing.                                         10· · · · ·received by the liquidator.
  11· · · · ·Q.· ·Do you dispute the validity of the    11· · · · · · · MR. MORRIS:· And that's all I'm
  12· ·claims or the amount of the claims?              12· · · · ·asking about, is the claims -- I don't
  13· · · · ·A.· ·The verification process is still     13· · · · ·care about any report filed with the
  14· ·ongoing.                                         14· · · · ·court.
  15· · · · ·Q.· ·Can you describe for me what the      15· · · · · · · So let me ask the question again.
  16· ·verification process is?                         16· · · · · · · MR. McDONALD:· So --
  17· · · · ·A.· ·We review the proof of debts and      17· · · · · · · MR. MORRIS:· Let me ask the
  18· ·make an assessment on whether it's valid or      18· · · · ·question again.
  19· ·invalid.                                         19· · · · · · · MR. McDONALD:· Okay.
  20· · · · ·Q.· ·And when did he file the proofs of    20· ·DIR· ·Q.· ·The claims that were given to you
  21· ·debt?                                            21· ·but not filed with the Court, can you tell me
  22· · · · · · · MR. McDONALD:· Objection to form.     22· ·what the amount of those claims are?
  23· · · · ·A.· ·I believe we received them in early   23· · · · · · · MR. McDONALD:· I object.
  24· ·November 2023.                                   24· · · · · · · Direct the witness not to answer.
  25· · · · ·Q.· ·And are the proofs of debt filed      25· · · · · · · The inspection of those proofs of

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  In Re Ascentra Holdings Inc.                                            101–104
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  ·1· · · · · · · G. ROBINSON                   ·1· · · · · · · · · · G. ROBINSON
  ·2· ·debt are limited to creditors and        ·2· ·of debts, yes.
  ·3· ·contributories and are to be kept        ·3· · · · ·Q.· ·Okay.· And do you have any
  ·4· ·confidential.· The discussion of those   ·4· ·reason -- do you have any expectation that
  ·5· ·are contained in a report that is filed  ·5· ·they will be filed?· Is it more than a hope?
  ·6· ·with the court and is subject to seal.   ·6· ·But based on your work, has anybody -- you
  ·7· · · · MR. MORRIS:· Just help me           ·7· ·know,     do you have any expectation --
  ·8· ·understand, Hugh.· Is there an order     ·8· · · · · · · MR. McDONALD:· Wait for him to
  ·9· ·that was entered in this case that       ·9· · · · ·finish.
  10· ·you're relying upon, or is it a Cayman   10· · · · ·Q.· ·Okay.· Do you have any reason to
  11· ·Islands law?                             11· ·believe that somebody's going to file further
  12· · · · MR. McDONALD:· It's a combination 12· ·proofs of debt?· In the Ascentra Holdings,
  13· ·of both.· There is, within the Cayman    13· ·Inc. case.
  14· ·Islands, the Companies Act, as well as   14· · · · ·A.· ·Just from experience of being a
  15· ·in the rules, a restriction on who can   15· ·joint official liquidator and being involved
  16· ·inspect proofs of debt, and the          16· ·in restructuring for 30-odd years, you expect
  17· ·discussion of those proofs of debt are   17· ·the unexpected.
  18· ·contained in a report that are subject   18· · · · ·Q.· ·Okay.· Other than that, do you have
  19· ·to a court order sealing them.           19· ·any reason to expect that any additional
  20· · · · And so --                           20· ·proofs of debt will be filed in the Ascentra
  21· · · · MR. MORRIS:· Okay.· To be clear I'm 21· ·Holdings, Inc. case?
  22· ·not asking about that report.            22· · · · ·A.· ·No.
  23· · · · MR. McDONALD:· I understand that. 23· · · · ·Q.· ·Thank you.
  24· ·But the contents of those proofs of debt 24· · · · · · · MR. MORRIS:· Let's mark as the next
  25· ·are discussed in a report that is        25· · · · ·exhibit another report that was given to
                                            Page 102                                              Page 104
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·subject to a seal.                         ·2· · · · ·the court in New York.
  ·3· · · · · · · MR. MORRIS:· Okay.· And you guys      ·3· · · · · · · THE WITNESS:· Can we just do a
  ·4· · · · ·will follow up with the identity of the    ·4· · · · ·five-minute toilet break?
  ·5· · · · ·order that you're relying on and the       ·5· · · · · · · MR. MORRIS:· Sure, you bet.
  ·6· · · · ·law, right?                                ·6· · · · · · · THE VIDEOGRAPHER:· This ends
  ·7· · · · · · · MR. McDONALD:· Mm-hmm.                ·7· · · · ·unit 3.· We're off the record at 11:52.
  ·8· · · · · · · MR. MORRIS:· Okay.                    ·8· · · · · · · · ·(Recess taken.)
  ·9· ·BY MR. MORRIS:                                   ·9· · · · · · · THE VIDEOGRAPHER:· This begins
  10· · · · ·Q.· ·Is there a deadline for the filing    10· · · · ·unit 4.· We're on the record at 12:03.
  11· ·of proofs of debt in this case, in the Cayman    11· · · · · · · (Robinson Exhibit 6, Letter to the
  12· ·Islands?                                         12· · · · ·Court dated June 30, 2023 was marked for
  13· · · · ·A.· ·No.                                   13· · · · ·identification.)
  14· · · · ·Q.· ·Based on your review of the           14· ·BY MR. MORRIS:
  15· ·records, do you have any reason to believe --    15· · · · ·Q.· ·All right.· Mr. Robinson, you have
  16· ·withdrawn.                                       16· ·in front of you what has been marked as
  17· · · · · · · Based on your work as a joint         17· ·Robinson exhibit 6.· It's another document
  18· ·official liquidator, do you have any             18· ·that was filed with the court.
  19· ·expectation that any additional proofs of debt   19· · · · · · · Have you taken a moment to look
  20· ·are likely to be filed?                          20· ·at it?
  21· · · · · · · MR. McDONALD:· Objection to form.     21· · · · ·A.· ·Yes.
  22· · · · ·A.· ·Specifically to the Ascentra --       22· · · · ·Q.· ·Okay.· And you saw it before it was
  23· · · · ·Q.· ·Yes.                                  23· ·filed, is that right?
  24· · · · ·A.· ·-- liquidation?                       24· · · · ·A.· ·Yes.
  25· · · · · · · I'm hopeful there's no other proof    25· · · · ·Q.· ·Okay.· Directing your attention to


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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·the second paragraph on the first page,          ·2· ·got a pretty simple function, and that is to
  ·3· ·there's a statement in there that says, quote,   ·3· ·get in the assets, realize the assets, and
  ·4· ·"As a result of various shareholder disputes,    ·4· ·then distribute the assets to the creditors.
  ·5· ·on June 1, 2021 Ascentra was placed into         ·5· · · · · · · And one of my jobs as a joint
  ·6· ·voluntary liquidation in the Cayman Islands by   ·6· ·official liquidator is to approve creditor
  ·7· ·its shareholders."                               ·7· ·claims, and that's in a quasi-judicial way as
  ·8· · · · · · · Have I read that correctly?           ·8· ·an officer of the court.· So that's what we
  ·9· · · · ·A.· ·Yes.                                  ·9· ·do.
  10· · · · ·Q.· ·And is that accurate, to the best     10· · · · ·Q.· ·So is it fair to say that you
  11· ·of your knowledge?                               11· ·request a proof of debt if somebody comes to
  12· · · · ·A.· ·To the best of my knowledge, yes.     12· ·you and says the entity that's being
  13· · · · ·Q.· ·Okay.· Are you aware of any reason    13· ·liquidated owes them money, and then you say,
  14· ·that Ascentra was placed in voluntary            14· ·well, send me a proof of debt and we'll figure
  15· ·liquidation other than various shareholder       15· ·it out?
  16· ·disputes?                                        16· · · · ·A.· ·Yeah, there's no right or wrong way
  17· · · · ·A.· ·No.                                   17· ·of how a proof is received or not received or
  18· · · · ·Q.· ·Thank you.                            18· ·how you agree a claim.· But yeah, one way
  19· · · · · · · And if you can go to the second       19· ·would be, if someone came to you and requested
  20· ·page on the back of the document.· The end of    20· ·a claim they were owed money, you would enter
  21· ·the middle paragraph says, quote, "Further,      21· ·correspondence and you could request they
  22· ·the liquidators have corresponded with various   22· ·submit a formal proof of debt.
  23· ·potential creditors of Ascentra and requested    23· · · · ·Q.· ·Okay.· And this is the process that
  24· ·proofs of debt to be submitted."                 24· ·led to the seven remaining proofs of debt,
  25· · · · · · · Did I read that correctly?            25· ·correct?· That are disputed.
                                            Page 106                                              Page 108
  ·1· · · · · · · · · · G. ROBINSON                   ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·A.· ·Which paragraph is that?            ·2· · · · · · · MR. McDONALD:· Objection to form.
  ·3· · · · ·Q.· ·It's the middle one that begins "In ·3· · · · ·A.· ·Yeah, creditors can come to you,
  ·4· ·the Cayman proceeding."                        ·4· ·and you can go to potential creditors as well.
  ·5· · · · ·A.· ·Okay.                               ·5· · · · ·Q.· ·Okay.· How many proofs of debt did
  ·6· · · · ·Q.· ·So now I'm looking at the last      ·6· ·the joint official liquidators request, as
  ·7· ·sentence that begins "Further --               ·7· ·opposed to how many proofs -- let's just start
  ·8· · · · ·A.· ·Oh, "Further."· I see it.· Sorry.   ·8· ·with there.
  ·9· ·I see it.                                      ·9· · · · · · · How many did you request be filed?
  10· · · · ·Q.· ·That's okay.· Are you with me now? 10· · · · ·A.· ·How many proof of debts did the
  11· ·Take a moment to read it.                      11· ·joint official liquidators of Ascentra request
  12· · · · ·A.· ·Okay, yes.                          12· ·from potential creditors?
  13· · · · ·Q.· ·And so this is dated in June.       13· · · · ·Q.· ·Mm-hmm.
  14· ·Would this have been part of the process of 14· · · · ·A.· ·I don't know the exact number from
  15· ·soliciting the proofs of debt that resulted    15· ·memory.· Out of the eight that we received,
  16· ·in, I guess, the ones that we talked about     16· ·from memory I would say we requested six.
  17· ·earlier?                                       17· · · · ·Q.· ·And would they include Mr. Sanders'
  18· · · · ·A.· ·Yeah, these -- these relate to the  18· ·three?
  19· ·creditors we discussed previously.· Yes.       19· · · · ·A.· ·Yes.
  20· · · · ·Q.· ·Okay.· And under what               20· · · · ·Q.· ·Why did you request Mr. Sanders to
  21· ·circumstances, if you recall, did you request 21· ·file proofs of debt?
  22· ·that proofs of debt be submitted?· Like, why 22· · · · ·A.· ·I don't -- SPGK and the defendants,
  23· ·do you do that?                                23· ·all the defendants are not an admitted
  24· · · · · · · MR. McDONALD:· Objection to form. 24· ·creditor in the liquidation, and you are not
  25· · · · ·A.· ·Well, the official liquidator has   25· ·entitled to that information.

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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · · · · THE COURT REPORTER:· Can you just     ·2· ·matters that we're talking about.
  ·3· · · · ·repeat that?· All of defendants are        ·3· · · · · · · Is that fair?
  ·4· · · · ·not ...                                    ·4· · · · ·A.· ·Yeah.· You're not an admitted
  ·5· · · · ·A.· ·An admitted creditor in the           ·5· ·creditor.
  ·6· ·liquidation under Cayman law.                    ·6· · · · ·Q.· ·Okay.· Let's start with what's an
  ·7· · · · ·Q.· ·So you believe you have a duty not    ·7· ·admitted creditor?
  ·8· ·to tell me the answer to the question because    ·8· · · · ·A.· ·A creditor that the claim has been
  ·9· ·in your view SPGK is not entitled to receive     ·9· ·admitted by the joint official liquidators.
  10· ·it under Cayman law, is that right?              10· · · · ·Q.· ·Meaning that it's no longer
  11· · · · ·A.· ·Say that again?· Sorry.               11· ·disputed?
  12· · · · ·Q.· ·I just want to make sure that I       12· · · · ·A.· ·Yes.· It's admitted.
  13· ·understand.· I don't mean to be contentious at   13· · · · ·Q.· ·So Mr. Sanders is not an admitted
  14· ·all.                                             14· ·creditor, is that right?
  15· · · · · · · You're refusing to answer my          15· · · · ·A.· ·Correct.
  16· ·question because SPGK is not a creditor in the   16· · · · · · · MR. McDONALD:· Objection to form.
  17· ·Ascentra Holdings, Inc. bankruptcy, is that      17· · · · ·Q.· ·So I appreciate what you're saying,
  18· ·right?                                           18· ·and now I am going to ask you a different
  19· · · · ·A.· ·I wouldn't -- I'm not refusing to     19· ·question.
  20· ·answer your question.· I can't answer your       20· · · · · · · Even though they don't have the
  21· ·question.                                        21· ·right to the information, is there any legal
  22· · · · ·Q.· ·Okay.· That's --                      22· ·prohibition, to the best of your knowledge,
  23· · · · ·A.· ·That's a big difference.              23· ·that would prohibit you from disclosing it?
  24· · · · ·Q.· ·Well, you're refusing because you     24· · · · ·A.· ·Just say the question again?
  25· ·believe you have an obligation not to disclose   25· ·Sorry.
                                            Page 110                                              Page 112
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·it.· Is that fair?                               ·2· · · · ·Q.· ·Is there any legal impediment, you
  ·3· · · · ·A.· ·Under Cayman law -- you are not an    ·3· ·know, is there any legal prohibition that
  ·4· ·admitted creditor, and you're not entitled to    ·4· ·prevents you from disclosing the information,
  ·5· ·that information under Cayman law.               ·5· ·or it's just that SPGK has no right to
  ·6· · · · ·Q.· ·Okay.· So let me just ask you, as     ·6· ·receive it?
  ·7· ·an experienced insolvency practitioner in the    ·7· · · · ·A.· ·SPGK has no right to receive it.
  ·8· ·Cayman Islands and one licensed to serve as a    ·8· · · · ·Q.· ·I understand.· But is there any --
  ·9· ·liquidator, do you have any ability to share     ·9· ·do you have a legal duty not to disclose it,
  10· ·this information -- withdrawn.                   10· ·or is it just that they have no right to
  11· · · · · · · I understand your position that       11· ·receive it?
  12· ·SPGK has no right to the information.· My        12· · · · · · · Do you understand the distinction
  13· ·question for you:· Is there anything that        13· ·that I'm making?
  14· ·prohibits you from disclosing the information?   14· · · · · · · MR. McDONALD:· Yeah, I'm going to
  15· · · · · · · MR. McDONALD:· Objection to form.     15· · · · ·object.· I think as I discussed earlier,
  16· · · · ·A.· ·I think I'll just refer you to my     16· · · · ·the information concerning the proofs of
  17· ·previous answer.                                 17· · · · ·debt is contained in reports that have
  18· · · · ·Q.· ·And I'm trying to parse that          18· · · · ·been filed with the court that are
  19· ·through.                                         19· · · · ·subject to seal.
  20· · · · · · · I understand that you believe that    20· · · · · · · So is there a legal impediment?
  21· ·under Cayman law -- and I don't mean to be       21· · · · ·Yes.· He's an officer of the court, and
  22· ·contentious --                                   22· · · · ·he's bound by the orders of the court.
  23· · · · ·A.· ·That's okay.                          23· · · · · · · MR. MORRIS:· So is there any
  24· · · · ·Q.· ·-- that under Cayman law SPGK has     24· · · · ·information at all that you are willing
  25· ·no right to know anything about the subject      25· · · · ·to let him testify to other than the

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  GRAHAM ROBINSON· 30(b)(6)                                      February 29, 2024
  In Re Ascentra Holdings Inc.                                            113–116
                                            Page 113                                              Page 115
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·number of outstanding disputed claims?     ·2· ·Inc. proceedings in the Cayman Islands?
  ·3· · · · · · · MR. McDONALD:· As to the nature and   ·3· · · · · · · MR. McDONALD:· Objection to form.
  ·4· · · · ·identity and basis for the claims and      ·4· · · · ·A.· ·No creditor or potential creditor
  ·5· · · · ·the nature of any disputes over the        ·5· ·has applied for sanction, yes.
  ·6· · · · ·claims?· No.· He's not going to be able    ·6· · · · ·Q.· ·Okay.· Is it your understanding as
  ·7· · · · ·to testify.                                ·7· ·a licensed insolvency practitioner that
  ·8· · · · · · · MR. MORRIS:· And is that because      ·8· ·creditors and potential creditors of an
  ·9· · · · ·the information was filed with the         ·9· ·insolvent company or a company of doubtful
  10· · · · ·court, or is there something else that     10· ·insolvency have the ability to apply for
  11· · · · ·prohibits it?                              11· ·sanction?
  12· · · · · · · MR. McDONALD:· It's a combination     12· · · · · · · MR. McDONALD:· Objection.· That's
  13· · · · ·of the statute rules and orders of the     13· · · · ·calling for a legal conclusion.
  14· · · · ·court that prohibit him from disclosing    14· · · · ·Q.· ·Okay.· Subject to that objection
  15· · · · ·that information.                          15· ·you can answer.
  16· · · · · · · MR. MORRIS:· Okay.                    16· · · · ·A.· ·Just repeat the question for me,
  17· · · · ·Q.· ·Okay.· We're going to go to topic 5   17· ·please?
  18· ·on the 30(b)(6) list, which was exhibit 1, and   18· · · · ·Q.· ·Sure.· As a licensed insolvency
  19· ·that relates to applications for sanction.       19· ·practitioner in the Cayman Islands, do
  20· · · · · · · Can you tell me what an application   20· ·creditors or potential creditors of insolvent
  21· ·for sanction is, in the context of a Cayman      21· ·companies or companies of doubtful insolvency,
  22· ·Islands liquidation proceeding?                  22· ·do they have a right to apply for sanction?
  23· · · · ·A.· ·Well, so to answer your question      23· · · · · · · MR. McDONALD:· Objection; calls for
  24· ·for me as a joint official liquidator,           24· · · · ·a legal conclusion.
  25· ·basically our powers are split between powers    25· · · · ·Q.· ·You can answer.
                                            Page 114                                              Page 116
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·that we need the court sanction for and powers   ·2· · · · ·A.· ·Yes.
  ·3· ·that we don't need sanction for.                 ·3· · · · ·Q.· ·Okay.· Do you know whether any
  ·4· · · · · · · So ultimately we -- if there are      ·4· ·potential creditor -- withdrawn.
  ·5· ·certain things that we need to do as part of     ·5· · · · · · · Do you know whether any creditor or
  ·6· ·the liquidation process, then we would, with     ·6· ·potential creditor -- withdrawn.
  ·7· ·our counsel, we would make applications to the   ·7· · · · · · · Is the Ascentra Holdings, Inc. case
  ·8· ·courts.                                          ·8· ·pending before a particular bankruptcy --
  ·9· · · · ·Q.· ·So there are certain things that      ·9· ·withdrawn.
  10· ·you may want to do that you need court           10· · · · · · · Is the Ascentra Holdings, Inc. case
  11· ·permission for, is that fair?                    11· ·pending before a particular judge in the
  12· · · · ·A.· ·Yes.                                  12· ·Cayman Islands?
  13· · · · ·Q.· ·Okay.· Do creditors and the           13· · · · ·A.· ·Yes.
  14· ·liquidation of a solvent entity have any         14· · · · ·Q.· ·And what's the name of the judge?
  15· ·ability to apply for sanction?                   15· · · · ·A.· ·Doyle.
  16· · · · ·A.· ·They have no ability to apply for     16· · · · ·Q.· ·Doyle.· Can I refer to him as Judge
  17· ·sanction.                                        17· ·Doyle, or is it Justice Doyle?
  18· · · · ·Q.· ·Okay.· And so then is it fair to      18· · · · · · · MR. COWAN:· Mr. Justice Doyle.
  19· ·say that no creditor or potential creditor of    19· · · · · · · MR. MORRIS:· Mr. Justice Doyle.
  20· ·Ascentra Holdings, Inc. has ever applied for     20· · · · ·Q.· ·To the best of your knowledge,
  21· ·sanction in that case?                           21· ·since the case was commenced has any creditor
  22· · · · ·A.· ·Sorry.· Just say that again?          22· ·or potential creditor appeared before
  23· · · · ·Q.· ·Is it fair to say then that no        23· ·Mr. Justice Doyle?
  24· ·creditor or potential creditor has applied       24· · · · ·A.· ·In the Ascentra liquidation?
  25· ·for sanction of the Ascentra Holdings,           25· · · · ·Q.· ·Yes.


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  In Re Ascentra Holdings Inc.                                            117–120
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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·A.· ·Yes.                                  ·2· · · · ·A.· ·So have they appeared in something
  ·3· · · · ·Q.· ·Okay.· Can you identify the           ·3· ·else?
  ·4· ·creditor or potential creditor who appeared      ·4· · · · ·Q.· ·Correct.
  ·5· ·before Mr. Justice Doyle in the Ascentra         ·5· · · · ·A.· ·Yes.
  ·6· ·bankruptcy case?                                 ·6· · · · ·Q.· ·Do you have an understanding of
  ·7· · · · ·A.· ·Your defendants.                      ·7· ·what -- in what capacity they appeared before
  ·8· · · · ·Q.· ·Okay.· Is there any other creditor    ·8· ·Mr. Justice Doyle other than as a defendant in
  ·9· ·or potential creditor -- withdrawn.              ·9· ·that lawsuit?
  10· · · · · · · When you refer to my defendants       10· · · · ·A.· ·Say that again?· Sorry.
  11· ·you're referring to my clients who are the       11· · · · ·Q.· ·It's okay.· My clients have the
  12· ·defendants in the complaint that was filed on    12· ·information.
  13· ·your behalf in the Cayman Islands, is that       13· · · · · · · MR. MORRIS:· Let's move along.
  14· ·right?                                           14· · · · ·We've got -- the next document is
  15· · · · ·A.· ·That's the party that I'm             15· · · · ·what?· 7?
  16· ·referring to, if you said they have been in      16· · · · · · · THE COURT REPORTER:· Yes.
  17· ·front -- they have appeared in the sanction,     17· · · · · · · MR. MORRIS:· It's going to be the
  18· ·then yes.                                        18· · · · ·foreign representatives' objection to
  19· · · · ·Q.· ·Other than my clients, is there any   19· · · · ·the motion to terminate the restraint.
  20· ·other creditor or potential creditor who has     20· · · · · · · THE WITNESS:· Okay.
  21· ·ever appeared before Mr. Justice Doyle in the    21· · · · · · · (Robinson Exhibit 7, Foreign
  22· ·Ascentra Holdings, Inc. liquidation case?        22· · · · ·Representatives' Objection to Motion of
  23· · · · ·A.· ·No.                                   23· · · · ·SPGK to Terminate Restraint was marked
  24· · · · ·Q.· ·Do you have access to the documents   24· · · · ·for identification.)
  25· ·that are filed with the court in the Cayman      25· · · · · · · MR. McDONALD:· I'm sorry, this was
                                            Page 118                                              Page 120
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·Islands?                                         ·2· · · · ·7 you said?
  ·3· · · · ·A.· ·Only through my Cayman attorneys.     ·3· · · · · · · MR. MORRIS:· Yes.
  ·4· · · · ·Q.· ·And is it one of your                 ·4· · · · · · · THE COURT REPORTER:· Yes.
  ·5· ·responsibilities to be at least generally        ·5· ·BY MR. MORRIS:
  ·6· ·familiar with the documents that are filed in    ·6· · · · ·Q.· ·I'll just mark it to identify it,
  ·7· ·the Cayman court in connection with the          ·7· ·but I don't know that I am going to ask you
  ·8· ·Ascentra Holdings, Inc. bankruptcy?              ·8· ·any questions in hindsight.
  ·9· · · · ·A.· ·Yes.                                  ·9· · · · · · · Is this the objection that was
  10· · · · ·Q.· ·Okay.· And in carrying out that       10· ·filed on your behalf in New York with respect
  11· ·responsibility, are you aware of any             11· ·to SPGK's motion to terminate the restraint on
  12· ·document that was filed in the Ascentra          12· ·the Planet Payment funds?
  13· ·Holdings, Inc. liquidation case by a creditor    13· · · · · · · (The witness reviews document.)
  14· ·or potential creditor other than my clients?     14· · · · ·A.· ·Yes.
  15· · · · ·A.· ·No.                                   15· · · · ·Q.· ·Okay.· And if you turn to just
  16· · · · ·Q.· ·Thank you.· Have my clients           16· ·page 27, I guess I'll ask one question.
  17· ·appeared in the Cayman case of Ascentra          17· · · · ·A.· ·Twenty-seven.· Okay.
  18· ·Holdings, Inc. in any capacity other than as     18· · · · ·Q.· ·In the middle of the page, under
  19· ·defendants in the lawsuit that was commenced     19· ·"Likelihood of Success on the Merits," you'll
  20· ·against them?                                    20· ·see there's a statement, "Second," quote, "as
  21· · · · · · · MR. McDONALD:· Objection to form.     21· ·to the liquidators' claim to the Planet
  22· · · · ·A.· ·When you say "the lawsuit," are       22· ·Payment Funds as set forth in detail above,
  23· ·you referring to the one that we filed on the    23· ·the contractual and equitable bases remain and
  24· ·11th of October 2023?                            24· ·indeed are stronger following Mr. Yoshida's
  25· · · · ·Q.· ·Yes, sir.                             25· ·deposition."


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  In Re Ascentra Holdings Inc.                                            121–124
                                            Page 121                                              Page 123
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · · · · Do you see that?                      ·2· ·against the Planet Payment money?
  ·3· · · · ·A.· ·Where does it start?                  ·3· · · · · · · MR. McDONALD:· Objection.
  ·4· · · · ·Q.· ·The word "Second" begins at the end   ·4· · · · ·Q.· ·You can answer.
  ·5· ·of about the fifth line down.                    ·5· · · · · · · MR. McDONALD:· It calls for the
  ·6· · · · ·A.· ·Yes.                                  ·6· · · · ·disclosure of attorney-client
  ·7· · · · ·Q.· ·So I'm just focused on that           ·7· · · · ·communication.
  ·8· ·particular sentence.                             ·8· · · · · · · MR. MORRIS:· I'm not asking for
  ·9· · · · ·A.· ·Okay.                                 ·9· · · · ·anything about any communication.· I'm
  10· · · · ·Q.· ·And do you understand that SPGK has   10· · · · ·asking for --
  11· ·asked the bankruptcy court in New York to lift   11· · · · · · · MR. McDONALD:· You're asking why.
  12· ·the restriction on the funds that originated     12· · · · ·That was done in consultation with
  13· ·at Planet Payment?                               13· · · · ·counsel.
  14· · · · ·A.· ·Yes.                                  14· · · · · · · MR. MORRIS:· Are you directing him
  15· · · · ·Q.· ·And do you understand that your       15· · · · ·not to answer?
  16· ·counsel on your behalf has opposed that motion   16· · · · · · · MR. McDONALD:· I am directing him
  17· ·saying that they have a legal and equitable      17· · · · ·not to answer.
  18· ·right to the Planet Payment money?               18· · · · · · · MR. MORRIS:· So if he was in front
  19· · · · ·A.· ·Yes.                                  19· · · · ·of the judge today and the judge said,
  20· · · · ·Q.· ·Okay.· And do you understand that     20· · · · ·"Why did you send me this," you would
  21· ·topics 6 through 9 of the 30(b)(6) topics are    21· · · · ·say, "I can't tell you"?
  22· ·intended to cover the documents and facts        22· · · · · · · You would direct him not to answer
  23· ·concerning your position as to the legal and     23· · · · ·because --
  24· ·equitable bases to the claim to the money?       24· · · · · · · MR. McDONALD:· It's an obligation
  25· · · · ·A.· ·I've read paragraph 6 to 9.           25· · · · ·of a foreign representative to apprise
                                            Page 122                                              Page 124
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·Q.· ·Okay.                                 ·2· · · · ·the court of any developments in the
  ·3· · · · · · · MR. MORRIS:· Let's now mark as the    ·3· · · · ·foreign jurisdiction, and we have done
  ·4· · · · ·next exhibit, which I guess is 9 --        ·4· · · · ·so.· That is set forth in Chapter 15.
  ·5· · · · · · · THE COURT REPORTER:· 8.               ·5· · · · ·Q.· ·Is it your understanding that the
  ·6· · · · · · · MR. McDONALD:· 8.                     ·6· ·complaint sets forth contractual and equitable
  ·7· · · · · · · MR. MORRIS:· 8.· Thank you.           ·7· ·bases for Ascentra Holdings, Inc. claim to the
  ·8· · · · · · · -- a report to the Court dated        ·8· ·Planet Payment money?
  ·9· · · · ·October 11.                                ·9· · · · · · · MR. McDONALD:· Objection to form.
  10· · · · · · · (Robinson Exhibit 8, Letter to the    10· · · · ·A.· ·Say the question again, please?
  11· · · · ·Court dated October 11, 2023 was marked    11· · · · ·Q.· ·Is it your understanding that the
  12· · · · ·for identification.)                       12· ·complaint that was filed in the Cayman Islands
  13· ·BY MR. MORRIS:                                   13· ·sets forth the contractual and equitable bases
  14· · · · ·Q.· ·Were you aware that this letter was   14· ·for Ascentra Holdings, Inc.'s claim to the
  15· ·sent to the court in New York in October 2023?   15· ·Planet Payment funds?
  16· · · · ·A.· ·Yes.                                  16· · · · ·A.· ·The facts and documents that
  17· · · · ·Q.· ·Okay.· And so did you authorize       17· ·support our claim are set out in this amended
  18· ·your counsel to give the judge in New York a     18· ·complaint.
  19· ·copy of the pleading, the amended pleading       19· ·DIR· ·Q.· ·Okay.· I just have a few questions
  20· ·that was filed in the Cayman Islands?            20· ·about that.· If we can go to paragraph 37.
  21· · · · ·A.· ·Yes.                                  21· · · · · · · Paragraph 37 identifies three
  22· ·DIR· ·Q.· ·And was the purpose of providing      22· ·specific agreements.
  23· ·that to the Court so that the Court would see    23· · · · · · · Do I have that right?
  24· ·the contractual and equitable claims that the    24· · · · · · · MR. McDONALD:· I am going to object
  25· ·Ascentra Holdings, Inc. company was asserting    25· · · · ·and direct the witness not to answer.


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  In Re Ascentra Holdings Inc.                                            125–128
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  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·We're not taking a deposition in the       ·2· · · · ·A.· ·Yes.
  ·3· · · · ·Cayman proceeding here.· Your client has   ·3· ·DIR· ·Q.· ·Do you know whether the legal
  ·4· · · · ·answered, asserted defenses and a          ·4· ·and equitable bases for Ascentra Holdings,
  ·5· · · · ·counterclaim.· We have responded.· The     ·5· ·Inc. claim to the Planet Payment funds are set
  ·6· · · · ·matter is taking place in the Cayman       ·6· ·forth anywhere other than this document and
  ·7· · · · ·Islands.                                   ·7· ·exhibit 7?
  ·8· · · · · · · MR. MORRIS:· We don't need the        ·8· · · · · · · MR. McDONALD:· The same objection.
  ·9· · · · ·speech.· We understand it.· You could      ·9· · · · ·The same direction.
  10· · · · ·just direct him not to answer on the       10· · · · · · · MR. MORRIS:· So we can't even find
  11· · · · ·account -- on account that there's a       11· · · · ·out if there's another place to look?
  12· · · · ·pending proceeding.                        12· · · · · · · MR. McDONALD:· As I said, your
  13· · · · · · · MR. McDONALD:· I'm directing him      13· · · · ·client has submitted defenses.· We have
  14· · · · ·not to answer on account there's a         14· · · · ·responded to those.· There will be a
  15· · · · ·pending proceeding.                        15· · · · ·hearing in the Caymans where additional
  16· · · · · · · MR. MORRIS:· Okay.· But I am going    16· · · · ·evidence will be adduced and presented
  17· · · · ·to ask my questions anyway, and we'll      17· · · · ·to the Court.· So he's not testifying
  18· · · · ·make the record.· Is that fair?            18· · · · ·about that.· That's all privileged, as
  19· · · · · · · MR. McDONALD:· That's fine.           19· · · · ·to whether or not there will be anything
  20· · · · · · · MR. MORRIS:· Okay.                    20· · · · ·else forthcoming in this matter.
  21· ·DIR· ·Q.· ·Does paragraph 37 set forth --        21· · · · · · · MR. MORRIS:· Like I said, we'll
  22· ·identify three particular documents that were    22· · · · ·either do the preclusion order or we'll
  23· ·executed by SPGK Cayman?                         23· · · · ·do the follow-up.· But I appreciate
  24· · · · · · · MR. McDONALD:· The same               24· · · · ·that.
  25· · · · ·instruction.                               25· · · · · · · Can we take a break?
                                            Page 126                                              Page 128
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·Q.· ·Are you going to follow counsel's     ·2· · · · · · · MR. McDONALD:· Sure.
  ·3· ·advice?                                          ·3· · · · · · · THE VIDEOGRAPHER:· This ends
  ·4· · · · ·A.· ·Yes.                                  ·4· · · · ·unit 4.· We're off the record at 12:32.
  ·5· ·DIR· ·Q.· ·Okay.· Are these documents relevant   ·5· · · · · · · · · (Recess taken.)
  ·6· ·to Ascentra Holdings, Inc.'s claim to the        ·6· · · · · · · THE VIDEOGRAPHER:· This begins
  ·7· ·Planet Payment funds?                            ·7· · · · ·unit 5.· We're on the record at 12:44.
  ·8· · · · · · · MR. McDONALD:· Objection.· The same   ·8· ·BY MR. MORRIS:
  ·9· · · · ·direction.                                 ·9· · · · ·Q.· ·Mr. Robinson, can you grab exhibit
  10· · · · ·Q.· ·Are you going to follow counsel's     10· ·number 1, please.
  11· ·advice?                                          11· · · · ·A.· ·Okay.
  12· · · · ·A.· ·Yes.                                  12· ·DIR· ·Q.· ·Look at topic 6.
  13· ·DIR· ·Q.· ·Have you personally reviewed these    13· · · · · · · Can you identify for me the
  14· ·three documents?                                 14· ·documents that the foreign representatives
  15· · · · · · · MR. McDONALD:· Objection.· The same   15· ·contend support their assertion that they can
  16· · · · ·direction.                                 16· ·establish a likelihood of success on the
  17· · · · ·Q.· ·Are you going to follow counsel's     17· ·merits with respect to their contractual basis
  18· ·advice?                                          18· ·for entitlement to the Planet Payment funds?
  19· · · · ·A.· ·Yes.                                  19· · · · · · · MR. McDONALD:· Objection.
  20· ·DIR· ·Q.· ·Do you know why these three           20· · · · · · · I direct the witness not to answer
  21· ·documents are cited in this complaint?           21· · · · ·on the basis of a pending proceeding.
  22· · · · · · · MR. McDONALD:· The same objection.    22· · · · ·Q.· ·Are you going to follow counsel's
  23· · · · ·The same direction.                        23· ·advice?
  24· · · · ·Q.· ·Are you going to follow counsel's     24· · · · ·A.· ·Yes.
  25· ·advice?                                          25· ·DIR· ·Q.· ·Can you turn the page, please, to

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  GRAHAM ROBINSON· 30(b)(6)                                      February 29, 2024
  In Re Ascentra Holdings Inc.                                            129–132
                                            Page 129                                              Page 131
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·number 7.                                        ·2· · · · ·asking for documents.
  ·3· · · · · · · Can you describe for me all facts     ·3· · · · ·Q.· ·Number 9.· Can you please -- are
  ·4· ·that the foreign representatives contend         ·4· ·you going to follow counsel's advice?
  ·5· ·support their assertion that they can            ·5· · · · ·A.· ·Yes.
  ·6· ·establish a likelihood of success on the         ·6· ·DIR· ·Q.· ·Number 9.· Can you please share
  ·7· ·merits with respect to a contractual basis for   ·7· ·with us the facts that the foreign
  ·8· ·entitlement to the Planet Payment funds?         ·8· ·representatives contend support their
  ·9· · · · · · · MR. McDONALD:· The same objection.    ·9· ·assertion that they can establish a likelihood
  10· · · · ·The same direction.                        10· ·of success on the merits with respect to an
  11· · · · · · · Also calls for divulging              11· ·equitable basis for entitlement to the Planet
  12· · · · ·attorney-client communications.            12· ·Payment funds?
  13· · · · ·Q.· ·You are going to follow counsel's     13· · · · · · · MR. McDONALD:· The same objection.
  14· ·advice?                                          14· · · · ·The same direction.
  15· · · · ·A.· ·Yes.                                  15· · · · ·Q.· ·Are you going to follow counsel's
  16· · · · · · · MR. MORRIS:· To be clear, I'm not     16· ·advice?
  17· · · · ·asking for any attorney-client             17· · · · ·A.· ·Yes.
  18· · · · ·privileged communications.· I'm just       18· ·DIR· ·Q.· ·Do you know if Ascentra Holdings,
  19· · · · ·asking for facts.                          19· ·Inc. ever had a contract with Planet Payment
  20· · · · · · · MR. McDONALD:· Understood.            20· ·for any purpose?
  21· · · · · · · MR. MORRIS:· Okay.· So I want to      21· · · · · · · MR. McDONALD:· Objection; the same
  22· · · · ·just --                                    22· · · · ·direction.
  23· · · · · · · MR. McDONALD:· The same objection.    23· · · · ·Q.· ·Are you going to follow counsel's
  24· · · · ·The same direction.                        24· ·advice?
  25· · · · · · · MR. MORRIS:· Okay.                    25· · · · ·A.· ·Yes.
                                            Page 130                                              Page 132
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· ·DIR· ·Q.· ·Looking at topic number 8, can you    ·2· ·DIR· ·Q.· ·Do you know whether any subsidiary
  ·3· ·please tell me all of the documents that the     ·3· ·of Ascentra Holdings, Inc. ever had a contract
  ·4· ·foreign representatives contend support their    ·4· ·of any kind with Planet Payment?
  ·5· ·assertion that they can establish a likelihood   ·5· · · · · · · MR. McDONALD:· The same direction.
  ·6· ·of success on the merits with respect to an      ·6· · · · ·The same objection.· The same direction.
  ·7· ·equitable basis for entitlement to the Planet    ·7· · · · ·Q.· ·Are you going to follow counsel's
  ·8· ·Payment funds?                                   ·8· ·advice?
  ·9· · · · · · · MR. McDONALD:· The same objection.    ·9· · · · ·A.· ·Yes.
  10· · · · ·The same direction.                        10· ·DIR· ·Q.· ·Does Ascentra Holdings, Inc. rely
  11· · · · · · · MR. MORRIS:· Does that include        11· ·upon the cancellation agreement to support its
  12· · · · ·attorney-client privilege or just the      12· ·claim to the Planet Payment funds?
  13· · · · ·pending-proceeding objection?              13· · · · · · · MR. McDONALD:· The same objection.
  14· · · · · · · MR. McDONALD:· You said you're not    14· · · · ·The same direction.
  15· · · · ·asking for any attorney-client             15· · · · ·Q.· ·Are you going to follow counsel's
  16· · · · ·privileged information.                    16· ·advice?
  17· · · · · · · MR. MORRIS:· Correct.                 17· · · · ·A.· ·Yes.
  18· · · · · · · MR. McDONALD:· So I'm just going      18· ·DIR· ·Q.· ·Do you understand what the
  19· · · · ·with the same objection, the same          19· ·cancellation is agreement -- withdrawn.
  20· · · · ·direction.                                 20· · · · · · · Do you understand what the
  21· · · · · · · MR. MORRIS:· Thank you.               21· ·cancellation agreement is that I referred to?
  22· · · · · · · MR. McDONALD:· And to the extent it   22· · · · · · · MR. McDONALD:· The same
  23· · · · ·does call for divulging attorney-client    23· · · · ·direction -- the same objection.· The
  24· · · · ·privilege, as I said before ...            24· · · · ·same direction.
  25· · · · · · · MR. MORRIS:· But, again, I'm just     25· · · · · · · MR. MORRIS:· All right.· I'll show

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  GRAHAM ROBINSON· 30(b)(6)                                      February 29, 2024
  In Re Ascentra Holdings Inc.                                            133–136
                                            Page 133                                              Page 135
  ·1· · · · · · · · · · G. ROBINSON                     ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·it to him just so there's no ambiguity.    ·2· · · · · · · MR. MORRIS:· And would you follow
  ·3· · · · · · · Let's mark as the next exhibit --     ·3· · · · ·counsel's advice in that regard?
  ·4· · · · · · · What is it, number 9?                 ·4· · · · · · · THE WITNESS:· Yes.
  ·5· · · · · · · THE COURT REPORTER:· Yes, sir.        ·5· · · · · · · MR. MORRIS:· Okay.· Now let's go
  ·6· · · · · · · MR. MORRIS:· -- the cancellation      ·6· · · · ·off the record, and we may just be done.
  ·7· · · · ·agreement.                                 ·7· · · · · · · MR. McDONALD:· Okay.
  ·8· · · · · · · (Robinson Exhibit 9, Exhibit E to     ·8· · · · · · · THE VIDEOGRAPHER:· This ends
  ·9· · · · ·declaration of Graham Robinson was         ·9· · · · ·unit 5.· We're off the record at 12:51.
  10· · · · ·marked for identification.)                10· · · · · · · (Pause in proceedings.)
  11· · · · ·Q.· ·Have you seen this document           11· · · · · · · THE VIDEOGRAPHER:· This begins
  12· ·before, sir?                                     12· · · · ·unit 6.· We're on the record at 12:56.
  13· · · · ·A.· ·Yes.                                  13· · · · · · · MR. MORRIS:· Okay.· Just a couple
  14· · · · ·Q.· ·And do you recall that this           14· · · · ·of more questions I think.· In light of
  15· ·document was attached as an exhibit to one of    15· · · · ·the instructions that you've been given,
  16· ·the declarations that was filed on your behalf   16· · · · ·I don't want to waste people's time
  17· ·in the Ascentra Holdings, Inc. Chapter 15        17· · · · ·here.
  18· ·matter?                                          18· ·BY MR. MORRIS:
  19· · · · ·A.· ·Yes.                                  19· ·DIR· ·Q.· ·Can you tell me what relief
  20· ·DIR· ·Q.· ·Okay.· Does Ascentra Holdings,        20· ·Ascentra Holdings, Inc. is seeking against
  21· ·Inc. rely on this document in any way to         21· ·SPGK in the Cayman Islands?
  22· ·support its contention that it's likely to       22· · · · · · · MR. McDONALD:· The same objection.
  23· ·succeed on the merits of its claim to the        23· · · · ·The same direction.
  24· ·Planet Payment funds?                            24· · · · ·Q.· ·Are you going to follow counsel's
  25· · · · · · · MR. McDONALD:· The same objection.    25· ·advice?
                                            Page 134                                              Page 136
  ·1· · · · · · · · · · G. ROBINSON                   ·1· · · · · · · · · · G. ROBINSON
  ·2· · · · ·The same direction.                      ·2· · · · ·A.· ·Yes.
  ·3· · · · ·Q.· ·Are you going to follow counsel's   ·3· ·DIR· ·Q.· ·Are you seeking anything other than
  ·4· ·advice?                                        ·4· ·the recovery of money from SPGK?
  ·5· · · · ·A.· ·Yes.                                ·5· · · · · · · MR. McDONALD:· The same objection.
  ·6· · · · · · · MR. MORRIS:· Let's take one more    ·6· · · · ·The same direction.
  ·7· · · · ·short break.                             ·7· · · · ·Q.· ·Are you going to follow counsel's
  ·8· · · · · · · Hold it.· Before we go off the      ·8· ·advice?
  ·9· · · · ·record.                                  ·9· · · · ·A.· ·Yes.
  10· · · · · · · Are you going to direct him not to  10· · · · · · · MR. MORRIS:· I have no further
  11· · · · ·answer any question that concerns any 11· · · · ·questions.· You know, subject to the
  12· · · · ·allegation or assertion that's set forth 12· · · · ·reservation of rights that I made early
  13· · · · ·in the complaint?                        13· · · · ·on about either seeking a preclusion
  14· · · · · · · MR. McDONALD:· Yes.                 14· · · · ·order or motion to compel.· But I don't
  15· · · · · · · MR. MORRIS:· And if you are given 15· · · · ·want to waste anybody's time here.
  16· · · · ·those directions, do you intend to       16· · · · ·So --
  17· · · · ·follow them?                             17· · · · · · · MR. McDONALD:· We appreciate that.
  18· · · · · · · THE WITNESS:· Yes.                  18· · · · · · · MR. MORRIS:· -- I'm done for the
  19· · · · · · · MR. MORRIS:· Would you direct him 19· · · · ·day.
  20· · · · ·not to answer any question relating to   20· · · · · · · MR. McDONALD:· Okay.
  21· · · · ·any allegation or contention set forth   21· · · · · · · THE VIDEOGRAPHER:· This is the
  22· · · · ·in the objection that was filed on       22· · · · ·videographer.
  23· · · · ·behalf of Ascentra Holdings that was     23· · · · · · · Will anyone be ordering the video?
  24· · · · ·marked as one of the earlier exhibits?   24· · · · · · · MR. McDONALD:· No.
  25· · · · · · · MR. McDONALD:· Yes.                 25· · · · · · · MR. MORRIS:· Yes, we will.

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                                                       Page 137                                                    Page 139
  ·1· · · · · · · · · · G. ROBINSON                               ·1· ·---------------- I N D E X -----------------------
                                                                  ·2· ·WITNESS· · · · ·EXAMINATION BY· · · · · · · · PAGE
  ·2· · · · · · · THE VIDEOGRAPHER:· Okay.· This                  ·3· ·G. ROBINSON· · ·MR. MORRIS· · · · · · · · · · · 6
  ·3· · · · ·concludes today's proceedings.· The                  ·4· ·---------------- EXHIBITS-------------------------
  ·4· · · · ·total number of video units was 6.                   · · ·ROBINSON· · · · · · · · · · · · · · · · · · · PAGE
                                                                  ·5
  ·5· · · · ·We're off the record at 12:58.                       · · · Robinson Exhibit 1, Amended Notice of· · · · ·27
  ·6· · · · · · · · · · · · ---                                   ·6· · Deposition of Ascentra Holdings, Inc.
  ·7· · · · · ·(Time noted:· 12:58 p.m. EST)                      ·7· · Robinson Exhibit 2, Organizational chart· · · 37
                                                                  ·8· · Robinson Exhibit 3, CWR Form Number 13,· · · ·59
  ·8                                                              · · · Joint Official Liquidators' Certificate
  ·9· · · · · · · · · · · ·_______________________                ·9
                                                                  · · · Robinson Exhibit 4, Declaration of Graham· · ·70
  10· · · · · · · · · · · · · ·GRAHAM ROBINSON                    10· · Robinson
  11                                                              11· · Robinson Exhibit 5, Letter to the Court,· · · 88
  12· ·Sworn and subscribed to before                             · · · dated December 29, 2023
                                                                  12
  13· ·me this _________day                                       · · · Robinson Exhibit 6, Letter to the Court· · · ·104
  14· ·of _____________________, 2024,                            13· · dated June 30, 2023
  15· ·in the jurisdiction aforesaid.                             14· · Robinson Exhibit 7, Foreign· · · · · · · · · ·119
                                                                  · · · Representatives' Objection to Motion of
  16                                                              15· · SPGK to Terminate Restraint
  17· ·___________________________________                        16· · Robinson Exhibit 8, Letter to the Court· · · ·122
  18· · · · · · ·NOTARY PUBLIC                                    · · · dated October 11, 2023
                                                                  17
  19                                                              · · · Robinson Exhibit 9, Exhibit E to· · · · · · · 133
  20                                                              18· · declaration of Graham Robinson
  21                                                              19
                                                                  20
  22                                                              21
  23                                                              22
                                                                  23
  24                                                              24
  25                                                              25

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  ·1· · · · · C E R T I F I C A T E                               ·1· ·---------------- I N D E X (Continued) ---------------
  ·2· ·STATE OF NEW YORK· · · )                                   ·2· ·DIRECTIONS NOT TO ANSWER
                                                                  ·3· ·Page· ·Line· · ·Page· ·Line· · Page· ·Line
  ·3· ·COUNTY OF NEW YORK· · ·)
                                                                  ·4· ·18· · · 6· · · · 97· · 13· · · 131· · · 6
  ·4· · · · · I, FRANK J. BAS, a Certified Shorthand Reporter     · · ·18· · ·25· · · ·100· · 20· · · 131· · ·18
  ·5· ·and Notary Public within and for the State of New          ·5· ·19· · ·13· · · ·122· · 22· · · 132· · · 2
                                                                  · · ·22· · ·21· · · ·124· · 19· · · 132· · ·10
  ·6· ·York, do hereby certify:
                                                                  ·6· ·51· · ·24· · · ·125· · 21· · · 132· · ·18
  ·7· · · · · That the witness whose testimony is hereinbefore    · · ·55· · · 3· · · ·126· · ·5· · · 133· · ·20
  ·8· ·set forth, was duly sworn by me and that such              ·7· ·57· · · 6· · · ·126· · 13· · · 135· · ·19
                                                                  · · ·57· · ·17· · · ·126· · 20· · · 136· · · 3
  ·9· ·testimony given by the witness was taken down
                                                                  ·8· ·83· · ·10· · · ·127· · ·3
  10· ·stenographically by me and then transcribed.               · · ·83· · ·22· · · ·128· · 12
  11· · · · · I further certify that I am not related by blood    ·9· ·84· · ·17· · · ·128· · 25
  12· ·or marriage to any of the parties in this matter and       · · ·85· · ·12· · · ·130· · ·2
                                                                  10
  13· ·that I am in no way interested in the outcome of this      11
  14· ·matter.                                                    · · ·REQUESTS
  15· · · · · That any copy of this transcript obtained from a    12
                                                                  · · ·Page· ·Line
  16· ·source other than the court reporting firm, including
                                                                  13
  17· ·from co-counsel, is uncertified and may not be used at     · · ·84· · ·14
  18· ·trial.                                                     14
                                                                  15
  19· · · · · IN WITNESS WHEREOF, I have hereunto set my hand
                                                                  16
  20· ·this 29th day of February, 2024.                           17
  21                                                              18
                                                                  19
  · · · · · · _______________________
                                                                  20
  22· · · · · FRANK J. BAS, RPR, CRR                              21
  23                                                              22
  24                                                              23
                                                                  24
  25
                                                                  25



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  ·1· · · · · · · · · ·DEPOSITION ERRATA SHEET                 ·1· ·DEPOSITION ERRATA PAGE
  ·2· ·Our Assignment No. J10806182                            ·2· ·Page No.____ Line No. _____ Change to:_______________
  · · ·Case Caption:· In re Ascentra Holdings, Inc.
                                                               ·3· ·_____________________________________________________
  ·3
  · · · · · · · DECLARATION UNDER PENALTY OF PERJURY           ·4· ·Reason for change: __________________________________
  ·4· · · I declare under penalty of perjury that I have       ·5· ·Page No.____ Line No. _____ Change to:_______________
  · · ·read the entire transcript of my deposition taken in
                                                               ·6· ·_____________________________________________________
  ·5· ·the above-captioned matter or the same has been read
  · · ·to me, and the same is true and accurate, save and      ·7· ·Reason for change:___________________________________
  ·6· ·except for changes and/or corrections, if any, as       ·8· ·Page No.____ Line No. _____ Change to:_______________
  · · ·indicated by me on the DEPOSITION ERRATA SHEET
                                                               ·9· ·_____________________________________________________
  ·7· ·hereof, with the understanding that I offer these
  · · ·changes as if still under oath.                         10· ·Reason for change:___________________________________
  ·8· · · · · · Signed on the ______ day of ____________       11· ·Page No.____ Line No. _____ Change to:_______________
  · · ·20___.
                                                               12· ·_____________________________________________________
  ·9· · · · · · ___________________________________
  · · · · · · · · · · · ·GRAHAM ROBINSON                       13· ·Reason for change:___________________________________
  10                                                           14· ·Page No.____ Line No. _____ Change to:_______________
  11
                                                               15· ·_____________________________________________________
  12· · · · · · Subscribed and sworn to on the ____ day of
  13· ·___________ 20 ____ before me.                          16· ·Reason for change:___________________________________
  14                                                           17· ·Page No.____ Line No. _____ Change to:_______________
  15· ·_______________________________
                                                               18· ·_____________________________________________________
  16· ·Notary Public, in and for the State of
  17· ·_________________________.                              19· ·Reason for change:___________________________________
  18                                                           20· ·Page No.____ Line No. _____ Change to:_______________
  19                                                           21· ·_____________________________________________________
  20
  21                                                           22· ·Reason for change:___________________________________
  22                                                           23
  23                                                           24· ·SIGNATURE:_______________________DATE:___________
  24
                                                               25· · · · · · · · ·GRAHAM ROBINSON
  25

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  ·1· ·DEPOSITION ERRATA PAGE
  ·2· ·Page No.____ Line No. _____ Change to:_______________
  ·3· ·_____________________________________________________
  ·4· ·Reason for change:___________________________________
  ·5· ·Page No.____ Line No. _____ Change to:_______________
  ·6· ·_____________________________________________________
  ·7· ·Reason for change:___________________________________
  ·8· ·Page No.____ Line No. _____ Change to:_______________
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  20· ·Page No.____ Line No. _____ Change to:_______________
  21· ·_____________________________________________________
  22· ·Reason for change:___________________________________
  23· ·SIGNATURE:_______________________DATE:___________
  24· · · · · · · · ·GRAHAM ROBINSON
  25



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  ASCENTRA HOLDINGS, INC.                                               1–4
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  ·1· ·IN THE UNITED STATES BANKRUPTCY COURT                 ·1· ·A P P E A R A N C E S:
                                                             ·2
  ·2· ·FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                             ·3· ·PILLSBURY WINTHROP SHAW PITTMAN LLP
  ·3· ·-------------------------------------x                · · ·Attorneys for Petitioners
                                                             ·4· · · · · 31 West 52nd Street
  ·4· ·In re
                                                             · · · · · · New York, New York 10019
  ·5· ·ASCENTRA HOLDINGS, INC. (In Official                  ·5
                                                             · · · · BY: HUGH M. McDONALD, ESQ.
  ·6· ·Liquidation),· · · · · · · · ·Chapter 15
                                                             ·6· · · · · (hugh.mcdonald@pillsburylaw.com)
  ·7· · · · · · · · · · · · · · · · ·Case No.21-11854(DSJ)   · · · · · · JOHN A. PINTARELLI, ESQ.
                                                             ·7· · · · · (john.pintarelli@pillsburylaw.com)
  ·8
                                                             ·8· · · · · · · ·-and-
  ·9· · · · · · ·Debtor in a                                 ·9· ·PILLSBURY WINTHROP SHAW PITTMAN LLP
                                                             · · · · · · 725 South Figueroa Street
  10· · · · · · ·Foreign Proceeding.
                                                             10· · · · · Los Angeles, California 90017
  11· ·--------------------------------------x               11· · · BY: CLAIRE K. WU, ESQ. (Via Zoom)
  12                                                         · · · · · · (claire.wu@pillsburylaw.com)
                                                             12
  13                                                         13· · · CAMPBELLS LLP
  14· · · · ·DEPOSITION OF ALEXANDER GRAY HENDERSON, KC      · · · · JOLs Cayman Islands Counsel
                                                             14· · · · · Floor 4, Willow House, Cricket Square
  15· · · · · · · · · · ·New York, New York                  · · · · · · Grand Cayman KY1-9010
  16· · · · · · · · Thursday, September 28, 2023             15· · · · · Cayman Islands
                                                             16· · · BY: NIENKE LILLINGTON, ESQ.
  17                                                         · · · · · · (nlillington@campbellslegal.com)
  18                                                         17· · · · · GUY COWAN, ESQ.
                                                             · · · · · · (gcowan@campbellslegal.com)
  19                                                         18
  20                                                         · · · · · · KATIE LOGAN, ESQ.(Via Zoom)
                                                             19· · · · · (klogan@campbellslegal.com)
  21                                                         20
  22                                                         · · ·BLAIR LEAHY KC (Via Zoom)
                                                             21· · · For Joint Liquidators of Ascentra Holdings
  23· ·Reported by:                                          · · · · 20 Essex St. Chambers
  · · ·Frank J. Bas, RPR, CRR                                22· · · London, England, United Kingdom
                                                             · · · · (bleahy@twentyessex.com)
  24· ·Job No. J10291184                                     23
  25                                                         24
                                                             25

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  ·1                                                         ·1· ·A P P E A R A N C E S:
                                                             ·2
  ·2                                                         ·3
  ·3· · · · · · · · · · · ·September 28, 2023                · · · WILBERFORCE CHAMBERS
                                                             ·4· · · 8 New Square, Lincoln's Inn
  ·4· · · · · · · · · · · ·9:19 a.m. EDT                     · · · · London, WC2A 3QP United Kingdom
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                                                             · · · · BY: GRAEME HALKERSTON, Barrister (Via Zoom)
  ·6· · · · · · Deposition of ALEXANDER GRAY                 ·6· · · · ·(ghalkerston@wilberforce.co.uk)
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                                                             · · · · BY: JESSICA WILLIAMS, ESQ.(Via Zoom)
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                                                             · · ·ALSO PRESENT VIA ZOOM:
  20                                                         20
                                                             · · · · JAMES PARKINSON
  21                                                         21· · · CAITLIN MURDOCK, Harneys
  22                                                         · · · · ANDREW JOHNSTONE
                                                             22· · · ANDREA BIANCA
  23                                                         · · · · KWAME AKUFFO
                                                             23· · · ALIANA DODDS
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · · · · THE COURT REPORTER:· On the record.   ·2· ·allow you to finish your answer before I begin
  ·3· · · · ·I'll ask counsel to state their            ·3· ·the next question, and if I fail to do that,
  ·4· · · · ·appearances, for the record.               ·4· ·and it might happen, will you let me know?
  ·5· · · · · · · MR. MORRIS:· John Morris, Pachulski   ·5· · · · ·A.· ·Yes.
  ·6· · · · ·Stang Ziehl & Jones for SPGK.              ·6· · · · ·Q.· ·And if I ask a question that you
  ·7· · · · · · · MR. DINE:· Jeffrey Dine, Pachulski    ·7· ·don't understand, will you let me know that,
  ·8· · · · ·Stang Ziehl & Jones for SPGK.              ·8· ·too?
  ·9· · · · · · · MR. McDONALD:· Hugh McDonald,         ·9· · · · ·A.· ·Yes.
  10· · · · ·Pillsbury Winthrop Shaw Pittman for the    10· · · · ·Q.· ·If you want to break at any time,
  11· · · · ·foreign representatives of Ascentra        11· ·just tell me and I'll be happy to accommodate
  12· · · · ·Holdings.                                  12· ·you as long as a question is not pending.
  13· · · · · · · · · · · ·_ _ _                        13· ·Okay?
  14                                                    14· · · · ·A.· ·Thank you.
  15· ·ALEXANDER GRAY HENDERSON,                        15· · · · ·Q.· ·And I think you're familiar with --
  16· ·called as a witness, having been first duly      16· ·I assume you're familiar based on those
  17· ·sworn by a Notary Public, was examined and       17· ·hundreds of depositions that from time to time
  18· ·testified as follows:                            18· ·your lawyer might lodge objections to my
  19· ·EXAMINATION BY                                   19· ·questions.· Are you familiar with that
  20· ·MR. MORRIS:                                      20· ·process?
  21· · · · ·Q.· ·Good morning, Mr. Henderson.          21· · · · ·A.· ·Yes.
  22· · · · ·A.· ·Good morning.                         22· · · · ·Q.· ·But that unless he specifically
  23· · · · ·Q.· ·My name is John Morris, I'm an        23· ·directs you not to answer, I'll either have an
  24· ·attorney at Pachulski Stang Ziehl & Jones and    24· ·opportunity to rephrase the question or I'll
  25· ·we're counsel for SPGK.                          25· ·just ask you to answer the question.· Is that
                                              Page 6                                                Page 8
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·A.· ·Thank you.                            ·2· ·fair?
  ·3· · · · ·Q.· ·And we're here today for your         ·3· · · · ·A.· ·Yes.
  ·4· ·deposition.· Do you understand that?             ·4· · · · ·Q.· ·Okay.· Did you do anything to
  ·5· · · · ·A.· ·Yes.                                  ·5· ·prepare for today's deposition?
  ·6· · · · ·Q.· ·Have you ever been deposed before?    ·6· · · · ·A.· ·I read over the declaration of
  ·7· · · · ·A.· ·No.                                   ·7· ·Ms. Pearson.· That was this morning.· On prior
  ·8· · · · ·Q.· ·Okay.                                 ·8· ·days I've done things to prepare as well.
  ·9· · · · ·A.· ·I've participated in hundreds of      ·9· · · · ·Q.· ·How many prior days did you spend
  10· ·depositions as counsel, if that helps.           10· ·preparing for today's deposition?
  11· · · · ·Q.· ·But you've never served as a          11· · · · ·A.· ·I did a fair bit of reading in the
  12· ·witness, is that right?                          12· ·Cayman Islands a couple of weeks ago.· That
  13· · · · ·A.· ·No.                                   13· ·would be probably a day or so.· And I met with
  14· · · · ·Q.· ·Did any of those hundreds of          14· ·counsel yesterday for preparation.
  15· ·depositions that you've participated in take     15· · · · ·Q.· ·And the things that you read, did
  16· ·place in the United States?                      16· ·you read them for the purposes of refreshing
  17· · · · ·A.· ·I've attended depositions in the      17· ·your recollection as to the matters that are
  18· ·United States.                                   18· ·at issue here?
  19· · · · ·Q.· ·Okay.· Some really simple ground      19· · · · ·A.· ·Yes, that would be one of the
  20· ·rules, I am going to ask a series of             20· ·purposes.
  21· ·questions, it's very important that you allow    21· · · · ·Q.· ·Okay.· Can you describe for me
  22· ·me to finish my question before you begin to     22· ·everything you recall reading in connection
  23· ·answer.· Do you understand that?                 23· ·with the preparation for today's deposition?
  24· · · · ·A.· ·Yes.                                  24· · · · ·A.· ·I recall reading my declaration,
  25· · · · ·Q.· ·It's also very important that I       25· ·Ms. Pearson's declaration.· I recall reading

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·some of Ms. Pearson's deposition.· At one        ·2· ·participate in the meeting?
  ·3· ·time, I suppose this would be quite early on,    ·3· · · · ·A.· ·No.· There were two attorneys from
  ·4· ·I read the motion, and Mr. Robinson's evidence   ·4· ·Pillsbury, two from Campbells, and myself.
  ·5· ·or declaration.· And Mr. Cowan's.                ·5· · · · ·Q.· ·And how long did you meet?
  ·6· · · · ·Q.· ·Do you recall that in your            ·6· · · · ·A.· ·From 10 a.m. until roughly 3 p.m.
  ·7· ·declaration --                                   ·7· ·or 3:30.
  ·8· · · · · · · MR. MORRIS:· Withdrawn.               ·8· · · · ·Q.· ·I do want to just thank you on the
  ·9· · · · ·Q.· ·You signed a declaration in support   ·9· ·record for your willingness to come to
  10· ·of the liquidators in this case, correct?        10· ·New York.
  11· · · · ·A.· ·Correct.                              11· · · · ·A.· ·It's always a pleasure to come to
  12· · · · ·Q.· ·And do you recall that in that        12· ·New York.
  13· ·declaration you identified certain documents     13· · · · ·Q.· ·If there's one thing that I hope
  14· ·that you had reviewed --                         14· ·that the parties can agree on, it's that
  15· · · · ·A.· ·Correct.                              15· ·saving costs is helpful and you're the reason
  16· · · · ·Q.· ·-- in order to form your opinions?    16· ·that we're able to do that.· So thank you.
  17· · · · ·A.· ·Yes, I do recall that.                17· · · · ·A.· ·Okay.
  18· · · · ·Q.· ·In preparing for today's deposition   18· · · · · · · MR. McDONALD:· John, before we go
  19· ·do you recall reviewing any document that        19· · · · ·on, if we could just put on the record
  20· ·wasn't identified in your declaration?           20· · · · ·that we're agreeing that all objections
  21· · · · ·A.· ·I looked at the 1862 Joint Stock      21· · · · ·are preserved?
  22· ·Companies Act in the U.K. to refresh my memory   22· · · · · · · MR. MORRIS:· Yes.
  23· ·on a bit of history.                             23· · · · · · · MR. McDONALD:· All right?· Do you
  24· · · · · · · I looked at a couple of 19th          24· · · · ·want the transcript read --
  25· ·century chancery court cases for the same        25· · · · · · · MR. MORRIS:· Except as to form.
                                             Page 10                                               Page 12
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·purpose.                                         ·2· · · · · · · MR. McDONALD:· Right.· Except as to
  ·3· · · · ·Q.· ·Anything else that you can recall?    ·3· · · · ·form.
  ·4· · · · ·A.· ·There was that Singapore judgment.    ·4· · · · · · · MR. MORRIS:· Yes.· We'll do the
  ·5· ·I read part of it.                               ·5· · · · ·same process that we did.
  ·6· · · · ·Q.· ·Is the Singapore judgment relevant    ·6· · · · · · · MR. McDONALD:· The same as we had
  ·7· ·to the opinions that are set forth in your       ·7· · · · ·before?
  ·8· ·declaration?                                     ·8· · · · · · · MR. MORRIS:· Yes.
  ·9· · · · ·A.· ·No.                                   ·9· · · · · · · MR. McDONALD:· Okay.· Thank you.
  10· · · · ·Q.· ·I appreciate that.· Because I think   10· · · · ·Q.· ·You've been engaged by Ascentra
  11· ·I saw it identified, but I didn't see any        11· ·Holdings to provide expert testimony in
  12· ·substantive opinion expressed with respect --    12· ·Ascentra's Chapter 15 proceeding in New York,
  13· · · · ·A.· ·It was given to me to be read and I   13· ·is that right?
  14· ·read it.                                         14· · · · ·A.· ·That is correct.
  15· · · · ·Q.· ·Okay.· You met with counsel to        15· · · · ·Q.· ·Do you recall when you were first
  16· ·prepare for today's deposition, do I have that   16· ·engaged?
  17· ·right?                                           17· · · · ·A.· ·Not really.· It might -- it must
  18· · · · ·A.· ·Correct.· Yes.                        18· ·have been in August sometime.
  19· · · · ·Q.· ·And was that yesterday?               19· · · · ·Q.· ·Sometime over the summer, is that
  20· · · · ·A.· ·Yes.                                  20· ·fair?
  21· · · · ·Q.· ·Was it just attorneys from            21· · · · ·A.· ·Probably.
  22· ·Pillsbury?                                       22· · · · ·Q.· ·And what were the circumstances
  23· · · · ·A.· ·No.· Attorneys from Campbells as      23· ·that led to your engagement by Ascentra?
  24· ·well.                                            24· · · · ·A.· ·I don't know.· Ascentra would have
  25· · · · ·Q.· ·Okay.· And did anybody else           25· ·to ask that -- answer that.


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Did somebody call you or send you     ·2· ·you recall about the assignment you were
  ·3· ·an email?                                        ·3· ·given?
  ·4· · · · ·A.· ·Oh, somebody sent me an email I       ·4· · · · ·A.· ·I was --
  ·5· ·think.· I think it was an email rather than a    ·5· · · · · · · MR. McDONALD:· To the extent you
  ·6· ·phone call.                                      ·6· · · · ·discussed it with Cowan's [sic] or us
  ·7· · · · ·Q.· ·And do you recall who first           ·7· · · · ·after your engagement, I counsel that
  ·8· ·approached you?                                  ·8· · · · ·it's privileged.· Okay?
  ·9· · · · ·A.· ·Somebody from Campbells.              ·9· · · · · · · THE WITNESS:· Yes.
  10· · · · ·Q.· ·But you --                            10· · · · ·A.· ·The initial assignment was fairly
  11· · · · ·A.· ·I'm sorry.· I don't recall the        11· ·vague, as I recall.· It was to give evidence
  12· ·name.· I probably have it in my file             12· ·on Cayman Islands law involving a winding up
  13· ·somewhere.· But I don't recall the name.         13· ·proceeding with a view to supporting a
  14· · · · ·Q.· ·Did you subsequently speak with       14· ·recognition order in New York.· I think that
  15· ·somebody about the potential engagement?         15· ·would be the summary.
  16· · · · ·A.· ·Yes.                                  16· · · · ·Q.· ·And did that initial vague
  17· · · · ·Q.· ·Do you recall who you spoke with?     17· ·assignment take on more specificity later in
  18· · · · ·A.· ·With Ms. Lillington, who is here.     18· ·time?
  19· ·Mr. Cowan, who is here.· There may have been     19· · · · ·A.· ·Yes.
  20· ·someone else as well.                            20· · · · ·Q.· ·And in what way did that vague
  21· · · · ·Q.· ·And who is Ms. Lillington?            21· ·assignment become more specific?
  22· · · · ·A.· ·She works at Campbells.               22· · · · ·A.· ·Well, it became clear that
  23· · · · ·Q.· ·And how about Mr. Cowan?              23· ·Ms. Pearson had submitted a declaration and in
  24· · · · ·A.· ·He works at Campbells.                24· ·fact had been deposed as well, and I was to
  25· · · · ·Q.· ·Do you recall what they told you in   25· ·respond to that.
                                             Page 14                                               Page 16
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·your initial conversation about why they were    ·2· · · · ·Q.· ·Did you help the attorneys
  ·3· ·calling you and what they were seeking?          ·3· ·representing the liquidators prepare for
  ·4· · · · ·A.· ·I don't really.· I mean, it would     ·4· ·Ms. Pearson's deposition?
  ·5· ·have been they want evidence given in            ·5· · · · ·A.· ·No.
  ·6· ·connection with a winding up proceeding, and I   ·6· · · · ·Q.· ·At the time you were engaged
  ·7· ·would have quoted them my hourly rate.· They     ·7· ·Ms. Pearson had already submitted a
  ·8· ·would have provided me with a list of            ·8· ·declaration in support of SPGK's motions, do
  ·9· ·potential conflicts so that I can do a           ·9· ·you understand that?
  10· ·conflicts search.                                10· · · · ·A.· ·I assume that to be true.· I only
  11· · · · ·Q.· ·Are these things that you recall      11· ·saw it sometime later.· But ...
  12· ·happening or things that you just assume         12· · · · ·Q.· ·Is it fair to say that you were
  13· ·happened because --                              13· ·given two assignments, one was to opine on
  14· · · · ·A.· ·I think because I don't recall        14· ·Cayman Islands winding up law and the other
  15· ·really.                                          15· ·was to review and opine on Ms. Pearson's
  16· · · · · · · (Reporter requests clarification.)    16· ·declaration and opinions?
  17· · · · ·Q.· ·Did there come a time when you were   17· · · · ·A.· ·No.· It was one assignment
  18· ·given a specific assignment?                     18· ·described in general terms at first and more
  19· · · · ·A.· ·Yes.                                  19· ·specific terms later, I think.
  20· · · · ·Q.· ·And do you recall when that was?      20· · · · ·Q.· ·Okay.· So the general terms in the
  21· · · · ·A.· ·No.                                   21· ·beginning were that you were asked to opine on
  22· · · · ·Q.· ·Do you recall what the assignment     22· ·Cayman Islands law on winding up in order to
  23· ·was?                                             23· ·support the recognition proceeding --
  24· · · · ·A.· ·Yes.· I do.                           24· · · · ·A.· ·Yes.
  25· · · · ·Q.· ·Can you please tell me everything     25· · · · ·Q.· ·-- in the United States, do I have


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  ·1· · · · · · · · · · A. Henderson                 ·1· · · · · · · · · · A. Henderson
  ·2· ·that right?                                   ·2· · · · ·Q.· ·Did you go through multiple drafts
  ·3· · · · ·A.· ·A general -- that was a general    ·3· ·or is it just one draft?
  ·4· ·description.                                  ·4· · · · ·A.· ·No.· There would be multiple
  ·5· · · · · · · MR. McDONALD:· Let him finish the ·5· ·drafts.
  ·6· · · · ·question.· Pause a little bit, okay?    ·6· · · · ·Q.· ·Do you recall how many drafts you
  ·7· · · · · · · THE WITNESS:· Okay.                ·7· ·wrote?
  ·8· · · · ·Q.· ·And then -- it is a little tricky  ·8· · · · ·A.· ·Probably three or four.· It would
  ·9· ·sitting in that seat.                         ·9· ·be one of those two.· Three or four.
  10· · · · · · · And then you were asked to expand 10· · · · ·Q.· ·Did you share any draft with
  11· ·on that further to deal with Ms. Pearson, is 11· ·anybody at any time?
  12· ·that fair?· Or did the assignment change in 12· · · · ·A.· ·Oh, yes.· With counsel.
  13· ·other ways?                                   13· · · · ·Q.· ·Did counsel provide to you any kind
  14· · · · ·A.· ·No.· It wasn't a question of       14· ·of outline that they wanted you to follow in
  15· ·expanding on it.· There was a very general 15· ·preparing the declaration?
  16· ·description given of the field of expertise   16· · · · ·A.· ·No.
  17· ·that was required, which is typical in these  17· · · · ·Q.· ·Did counsel provide any comments to
  18· ·assignments.· And then after the conflict     18· ·any draft that you prepared?
  19· ·search is done and the hourly rate is agreed 19· · · · ·A.· ·Yes.
  20· ·to and that sort of thing, then the specifics 20· · · · ·Q.· ·Do you recall any comments that any
  21· ·were given to me.                             21· ·lawyer, or anybody, provided to any draft of
  22· · · · · · · MR. MORRIS:· Let's mark as exhibit 22· ·your declaration?
  23· · · · ·1 your declaration.· And I do know that 23· · · · ·A.· ·I don't recall any specific
  24· · · · ·your declaration had some attachments, 24· ·comments.
  25· · · · ·but I've broken them out into pieces.   25· · · · ·Q.· ·Did they provide written comments
                                             Page 18                                               Page 20
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·So for the moment I'm just going to hand   ·2· ·to you?
  ·3· · · · ·to you your declaration.· Okay?            ·3· · · · ·A.· ·Yes.· They would have provided
  ·4· · · · · · · THE WITNESS:· Sure.                   ·4· ·comments embedded in a Microsoft Word version
  ·5· · · · · · · (Henderson Exhibit 1, Declaration     ·5· ·of the document.
  ·6· · · · ·of Mr. Henderson was marked for            ·6· · · · ·Q.· ·But you don't remember any of those
  ·7· · · · ·identification).                           ·7· ·comments?
  ·8· · · · ·Q.· ·This is your declaration, sir, is     ·8· · · · ·A.· ·No.
  ·9· ·that right?                                      ·9· · · · · · · MR. McDONALD:· I am going to
  10· · · · ·A.· ·Yes.                                  10· · · · ·object.· That's privileged.
  11· · · · ·Q.· ·And you signed it on the last page,   11· · · · · · · MR. MORRIS:· I don't agree with
  12· ·do I have that correct?                          12· · · · ·that, but are you directing him not to
  13· · · · ·A.· ·Yes.                                  13· · · · ·answer?
  14· · · · ·Q.· ·Did you review it before signing      14· · · · · · · MR. McDONALD:· I am directing him
  15· ·it?                                              15· · · · ·not to answer that question.
  16· · · · ·A.· ·Yes.                                  16· · · · · · · MR. MORRIS:· Okay.
  17· · · · ·Q.· ·And did you authorize counsel to      17· · · · ·Q.· ·Did you have all of the information
  18· ·file this in New York on your behalf?            18· ·that you believed you needed in order to
  19· · · · ·A.· ·That was implied.                     19· ·render your opinions at the time that you
  20· · · · ·Q.· ·Okay.· Who wrote this document?       20· ·prepared this declaration?
  21· · · · ·A.· ·I did.                                21· · · · ·A.· ·Yes.
  22· · · · ·Q.· ·And how long did it take you to       22· · · · ·Q.· ·Is there any information that you
  23· ·write?                                           23· ·can think of that was relevant to your
  24· · · · ·A.· ·Several hours.· I don't know how      24· ·analysis as set forth in the declaration that
  25· ·long exactly.                                    25· ·you were unable to obtain?


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · · · · MR. McDONALD:· Objection to form.     ·2· ·inaccurate?
  ·3· · · · · · · THE WITNESS:· I'm sorry, I            ·3· · · · ·A.· ·No.
  ·4· · · · ·didn't --                                  ·4· · · · ·Q.· ·Is there anything in your
  ·5· · · · · · · MR. McDONALD:· I just objected to     ·5· ·declaration that you now believe is
  ·6· · · · ·form.· You can answer.                     ·6· ·incomplete?
  ·7· · · · · · · THE WITNESS:· I see.                  ·7· · · · ·A.· ·No.
  ·8· · · · ·A.· ·The answer would be no.               ·8· · · · ·Q.· ·Is there anything in your
  ·9· · · · ·Q.· ·And if we go to paragraph 11, as I    ·9· ·declaration that you now believe needs to be
  10· ·referred to earlier.                             10· ·updated or modified in any way to ensure that
  11· · · · ·A.· ·Yes.                                  11· ·it fully and accurately reflects all of your
  12· · · · ·Q.· ·That's the list of documents and      12· ·opinions?
  13· ·materials that you reviewed to understand the    13· · · · ·A.· ·No.
  14· ·context in which your opinions were being        14· · · · ·Q.· ·Okay.· You attached two documents
  15· ·provided, is that correct?                       15· ·to your declaration, is that right?
  16· · · · ·A.· ·Yes.                                  16· · · · ·A.· ·Yes.
  17· · · · ·Q.· ·And how did you obtain this           17· · · · ·Q.· ·The first was the Cayman Islands
  18· ·information?                                     18· ·Companies Act, correct?
  19· · · · ·A.· ·It was given to me by counsel.        19· · · · ·A.· ·Yes.
  20· · · · ·Q.· ·And did counsel identify the          20· · · · ·Q.· ·And Part V of the Companies Act
  21· ·documents that are listed in paragraph 11?       21· ·provides rules concerning the winding up of
  22· · · · ·A.· ·Did counsel identify them?            22· ·Cayman Islands entities, is that fair?
  23· · · · ·Q.· ·Yeah.· I mean you didn't --           23· · · · · · · MR. McDONALD:· Object to the form.
  24· · · · ·A.· ·No.· The counsel just sent them to    24· · · · ·A.· ·Yes.
  25· ·me by email.                                     25· · · · ·Q.· ·Is that fair, sir?
                                             Page 22                                               Page 24
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Okay.· So they selected the           ·2· · · · ·A.· ·Yes.
  ·3· ·documents that you reviewed, is that fair?       ·3· · · · · · · MR. MORRIS:· Okay.· I am going to
  ·4· · · · ·A.· ·Correct.                              ·4· · · · ·mark as exhibit 2 the copies that I have
  ·5· · · · ·Q.· ·I may have asked you this earlier.    ·5· · · · ·of the Companies Act.
  ·6· ·If I did, I apologize.                           ·6· · · · · · · (Henderson Exhibit 2, Companies Act
  ·7· · · · · · · In formulating your opinions did      ·7· · · · ·was marked for identification).
  ·8· ·you consider any information that's not          ·8· · · · ·Q.· ·And I will represent to you if
  ·9· ·disclosed in paragraph 11?                       ·9· ·you'll look at the top of the document there's
  10· · · · ·A.· ·Well, I remember, as I say, going     10· ·a bunch of numbers and statements.· This
  11· ·and taking a look at the 1862 Joint Stock        11· ·document was attached to your declaration, do
  12· ·Companies Act in the U.K. and looking at two     12· ·I have that right?
  13· ·or three decisions from that era in the U.K.     13· · · · ·A.· ·Yes.
  14· ·chancery court.                                  14· · · · ·Q.· ·Why did you attach this document to
  15· · · · ·Q.· ·Anything else you can recall?         15· ·your declaration?
  16· · · · ·A.· ·No.· Nothing else that I can          16· · · · ·A.· ·Counsel wanted me to.
  17· ·recall.                                          17· · · · ·Q.· ·And the other document that you
  18· · · · ·Q.· ·Okay.· Is there anything in your --   18· ·attached to your declaration is known as the
  19· · · · · · · MR. MORRIS:· Withdrawn.               19· ·Companies Winding Up Rules, is that right?
  20· · · · ·Q.· ·You reviewed this declaration as      20· · · · ·A.· ·Yes.
  21· ·part of your preparation for today's             21· · · · · · · MR. MORRIS:· Let's mark that as
  22· ·deposition, correct?                             22· · · · ·exhibit 3.
  23· · · · ·A.· ·Yes.                                  23· · · · · · · (Henderson Exhibit 3, Companies
  24· · · · ·Q.· ·Okay.· Is there anything in your      24· · · · ·Winding Up Rules was marked for
  25· ·declaration that you now believe is              25· · · · ·identification).


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·And did you also attach that          ·2· · · · ·A.· ·The Parliament of the Cayman
  ·3· ·document to your declaration at the request of   ·3· ·Islands.
  ·4· ·counsel?                                         ·4· · · · ·Q.· ·And who adopted the Winding Up
  ·5· · · · ·A.· ·Yes.                                  ·5· ·Rules?
  ·6· · · · ·Q.· ·Taken together, do Part V of the      ·6· · · · ·A.· ·The Rules Committee in the first
  ·7· ·Companies Act and the Winding Up Rules taken     ·7· ·instance would have adopted them or perhaps
  ·8· ·together, does that constitute the Cayman        ·8· ·more technically recommended them, and then
  ·9· ·Island law that relates to the winding up of     ·9· ·they would have been adopted either by the
  10· ·companies in the Cayman Islands?                 10· ·governor or by the cabinet.
  11· · · · ·A.· ·Not entirely.                         11· · · · ·Q.· ·Do you know who adopted the
  12· · · · ·Q.· ·Can you describe for me what other    12· ·document we have marked as exhibit 3, the
  13· ·rules apply to the winding up of Cayman          13· ·Companies Winding Up Rules?
  14· ·Islands companies that are not contained in      14· · · · ·A.· ·I don't.· I would have to look it
  15· ·those two documents?                             15· ·up.
  16· · · · · · · MR. McDONALD:· Objection to form.     16· · · · ·Q.· ·Do you know when they were adopted?
  17· · · · ·A.· ·The régime manifested in a couple     17· · · · ·A.· ·I would have to look it up.
  18· ·of hundred years of decisions in the U.K.        18· · · · ·Q.· ·Do you know when the Companies Act
  19· ·emanating from the court of chancery.            19· ·was enacted?
  20· · · · ·Q.· ·I appreciate that.· And is it fair    20· · · · ·A.· ·Not precisely, no.· I only came to
  21· ·to say that you didn't cite to any of those      21· ·the Cayman Islands in the year 2000.
  22· ·decisions in your declaration?                   22· · · · ·Q.· ·Was Part V of the Companies Act --
  23· · · · ·A.· ·That's correct.                       23· ·had it been adopted at the time that you got
  24· · · · ·Q.· ·Okay.· So there's no decision that    24· ·to the Cayman Islands?
  25· ·you are specifically relying on in order to      25· · · · ·A.· ·Yes.
                                             Page 26                                               Page 28
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·formulate your opinions?                         ·2· · · · ·Q.· ·And how about the Companies Winding
  ·3· · · · ·A.· ·No specific decision, correct.        ·3· ·Up Rules, had they been adopted by the time
  ·4· · · · ·Q.· ·Okay.· Just to try to make this a     ·4· ·you got to the Cayman Islands?
  ·5· ·little easy, can we refer to the Part V of the   ·5· · · · ·A.· ·I think so, but I'm not sure.
  ·6· ·Companies Act and the Winding Up Rules           ·6· · · · ·Q.· ·You referred to a Rules Committee.
  ·7· ·together as the winding up laws of the Cayman    ·7· ·What Rules Committee are you referring to?
  ·8· ·Islands?                                         ·8· · · · ·A.· ·It's a committee appointed by the
  ·9· · · · ·A.· ·Yes.                                  ·9· ·attorney general and the chief justice to
  10· · · · ·Q.· ·Okay.· Do you know why the Winding    10· ·create rules for court proceedings.· They
  11· ·Up Rules are broken out into two pieces; one     11· ·draft the rules.· They don't necessarily give
  12· ·that's Part V of the Companies Act and one       12· ·them legal effect themselves.· The rules may
  13· ·that are the Winding Up Rules?                   13· ·require promulgation by the governor or by the
  14· · · · ·A.· ·I don't think I do know why, no.      14· ·cabinet.
  15· · · · ·Q.· ·Is there a custom or practice in      15· · · · ·Q.· ·And are the company Winding Up
  16· ·which the two sets of rules are used in the      16· ·Rules in exhibit 3, are those binding on
  17· ·Cayman Islands?                                  17· ·parties to winding up proceedings in the
  18· · · · ·A.· ·There's a trend in the Cayman         18· ·Cayman Islands?
  19· ·Islands, to which I largely object, that         19· · · · ·A.· ·They're binding.
  20· ·important provisions in the law are relegated    20· · · · ·Q.· ·If the take Part V of the Companies
  21· ·to rules rather than set out in statutes.        21· ·Act and the Winding Up Rules, is there one set
  22· · · · ·Q.· ·Is Part V of the Companies Act, is    22· ·of rules that are either more important or
  23· ·that a statute?                                  23· ·that take precedent over the other?
  24· · · · ·A.· ·Yes.                                  24· · · · · · · MR. McDONALD:· Objection to form.
  25· · · · ·Q.· ·And who passed that statute?          25· · · · ·A.· ·Yes, there is.


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Can you tell me how that works?       ·2· · · · · · · Do you see that?
  ·3· · · · ·A.· ·Part V of the Companies Act is        ·3· · · · ·A.· ·Yes.
  ·4· ·primary legislation and takes precedence over    ·4· · · · ·Q.· ·What does that mean?
  ·5· ·the rule-making power.· The Companies Winding    ·5· · · · ·A.· ·I'm sorry?
  ·6· ·Up Rules are subordinated legislation made       ·6· · · · ·Q.· ·What does that mean?
  ·7· ·pursuant to a power that I presume is found in   ·7· · · · ·A.· ·It means what I have said after the
  ·8· ·the Companies Act.· The rule making cannot       ·8· ·semi-colon, there is no statutory provision or
  ·9· ·extend beyond the jurisdiction granted for       ·9· ·common law rule that authorizes a legal
  10· ·that purpose by the Companies Act.               10· ·proceeding exclusively for the purpose of
  11· · · · ·Q.· ·Are you aware of any aspect of the    11· ·addressing the consequences of insolvency.
  12· ·Companies Winding Up Rules that conflicts with   12· ·Insolvency is simply a justification or a
  13· ·Part V of the Companies Act?                     13· ·ground for winding up the company.
  14· · · · ·A.· ·No, I haven't directed my mind to     14· · · · ·Q.· ·And is it fair to contrast that
  15· ·it.· But I'm not aware of any.                   15· ·with Chapter 11 in the United States as a
  16· · · · ·Q.· ·Do parties to a winding up            16· ·general matter?
  17· ·proceeding in the Cayman Islands that's under    17· · · · · · · MR. McDONALD:· Objection to form.
  18· ·judicial supervision, they're obligated to       18· · · · ·A.· ·I don't have enough knowledge of
  19· ·follow both the Companies Act and the Winding    19· ·Chapter 11 to contrast anything with it.
  20· ·Up Rules, right?                                 20· · · · ·Q.· ·Okay.· There's no proceeding in the
  21· · · · ·A.· ·That is correct.                      21· ·Cayman Islands that would allow a company to
  22· · · · ·Q.· ·Okay.· We've used the phrase          22· ·reorganize, is that fair?
  23· ·"winding up," right?                             23· · · · ·A.· ·No, we have -- we now have
  24· · · · ·A.· ·Yes.                                  24· ·provisions that allow for corporate
  25· · · · ·Q.· ·And I think the phrase                25· ·reorganization.
                                             Page 30                                               Page 32
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·"liquidation" is also used in your declaration   ·2· · · · ·Q.· ·And are they set forth in Part V of
  ·3· ·from time to time, is that right?                ·3· ·the Companies Act?
  ·4· · · · ·A.· ·Yes.· Certainly.· Yes.                ·4· · · · ·A.· ·They're in the Companies Act. I
  ·5· · · · ·Q.· ·In your opinion is there any          ·5· ·don't think they're in Part V.
  ·6· ·substantive difference between a winding up      ·6· · · · ·Q.· ·Okay.
  ·7· ·proceeding and a liquidation?                    ·7· · · · ·A.· ·They're probably in Part IV.
  ·8· · · · ·A.· ·Not in practice.· I suppose in        ·8· · · · ·Q.· ·So that concept of reorganization
  ·9· ·theory you could have a company that has no      ·9· ·is unrelated to the concept of winding up in
  10· ·assets and no liabilities.· So you simply wind   10· ·liquidation, is that fair?
  11· ·it up.· There's no need to liquidate anything.   11· · · · ·A.· ·Yes.
  12· ·In fact, I shouldn't say in theory.· I think     12· · · · ·Q.· ·Would you agree that a winding up
  13· ·that happens fairly regularly.                   13· ·or liquidation proceeding is a proceeding
  14· · · · ·Q.· ·I appreciate that.· With that         14· ·whereby a company undertakes a process with
  15· ·exception, are the terms in your opinion --      15· ·the express purpose of ending its corporate
  16· · · · ·A.· ·Yes.                                  16· ·existence?
  17· · · · ·Q.· ·-- interchangeable?                   17· · · · ·A.· ·Yes.
  18· · · · ·A.· ·They're functionally equivalent.      18· · · · ·Q.· ·And that's what we've defined as
  19· · · · ·Q.· ·Okay.· Can you turn to paragraph 16   19· ·the winding up laws are intended to do, is
  20· ·of your declaration, please?                     20· ·that fair?
  21· · · · ·A.· ·Yes.                                  21· · · · ·A.· ·Yes.
  22· · · · ·Q.· ·In paragraph 16 your first sentence   22· · · · ·Q.· ·And that's why in your opinion it
  23· ·says, quote, "strictly speaking there is no      23· ·doesn't matter if a company is solvent,
  24· ·such thing as an insolvency proceeding in the    24· ·insolvent or of doubtful insolvency, as long
  25· ·Cayman Islands."                                 25· ·as the process is one that's undertaken for


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·the purpose of ending the corporate existence,   ·2· · · · ·Q.· ·Because Ascentra's proceeding in
  ·3· ·then it's one that has to be undertaken          ·3· ·the Cayman Islands is a winding up proceeding,
  ·4· ·pursuant to the winding up laws, is that fair?   ·4· ·it is therefore a collective proceeding in
  ·5· · · · ·A.· ·Yes, I think that's fair.             ·5· ·your opinion, is that right?
  ·6· · · · ·Q.· ·And in fact in paragraph 17 you       ·6· · · · ·A.· ·Yes.
  ·7· ·specifically state that insolvency is just one   ·7· · · · ·Q.· ·And because it is a winding up
  ·8· ·circumstance that could lead to a winding up     ·8· ·proceeding under the winding up laws it is a
  ·9· ·proceeding, right?                               ·9· ·proceeding conducted under a law relating to
  10· · · · ·A.· ·Yes.                                  10· ·insolvency or the adjustment of debt, is that
  11· · · · ·Q.· ·Quote, "Whatever the justification    11· ·right?
  12· ·for a winding up order there's just one          12· · · · ·A.· ·Yes.
  13· ·available proceeding, an action commenced by     13· · · · ·Q.· ·And because it's a proceeding in
  14· ·petition in the Grand Court."                    14· ·the Cayman Islands for the purpose of winding
  15· · · · · · · Have I read that correctly?           15· ·up Ascentra, it is also a Cayman proceeding
  16· · · · ·A.· ·Yes.                                  16· ·for the purpose of reorganization or
  17· · · · ·Q.· ·And is it fair to say that's the      17· ·liquidation, correct?
  18· ·heart of your opinion?                           18· · · · ·A.· ·Yes.
  19· · · · ·A.· ·Yes.                                  19· · · · ·Q.· ·So that one concept can really be
  20· · · · ·Q.· ·And that opinion is really the        20· ·used to satisfy all three elements --
  21· ·foundation for your opinion back in paragraph    21· · · · ·A.· ·Yes.
  22· ·14, that the Cayman proceeding actually does     22· · · · ·Q.· ·-- in your opinion, is that fair?
  23· ·satisfy the elements that you've identified in   23· · · · ·A.· ·Yes.· It grounds my opinion of the
  24· ·paragraph 14, right?                             24· ·three elements.
  25· · · · ·A.· ·I'm sorry.· I don't understand --     25· · · · ·Q.· ·Okay.· And all of those opinions
                                             Page 34                                               Page 36
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Really bad question.· Really bad      ·2· ·are unaffected by the reason for the winding
  ·3· ·question.                                        ·3· ·up, is that fair?
  ·4· · · · · · · I'm just taking you from 17 back to   ·4· · · · ·A.· ·Well, the reason for the winding up
  ·5· ·14.· Paragraph 14 identifies three elements?     ·5· ·certainly plays an important role, because it
  ·6· · · · ·A.· ·Yes, it does.                         ·6· ·governs where the Court will put the weight
  ·7· · · · ·Q.· ·Okay.· And based on your opinions     ·7· ·when considering the opinions of the
  ·8· ·set forth in paragraph 17 as a general matter    ·8· ·creditors, the shareholders and it governs
  ·9· ·you believe that because the winding up          ·9· ·other things as well, including standing to
  10· ·régime, regardless of the cause of the winding   10· ·bring applications.· So I'm not sure I could
  11· ·up, results in the liquidation of the            11· ·agree with what you've just asked me.
  12· ·corporate entity, it therefore satisfies the     12· · · · ·Q.· ·Whether a company is solvent,
  13· ·three elements that are in paragraph 14, is      13· ·insolvent or of doubtful solvency, if they
  14· ·that fair?                                       14· ·want to liquidate under court supervision in
  15· · · · · · · MR. McDONALD:· Objection to form.     15· ·the Cayman Islands they must operate under the
  16· · · · ·A.· ·Well, if I understand the question,   16· ·winding up laws, correct?
  17· ·no.· I mean, I've identified in paragraph 14     17· · · · ·A.· ·Correct.
  18· ·what I understand to be the three live issues    18· · · · ·Q.· ·Okay.· And once you're winding up
  19· ·in this proceeding.· All I'm doing in            19· ·under the winding up laws in the Cayman
  20· ·paragraph 14 is setting them out.· I address     20· ·Islands, you necessarily satisfy each of the
  21· ·them subsequently.                               21· ·three elements in paragraph 14, right?
  22· · · · · · · My opinion on those three issues      22· · · · ·A.· ·I think so, yes.
  23· ·certainly depends heavily upon my                23· · · · ·Q.· ·Okay.· Let's go to paragraph 24.
  24· ·understanding that there is just one sort of     24· · · · ·A.· ·Yes.
  25· ·proceeding, it's a winding up proceeding.        25· · · · ·Q.· ·And here's where you address the


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·question of whether the Cayman proceeding is a   ·2· ·the Court as part of the --
  ·3· ·collective proceeding, right?                    ·3· · · · · · · MR. MORRIS:· Withdrawn.
  ·4· · · · ·A.· ·Yes.                                  ·4· · · · ·Q.· ·Would it be relevant to your
  ·5· · · · ·Q.· ·Okay.· And you don't cite to any      ·5· ·opinions --
  ·6· ·law to support any of the opinions in            ·6· · · · ·A.· ·Ah.
  ·7· ·paragraphs 24 or 25, right?                      ·7· · · · ·Q.· ·-- if a creditor lodged a complaint
  ·8· · · · ·A.· ·No.                                   ·8· ·with the Court in the Ascentra winding up
  ·9· · · · ·Q.· ·And it's your opinion that            ·9· ·proceeding?
  10· ·regardless of the reason for the winding up,     10· · · · ·A.· ·No.
  11· ·and by that I mean solvent, insolvent or of      11· · · · ·Q.· ·Okay.· And is that why you didn't
  12· ·doubtful insolvency, regardless of the reason    12· ·ask anybody?
  13· ·you believe it's a collective proceeding         13· · · · ·A.· ·Yes.
  14· ·because creditors and shareholders both have a   14· · · · ·Q.· ·Great.
  15· ·stake in the outcome, is that fair?              15· · · · · · · In the last sentence of paragraph
  16· · · · ·A.· ·Yes.                                  16· ·25 you state, quote, "Put another way,
  17· · · · ·Q.· ·You do acknowledge that creditors     17· ·although a creditor has no right to be heard,
  18· ·have no right to bring on sanctions,             18· ·the Court has a discretion to permit it as a
  19· ·applications or to sit on liquidation            19· ·necessary adjunct of the supervisory's
  20· ·committees of a solvent entity, correct?         20· ·function and the discretion will ordinarily be
  21· · · · ·A.· ·Yes.                                  21· ·exercised in the creditor's favor."
  22· · · · ·Q.· ·Okay.· But you do express the         22· · · · · · · Have I read that fairly?
  23· ·opinion that the Cayman proceeding is a          23· · · · ·A.· ·Correct.
  24· ·collective proceeding because among other        24· · · · ·Q.· ·Are you aware of any part of the
  25· ·things a Cayman judge has a duty to listen to    25· ·winding up laws that supports that opinion or
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·any creditor who complains, is that right?       ·2· ·observation?
  ·3· · · · ·A.· ·Yes.· Because of the supervisory      ·3· · · · ·A.· ·There was nothing in the Companies
  ·4· ·role played by the Court.                        ·4· ·Act or the Winding Up Rules that expressly
  ·5· · · · ·Q.· ·Is there any part of the winding up   ·5· ·provides for it.· But the supervisory function
  ·6· ·laws that you can cite me to for that            ·6· ·cannot be carried out correctly and fully
  ·7· ·proposition?                                     ·7· ·without the Court paying attention to all
  ·8· · · · ·A.· ·Not -- you don't find it set out      ·8· ·relevant information from whatever source.
  ·9· ·expressly in the Companies Act and the Rules,    ·9· · · · ·Q.· ·Do you know if the Court in the
  10· ·as I recall.· Although I could be wrong.· But    10· ·Ascentra winding up proceedings has ever been
  11· ·certainly there's many, many decisions in the    11· ·called upon to exercise the discretion that
  12· ·U.K. that refer to it.                           12· ·you've described in the last sentence of
  13· · · · ·Q.· ·Okay.· Dealing with the Ascentra      13· ·paragraph 25?
  14· ·case itself, are you aware of any complaint      14· · · · ·A.· ·No.
  15· ·that any creditor has brought to the court's     15· · · · ·Q.· ·Did you ask anybody whether the
  16· ·attention?                                       16· ·Cayman court ever exercised its discretion in
  17· · · · ·A.· ·No.                                   17· ·the way you've described in the last sentence
  18· · · · · · · MR. McDONALD:· Objection to form.     18· ·of paragraph 5?
  19· · · · ·Q.· ·Did you ever ask anybody whether      19· · · · ·A.· ·No.
  20· ·any creditor had any -- had ever complained in   20· · · · ·Q.· ·And that's because that's
  21· ·the context of the Ascentra winding up           21· ·irrelevant to your opinions, is that right?
  22· ·proceeding in the Cayman Islands?                22· · · · ·A.· ·Yes.· My opinion is a general one.
  23· · · · ·A.· ·No.                                   23· · · · ·Q.· ·Yes.· Thank you.
  24· · · · ·Q.· ·Would it be relevant to you whether   24· · · · · · · Paragraph 26 sets forth your
  25· ·or not a creditor ever lodged a complaint with   25· ·opinions as to why you believe the Cayman


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·proceeding authorized or conducted --            ·2· ·working under or operating under a statute
  ·3· · · · · · · MR. MORRIS:· Withdrawn.               ·3· ·that governs insolvency.
  ·4· · · · ·Q.· ·Paragraph 26 sets forth your          ·4· · · · ·Q.· ·Can you identify any provision of
  ·5· ·opinions as to why the Cayman proceeding         ·5· ·Part V of the Companies Act that pertains to
  ·6· ·relates to insolvency with the adjustment of     ·6· ·insolvent entities that a solvent entity in a
  ·7· ·debt, do I have that right?                      ·7· ·winding up proceeding would be obligated to
  ·8· · · · · · · MR. McDONALD:· Object to the form.    ·8· ·follow?
  ·9· · · · ·A.· ·Yes.                                  ·9· · · · ·A.· ·Well, I suppose section 92 itself,
  10· · · · ·Q.· ·Would you agree that the winding up   10· ·which provides the jurisdiction to wind up the
  11· ·laws as we've defined them are not laws of       11· ·Court.· That section provides for a winding up
  12· ·insolvency?                                      12· ·proceeding in the case of entities that are
  13· · · · ·A.· ·I would not agree.                    13· ·alleged to be insolvent and also in the case
  14· · · · ·Q.· ·Well, I thought your opinion          14· ·of entities where the company has passed a
  15· ·earlier stated that there is no law of           15· ·special resolution.
  16· ·insolvency in the Cayman Islands?                16· · · · ·Q.· ·But isn't it true that only the
  17· · · · ·A.· ·I didn't say that.                    17· ·portion of section 92 relating to the passage
  18· · · · ·Q.· ·I apologize.· I don't mean to put     18· ·of a special resolution would apply to a
  19· ·words in your mouth.                             19· ·company that's winding up that is also
  20· · · · ·A.· ·I said strictly speaking, there is    20· ·solvent?
  21· ·no such thing as an insolvency proceeding.       21· · · · ·A.· ·That's true.
  22· · · · ·Q.· ·Correct.                              22· · · · ·Q.· ·Okay.· So I am going to ask you
  23· · · · ·A.· ·Rather, there is a winding up         23· ·again:· Can you identify any provision in
  24· ·proceeding, which may be launched on any one     24· ·Part V of the Companies Act that pertains to
  25· ·of a number of grounds and one of those          25· ·insolvent entities, that a solvent liquidation
                                             Page 42                                               Page 44
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·grounds is insolvency.                           ·2· ·would be obligated to follow?
  ·3· · · · ·Q.· ·If the grounds are solvency would     ·3· · · · ·A.· ·Well, I mean -- and I hope I'm
  ·4· ·you agree that it's not a proceeding relating    ·4· ·understanding your question correctly, but
  ·5· ·to insolvency?                                   ·5· ·under section 94 sub 1:· An application to the
  ·6· · · · · · · MR. McDONALD:· Object to the form.    ·6· ·Court for the winding up of a company shall be
  ·7· · · · ·A.· ·So solvency is not a ground for       ·7· ·by petition.· That applies to both solvent and
  ·8· ·winding up.· The ground is that the              ·8· ·insolvent entities.
  ·9· ·shareholders have resolved to wind up the        ·9· · · · ·Q.· ·I appreciate that.· Thank you so
  10· ·company or that the company has reached its      10· ·much.
  11· ·term limit as set out in the articles or         11· · · · · · · But you would agree with me that
  12· ·perhaps some other ground.                       12· ·there were certain provisions in Part V that
  13· · · · ·Q.· ·So if shareholders agree to wind up   13· ·only pertain to insolvent entities, correct?
  14· ·a solvent company --                             14· · · · ·A.· ·Yes, I do.
  15· · · · ·A.· ·Yes.                                  15· · · · ·Q.· ·Okay.· And with respect to that set
  16· · · · ·Q.· ·-- would you agree that it would do   16· ·of provisions, are there any that a solvent
  17· ·so under laws that do not relate to              17· ·entity in a winding up proceeding would also
  18· ·insolvency?                                      18· ·be required to follow?
  19· · · · · · · MR. McDONALD:· Objection to form.     19· · · · ·A.· ·Perhaps not.· But I would have to
  20· · · · ·A.· ·I don't -- when they do that they     20· ·go through the entire part of Part V to be
  21· ·are doing so under the auspices of the           21· ·sure about it.
  22· ·Companies Act, and the Companies Act in Part V   22· · · · ·Q.· ·Okay.
  23· ·does relate to insolvency.· The shareholders     23· · · · ·A.· ·But most likely not.
  24· ·may not be relying on any particular provision   24· · · · ·Q.· ·Is there a process for the
  25· ·aimed at insolvent entities.· But they are       25· ·adjustment of debt that's applicable to a

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·winding up proceeding for its solvent entity?    ·2· ·right?
  ·3· · · · ·A.· ·There's nothing specific set out in   ·3· · · · · · · MR. McDONALD:· Object to the form.
  ·4· ·the Companies Act or the Winding Up Rules.       ·4· · · · ·A.· ·Yes.
  ·5· · · · ·Q.· ·And is it fair to say that --         ·5· · · · ·Q.· ·And a solvent entity is going to be
  ·6· · · · · · · MR. MORRIS:· Withdrawn.               ·6· ·required to pay its creditors, whether the
  ·7· · · · ·Q.· ·Would you agree that if you are a     ·7· ·debt arose before the petition was filed or
  ·8· ·solvent entity in a winding up proceeding in     ·8· ·after --
  ·9· ·the Cayman Islands, creditors are required to    ·9· · · · ·A.· ·Yes.
  10· ·be paid in the ordinary course of business?      10· · · · ·Q.· ·-- in the ordinary course of
  11· · · · · · · MR. McDONALD:· Object to the form.    11· ·business, right?
  12· · · · ·A.· ·Creditors are required to be paid     12· · · · · · · MR. McDONALD:· Object to the form.
  13· ·in the so-called ordinary course.· The only      13· · · · ·A.· ·It's required to pay those
  14· ·comment I would make is that the company         14· ·creditors, yes.
  15· ·that's being wound up is not in the ordinary     15· · · · ·Q.· ·And that's why there is no
  16· ·course of business.· But that's something the    16· ·adjustment of debt for a winding up proceeding
  17· ·Rules Committee should take into account.        17· ·involving a solvent debtor, fair?
  18· · · · ·Q.· ·But a company in, even a solvent      18· · · · · · · MR. McDONALD:· Objection.
  19· ·company --                                       19· · · · ·A.· ·It's fair with one proviso.· The
  20· · · · · · · MR. MORRIS:· Withdrawn.               20· ·liquidators may from time to time determine
  21· · · · ·Q.· ·Any company that's winding up is      21· ·that one of the claimed debts is not in fact
  22· ·going to take time --                            22· ·owing.
  23· · · · · · · MR. MORRIS:· Withdrawn.               23· · · · ·Q.· ·I appreciate that.
  24· · · · ·Q.· ·Is it fair to say that except for     24· · · · ·A.· ·But aside from that, yes.
  25· ·the circumstance that you mentioned earlier,     25· · · · ·Q.· ·Yes.· Putting aside disputed
                                             Page 46                                               Page 48
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·where a company has no assets and no             ·2· ·debts --
  ·3· ·liabilities, we'll call that a shell company,    ·3· · · · ·A.· ·Right.
  ·4· ·is that fair?                                    ·4· · · · ·Q.· ·Let me just finish the question.
  ·5· · · · ·A.· ·Yes.                                  ·5· ·Putting aside disputed debts, the liquidators
  ·6· · · · ·Q.· ·Except for shell companies --         ·6· ·of a solvent entity undergoing a winding up
  ·7· · · · ·A.· ·Call it a Cayman Islands company.     ·7· ·will be required to pay their debts in the
  ·8· · · · ·Q.· ·Except for that type of company,      ·8· ·ordinary course regardless of whether those
  ·9· ·any company, whether it's solvent or insolvent   ·9· ·debts were accumulated before the petition was
  10· ·is going to have to go through a process to      10· ·filed or after, correct?
  11· ·complete the winding up, right?                  11· · · · ·A.· ·Correct.
  12· · · · ·A.· ·Yes.                                  12· · · · ·Q.· ·Okay.· And in paragraphs 27 and 28
  13· · · · ·Q.· ·And that process can be completed     13· ·you address the third element that you
  14· ·in days, weeks, months or years, right?          14· ·identified at paragraph 14, and that is
  15· · · · ·A.· ·Yes.                                  15· ·whether the Cayman proceeding is, one,
  16· · · · ·Q.· ·And during that process the company   16· ·conducted for the purpose of reorganization or
  17· ·that's being wound up is going to have           17· ·liquidation, is that fair?
  18· ·expenses, right?                                 18· · · · ·A.· ·Yes.
  19· · · · ·A.· ·Yes.                                  19· · · · ·Q.· ·And you express the view that
  20· · · · ·Q.· ·And it's going to have to pay those   20· ·regardless of the cause of the winding up, and
  21· ·expenses, right?                                 21· ·regardless of whether the entity is solvent or
  22· · · · ·A.· ·Yes.                                  22· ·insolvent, the Cayman proceeding is one
  23· · · · ·Q.· ·And it might even have expenses       23· ·undertaken for the purpose of liquidation, is
  24· ·that it carried on its books that existed        24· ·that fair?
  25· ·before the petition was filed, isn't that        25· · · · ·A.· ·Yes.


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Okay.· Is it fair to say that         ·2· · · · ·A.· ·Yes.
  ·3· ·paragraphs 24 through 28 set forth all of your   ·3· · · · ·Q.· ·You've got a footnote there,
  ·4· ·opinions as to why you believe the Ascentra      ·4· ·footnote 7.
  ·5· ·proceeding in the Cayman Islands satisfies the   ·5· · · · ·A.· ·Mm-hmm.
  ·6· ·three elements that are set forth in paragraph   ·6· · · · ·Q.· ·Is that footnote intended to
  ·7· ·14?                                              ·7· ·identify all of the ways in which you believe
  ·8· · · · ·A.· ·Yes, that's the entirety of my        ·8· ·the rights of a creditor class will be
  ·9· ·opinion.                                         ·9· ·curtailed in the case of a solvent entity?
  10· · · · ·Q.· ·Okay.· Can we go to paragraph 20.     10· · · · ·A.· ·No.
  11· · · · ·A.· ·Yes.                                  11· · · · ·Q.· ·Are there other ways in which the
  12· · · · ·Q.· ·The first sentence expresses the      12· ·creditors class's rights will be curtailed
  13· ·view that, quote, "Limitations have been         13· ·that you didn't identify in footnote 7?
  14· ·introduced for the purpose, in your opinion,     14· · · · ·A.· ·Yes.· It's meant to be illustrative
  15· ·of ensuring efficient use of court time as       15· ·only.
  16· ·well as fairness between classes."· And that's   16· · · · ·Q.· ·Can you tell me what other rights
  17· ·the end of the quote.· Have I read that          17· ·will be curtailed, what other rights of the
  18· ·correctly?                                       18· ·creditor class will be curtailed in a winding
  19· · · · ·A.· ·Yes.                                  19· ·up proceeding of a solvent entity?
  20· · · · ·Q.· ·Okay.· What's the basis for that      20· · · · · · · MR. McDONALD:· Is it beyond what
  21· ·opinion?                                         21· · · · ·he's set forth in the footnote?
  22· · · · ·A.· ·Discussions I've had with members     22· · · · · · · MR. MORRIS:· Yes.· Thank you for
  23· ·of the Rules Committee and other attorneys,      23· · · · ·the clarification.
  24· ·and my overall understanding of how winding up   24· · · · · · · MR. McDONALD:· Thank you.
  25· ·proceedings are supposed to work.                25· · · · ·A.· ·Without looking --
                                             Page 50                                               Page 52
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·And what do you mean when you use     ·2· · · · · · · MR. MORRIS:· In fact, let me
  ·3· ·the phrase, "fairness between classes"?          ·3· · · · ·rephrase the question.
  ·4· · · · ·A.· ·Well, if for example, the entity is   ·4· · · · ·Q.· ·Other than the rights that are
  ·5· ·thought to be solvent, then primarily it's the   ·5· ·identified in footnote 7, can you identify any
  ·6· ·interests of the shareholders that have to be    ·6· ·other rights of the creditor class that in
  ·7· ·considered.                                      ·7· ·your view are curtailed in the case of a
  ·8· · · · ·Q.· ·And why is that?                      ·8· ·solvent entity?
  ·9· · · · ·A.· ·Because they're the ones who have     ·9· · · · ·A.· ·Well, I don't recall by section
  10· ·the financial stake in the ultimate outcome.     10· ·number exactly which rights I've referred to
  11· ·Or perhaps I should say the largest or the       11· ·there, but the emphasis that the Court will
  12· ·preeminent financial stake.                      12· ·place upon the views of the creditors is
  13· · · · ·Q.· ·If an entity is solvent, do           13· ·significantly diminished.· And that appears at
  14· ·creditors have any economic interest other       14· ·various times.
  15· ·than making sure the law is followed and they    15· · · · ·Q.· ·Can you think of any right that the
  16· ·receive payment in the ordinary course?          16· ·creditor class has in the case of a winding up
  17· · · · ·A.· ·They have an economic interest, but   17· ·proceeding involving a solvent debtor other
  18· ·it's not other than that.                        18· ·than the right to get paid in the ordinary
  19· · · · ·Q.· ·Thank you.                            19· ·course?
  20· · · · ·A.· ·That is their interest.               20· · · · · · · MR. McDONALD:· Objection to form.
  21· · · · ·Q.· ·The next sentence says, quote,        21· · · · ·A.· ·There's one or two, I think, rights
  22· ·"Where the company appears to be solvent, the    22· ·that they are provided by the Winding Up
  23· ·right of the creditor class to address the       23· ·Rules.· But I would have to go through the
  24· ·Court or to make important decisions is          24· ·rules to identify them.
  25· ·curtailed."                                      25· · · · ·Q.· ·I do appreciate that.· But off the

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·top of your head you can't think of any, is      ·2· · · · ·A.· ·Three, four, five maybe.· I don't
  ·3· ·that fair?                                       ·3· ·know.
  ·4· · · · ·A.· ·No.· As far as rights go, no.         ·4· · · · ·Q.· ·Before you were contacted in
  ·5· · · · ·Q.· ·Okay.· You are currently an           ·5· ·connection with this case when was the last
  ·6· ·attorney with Dentons, do I have that right?     ·6· ·time --
  ·7· · · · ·A.· ·Correct.                              ·7· · · · · · · MR. MORRIS:· Withdrawn.
  ·8· · · · ·Q.· ·Have you ever been licensed to        ·8· · · · ·Q.· ·Are you working with Campbells in
  ·9· ·practice law in the United States?               ·9· ·any other case at this time?
  10· · · · ·A.· ·No.                                   10· · · · ·A.· ·I was contacted a couple of days
  11· · · · ·Q.· ·Do you consider yourself an expert    11· ·ago about a case, and I don't know if it was
  12· ·on any aspect of United States law?              12· ·someone in connection with Campbells or not.
  13· · · · ·A.· ·No.                                   13· ·I would have to ask counsel.
  14· · · · ·Q.· ·So you are not offering any           14· · · · ·Q.· ·Is there a particular person or
  15· ·opinions as to any aspect of United States       15· ·group at Campbells with whom you have a
  16· ·law, is that fair?                               16· ·business relationship?
  17· · · · ·A.· ·Not at all.                           17· · · · · · · MR. McDONALD:· Objection to form.
  18· · · · ·Q.· ·Okay.· Your opinions are limited to   18· · · · ·A.· ·I don't think I would call it a
  19· ·matters involving Cayman Islands law, is that    19· ·business relationship.· The litigation
  20· ·right?                                           20· ·department at Campbells from time to time asks
  21· · · · ·A.· ·That's correct.                       21· ·me to give expert evidence.· And I've also
  22· · · · ·Q.· ·Have you ever filed a declaration     22· ·acted as arbitrator in cases where Campbells
  23· ·in any court in the United States?               23· ·was on one side of the matter.
  24· · · · ·A.· ·Oh, yes.                              24· · · · ·Q.· ·Of the three or four times that you
  25· · · · ·Q.· ·How many times have you done that?    25· ·recall providing expert opinions on behalf of
                                             Page 54                                               Page 56
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·A.· ·It would be probably less than ten.   ·2· ·a Campbells client, when was the last time you
  ·3· ·Seven, eight.· Something like that.              ·3· ·did that before this case?
  ·4· · · · ·Q.· ·Have any of them been in connection   ·4· · · · ·A.· ·I don't know.· It would either be
  ·5· ·with a Chapter 15 case?                          ·5· ·this year or last year.· But I don't know.
  ·6· · · · ·A.· ·Probably, but I don't remember for    ·6· · · · ·Q.· ·Is that case complete or is it
  ·7· ·sure.                                            ·7· ·still going?
  ·8· · · · ·Q.· ·As you sit here today right now you   ·8· · · · ·A.· ·Yes, all the other cases are
  ·9· ·can't identify an instance where you offered     ·9· ·complete.· Yes.
  10· ·opinions concerning a Chapter 15 entity, is      10· · · · ·Q.· ·Okay.· You were a barrister in
  11· ·that right?                                      11· ·Canada for I guess about 25 years?
  12· · · · ·A.· ·I can't remember offhand, no.         12· · · · ·A.· ·Correct.
  13· · · · ·Q.· ·And you mentioned the law firm        13· · · · ·Q.· ·What type of matters did you work
  14· ·Campbells earlier, do I have that right?         14· ·on during that time?
  15· · · · ·A.· ·Yes.                                  15· · · · ·A.· ·Broad variety of litigation matters
  16· · · · ·Q.· ·And do you have an understanding of   16· ·with an emphasis on prosecuting white-collar
  17· ·who Campbells represents in connection with      17· ·crime.· I acted for the Securities and
  18· ·this proceeding?                                 18· ·Exchange Commission in British Columbia as
  19· · · · ·A.· ·I understand they are on the          19· ·outside counsel.· But it was a broad practice.
  20· ·Ascentra side of things.                         20· · · · ·Q.· ·Did you have any matters during
  21· · · · ·Q.· ·Okay.· And you've given expert        21· ·that 25-year period that had anything to do
  22· ·evidence on other occasions for Campbell         22· ·with Cayman Islands insolvency laws?
  23· ·clients, correct?                                23· · · · ·A.· ·No.
  24· · · · ·A.· ·Yes.                                  24· · · · ·Q.· ·Anything during that 25-year period
  25· · · · ·Q.· ·How many times have you done that?    25· ·that had anything to do with the winding up

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·laws as we've defined them?                      ·2· · · · ·Q.· ·And is it fair to say that nothing
  ·3· · · · ·A.· ·No.                                   ·3· ·that you did during those 33 years helped form
  ·4· · · · ·Q.· ·Anything to do with the liquidation   ·4· ·your opinions set forth in your declaration?
  ·5· ·of companies --                                  ·5· · · · ·A.· ·That's fair, other than, you know,
  ·6· · · · · · · MR. MORRIS:· Withdrawn.               ·6· ·very broadly, 33 years of legal experience
  ·7· · · · ·Q.· ·During that 25-year period did you    ·7· ·goes into it.
  ·8· ·provide any advice to anybody in connection      ·8· · · · ·Q.· ·And then from 2003 to 2015 you sat
  ·9· ·with the winding up or liquidation of a          ·9· ·as a judge on the Grand Court of the Cayman
  10· ·corporate entity?                                10· ·Islands, correct?
  11· · · · ·A.· ·Probably not.                         11· · · · ·A.· ·Yes.· So from 2000 to 2003 I sat as
  12· · · · ·Q.· ·That's relevant -- I was going to     12· ·an acting judge on a number of occasions.
  13· ·say, that's relevant to your opinions today.     13· · · · ·Q.· ·During your time as a judge in the
  14· · · · ·A.· ·Oh, that's relevant to my opinion?    14· ·Cayman Islands, did you ever oversee a winding
  15· · · · ·Q.· ·Yeah, let's cut to the chase.         15· ·up proceeding involving a solvent entity?
  16· · · · ·A.· ·No.· No.                              16· · · · ·A.· ·Oh, I'm sure I did.· Yes, I must
  17· · · · ·Q.· ·And then for about eight years        17· ·have.· I don't recall specifically.· But a lot
  18· ·thereafter from 1995 to 2003 you were a judge    18· ·of solvent winding-ups take place there.
  19· ·in Canada, do I have that right?                 19· · · · ·Q.· ·And during that 12-year period, did
  20· · · · ·A.· ·That is correct.                      20· ·you ever have occasion to exercise your
  21· · · · ·Q.· ·And what court did you sit on?        21· ·discretion to permit a creditor to bring
  22· · · · ·A.· ·Supreme Court of British Columbia.    22· ·complaints to you?
  23· · · · ·Q.· ·And what kind of cases did you hear   23· · · · · · · MR. MORRIS:· Withdrawn.
  24· ·as a member of the Supreme Court of British      24· · · · ·Q.· ·During the 12-year period,
  25· ·Columbia?                                        25· ·focussing only on the cases of solvent
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·A.· ·Well, there was no formal             ·2· ·entities in winding up proceedings, did you
  ·3· ·specialization there, so I heard all types of    ·3· ·ever have occasion to adjudicate a creditor
  ·4· ·cases.                                           ·4· ·complaint?
  ·5· · · · ·Q.· ·Did any of the cases that you         ·5· · · · · · · MR. McDONALD:· Objection to form.
  ·6· ·oversaw as a judge during that eight-year        ·6· · · · ·A.· ·I probably did.· I would certainly
  ·7· ·period involve the winding up laws as we've      ·7· ·have no reason to close my ears to the
  ·8· ·defined it?                                      ·8· ·complaint, if it were made.
  ·9· · · · · · · MR. McDONALD:· Objection to the       ·9· · · · ·Q.· ·I appreciate that.· I am just going
  10· · · · ·form.                                      10· ·to ask you if you can identify any case where
  11· · · · ·A.· ·I don't recall ever having been the   11· ·you had to use your discretion in resolving a
  12· ·assigned judge on a, what I'll call a            12· ·creditor complaint that was lodged in the case
  13· ·substantial winding up case in Canada.· I may    13· ·of a solvent entity that was winding up?
  14· ·have heard motions in chambers from time to      14· · · · ·A.· ·I have no specific recollection of
  15· ·time.· I probably did.                           15· ·any such case.
  16· · · · ·Q.· ·Is there anything about your time     16· · · · ·Q.· ·During your time on the bench in
  17· ·as a judge in Canada that you are relying upon   17· ·Cayman Islands, did you ever rule on a
  18· ·in order to formulate your opinions in this      18· ·sanction application that was filed by a
  19· ·case?                                            19· ·creditor in a winding up proceeding involving
  20· · · · ·A.· ·No.                                   20· ·a solvent entity?
  21· · · · ·Q.· ·Okay.· So is it fair to say that      21· · · · ·A.· ·Well, I mean I don't remember, but
  22· ·nothing you did in Canada from 1970 to 2003      22· ·probably not because a creditor has no
  23· ·concerned the interpretation of any aspect of    23· ·standing to file a sanction application. A
  24· ·the winding up laws?                             24· ·creditor could make a complaint informally by
  25· · · · ·A.· ·That is fair.                         25· ·writing to the Court, something of that sort.

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·But they can't file a formal application.        ·2· · · · ·short break?
  ·3· · · · ·Q.· ·We'll talk about that more in a       ·3· · · · · · · THE WITNESS:· Certainly.
  ·4· ·minute.                                          ·4· · · · · · · THE COURT REPORTER:· Ten minutes?
  ·5· · · · · · · Do you have any recollection of a     ·5· · · · · · · MR. MORRIS:· Yes, that's fine.
  ·6· ·creditor filing a complaint with the Court in    ·6· · · (Recess from 10:26 a.m. to 10:41 a.m.)
  ·7· ·connection with a winding up proceeding          ·7· · · · · · · MR. MORRIS:· Just as a reminder,
  ·8· ·involving a solvent entity?                      ·8· · · · ·you're still under oath.
  ·9· · · · ·A.· ·No specific recollection, no.         ·9· · · · ·Q.· ·Do you understand, Mr. Henderson,
  10· · · · ·Q.· ·And is it fair to say that during     10· ·that Ascentra is an exempt Cayman Islands
  11· ·your time on the bench there was never an        11· ·company, correct?
  12· ·instance where a creditor sat on the             12· · · · ·A.· ·Yes.
  13· ·liquidation committee of a solvent entity that   13· · · · ·Q.· ·That is your understanding, that's
  14· ·was being wound up?                              14· ·in your declaration, right?
  15· · · · ·A.· ·I can't answer that because I         15· · · · ·A.· ·Yeah, if I said that, then I
  16· ·wouldn't know who the members -- who all the     16· ·understand it.
  17· ·members are of the liquidation committee at      17· · · · ·Q.· ·And you also understand that in
  18· ·any given moment.                                18· ·2021 the shareholders of Ascentra resolved
  19· · · · ·Q.· ·But, in fact, creditors are barred    19· ·unanimously to place Ascentra in voluntary
  20· ·from sitting on the liquidation committee of a   20· ·liquidation, correct?
  21· ·solvent entity that's underlying a winding-up,   21· · · · ·A.· ·Yes.
  22· ·correct?                                         22· · · · ·Q.· ·And did you learn those facts from
  23· · · · ·A.· ·That is correct.                      23· ·counsel?
  24· · · · ·Q.· ·And that's why really you can't       24· · · · ·A.· ·Yes.
  25· ·recall, because it never happened that a         25· · · · ·Q.· ·Do you know who the shareholders of
                                             Page 62                                               Page 64
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·creditor sat on a liquidation committee under    ·2· ·Ascentra are?
  ·3· ·those circumstances, fair?                       ·3· · · · ·A.· ·No.
  ·4· · · · · · · MR. McDONALD:· Objection to the       ·4· · · · ·Q.· ·Do you know if a liquidation
  ·5· · · · ·form.                                      ·5· ·committee was formed in connection with the
  ·6· · · · ·A.· ·It's been my experience that          ·6· ·Ascentra bankruptcy?
  ·7· ·liquidation committees are rather loosely        ·7· · · · ·A.· ·At the moment, no.
  ·8· ·organized.· It's possible that a company that    ·8· · · · · · · MR. MORRIS:· Withdrawn.· It was a
  ·9· ·was first believed to be insolvent would have    ·9· · · · ·bad word.
  10· ·creditors on the liquidation committee, then     10· · · · ·Q.· ·Do you know if the liquidation
  11· ·the opinion changes and the company is           11· ·committee was formed in connection with
  12· ·expected to be solvent, and those creditors      12· ·Ascentra's winding up proceeding?
  13· ·continue to attend meetings.· I could see that   13· · · · ·A.· ·At the moment, no.· I would have to
  14· ·happening.· I don't have a recollection of it    14· ·perhaps look at Mr. Robinson's declaration to
  15· ·happening.· I don't know that it's happened.     15· ·see what he said on the subject.
  16· ·But that's the kind of thing that could          16· · · · · · · MR. MORRIS:· I am just going to
  17· ·happen.                                          17· · · · ·mark as exhibit 4 a document that's
  18· · · · ·Q.· ·Well, but can it?· Because under      18· · · · ·entitled CWR Form 15.
  19· ·the winding up laws, if the company is           19· · · · · · · (Henderson Exhibit 4, CWR Form 15
  20· ·solvent, creditors are barred from serving on    20· · · · ·was marked for identification).
  21· ·liquidation committees, isn't that the law?      21· · · · ·Q.· ·Are you generally familiar with CWR
  22· · · · · · · MR. McDONALD:· Object to the form.    22· ·Form 15?
  23· · · · ·A.· ·Yes.· It's not supposed to happen.    23· · · · ·A.· ·Honestly, no.· As a judge I'm not
  24· · · · · · · MR. MORRIS:· Okay.· If you would      24· ·much concerned with forms.· I'm sure I have
  25· · · · ·forgive me I would like to just take a     25· ·seen it at one time or another, but it's not

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·something I pay a lot of attention to in the     ·2· · · · ·Q.· ·So they engaged you but you haven't
  ·3· ·ordinary course.                                 ·3· ·communicated with them about this matter?
  ·4· · · · ·Q.· ·Okay.· Have you seen this             ·4· · · · ·A.· ·That is correct.
  ·5· ·particular document before?                      ·5· · · · ·Q.· ·Have you ever worked with
  ·6· · · · ·A.· ·It might have been attached to        ·6· ·Mr. Robinson before?
  ·7· ·Mr. Robinson's declaration, in which case I      ·7· · · · ·A.· ·I don't remember him, no.
  ·8· ·would have seen it.· I don't remember.           ·8· · · · ·Q.· ·Have you ever worked with Ivy Chua
  ·9· · · · ·Q.· ·Do you see that it says               ·9· ·before?
  10· ·specifically in the middle, that the company     10· · · · ·A.· ·I don't think so, no.
  11· ·is solvent?                                      11· · · · ·Q.· ·Now, it's your understanding that
  12· · · · ·A.· ·Yes, I see that.                      12· ·the shareholders did not sign a declaration of
  13· · · · ·Q.· ·And that's a declaration that's       13· ·solvency, correct?
  14· ·made for purposes of section 110 --              14· · · · · · · MR. McDONALD:· Object to the form.
  15· · · · ·A.· ·Yes.                                  15· · · · ·A.· ·Correct.· Yes, yes.
  16· · · · ·Q.· ·-- of the Companies Act?              16· · · · ·Q.· ·That is your understanding?
  17· · · · ·A.· ·Yes.                                  17· · · · ·A.· ·The directors did not sign a
  18· · · · ·Q.· ·Looking at the three people who are   18· ·declaration of solvency.
  19· ·identified here, have you ever communicated      19· · · · ·Q.· ·I apologize.· Let me rephrase the
  20· ·with any of those people?                        20· ·question.
  21· · · · ·A.· ·No.                                   21· · · · · · · It's your understanding that
  22· · · · ·Q.· ·Were you aware before this moment     22· ·Ascentra's directors never signed a
  23· ·of the identity of the members of the            23· ·declaration of solvency, is that correct?
  24· ·liquidation committee?                           24· · · · ·A.· ·That is my understanding.
  25· · · · ·A.· ·Probably not.                         25· · · · ·Q.· ·Okay.· Do you know why they didn't
                                             Page 66                                               Page 68
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Is it fair to say that the            ·2· ·sign?
  ·3· ·composition of the liquidation committee is      ·3· · · · ·A.· ·No.
  ·4· ·not relevant to your opinions?                   ·4· · · · ·Q.· ·Did you ever ask anybody?
  ·5· · · · ·A.· ·Yes, it's fair.                       ·5· · · · ·A.· ·No.
  ·6· · · · ·Q.· ·And you do understand that the        ·6· · · · ·Q.· ·Is the reason they didn't sign the
  ·7· ·shareholders of Ascentra appointed               ·7· ·solvency certificate relevant to your opinions
  ·8· ·Mr. Robinson and Ivy Chua --                     ·8· ·in any way?
  ·9· · · · ·A.· ·Chua or Chua [pronouncing].           ·9· · · · ·A.· ·No.
  10· · · · · · · MR. MORRIS:· Chua?                    10· · · · ·Q.· ·But because they didn't sign,
  11· · · · · · · MR. McDONALD:· Yes.                   11· ·Ascentra's liquidation process was brought
  12· · · · ·Q.· ·-- as Ascentra's liquidators?         12· ·under the supervision of the Grand Court of
  13· · · · ·A.· ·I understand that.                    13· ·the Cayman Islands, is that fair?
  14· · · · ·Q.· ·And can we just refer to them         14· · · · ·A.· ·That is correct.
  15· ·together as the JOLs?                            15· · · · ·Q.· ·Okay.· And within a week of the
  16· · · · ·A.· ·Yes.                                  16· ·filing you understand that the JOLs filed a
  17· · · · ·Q.· ·And you've been engaged in this       17· ·certificate stating that Ascentra should be
  18· ·matter by the JOLs in fact, right?               18· ·treated as a solvent entity, correct?
  19· · · · ·A.· ·Yes.                                  19· · · · · · · MR. McDONALD:· Object to the form.
  20· · · · ·Q.· ·Have you spoken with Ms. Chua about   20· · · · ·A.· ·Yes.
  21· ·this matter?                                     21· · · · ·Q.· ·And that's set forth in paragraph
  22· · · · ·A.· ·No.                                   22· ·12 of your declaration, right?
  23· · · · ·Q.· ·Have you spoken with Mr. Robinson     23· · · · ·A.· ·Yes.
  24· ·about this matter?                               24· · · · · · · MR. MORRIS:· Let's mark as exhibit
  25· · · · ·A.· ·No.                                   25· · · · ·5 a document titled CWR Form Number 13.


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · · · · (Henderson Exhibit 5, CWR Form        ·2· · · · ·the court reporter got your prior
  ·3· · · · ·Number 13 was marked for                   ·3· · · · ·question totally.
  ·4· · · · ·identification).                           ·4· · · · · · · MR. MORRIS:· So let me ask it
  ·5· · · · ·Q.· ·Have you seen this document before?   ·5· · · · ·again.
  ·6· · · · ·A.· ·As with the previous one, I -- I      ·6· · · · · · · MR. McDONALD:· It says "Well, their
  ·7· ·don't know if I've seen it or not.· That         ·7· · · · ·views or wishes as ..."
  ·8· ·probably depends upon whether it was attached    ·8· · · · · · · MR. MORRIS:· I appreciate that.
  ·9· ·to Mr. Robinson's declaration or not.            ·9· · · · ·Let me re-ask the question then.
  10· · · · ·Q.· ·Well, you did mention --              10· · · · ·Q.· ·Is there any provision in the
  11· · · · ·A.· ·I was instructed that the JOLs made   11· ·winding up laws that would enable creditors as
  12· ·a determination of solvency.· But whether I      12· ·a class to have their views heard in the case
  13· ·saw CWR Form 13 or not, I don't remember.        13· ·of a solvent entity?
  14· · · · ·Q.· ·Is the fact that --                   14· · · · ·A.· ·I would have to go through the
  15· · · · · · · MR. MORRIS:· Withdrawn.               15· ·rules again section by section.· I think there
  16· · · · ·Q.· ·Have you ever been instructed that    16· ·are one or two matters upon which their views
  17· ·the JOLs have filed with the Cayman court any    17· ·are entitled to be heard.· But I'm not -- I
  18· ·amendment or change to the determination that    18· ·don't have them at hand.
  19· ·Ascentra is solvent?                             19· · · · ·Q.· ·Can you think about the subject
  20· · · · ·A.· ·No.                                   20· ·matter in which their views might be heard,
  21· · · · ·Q.· ·Are your opinions affected or         21· ·even if you can't identify the specific
  22· ·impacted in any way by the fact that the JOLs    22· ·provision?
  23· ·have determined that Ascentra is solvent?        23· · · · ·A.· ·I don't know.· Would it be removal
  24· · · · ·A.· ·Well, yes, that's an important        24· ·of the JOLs?· That might be one.
  25· ·fact.                                            25· · · · ·Q.· ·Okay.
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·And why is it an important fact?      ·2· · · · ·A.· ·I don't know.
  ·3· · · · ·A.· ·Because it elevates the concerns of   ·3· · · · ·Q.· ·Okay.· Let's go -- if you could
  ·4· ·the shareholders above those of the creditors.   ·4· ·grab the rules, which I think are exhibit 3.
  ·5· · · · ·Q.· ·And when you use the phrase           ·5· · · · ·A.· ·Yes.
  ·6· ·"elevates," you mean that -- is it fair to say   ·6· · · · ·Q.· ·Let's spends some time with them.
  ·7· ·that you mean that the rights of creditors       ·7· ·You're generally familiar with the Companies
  ·8· ·change or are different for a solvent entity     ·8· ·Winding Up Rules, correct?
  ·9· ·than they are for an entity that is not          ·9· · · · ·A.· ·Generally, yes.
  10· ·solvent?                                         10· · · · ·Q.· ·And if we can turn to Order 8.· Is
  11· · · · ·A.· ·Yes.· The creditors have fewer        11· ·it fair to say that the Winding Up Rules are
  12· ·rights.· And in addition, their views or their   12· ·organized by what are described as orders and
  13· ·wishes will be entitled to less weight.          13· ·then within each order there are specified
  14· · · · ·Q.· ·Will their views or wishes as a       14· ·rules?
  15· ·class be entitled to any weight?                 15· · · · ·A.· ·Yes.· That is the English style.
  16· · · · ·A.· ·It depends on the question, I         16· · · · ·Q.· ·Okay.· So can we go to Order 8,
  17· ·suppose.· It probably depends on the question.   17· ·Rule Number 1?
  18· · · · ·Q.· ·Can you identify any provision in     18· · · · ·A.· ·Yes.
  19· ·the winding up laws that would entitle a class   19· · · · ·Q.· ·Which is on page 59.· That rule
  20· ·of creditors to have weight given to their       20· ·requires liquidators to determine at the
  21· ·views?                                           21· ·outset of a winding up proceeding whether an
  22· · · · ·A.· ·In a solvent winding up?              22· ·entity is solvent, insolvent or of doubtful
  23· · · · ·Q.· ·Yes, thank you.                       23· ·solvency, correct?
  24· · · · ·A.· ·No, not offhand.· No.                 24· · · · ·A.· ·Yes.· Summarily determined.
  25· · · · · · · MR. McDONALD:· John, I don't think    25· · · · ·Q.· ·And the reason that that


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·determination is required is because there are   ·2· ·But these rules would not be debated in
  ·3· ·consequences to the determination, correct?      ·3· ·Parliament.
  ·4· · · · ·A.· ·Yes.                                  ·4· · · · ·Q.· ·But are you aware of any source
  ·5· · · · ·Q.· ·And the consequences of that          ·5· ·that we could rely upon to discern the
  ·6· ·determination are how the rights of the          ·6· ·purpose, intent or policy behind the Winding
  ·7· ·creditors and the shareholders will be           ·7· ·Up Rules?
  ·8· ·impacted, correct?                               ·8· · · · ·A.· ·Not really.· I mean, you have to
  ·9· · · · ·A.· ·Yes.                                  ·9· ·infer that from the rules themselves for the
  10· · · · ·Q.· ·Okay.· And is it fair to say that     10· ·most part.
  11· ·Order 8, Rule Number 1 also mandates that the    11· · · · ·Q.· ·Okay.
  12· ·liquidation -- that the liquidators'             12· · · · ·A.· ·Obviously case law may touch upon
  13· ·determination is final and binding on all        13· ·them from time to time.
  14· ·creditors and contributories unless and until    14· · · · ·Q.· ·Okay.· How about with respect to
  15· ·it's changed by the liquidator in accordance     15· ·the Companies Act; is there any legislative
  16· ·with the rules?                                  16· ·history or any source that we could obtain
  17· · · · · · · MR. McDONALD:· Objection to the       17· ·that would shed light on the policy reasons
  18· · · · ·form.                                      18· ·behind the provisions of the Companies Act?
  19· · · · ·A.· ·Yes.                                  19· · · · ·A.· ·Well, when that Act is amended, and
  20· · · · ·Q.· ·Do you have an opinion as to why      20· ·indeed when it was first passed it would have
  21· ·Cayman law requires liquidators to determine     21· ·been debated in Parliament.· So there would be
  22· ·at the outset whether a company should be        22· ·a record.
  23· ·determined to be solvent, insolvent or of        23· · · · ·Q.· ·And is there a name for that
  24· ·doubtful solvency?                               24· ·record?
  25· · · · ·A.· ·Yes.· Primarily for the reason you    25· · · · ·A.· ·Hansard.
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  ·1· · · · · · · · · · A. Henderson                  ·1· · · · · · · · · · A. Henderson
  ·2· ·gave.· The determination will govern the       ·2· · · · · · · (Reporter requests clarification.)
  ·3· ·rights of the creditor class and the           ·3· · · · · · · THE WITNESS:· H-A-N-S-A-R-D, I
  ·4· ·shareholder class going forward.               ·4· · · · ·guess.
  ·5· · · · ·Q.· ·And it's fair to say that those     ·5· · · · ·Q.· ·And is that a source that you are
  ·6· ·rights will be different depending on which    ·6· ·relying upon in formulating your opinions?
  ·7· ·determination is made?                         ·7· · · · ·A.· ·No.
  ·8· · · · ·A.· ·Yes.                                ·8· · · · ·Q.· ·Is it a source that you reviewed or
  ·9· · · · ·Q.· ·Okay?                               ·9· ·consulted in formulating your opinions?
  10· · · · ·A.· ·In addition, certain procedures of  10· · · · ·A.· ·No.· I've never heard Hansard cited
  11· ·the liquidators will differ.                   11· ·in relation to the Companies Act.· And I'm not
  12· · · · ·Q.· ·I think you said that the Winding   12· ·entirely sure that -- I don't think you could
  13· ·Up Rules are promulgated by a committee? 13· ·cite it in court.
  14· · · · ·A.· ·The Rules Committee, yeah.          14· · · · ·Q.· ·Is there anything besides Hansard
  15· · · · ·Q.· ·Is there anything --                15· ·that one could turn to in order to determine
  16· · · · · · · MR. MORRIS:· Withdrawn.             16· ·or discern the policy reasons behind any
  17· · · · ·Q.· ·Are you familiar with the phrase    17· ·particular provision of Part V of the
  18· ·"legislative history"?                         18· ·Companies Act?
  19· · · · ·A.· ·Yes.                                19· · · · ·A.· ·Judicial authorities.· Both in the
  20· · · · ·Q.· ·And the legislative history is, as  20· ·Cayman Islands and in England.
  21· ·I'm thinking of, might provide kind of the     21· · · · ·Q.· ·So for both the Companies Act and
  22· ·debate or the policy reasons underlying a      22· ·the Winding Up Rules one could look to
  23· ·particular rule or statute, is that a fair     23· ·judicial opinions in order to find
  24· ·view?                                          24· ·interpretations or policy reasons --
  25· · · · ·A.· ·It's fair as a general proposition. 25· · · · ·A.· ·Yes.

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·-- for the provisions, right?         ·2· · · · ·A.· ·No.
  ·3· · · · ·A.· ·Yes.                                  ·3· · · · ·Q.· ·So then is it fair to say that the
  ·4· · · · ·Q.· ·Can you think of any record that      ·4· ·opinions in your declaration would remain
  ·5· ·exists before the Companies Act was formally     ·5· ·unchanged even if one assumed that Ascentra
  ·6· ·adopted by the Cayman Parliament or the          ·6· ·had no creditors?
  ·7· ·Winding Up Rules were adopted by the committee   ·7· · · · ·A.· ·That is correct.
  ·8· ·that one could turn to, to try to understand     ·8· · · · ·Q.· ·Do you know if any creditor ever
  ·9· ·how and why these rules came into existence?     ·9· ·filed a notice of appearance in the Ascentra
  10· · · · ·A.· ·Well, I think history is probably     10· ·windup proceedings?
  11· ·the best guide.· The Companies Act is largely    11· · · · ·A.· ·No.
  12· ·based on the 18 -- 1948 U.K. Companies Act,      12· · · · ·Q.· ·Did you ever ask anybody?
  13· ·which in turn is based upon a number of          13· · · · ·A.· ·No.
  14· ·earlier statutes running right back to about     14· · · · ·Q.· ·And is that because it's not
  15· ·1827 or so.· And prior to that the history       15· ·relevant to your opinions?
  16· ·involved -- the history of joint stock           16· · · · ·A.· ·Yes.
  17· ·companies is really tied up with trust           17· · · · ·Q.· ·And is it fair to say that your
  18· ·indentures.                                      18· ·opinions would not change even if you heard or
  19· · · · ·Q.· ·What you just described, unless       19· ·learned that no creditor had ever appeared in
  20· ·it's set forth in your declaration, is it fair   20· ·the Ascentra windup proceeding?
  21· ·to say it's not material that you reviewed or    21· · · · ·A.· ·Yes.
  22· ·relied upon in formulating your opinions in      22· · · · ·Q.· ·Do you know if a creditor ever
  23· ·this case?                                       23· ·filed a complaint with the court overseeing
  24· · · · · · · MR. McDONALD:· Objection to form.     24· ·Ascentra's windup proceedings?
  25· · · · ·A.· ·No, that's not fair.· I rely upon     25· · · · ·A.· ·No.
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·my understanding of legal history.· And in       ·2· · · · ·Q.· ·Did you ever ask anybody?
  ·3· ·addition, I did refresh my memory on the 1862    ·3· · · · ·A.· ·No.
  ·4· ·Joint Stock Companies Act, as I've said          ·4· · · · ·Q.· ·And is that because it's not
  ·5· ·before.· So I relied upon that.                  ·5· ·relevant to your opinions?
  ·6· · · · ·Q.· ·And that is mentioned in your         ·6· · · · ·A.· ·Yes.
  ·7· ·declaration, right?                              ·7· · · · ·Q.· ·And is it fair to say that your
  ·8· · · · ·A.· ·It is actually, yes.                  ·8· ·opinions would remain unchanged even if you
  ·9· · · · ·Q.· ·Right.· So other than the 1862 Act,   ·9· ·were instructed that no creditor had ever
  10· ·is there anything else --                        10· ·filed a complaint in the Ascentra windup
  11· · · · · · · MR. MORRIS:· Withdrawn.· I've asked   11· ·proceedings?
  12· · · · ·these questions already.                   12· · · · ·A.· ·Yes.
  13· · · · ·Q.· ·Going back to your declaration.· Do   13· · · · ·Q.· ·Do you know if the JOLs in the
  14· ·you have any knowledge concerning the Ascentra   14· ·Ascentra windup proceedings have ever disputed
  15· ·winding up proceeding other than what's set      15· ·a claim by a creditor?
  16· ·forth in paragraph 11 of your -- other than      16· · · · ·A.· ·No.
  17· ·what's set forth in paragraph 12 of your         17· · · · ·Q.· ·Did you ever ask?
  18· ·declaration?                                     18· · · · ·A.· ·No.
  19· · · · ·A.· ·No.                                   19· · · · ·Q.· ·Is it relevant to your opinions?
  20· · · · ·Q.· ·Do you know if Ascentra has any       20· · · · ·A.· ·No.
  21· ·creditors?                                       21· · · · ·Q.· ·So is it fair to say that your
  22· · · · ·A.· ·No.                                   22· ·opinions would remain unchanged even if you
  23· · · · ·Q.· ·Did you ever ask?                     23· ·were instructed that the JOLs have never
  24· · · · ·A.· ·No.                                   24· ·disputed a creditor claim?
  25· · · · ·Q.· ·Is it relevant to your opinions?      25· · · · ·A.· ·Yes.


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  ALEXANDER GRAY HENDERSON, KC                           September 28, 2023
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Do you know if the JOLs have ever     ·2· ·solvent to something other than solvent,
  ·3· ·communicated with any creditor of Ascentra?      ·3· ·correct?
  ·4· · · · ·A.· ·No.                                   ·4· · · · ·A.· ·That is correct.
  ·5· · · · ·Q.· ·Did you ever ask?                     ·5· · · · ·Q.· ·For example, if we look at Order 9.
  ·6· · · · ·A.· ·No.                                   ·6· ·Order 9 addresses liquidation committees, do I
  ·7· · · · ·Q.· ·Is it relevant to your opinions?      ·7· ·have that right?
  ·8· · · · ·A.· ·No.                                   ·8· · · · ·A.· ·Yes.
  ·9· · · · ·Q.· ·Is it fair to say that your           ·9· · · · ·Q.· ·And under Order 9, creditors of a
  10· ·opinions would remain unchanged even if you      10· ·solvent entity cannot sit on a liquidation
  11· ·were instructed that the JOLs have never         11· ·committee, correct?
  12· ·communicated with a creditor of Ascentra?        12· · · · ·A.· ·Correct.
  13· · · · ·A.· ·Yes.                                  13· · · · ·Q.· ·But --
  14· · · · ·Q.· ·Do you know if any creditor has       14· · · · · · · MR. McDONALD:· Did you want to
  15· ·played any role in any aspect of the Ascentra    15· · · · ·point him to a specific provision?
  16· ·winding up proceedings?                          16· · · · · · · MR. MORRIS:· Sure.
  17· · · · ·A.· ·No.                                   17· · · · ·Q.· ·Order 9, Rule 1 (iii) --
  18· · · · ·Q.· ·Have you ever asked?                  18· · · · ·A.· ·Mm-hmm.
  19· · · · ·A.· ·No.                                   19· · · · ·Q.· ·-- states, that quote:· The
  20· · · · ·Q.· ·And is that because that issue is     20· ·liquidation committee shall comprise of not
  21· ·not relevant to your opinions?                   21· ·less than three nor more than five
  22· · · · ·A.· ·Yes.                                  22· ·contributories -- and I'm summarizing -- if
  23· · · · ·Q.· ·And is it fair to say that your       23· ·the official liquidator has determined that
  24· ·opinions would remain unchanged even if you      24· ·the company should be regarded as solvent.
  25· ·were instructed that no creditor has ever        25· · · · ·A.· ·Mm-hmm.
                                             Page 82                                               Page 84
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·played any role in the Ascentra windup           ·2· · · · ·Q.· ·Is that fair?
  ·3· ·proceedings?                                     ·3· · · · ·A.· ·Yes.
  ·4· · · · ·A.· ·Yes.                                  ·4· · · · ·Q.· ·And so that's -- so the law in the
  ·5· · · · ·Q.· ·I think we touched on this but just   ·5· ·Cayman Islands under Order 9 Rule 1 (iii) is
  ·6· ·to finish it up.                                 ·6· ·that creditors cannot sit on a liquidation
  ·7· · · · · · · Your understanding is that two        ·7· ·committee of a solvent entity, correct?
  ·8· ·years ago the JOLs issued their solvency         ·8· · · · ·A.· ·Correct.
  ·9· ·certificate that we have marked as exhibit 5,    ·9· · · · ·Q.· ·But if the JOLs changed the
  10· ·right?                                           10· ·determination to either insolvent or doubtful
  11· · · · ·A.· ·Yes.                                  11· ·solvency, then creditors would be required to
  12· · · · ·Q.· ·And under Order 8 of the windup       12· ·be appointed to the liquidation committee,
  13· ·rules, the JOLs have the right to change the     13· ·correct?
  14· ·solvency determination if they no longer         14· · · · ·A.· ·Correct.
  15· ·believed that it's justified, correct?           15· · · · · · · MR. McDONALD:· Object to the form
  16· · · · ·A.· ·They have the right and the           16· · · · ·of the prior question.
  17· ·obligation to.                                   17· · · · ·Q.· ·In fact, just to be clear, that
  18· · · · ·Q.· ·Okay.· But that determination has     18· ·provision is actually one that you cited in
  19· ·never been changed, to the best of your          19· ·footnote 7 in your declaration, right?· Order
  20· ·knowledge, correct?                              20· ·9, Rule 1(3)?
  21· · · · ·A.· ·Correct.                              21· · · · ·A.· ·Okay.
  22· · · · ·Q.· ·We talked about this generally, but   22· · · · ·Q.· ·Right?· So this is an example --
  23· ·now let's talk about some specifics.· The        23· · · · ·A.· ·Yes.
  24· ·rights of creditors would change if the          24· · · · ·Q.· ·This is an example that you gave of
  25· ·determination under Order 8 were changed from    25· ·how the rights of creditors would be curtailed

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  ·1· · · · · · · · · · A. Henderson                  ·1· · · · · · · · · · A. Henderson
  ·2· ·in a solvent windup proceeding, correct?       ·2· ·winding up proceeding can't embark on
  ·3· · · · ·A.· ·Yes.                                ·3· ·important steps without obtaining court
  ·4· · · · ·Q.· ·Okay.· And you also cited to Part   ·4· ·approval in the process, for obtaining court
  ·5· ·VI of Order 9, Rule 1 as another instance      ·5· ·approval is to file a sanction application?
  ·6· ·where the rights of creditors would be         ·6· · · · ·A.· ·Yes.· There are certain types of
  ·7· ·curtailed in the case of a solvent windup      ·7· ·actions or steps that cannot be taken by the
  ·8· ·proceeding, correct?                           ·8· ·JOLs until they have sanction.
  ·9· · · · ·A.· ·Yes.                                ·9· · · · ·Q.· ·And there are certain things that
  10· · · · ·Q.· ·And in what way does Part VI of     10· ·creditors or contributories cannot take
  11· ·Order 9, Rule 1 curtail the rights of          11· ·without getting sanction, is that fair?
  12· ·creditors in a solvent windup proceeding?      12· · · · ·A.· ·I'm not quite sure what you mean.
  13· · · · ·A.· ·Well, Order 9, Rule 1 (vi) says     13· · · · ·Q.· ·Well, if you just take a look at
  14· ·that if the determination is one of doubtful   14· ·Order 11, Rule 1 (1)(b), creditors or
  15· ·solvency, the liquidation committee shall      15· ·contributories are required to seek sanction
  16· ·comprise a majority of creditors and at least 16· ·if they want an order directing the official
  17· ·one contributory.                              17· ·liquidator to exercise or refrain from
  18· · · · ·Q.· ·Okay.· So right now Ascentra is a   18· ·exercising any of the liquidator's powers in a
  19· ·solvent entity, correct?                       19· ·particular way?
  20· · · · ·A.· ·Yes.                                20· · · · ·A.· ·That is correct.
  21· · · · ·Q.· ·And that hasn't changed, correct?   21· · · · ·Q.· ·Okay.
  22· · · · ·A.· ·That's my understanding.            22· · · · ·A.· ·It doesn't -- sanction doesn't
  23· · · · ·Q.· ·And therefore under Order 9, Rule 1 23· ·apply to the actions of the creditor or
  24· ·(iii) they are barred from serving on a        24· ·contributory.· It applies to what the official
  25· ·liquidation committee, correct?                25· ·liquidator is doing, yes.
                                             Page 86                                               Page 88
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · · · · MR. McDONALD:· Object to the form.    ·2· · · · ·Q.· ·Okay.· So in certain
  ·3· · · · ·A.· ·That is my understanding, yes.        ·3· ·circumstances --
  ·4· · · · ·Q.· ·But if the JOLs ever changed the      ·4· · · · · · · MR. MORRIS:· Withdrawn.
  ·5· ·determination to either doubtful insolvency or   ·5· · · · ·Q.· ·In all circumstances if a creditor
  ·6· ·insolvent, then creditors would be required to   ·6· ·or a contributory wants to get an order that
  ·7· ·be appointed to the liquidation committee,       ·7· ·directs the liquidator to do something or not
  ·8· ·correct?                                         ·8· ·to do something, they've got to file a
  ·9· · · · · · · MR. McDONALD:· Objection to form.     ·9· ·sanction application?
  10· · · · ·A.· ·Yes.                                  10· · · · ·A.· ·Yes.
  11· · · · ·Q.· ·Okay.· I apologize but I'm going to   11· · · · ·Q.· ·Okay.
  12· ·jump around just a little bit.· Now let's go     12· · · · ·A.· ·I think, as I've made clear in my
  13· ·to Order Number 11, which can be found on page   13· ·declaration, if a creditor or a contributory
  14· ·74 of the document.                              14· ·were to bring a concern about the actions of
  15· · · · ·A.· ·Yes.                                  15· ·the liquidators to the attention of the Court
  16· · · · ·Q.· ·And Order 11 concerns sanction        16· ·informally, for example, by letter to the
  17· ·applications, do you see that?                   17· ·judge, because of the supervisory jurisdiction
  18· · · · ·A.· ·Yes.                                  18· ·that the judge is exercising, the judge would
  19· · · · ·Q.· ·Okay.· Under Order 11, Rule 3(4) --   19· ·look into it.
  20· · · · · · · MR. MORRIS:· Withdrawn.               20· · · · ·Q.· ·But that informal process that
  21· · · · ·Q.· ·What is a sanction application?       21· ·you've just described isn't founded on any
  22· · · · ·A.· ·It's an application for permission    22· ·specific rule within the winding up laws,
  23· ·to embark upon a particular step, typically an   23· ·correct?
  24· ·important one.                                   24· · · · ·A.· ·No.· It's just founded on the
  25· · · · ·Q.· ·Is it fair to say that a party in a   25· ·obligation the Court has to supervise.

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·And that obligation to supervise,     ·2· · · · ·A.· ·Rule 3(4) reads that the Court may
  ·3· ·to the best of your knowledge, has never been    ·3· ·allow creditors to be heard if the company is
  ·4· ·exercised in the Ascentra bankruptcy case,       ·4· ·insolvent or of doubtful solvency.
  ·5· ·correct?                                         ·5· · · · ·Q.· ·Right.· But the Court has really no
  ·6· · · · ·A.· ·I've never been told that it's been   ·6· ·authority to allow the creditor class to be
  ·7· ·exercised.                                       ·7· ·heard on a sanction application if the company
  ·8· · · · ·Q.· ·And you've never asked anybody,       ·8· ·has been deemed to be solvent, correct?
  ·9· ·correct?                                         ·9· · · · · · · MR. McDONALD:· Objection to form.
  10· · · · ·A.· ·No.· That is correct.                 10· · · · ·A.· ·They can't be heard -- they don't
  11· · · · ·Q.· ·And that's because it's not           11· ·have a right to be heard.· The Court -- it's
  12· ·relevant to your opinions, correct?              12· ·difficult.· And the rules are not necessarily
  13· · · · ·A.· ·My opinion is a general one.· It      13· ·in the best form.· Because the Court has an
  14· ·doesn't depend upon the facts of the Ascentra    14· ·obligation to supervise the actions of its
  15· ·case really.                                     15· ·officers, the JOLs.· And if the creditors as a
  16· · · · ·Q.· ·Okay.· Rule 2 of Order 11 sets        16· ·class, or if an individual creditor acting
  17· ·forth the rules as to who has to be served       17· ·alone has a complaint about something the JOLs
  18· ·with sanction applications, is that fair?        18· ·have done or failed to do, the Court in order
  19· · · · ·A.· ·Yes.                                  19· ·to fulfill its supervisory obligation needs to
  20· · · · ·Q.· ·And is it also a fair                 20· ·look into it.
  21· ·interpretation of Order 11, Rule 2 that unless   21· · · · ·Q.· ·Okay.
  22· ·directed by a court there is no requirement      22· · · · ·A.· ·And that may involve hearing from
  23· ·that any sanction application ever be served     23· ·the creditor or from the class of creditors
  24· ·on the body of creditors?                        24· ·for a period of time.
  25· · · · ·A.· ·That is correct, where the entity     25· · · · · · · So the rules in this particular are
                                             Page 90                                               Page 92
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·is thought to be solvent.                        ·2· ·not well thought out.
  ·3· · · · ·Q.· ·Are you aware of any order that was   ·3· · · · ·Q.· ·Is it your opinion that there is
  ·4· ·ever entered in the Ascentra winding up          ·4· ·any circumstance where a creditor or the body
  ·5· ·proceeding that requires service of sanction     ·5· ·of creditors would be permitted to be heard on
  ·6· ·applications upon any creditor?                  ·6· ·a sanction application in a winding up
  ·7· · · · ·A.· ·No.                                   ·7· ·proceeding involving a solvent entity?
  ·8· · · · ·Q.· ·Have you ever asked?                  ·8· · · · ·A.· ·Yes.
  ·9· · · · ·A.· ·No.                                   ·9· · · · ·Q.· ·Have you ever heard that happen
  10· · · · ·Q.· ·And that's because that's not         10· ·before?
  11· ·relevant to your opinions, correct?              11· · · · ·A.· ·I have no specific recollection of
  12· · · · ·A.· ·Correct.                              12· ·it, but I imagine it would have happened.· I'm
  13· · · · ·Q.· ·So to the best of your knowledge,     13· ·reasonably sure that I would have done it at
  14· ·it would be your opinion that creditors of       14· ·one time or another in all the sanction
  15· ·Ascentra are not entitled to be served with      15· ·applications I've heard.
  16· ·sanction applications in accordance with Rule    16· · · · ·Q.· ·Wouldn't that conflict with the
  17· ·2 of Order 11?                                   17· ·very plain terms of Order 11, Rule 3(4)?
  18· · · · ·A.· ·To the best of my knowledge, yes.     18· · · · ·A.· ·Yes.
  19· · · · ·Q.· ·Now let's look at Rule 3 of Order     19· · · · ·Q.· ·Okay.
  20· ·11.                                              20· · · · ·A.· ·The rules in my view are for the
  21· · · · ·A.· ·Yes.                                  21· ·most part authoritative guidelines.· But the
  22· · · · ·Q.· ·Rule 3(4) is the provision that       22· ·Court has a discretion to depart from them if
  23· ·bars creditors from being heard on a sanction    23· ·necessary.
  24· ·application, correct, for a solvent entity?      24· · · · ·Q.· ·And what's the basis for that
  25· · · · · · · MR. McDONALD:· Objection to form.     25· ·opinion?

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·A.· ·First, we are exercising equitable    ·2· ·and the creditors shall have no right to be
  ·3· ·jurisdiction.· And secondly, we are engaged in   ·3· ·heard.
  ·4· ·a supervisory process.                           ·4· · · · · · · Have I read that correctly?
  ·5· · · · ·Q.· ·And you can't think -- you're not     ·5· · · · ·A.· ·That is correct.
  ·6· ·aware of any instance where that happened in     ·6· · · · ·Q.· ·And that's the law, right?
  ·7· ·the Ascentra bankruptcy, correct?                ·7· · · · ·A.· ·That is the law.
  ·8· · · · ·A.· ·No.· That's correct.                  ·8· · · · ·Q.· ·Okay.· That's not a rule that's
  ·9· · · · ·Q.· ·And you can't think of anything       ·9· ·optional, correct?
  10· ·that happened -- you can't think of a specific   10· · · · ·A.· ·No.· I mean, we're talking about
  11· ·instance during your tenure as a judge in the    11· ·the right to be heard.
  12· ·Cayman Islands where you decided not to follow   12· · · · ·Q.· ·Right.
  13· ·Rule 11 -- Order 11, Rule 3(4) and permitted a   13· · · · ·A.· ·That's a law.
  14· ·creditor to file a sanction application,         14· · · · ·Q.· ·And similarly if the company is
  15· ·right?                                           15· ·insolvent, under Section 110 of the Companies
  16· · · · ·A.· ·I wouldn't permit a creditor to       16· ·Act part (4)(b), those creditors will have the
  17· ·file a sanction application.· Because they       17· ·absolute right to make a sanction application?
  18· ·have no standing to do so.                       18· · · · ·A.· ·That is correct.
  19· · · · ·Q.· ·Okay.                                 19· · · · ·Q.· ·Whereas contributories in the case
  20· · · · ·A.· ·But I would permit a creditor, or     20· ·of an insolvent company are absolutely barred
  21· ·the attorney for a creditor, to address the      21· ·from making a sanction application?
  22· ·Court.                                           22· · · · ·A.· ·That is correct.
  23· · · · ·Q.· ·Fair enough.                          23· · · · ·Q.· ·Okay.· This may cover ground that
  24· · · · ·A.· ·That's the distinction.· I'm not      24· ·we've covered again but I want to ask
  25· ·saying to the creditor you have a right to       25· ·specifically in this context.
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·speak.· I'm saying I will exercise by            ·2· · · · · · · Do you know what the purpose is of
  ·3· ·discretion in favor of listening to you for a    ·3· ·barring creditors from filing sanction
  ·4· ·period of time.· I would probably impose a       ·4· ·applications in winding up proceedings
  ·5· ·time limit, too.· I would want to get on with    ·5· ·involving solvent entities but giving them the
  ·6· ·it.                                              ·6· ·right to do so if the entity is insolvent or
  ·7· · · · ·Q.· ·I appreciate that.· Okay.             ·7· ·of doubtful insolvency?
  ·8· · · · · · · And the flip side is also true; and   ·8· · · · ·A.· ·I think the purpose is to support
  ·9· ·by "the flip side" I mean if you're a creditor   ·9· ·the efficiency of the Court's process.· It
  10· ·of an insolvent company or a company of          10· ·would not be a useful use of time to hear from
  11· ·doubtful solvency you have the absolute right    11· ·the creditor class in a formal manner if the
  12· ·to file a sanction application, right?           12· ·entity is thought to be solvent.
  13· · · · ·A.· ·An absolute right, yes.               13· · · · ·Q.· ·And why is that the case, in your
  14· · · · ·Q.· ·And all of this is very consistent    14· ·opinion?
  15· ·with the Companies Act itself, right?            15· · · · ·A.· ·Because the primary economic
  16· · · · ·A.· ·I think it is.                        16· ·interest is that of the shareholders.
  17· · · · ·Q.· ·Well, if you take a look at exhibit   17· · · · ·Q.· ·And is that because the creditors
  18· ·2, Section 110 of the Companies Act which can    18· ·are required to be paid in full in the
  19· ·be found at page 84.                             19· ·ordinary course?
  20· · · · ·A.· ·Thank you.                            20· · · · ·A.· ·Yes.
  21· · · · ·Q.· ·Section 110 states in (4)(a) --       21· · · · ·Q.· ·One of the things that you read in
  22· · · · ·A.· ·Yes.                                  22· ·connection with the preparation of your
  23· · · · ·Q.· ·-- that in the case of a solvent      23· ·opinions is the declaration of Mr. Robinson,
  24· ·company, a sanction application may only be      24· ·do I have that right?
  25· ·heard -- may only be made by a contributory      25· · · · ·A.· ·Yes.

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Okay.                                 ·2· ·court the certificate of solvency in September
  ·3· · · · · · · MR. MORRIS:· I am going to mark       ·3· ·2021, which is exhibit 5?
  ·4· · · · ·that as an exhibit.                        ·4· · · · ·A.· ·Yes.
  ·5· · · · · · · (Henderson Exhibit 6, Declaration     ·5· · · · ·Q.· ·And he signed and filed his
  ·6· · · · ·of Mr. Robinson was marked for             ·6· ·declaration in New York in October 2021,
  ·7· · · · ·identification).                           ·7· ·correct?
  ·8· · · · ·Q.· ·Do you have that before you, sir?     ·8· · · · ·A.· ·Yes.
  ·9· · · · ·A.· ·I do.                                 ·9· · · · ·Q.· ·Okay.
  10· · · · ·Q.· ·Okay.· And if you turn to page 15,    10· · · · · · · Now, you said you reviewed,
  11· ·do you see that it was signed on October 27,     11· ·according to paragraph 11 of your declaration
  12· ·2021?                                            12· ·you reviewed Mr. Robinson's declaration in
  13· · · · ·A.· ·I'm having trouble locating the       13· ·connection with the preparation of your
  14· ·page numbers.· Yes.· October 27, '21.            14· ·opinions, right?
  15· · · · ·Q.· ·Okay.· And that's after the --        15· · · · ·A.· ·Yes.
  16· ·that's after Mr. Robinson had prepared and       16· · · · ·Q.· ·If you just flip through it, unless
  17· ·filed with the Cayman court his solvency         17· ·you have some other recollection, to the best
  18· ·certificate, right?· If you take a look at       18· ·of your knowledge, Mr. Robinson did not attach
  19· ·exhibit 5.                                       19· ·the solvency certificate to his declaration
  20· · · · ·A.· ·Yes, I see that.                      20· ·that was filed in New York in October 2021,
  21· · · · ·Q.· ·So just looking at the documents      21· ·correct?
  22· ·you can confirm for me that Mr. Robinson         22· · · · ·A.· ·If you say that's correct, I'll
  23· ·signed his solvency certificate and filed it     23· ·take it as correct.
  24· ·with the Cayman Islands on September 23, 2021?   24· · · · ·Q.· ·I don't want you to take my word
  25· · · · ·A.· ·That's what the document says.        25· ·for it.· You can look through it.· I mean, you
                                             Page 98                                              Page 100
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·And he signed and filed his           ·2· ·know, you said you --
  ·3· ·declaration in New York a little bit more than   ·3· · · · ·A.· ·I don't see it here.
  ·4· ·a month later on October 27, 2021, right?        ·4· · · · ·Q.· ·Okay.· And you don't have a
  ·5· · · · ·A.· ·I see that, yes.                      ·5· ·recollection of ever seeing it here, right?
  ·6· · · · ·Q.· ·Okay.· And you --                     ·6· · · · ·A.· ·Oh, no.
  ·7· · · · · · · MR. McDONALD:· Just one moment.· At   ·7· · · · ·Q.· ·And if we turn to paragraph 36 of
  ·8· · · · ·the top of the page it has the number --   ·8· ·your declaration.· You specifically state,
  ·9· · · · ·it has 2021-09-27.· I don't know if        ·9· ·quote, "Although these declarations do not
  10· · · · ·that's a filed date versus the actual      10· ·expressly -- do not say expressly that the
  11· · · · ·date of the certificate itself.· It's      11· ·JOLs believe Ascentra to be solvent, I do not
  12· · · · ·just to clarify.· You said filed. I        12· ·find them misleading."
  13· · · · ·don't know if that --                      13· · · · · · · Do you see that sentence?
  14· · · · · · · MR. MORRIS:· I'm sorry, Hugh.         14· · · · ·A.· ·Yes, I do.
  15· · · · ·Which document are you referring to?       15· · · · ·Q.· ·Okay.· And when you use the phrase,
  16· · · · · · · MR. McDONALD:· On document 5.         16· ·"declarations," you're referring not only to
  17· · · · ·Exhibit 5.· The top, which appears to be   17· ·Mr. Robinson's declaration that we've looked
  18· · · · ·from the docket of the Cayman court it     18· ·at, but Mr. Cowan's declaration as well?
  19· · · · ·says 2021-09-27.· But it's dated the       19· · · · ·A.· ·Yes.
  20· · · · ·23rd.· So you used the term "filed." I     20· · · · ·Q.· ·Okay.· So let me just mark
  21· · · · ·just want to be clear here.                21· ·Mr. Cowan's declaration so that we've got it
  22· · · · · · · MR. MORRIS:· Okay.· Let me ask it     22· ·in the record.
  23· · · · ·this way.                                  23· · · · · · · MR. MORRIS:· It's going to be
  24· · · · ·Q.· ·You're very comfortable that          24· · · · ·exhibit 7, I believe?
  25· ·Mr. Robinson signed and filed in the Cayman      25· · · · · · · THE COURT REPORTER:· Yes, sir.

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  ALEXANDER GRAY HENDERSON, KC                           September 28, 2023
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · · · · (Henderson Exhibit 7, Declaration     ·2· · · · ·A.· ·Yes.
  ·3· · · · ·of Mr. Cowan was marked for                ·3· · · · ·Q.· ·And despite the fact that the
  ·4· · · · ·identification).                           ·4· ·rights of Ascentra's creditors, assuming that
  ·5· · · · ·Q.· ·And so having reviewed --             ·5· ·creditors actually exist, were curtailed in
  ·6· ·withdrawn.                                       ·6· ·September of 2021, neither Mr. Robinson nor
  ·7· · · · · · · You reviewed Mr. Cowan's              ·7· ·Mr. Cowan ever informed the New York court, to
  ·8· ·declaration and Mr. Robinson's declaration in    ·8· ·the best of your knowledge, that that event
  ·9· ·connection with the preparation of your expert   ·9· ·had occurred, correct?
  10· ·report, correct?                                 10· · · · · · · MR. McDONALD:· Objection to form.
  11· · · · ·A.· ·Yes.                                  11· · · · ·A.· ·Neither of them informed the
  12· · · · ·Q.· ·Okay.· And having reviewed those      12· ·New York court in so many words that it had
  13· ·two declarations, you noticed that neither of    13· ·occurred.
  14· ·them expressly stated that the JOLs had          14· · · · ·Q.· ·Okay.
  15· ·determined that Ascentra was solvent, correct?   15· · · · ·A.· ·Mr. Robinson, whose evidence would
  16· · · · ·A.· ·I noticed that.                       16· ·be the primary evidence on this subject, set
  17· · · · ·Q.· ·And you also now know that neither    17· ·out facts, a couple of facts which lead the
  18· ·declaration included the solvency certificate    18· ·reader to think that this is a solvent entity.
  19· ·that was filed a month earlier in the Cayman     19· · · · ·Q.· ·In fact, in your opinion in order
  20· ·Islands, correct?                                20· ·to discern the conclusion that Ascentra is
  21· · · · ·A.· ·Correct.                              21· ·solvent, one needed to undertake a careful
  22· · · · ·Q.· ·And in your opinion, that solvency    22· ·reading of Mr. Robinson's declaration,
  23· ·certificate has substantial implications         23· ·correct?
  24· ·concerning the rights of creditors, correct?     24· · · · · · · MR. McDONALD:· Objection to form.
  25· · · · · · · MR. McDONALD:· Objection to form.     25· · · · ·A.· ·I don't know how careful it would
                                            Page 102                                              Page 104
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·A.· ·It's not so much the certificate      ·2· ·have to be.· But one needs to draw the
  ·3· ·has those implications, but the fact of          ·3· ·inference from certain statements that he
  ·4· ·solvency.                                        ·4· ·makes.
  ·5· · · · ·Q.· ·Okay.· And the fact of solvency is    ·5· · · · ·Q.· ·Well, in fact the very last
  ·6· ·reflected in the certificate, right?             ·6· ·sentence of your declaration says, quote,
  ·7· · · · ·A.· ·Yeah.· It's the primary evidence of   ·7· ·"Overall" --
  ·8· ·it.                                              ·8· · · · ·A.· ·Yes.
  ·9· · · · ·Q.· ·And until that certificate is         ·9· · · · ·Q.· ·-- "a careful reading of the
  10· ·filed --                                         10· ·declaration leads to the conclusion," right?
  11· · · · · · · What happens between the period of    11· · · · ·A.· ·Okay.· Yes, it does.
  12· ·time when the petition is filed and the          12· · · · ·Q.· ·So in your own words the only way a
  13· ·liquidators make a declaration?                  13· ·reader would know that Ascentra was solvent is
  14· · · · ·A.· ·Chaos, probably.                      14· ·by undertaking a careful reading, correct?
  15· · · · ·Q.· ·It's intended to be a fairly brief    15· · · · · · · MR. McDONALD:· Objection to form.
  16· ·period of time, right?                           16· · · · ·A.· ·That's not -- I suppose.· It's not
  17· · · · ·A.· ·Yes.                                  17· ·really part of my expertise, whether it's a
  18· · · · ·Q.· ·Okay.· So you would agree that the    18· ·careful reading or an ordinary reading, is not
  19· ·filing of the insolvency certificate in the      19· ·something I have an opinion on really.
  20· ·Cayman Islands is an important event, right?     20· · · · ·Q.· ·Well, you needed to undertake a
  21· · · · ·A.· ·Yes.                                  21· ·careful reading in order to come to the
  22· · · · ·Q.· ·And it's an important event because   22· ·conclusion, correct?· That's why you swore --
  23· ·upon the filing of the solvency certificate,     23· · · · · · · MR. McDONALD:· Objection to form.
  24· ·the rights of creditors are curtailed, to use    24· · · · ·Q.· ·-- it was true, correct?
  25· ·your term, right?                                25· · · · · · · MR. McDONALD:· Object to the form.


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·A.· ·I needed to read his declaration,     ·2· ·Islands?
  ·3· ·and fit certain facts together in order to       ·3· · · · ·A.· ·I don't have a specific
  ·4· ·determine that this was a solvent entity.        ·4· ·recollection of that.· I would have to review
  ·5· · · · ·Q.· ·The word "solvent" -- do you recall   ·5· ·the whole document.
  ·6· ·if the word "solvent" is used in either          ·6· · · · ·Q.· ·Is there anything in either
  ·7· ·declaration?                                     ·7· ·declaration that you recall that describes the
  ·8· · · · ·A.· ·I don't recall.                       ·8· ·rights of creditors in a windup proceeding
  ·9· · · · ·Q.· ·If it was, a careful reading          ·9· ·involving a solvent entity?
  10· ·wouldn't be required, correct?                   10· · · · ·A.· ·I don't recall that appearing in
  11· · · · ·A.· ·Yeah, I mean if you put it up         11· ·these documents.
  12· ·front.                                           12· · · · ·Q.· ·If you could take Mr. Cowan's
  13· · · · ·Q.· ·Did you ever ask anybody why          13· ·declaration, the one that's marked as exhibit
  14· ·neither Mr. Robinson nor Mr. Cowan attached a    14· ·7.
  15· ·copy of the solvency certificate to their        15· · · · ·A.· ·Yes, I have that.
  16· ·declarations at the outset of the Chapter 15     16· · · · ·Q.· ·And if you could turn to page 3.
  17· ·proceeding?                                      17· · · · ·A.· ·Yes.
  18· · · · ·A.· ·I don't know if I asked.· But if I    18· · · · ·Q.· ·Do you see at the bottom the
  19· ·did it would be a privileged communication.      19· ·heading roman numeral III states, quote,
  20· ·Wouldn't it?                                     20· ·"Insolvency in the Cayman Islands"?
  21· · · · ·Q.· ·I don't know.· I'll let your          21· · · · ·A.· ·I see that.
  22· ·counsel answer that.                             22· · · · ·Q.· ·To the best of your knowledge and
  23· · · · ·A.· ·The honest answer is I don't          23· ·as you've been instructed, Ascentra is not
  24· ·remember.                                        24· ·insolvent, correct?
  25· · · · ·Q.· ·Then we don't have to worry about     25· · · · ·A.· ·It is not believed to be insolvent
                                            Page 106                                              Page 108
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·it.                                              ·2· ·at this time.
  ·3· · · · · · · Did you ever ask anybody why they     ·3· · · · ·Q.· ·It hasn't been determined to be
  ·4· ·didn't just say in their declarations, that      ·4· ·insolvent by the joint official liquidators,
  ·5· ·Ascentra is solvent?                             ·5· ·correct?
  ·6· · · · · · · MR. McDONALD:· That is privileged.    ·6· · · · ·A.· ·Correct.
  ·7· · · · ·I object.· I instruct you -- I instruct    ·7· · · · ·Q.· ·The Cayman court has never been
  ·8· · · · ·the witness not to answer.                 ·8· ·told that Ascentra is anything but solvent,
  ·9· · · · ·A.· ·There was at some point some          ·9· ·correct?
  10· ·conversation about that.· But it seems to me     10· · · · ·A.· ·As far as I know, that's correct.
  11· ·it's a privileged communication.                 11· · · · ·Q.· ·And there's no provision that
  12· · · · ·Q.· ·Okay.· So to the extent you ever      12· ·uniquely applies to insolvent corporations in
  13· ·asked the question, you're not willing to        13· ·a winding up proceeding in the Cayman Islands
  14· ·share with me what you were told about why       14· ·that would also apply to Ascentra in its
  15· ·they chose not to include the word "solvent"     15· ·windup proceeding, correct?
  16· ·in their declarations, is that fair?             16· · · · · · · MR. McDONALD:· Objection to form.
  17· · · · ·A.· ·I'm not willing to violate the        17· · · · ·A.· ·Well, we touched on this earlier.
  18· ·solicitor/client privilege enjoyed by my         18· ·Yes, there are some proceedings that apply
  19· ·client.                                          19· ·whether the company is solvent or insolvent.
  20· · · · ·Q.· ·I appreciate that.                    20· · · · ·Q.· ·Correct.· And I apologize, I'm sure
  21· · · · · · · In reviewing the declarations in      21· ·it was my question.· I'm focused only on the
  22· ·connection with the preparation of your expert   22· ·portion of the Winding Up Rules that apply to
  23· ·opinions, do you recall any mention of the       23· ·insolvent companies.
  24· ·curtailment of rights of creditors in the        24· · · · · · · MR. MORRIS:· Withdrawn.
  25· ·Ascentra winding up proceeding in the Cayman     25· · · · ·Q.· ·There are certain rules in the


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·Winding Up Rules that apply only to solvent      ·2· · · · · · · THE WITNESS:· Yes.
  ·3· ·companies, correct?                              ·3· · · · · · · MR. MORRIS:· And let's go to Order
  ·4· · · · ·A.· ·That is correct.                      ·4· · · · ·Number 16.· Which begins at page 93.
  ·5· · · · ·Q.· ·And there are certain rules that      ·5· · · · · · · THE WITNESS:· Yes.
  ·6· ·apply only to companies of doubtful solvency,    ·6· · · · ·Q.· ·Order 16, Rule 1(i) is the rule
  ·7· ·correct?                                         ·7· ·that provides that if the company being
  ·8· · · · ·A.· ·Yes.                                  ·8· ·liquidated is solvent, the liquidator is
  ·9· · · · ·Q.· ·There are certain rules that only     ·9· ·required to pay the debts owing to its
  10· ·apply to insolvent companies, correct?           10· ·creditors in the ordinary course, correct?
  11· · · · ·A.· ·Yes.                                  11· · · · ·A.· ·Correct.
  12· · · · ·Q.· ·And then there are certain rules      12· · · · ·Q.· ·That's the source of that concept,
  13· ·that apply to all of them?                       13· ·right?
  14· · · · ·A.· ·Yes.                                  14· · · · ·A.· ·I suppose.· It seems to me inherent
  15· · · · ·Q.· ·Okay.· So I am focused on the         15· ·in the process whether you have a rule that
  16· ·second and the third category:· Doubtful         16· ·says so or not.
  17· ·insolvency and insolvency.                       17· · · · ·Q.· ·Well, if you have a rule you're
  18· · · · ·A.· ·Okay.                                 18· ·kind of required to follow it, right?
  19· · · · ·Q.· ·Only with respect to those specific   19· · · · · · · MR. McDONALD:· Object to the form.
  20· ·rules, none of them would apply to Ascentra,     20· · · · ·A.· ·Yeah I --
  21· ·correct?                                         21· · · · · · · MR. MORRIS:· Withdrawn.
  22· · · · ·A.· ·Correct.                              22· · · · ·Q.· ·Liquidators are required to pay
  23· · · · ·Q.· ·Okay.· Can you think of any reason    23· ·creditors --
  24· ·why Mr. Cowan would describe the proceeding in   24· · · · ·A.· ·They are.
  25· ·the Cayman Islands as, quote, "insolvency" at    25· · · · ·Q.· ·-- in the ordinary course --
                                            Page 110                                              Page 112
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·the bottom of page 3?                            ·2· · · · ·A.· ·They are.
  ·3· · · · · · · MR. McDONALD:· Objection to form.     ·3· · · · ·Q.· ·Okay.
  ·4· · · · ·A.· ·I don't want to speculate on why      ·4· · · · ·A.· ·Even if you didn't have a rule, the
  ·5· ·Mr. Cowan would or would not have done certain   ·5· ·Court would certainly expect it.
  ·6· ·things.                                          ·6· · · · ·Q.· ·Okay.· But expectations aside, you
  ·7· · · · ·Q.· ·I don't want you to do that either    ·7· ·do have a rule, right?
  ·8· ·so let me ask a better question.                 ·8· · · · ·A.· ·We do have a rule, yes.
  ·9· · · · · · · As a former judge and as an expert    ·9· · · · ·Q.· ·And liquidators must follow the
  10· ·on Cayman Islands winding up laws, would you     10· ·rule, correct?
  11· ·ever describe the Ascentra windup proceedings    11· · · · ·A.· ·They must follow the rules.
  12· ·as an insolvency proceeding?                     12· · · · ·Q.· ·Okay.
  13· · · · · · · MR. McDONALD:· Objection to form.     13· · · · ·A.· ·Or they should.
  14· · · · ·A.· ·Not at the moment, no.                14· · · · ·Q.· ·Do you, as a former judge and
  15· · · · ·Q.· ·Okay.· And at no time -- to the       15· ·expert on the Winding Up Rules, have an
  16· ·best of your knowledge, at no time since the     16· ·understanding of what ordinary course means?
  17· ·moment it was commenced, is that fair?           17· · · · ·A.· ·I wrote a Law Journal article on it
  18· · · · ·A.· ·Correct.                              18· ·once.
  19· · · · ·Q.· ·Okay.                                 19· · · · ·Q.· ·Great.· So can you tell me what
  20· · · · ·A.· ·I would describe it as a winding up   20· ·your understanding of ordinary course means?
  21· ·proceeding.                                      21· · · · ·A.· ·In my view a company in a winding
  22· · · · ·Q.· ·Thank you.                            22· ·up proceeding is not engaged in the ordinary
  23· · · · · · · MR. MORRIS:· All right, we can put    23· ·course of business.· I think the rules here
  24· · · · ·the declarations to the side for now.      24· ·are inaptly worded, but the concept is that if
  25· · · · ·Can you pull back the Winding Up Rules.    25· ·the company is solvent, the invoices submitted


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·by creditors should be paid within the time      ·2· · · · ·Q.· ·Subject to the resolution of --
  ·3· ·that payment is due.                             ·3· · · · · · · MR. MORRIS:· Withdrawn.
  ·4· · · · ·Q.· ·That's right.                         ·4· · · · ·Q.· ·For undisputed debts --
  ·5· · · · ·A.· ·30 days, typically.                   ·5· · · · ·A.· ·For undisputed debt, yes.
  ·6· · · · ·Q.· ·But invoices have different payment   ·6· · · · ·Q.· ·-- the liquidators of a solvent
  ·7· ·terms, is that fair?                             ·7· ·entity are required to pay creditors in full
  ·8· · · · ·A.· ·Yes.                                  ·8· ·in the ordinary course, correct?
  ·9· · · · ·Q.· ·So some goods or service providers    ·9· · · · ·A.· ·Correct.
  10· ·will render invoices that require payment        10· · · · ·Q.· ·Okay.· And you note in your own
  11· ·within 30 days, right?                           11· ·declaration that in fact while Ascentra is
  12· · · · ·A.· ·Yes.                                  12· ·winding down and the process of winding down
  13· · · · ·Q.· ·Some of them will allow for 45        13· ·may not be in your view ordinary course to
  14· ·days, correct?                                   14· ·begin with, they still engage service
  15· · · · ·A.· ·Yes.                                  15· ·providers, right?
  16· · · · ·Q.· ·Some of them want cash on delivery,   16· · · · ·A.· ·Oh, yes.
  17· ·right?                                           17· · · · ·Q.· ·Right?
  18· · · · ·A.· ·Probably, yes.· We don't use much     18· · · · ·A.· ·They certainly do.
  19· ·cash in the Cayman Islands.· It's disapproved    19· · · · ·Q.· ·And among those that are mentioned
  20· ·of.                                              20· ·in paragraph 36 of your declaration are things
  21· · · · ·Q.· ·But whatever the creditor's payment   21· ·such as information, storage and maintenance,
  22· ·terms, a liquidator of a solvent entity is       22· ·right?
  23· ·required under Order 16 Rule Number 1 (1) to     23· · · · ·A.· ·Well, yes Mr. Robinson referred to
  24· ·pay them in the ordinary course, correct?        24· ·those.
  25· · · · ·A.· ·That is correct.                      25· · · · ·Q.· ·Yes.· And so those service
                                            Page 114                                              Page 116
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·And because creditors may have        ·2· ·providers and maintenance providers are
  ·3· ·different payment terms, they're going to get    ·3· ·entitled to get paid in the ordinary course in
  ·4· ·paid at different times if it's a solvent        ·4· ·full under Order 16, Rule 1, right?
  ·5· ·entity, correct?                                 ·5· · · · ·A.· ·Correct.
  ·6· · · · ·A.· ·Yes.· In a typical case.· I mean,     ·6· · · · ·Q.· ·Under that rule creditors are also
  ·7· ·there are -- I suppose, one could imagine        ·7· ·entitled to get paid in the currency of the
  ·8· ·circumstances where they wouldn't.· But in a     ·8· ·obligation --
  ·9· ·typical case, yes.                               ·9· · · · ·A.· ·Correct.
  10· · · · ·Q.· ·And the creditors of a solvent        10· · · · ·Q.· ·-- as if the company were still
  11· ·entity under Order 16, Rule 1(1) are also        11· ·operating, correct?
  12· ·going to get paid in full in all instances,      12· · · · ·A.· ·Correct.
  13· ·correct?                                         13· · · · ·Q.· ·Now, in contrast, you would agree
  14· · · · · · · MR. McDONALD:· Object to the form.    14· ·that creditors of an insolvent company or
  15· · · · ·A.· ·In the typical case, yes.             15· ·creditors of a company of doubtful solvency
  16· · · · ·Q.· ·That's what's expected and required   16· ·have no right to get paid in full, correct?
  17· ·under that rule, correct?                        17· · · · · · · MR. McDONALD:· Object to the form.
  18· · · · · · · MR. McDONALD:· Objection to form.     18· · · · ·A.· ·They have no right to get paid in
  19· · · · ·A.· ·Well, that would be the norm.· But    19· ·full prior to the pari passu distribution that
  20· ·the liquidators still have to come to a          20· ·we expect to take place.
  21· ·considered decision that the debt is due and     21· · · · ·Q.· ·So --
  22· ·owing.                                           22· · · · ·A.· ·If that distribution happened to be
  23· · · · ·Q.· ·Okay.· So let's take that into        23· ·100 cents on the dollar.· And it could happen
  24· ·account.                                         24· ·that they could be paid in full.· But ...
  25· · · · ·A.· ·Yes.                                  25· · · · ·Q.· ·Right.· But other than that they're

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·just going to get paid pro rata along with       ·2· · · · ·Q.· ·I think -- I think we can see
  ·3· ·other creditors in their class?                  ·3· ·from -- it does matter, actually.· We can see
  ·4· · · · ·A.· ·Correct.                              ·4· ·from Order 16, Rule 1(1) that creditors of a
  ·5· · · · ·Q.· ·How many cases are you aware of       ·5· ·solvent entity have the --
  ·6· ·that were filed as insolvent or of doubtful      ·6· · · · ·A.· ·Yeah.
  ·7· ·insolvency where creditors got paid 100 cents    ·7· · · · ·Q.· ·-- absolute right to get paid in
  ·8· ·on the dollar?                                   ·8· ·the currency of the obligation, correct?
  ·9· · · · · · · MR. McDONALD:· Object to the form.    ·9· · · · ·A.· ·Correct.
  10· · · · ·A.· ·Again, I'm not -- you know, I don't   10· · · · ·Q.· ·Can you point me to anywhere in the
  11· ·remember specific cases, I've done so many of    11· ·windup laws that gives creditors of an
  12· ·them.· So the answer is zero.                    12· ·insolvent company or a company of doubtful
  13· · · · ·Q.· ·Okay.                                 13· ·solvency that same right?
  14· · · · ·A.· ·But there probably were some.         14· · · · ·A.· ·No.
  15· · · · ·Q.· ·But you can't remember any; fair?     15· · · · ·Q.· ·You used the phrase pari passu a
  16· · · · ·A.· ·Fair.· Yeah, I mean, but anything     16· ·few moments ago.· Did I hear that correctly?
  17· ·that can happen probably did happen at some      17· · · · ·A.· ·Yes.
  18· ·point.                                           18· · · · ·Q.· ·And do you have an understanding of
  19· · · · ·Q.· ·And creditors of a solvent --         19· ·that term?
  20· · · · · · · MR. MORRIS:· Withdrawn.               20· · · · ·A.· ·Yes.
  21· · · · ·Q.· ·Creditors of an insolvent company     21· · · · ·Q.· ·What's your understanding of the
  22· ·or a company of doubtful solvency had no right   22· ·phrase pari passu?
  23· ·to get paid in accordance with their payment     23· · · · ·A.· ·That each creditor would be given a
  24· ·terms, correct?                                  24· ·certain percentage of the distribution amount
  25· · · · · · · MR. McDONALD:· Object to the form.    25· ·that is in direct proportion to that
                                            Page 118                                              Page 120
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·A.· ·No, their only right is to be the     ·2· ·creditor's -- that is in the same proportion
  ·3· ·recipient of a pari passu distribution towards   ·3· ·as that creditor's debt is to the whole of the
  ·4· ·the end of the process.                          ·4· ·debt.· It's ratable.
  ·5· · · · ·Q.· ·Right.· And so they're going to       ·5· · · · ·Q.· ·And do creditors of an insolvent
  ·6· ·have to wait, isn't that right?                  ·6· ·entity or an entity of doubtful solvency get
  ·7· · · · ·A.· ·They're going to have to wait.        ·7· ·paid pari passu?
  ·8· · · · ·Q.· ·They're not going to get paid in      ·8· · · · ·A.· ·Usually, yes.
  ·9· ·accordance with their invoice terms, correct?    ·9· · · · ·Q.· ·Can you think of any instance where
  10· · · · · · · MR. McDONALD:· Object to the form.    10· ·creditors of an insolvent entity or an entity
  11· · · · ·A.· ·No.                                   11· ·of doubtful solvency got paid in any manner
  12· · · · ·Q.· ·Creditors of an insolvent company     12· ·other than pari passu?
  13· ·or a company of doubtful solvency have no        13· · · · ·A.· ·No.· I mean, I think by definition
  14· ·right to get paid in the currency of the         14· ·if they were to get 100 cents on the dollar,
  15· ·obligation, correct?                             15· ·then the entity was solvent.
  16· · · · ·A.· ·I'm not sure about that.· I would     16· · · · ·Q.· ·So fair to say the answer is no?
  17· ·have to look it up.· I mean, I think the pari    17· · · · ·A.· ·Yes.
  18· ·passu distribution would ordinarily be, take     18· · · · ·Q.· ·Okay.· And when you use the phrase
  19· ·into account the currency of the obligation.     19· ·"pari passu," that also means that all
  20· ·Would it not?                                    20· ·creditors will be paid at exactly the same
  21· · · · ·Q.· ·You're the expert.                    21· ·time, correct?
  22· · · · ·A.· ·I don't know without looking it up.   22· · · · · · · MR. McDONALD:· Objection to form.
  23· · · · ·Q.· ·Fair enough.                          23· · · · · · · MR. MORRIS:· Withdrawn.
  24· · · · ·A.· ·And it probably doesn't matter to     24· · · · ·Q.· ·When you use the phrase "pari
  25· ·you, does it?                                    25· ·passu," you mean that distributions will be

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·made to creditors at the same time?              ·2· · · · ·A F T E R N O O N· · S E S S I O N
  ·3· · · · ·A.· ·Correct.                              ·3· · · · · · · · · ·(12:35 p.m.)
  ·4· · · · ·Q.· ·And that's different than what        ·4· · · · · · · · · · · ·_ _ _
  ·5· ·happens for creditors of solvent entities who    ·5
  ·6· ·get paid in the ordinary course, fair?           ·6· ·ALEXANDER HENDERSON,
  ·7· · · · ·A.· ·Correct.                              ·7· · · resumed as a witness, having been
  ·8· · · · ·Q.· ·Do you have an understanding of the   ·8· · · previously sworn by a Notary Public,
  ·9· ·policy rationale for using different payment     ·9· · · was examined and testified further as
  10· ·methods depending on whether the creditors are   10· · · follows:
  11· ·of a solvent entity versus an entity that's      11· · · · · · · MR. MORRIS:· We are back on the
  12· ·either insolvent or of doubtful solvency?        12· · · · ·record.
  13· · · · ·A.· ·I think I do.                         13· ·EXAMINATION BY
  14· · · · ·Q.· ·Can you share that with me?           14· ·MR. MORRIS:
  15· · · · ·A.· ·Well, if the liquidators expect on    15· · · · ·Q.· ·Mr. Henderson, could I trouble you,
  16· ·good grounds that the entity will be solvent,    16· ·please, to take the Wind Up Rules which are
  17· ·then it would appear to be safe to pay the       17· ·exhibit 3.
  18· ·creditors in full as their debts fall due.       18· · · · ·A.· ·Yes.
  19· · · · · · · Whereas, if the liquidators expect    19· · · · ·Q.· ·I just have a few more rules I
  20· ·on good grounds that the entity will be          20· ·would like to hit and then we'll deal with
  21· ·insolvent, one wishes to wait until all the      21· ·Ms. Pearson and then we'll be done.
  22· ·proofs of debt have been adjudicated and then    22· · · · · · · So if you can turn to page 59,
  23· ·make a ratable distribution.· I'm not sure if    23· ·which is Order 8.
  24· ·I'm addressing your question or not.             24· · · · ·A.· ·Yes.
  25· · · · ·Q.· ·I think that makes sense.· Do you     25· · · · ·Q.· ·Order 8 addresses meetings of
                                            Page 122                                              Page 124
  ·1· · · · · · · · · · A. Henderson                 ·1· · · · · · · · · · A. Henderson
  ·2· ·have anything to add?· Or is that --          ·2· ·creditors and contributories, right?
  ·3· · · · ·A.· ·No, I don't.                       ·3· · · · ·A.· ·Yes.
  ·4· · · · · · · MR. MORRIS:· Off the record.       ·4· · · · ·Q.· ·And contributories is a phrase
  ·5· · · · · · · (Discussion off the record.)       ·5· ·that's used in the Cayman Islands that would
  ·6· · · · · · · (Lunch recess taken at 11:55 a.m.) ·6· ·be analogous to the phrase that's used in the
  ·7                                                 ·7· ·United States for shareholders, right?
  ·8                                                 ·8· · · · ·A.· ·Correct, or members is another
  ·9                                                 ·9· ·term.
  10                                                 10· · · · ·Q.· ·Or members.· So depending on
  11                                                 11· ·whether it's a corporation or a limited
  12                                                 12· ·liability type company, it's either a
  13                                                 13· ·shareholder or a member, right?
  14                                                 14· · · · ·A.· ·Okay.
  15                                                 15· · · · ·Q.· ·Okay.· I am asking you, is my
  16                                                 16· ·understanding correct?
  17                                                 17· · · · ·A.· ·Yes.
  18                                                 18· · · · ·Q.· ·Okay.· And if you'll look down at
  19                                                 19· ·Order 8, Rule 1(5), as long as the liquidator
  20                                                 20· ·determines that the company is solvent, then
  21                                                 21· ·the liquidator is required to convene meetings
  22                                                 22· ·only with contributories, correct?
  23                                                 23· · · · ·A.· ·Correct.
  24                                                 24· · · · ·Q.· ·But if the liquidator determines
  25                                                 25· ·that the entity is insolvent, only creditors

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·will be permitted to participate in official     ·2· ·But sometimes counsel -- sometimes counsel get
  ·3· ·meetings under (4), correct?                     ·3· ·involved.
  ·4· · · · ·A.· ·Correct.                              ·4· · · · ·Q.· ·Can liquidation committees hire
  ·5· · · · ·Q.· ·Okay.· And, again, do you have an     ·5· ·other professionals such as financial advisers
  ·6· ·understanding of what the policy is behind the   ·6· ·or investment bankers?
  ·7· ·rules that require the participation of          ·7· · · · ·A.· ·They can always hire people.· The
  ·8· ·creditors in meetings of insolvent entities      ·8· ·question becomes whether the liquidation
  ·9· ·but bar the participation of creditors of        ·9· ·estate is going to pay for it or not.· They
  10· ·meetings concerning solvent companies?           10· ·would need to consult with the JOLs, convince
  11· · · · · · · MR. McDONALD:· Objection to form.     11· ·the JOLs that it's a reasonable expenditure.
  12· · · · ·A.· ·Yes, I have.                          12· · · · ·Q.· ·Do liquidation committees have the
  13· · · · ·Q.· ·Can you share that with me?           13· ·right to receive notice of sanction
  14· · · · ·A.· ·If the entity is insolvent, the       14· ·applications?
  15· ·creditors are going to have the ultimate         15· · · · ·A.· ·Yes.· Yes, I think so.
  16· ·economic interest in the outcome.· They are      16· · · · ·Q.· ·Do they --
  17· ·going to be paid ratably, according to the       17· · · · ·A.· ·I would certainly expect them to
  18· ·proportionate size of their debts.               18· ·receive notice.
  19· · · · · · · If the entity is solvent, one         19· · · · ·Q.· ·And do liquidation committees also
  20· ·assumes that the creditors will be paid in       20· ·have the right to file sanction applications?
  21· ·full in the so-called ordinary course, and the   21· · · · ·A.· ·The committee itself?· I don't know
  22· ·shareholders will have the ultimate financial    22· ·if it does or not.· I would have to look at
  23· ·interest.                                        23· ·the wording of the rules.
  24· · · · ·Q.· ·By the way, I don't think we          24· · · · ·Q.· ·Okay.· Are you aware of any source
  25· ·covered this.· Can you just tell me what a       25· ·of the powers, rights or authority of
                                            Page 126                                              Page 128
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·liquidation committee is in the context of a     ·2· ·liquidation committees other than what is set
  ·3· ·winding up proceeding?                           ·3· ·forth in Order 9?
  ·4· · · · ·A.· ·It's a committee of those who are     ·4· · · · ·A.· ·No.
  ·5· ·presumed to have the primary financial           ·5· · · · ·Q.· ·Now, if you could go back to the
  ·6· ·interest in the outcome.· They are to            ·6· ·Companies Act.· I just want to review some of
  ·7· ·represent their classes.· So in an insolvent     ·7· ·the rights that --
  ·8· ·winding up, the committee would be composed of   ·8· · · · ·A.· ·Yes.
  ·9· ·representatives of the creditor class.           ·9· · · · ·Q.· ·-- you have said have been
  10· · · · ·Q.· ·And is it true that the rights and    10· ·curtailed for creditors of solvent entities.
  11· ·powers of liquidation committees are actually    11· ·That's footnote 7.
  12· ·set forth in Order Number 9?· And that begins    12· · · · · · · So the first thing you refer to is
  13· ·on page 65.                                      13· ·Companies Act Section 102(3)?
  14· · · · ·A.· ·It deals with liquidation             14· · · · ·A.· ·Okay.
  15· ·committees, yes.· They don't have a lot of       15· · · · ·Q.· ·And can you just tell me your
  16· ·rights and powers.· They are essentially         16· ·understanding of how Section 102(3) curtails
  17· ·advisory in nature.· The JOLs consult them and   17· ·the rights of creditors in a solvent winding
  18· ·are expected to consult them.· Their views       18· ·up proceeding?
  19· ·have to be considered, have to be taken into     19· · · · ·A.· ·Yes.· This pertains to the
  20· ·account.· But they don't have a lot of rights.   20· ·expenditure of money from the liquidation
  21· ·The rights reside mostly with the court.· The    21· ·estate.· And if the entity is thought to be
  22· ·JOLs acting on behalf of the court.              22· ·solvent, the JOLs must obtain the prior
  23· · · · ·Q.· ·Do you know if liquidation            23· ·approval of the contributories.· And if the
  24· ·committees typically retain counsel?             24· ·estate is thought to be insolvent, the prior
  25· · · · ·A.· ·I would say typically they don't.     25· ·approval of the creditors under 102(3).

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Okay.· Thank you.· And then you       ·2· · · · · · · MR. McDONALD:· Object to the form.
  ·3· ·also cited Section 105(3) of the Companies       ·3· · · · ·A.· ·Yes.
  ·4· ·Act?                                             ·4· · · · ·Q.· ·Okay.· This is the section, from 29
  ·5· · · · ·A.· ·Yes.                                  ·5· ·to 36, this is the section of your declaration
  ·6· · · · ·Q.· ·What about that subsection of 105     ·6· ·where you put pen to paper to describe your
  ·7· ·curtails the rights of creditors in the case     ·7· ·views of paragraph 69 to 76 of Ms. Pearson's
  ·8· ·of a winding up proceeding for a solvent         ·8· ·deposition, correct?
  ·9· ·entity?                                          ·9· · · · ·A.· ·Yes.
  10· · · · ·A.· ·Well, if the entity is thought to     10· · · · ·Q.· ·Declaration.· Okay.· So let's go
  11· ·be solvent, the liquidators within 28 days of    11· ·through them one at a time.
  12· ·the date the winding up order is made shall      12· · · · ·A.· ·Okay.
  13· ·summon a meeting of the shareholders -- or       13· · · · ·Q.· ·In paragraph 30 you call her
  14· ·contributories -- only.· The creditors have no   14· ·criticism of Mr. Robinson and Mr. Cowan as set
  15· ·right to attend.                                 15· ·forth in paragraph 70 of her declaration as
  16· · · · ·Q.· ·All right.· Let's just go to your     16· ·misguided.· Do you see that?
  17· ·declaration.· You can put the rules to the       17· · · · ·A.· ·I see that.
  18· ·side for the moment.· And I would ask you to     18· · · · ·Q.· ·And the criticism in particular is
  19· ·turn your attention to I guess beginning at      19· ·the fault that I guess you interpreted in
  20· ·paragraph 29 through 36 where you offer some     20· ·paragraph 70 for, quote, "failing to identify
  21· ·responses --                                     21· ·the key differences between Cayman insolvency
  22· · · · ·A.· ·Oh, yes.                              22· ·proceedings and a solvent court supervisory
  23· · · · ·Q.· ·-- to portions of Ms. Pearson's       23· ·winding up."· Do I have that right?
  24· ·declaration.                                     24· · · · ·A.· ·Yes.
  25· · · · ·A.· ·Mm-hmm.                               25· · · · ·Q.· ·You would agree that there are key
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Do you know Ms. Pearson?              ·2· ·differences between Cayman insolvency
  ·3· · · · ·A.· ·No.                                   ·3· ·proceedings and a solvent court supervised
  ·4· · · · ·Q.· ·Have you ever met her?                ·4· ·winding up, correct?
  ·5· · · · ·A.· ·No.                                   ·5· · · · ·A.· ·No.
  ·6· · · · ·Q.· ·Do you know anything about her        ·6· · · · · · · MR. McDONALD:· Object to the form.
  ·7· ·reputation?                                      ·7· · · · · · · (Discussion off the record.)
  ·8· · · · ·A.· ·No.                                   ·8· · · · · · · MR. McDONALD:· Could you re-ask the
  ·9· · · · ·Q.· ·Do you know anything about her        ·9· · · · ·question?
  10· ·experience?                                      10· · · · · · · MR. MORRIS:· Sure.
  11· · · · ·A.· ·Only what I've read in her            11· · · · ·Q.· ·We've spent time today,
  12· ·declaration.                                     12· ·Mr. Henderson, talking about the differences
  13· · · · ·Q.· ·Have you done any due diligence to    13· ·between a winding up proceeding that involves
  14· ·try to ascertain Ms. Pearson's qualifications    14· ·a solvent entity and winding up proceedings
  15· ·to offer expert testimony?                       15· ·that involve entities that are either
  16· · · · ·A.· ·I don't regard that as part of due    16· ·insolvent or of doubtful solvency, right?
  17· ·diligence.· I have no reason to ascertain her    17· · · · ·A.· ·There are differences, but it's all
  18· ·qualifications.                                  18· ·one type of proceeding.· It's a winding up
  19· · · · ·Q.· ·Okay.· And so at the time you         19· ·proceeding.· And that's where Ms. Pearson and
  20· ·prepared the declaration you reviewed her        20· ·I differ.
  21· ·declaration as well, correct?                    21· · · · · · · (Pause in proceedings.)
  22· · · · ·A.· ·Correct.                              22· ·BY MR. MORRIS:
  23· · · · ·Q.· ·And the only portion of her           23· · · · ·Q.· ·Okay.· Are you ready,
  24· ·declaration that you chose to comment on are     24· ·Mr. Henderson?
  25· ·the seven paragraphs from 69 to 76, correct?     25· · · · ·A.· ·Yes.


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·So you agree that creditors of a      ·2· · · · ·Q.· ·And do you have any reason to
  ·3· ·solvent entity have different rights than        ·3· ·believe that the only point she's making is
  ·4· ·creditors of an insolvent entity or an entity    ·4· ·that different rules apply depending on
  ·5· ·that is of doubtful solvency as part of the      ·5· ·whether the entity is solvent versus
  ·6· ·Cayman Island winding up proceeding scheme,      ·6· ·insolvent?
  ·7· ·right?                                           ·7· · · · · · · MR. McDONALD:· Objection to form.
  ·8· · · · ·A.· ·Yes.                                  ·8· · · · ·A.· ·I can only reply with my own
  ·9· · · · ·Q.· ·Okay.· Where you differ with          ·9· ·interpretation of the point she's making.
  10· ·Ms. Pearson is that you believe those            10· · · · ·Q.· ·Okay.· All right.· Turning to
  11· ·differences are irrelevant because in your       11· ·paragraph 31.
  12· ·opinion whether the company is solvent or        12· · · · ·A.· ·Yes.
  13· ·insolvent or of doubtful solvency, it's all      13· · · · ·Q.· ·She's right, is she not, that
  14· ·under the winding up umbrella, whereas she       14· ·creditors of a solvent entity in a winding up
  15· ·believes the differences are important, is       15· ·proceeding in the Cayman Islands are not going
  16· ·that fair?                                       16· ·to get paid on a pari passu basis, correct?
  17· · · · ·A.· ·Not entirely, no.                     17· · · · ·A.· ·That is correct.
  18· · · · ·Q.· ·Tell me where I got it wrong.         18· · · · ·Q.· ·Okay?
  19· · · · ·A.· ·I don't think they're irrelevant.     19· · · · · · · MR. McDONALD:· Object to the form
  20· ·She seems to believe that there are two          20· · · · ·of the question.
  21· ·different types of proceedings, one involving    21· · · · ·Q.· ·So what's the criticism that you're
  22· ·an insolvent entity and one involving a          22· ·identifying in paragraph 71?· I'm not sure
  23· ·solvent entity.                                  23· ·that I follow.
  24· · · · · · · I believe that there's just one       24· · · · ·A.· ·I think I'm simply reiterating that
  25· ·type of proceeding, that is to say a winding     25· ·in my view there's just one type of process,
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·up proceeding, and the subject matter of that    ·2· ·the winding up process.
  ·3· ·winding up proceeding may be in some cases a     ·3· · · · ·Q.· ·Okay.· So in your view there's one
  ·4· ·solvent entity and in other cases an insolvent   ·4· ·process, it's the winding up --
  ·5· ·entity.                                          ·5· · · · ·A.· ·Yes.
  ·6· · · · ·Q.· ·So in your view they're all winding   ·6· · · · ·Q.· ·-- proceeding?
  ·7· ·up proceedings?                                  ·7· · · · ·A.· ·You could take an analogy to
  ·8· · · · ·A.· ·Correct.                              ·8· ·criminal proceedings.· A criminal proceeding
  ·9· · · · ·Q.· ·And she's focused on the              ·9· ·may involve burglary or it may involve murder.
  10· ·differences of the rules that apply, depending   10· ·That is the subject matter of the proceeding.
  11· ·on whether or not the entity is solvent,         11· ·But there's only one type of proceeding.
  12· ·insolvent or of doubtful solvency, is that       12· · · · ·Q.· ·Okay.
  13· ·fair?                                            13· · · · ·A.· ·That's the way I view winding up
  14· · · · ·A.· ·She's focused on them, but beyond     14· ·proceedings.· Beyond that, I think that's the
  15· ·that she seems to feel that the differences      15· ·way the bar and the bench views winding up
  16· ·are so stark that there are two different        16· ·proceedings.
  17· ·types of proceedings.· One for solvency -- one   17· · · · · · · I've acted as chief justice on a
  18· ·for solvent entities and one for insolvent       18· ·number of occasions.· If I had on one of those
  19· ·entities.· I don't see it that way.              19· ·occasions asked the court administrator to
  20· · · · ·Q.· ·There are different rules that        20· ·give me a list of all of the types of
  21· ·apply depending --                               21· ·proceedings in the court and the number of
  22· · · · ·A.· ·Yes.                                  22· ·each, that list I expect would include a line
  23· · · · ·Q.· ·-- on whether an entity is solvent    23· ·item for winding up proceedings.· It wouldn't
  24· ·or insolvent, is that fair?                      24· ·include two line items, one for solvency
  25· · · · ·A.· ·There are indeed -- yes.              25· ·proceedings and one for insolvency

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  ALEXANDER GRAY HENDERSON, KC                           September 28, 2023
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·proceedings.· That's the difference.             ·2· ·stakeholders even though the liquidators
  ·3· · · · ·Q.· ·But you do understand, as you set     ·3· ·believe the company will prove to be solvent.
  ·4· ·forth in paragraph 14 of your declaration,       ·4· · · · · · · They're stakeholders in the sense
  ·5· ·that one of the things the Court in New York     ·5· ·that the Court would want to be assured that
  ·6· ·is going to want to know is whether the          ·6· ·they are treated fairly and properly
  ·7· ·proceeding is not a winding up proceeding, but   ·7· ·throughout the process.· It doesn't mean that
  ·8· ·whether the proceeding is an insolvency          ·8· ·they are on the same level as the
  ·9· ·proceeding or a proceeding to adjust debts,      ·9· ·shareholders.· But they are still
  10· ·right?                                           10· ·stakeholders.
  11· · · · ·A.· ·Yeah, I'm aware of the definition     11· · · · ·Q.· ·But in this particular case, if we
  12· ·that the Court in New York is considering.       12· ·could just focus on Ascentra, you don't know
  13· · · · ·Q.· ·And in your expert opinion, are the   13· ·if Ascentra has creditors, correct?
  14· ·distinctions that Ms. Pearson is drawing         14· · · · ·A.· ·No, I don't.
  15· ·relevant to the question of whether or not the   15· · · · ·Q.· ·And you don't know if Ascentra has
  16· ·proceeding is an insolvency proceeding or a      16· ·creditors, whether they're actively
  17· ·proceeding for the adjustment of debts?          17· ·participating in the winding up proceeding,
  18· · · · ·A.· ·I think what she's saying is          18· ·correct?
  19· ·relevant.· I think it's wrong.                   19· · · · ·A.· ·I don't know what they're doing or
  20· · · · ·Q.· ·And you think it's wrong because      20· ·not doing.
  21· ·whether the entity is solvent or insolvent or    21· · · · ·Q.· ·Okay.· So you don't have any reason
  22· ·of doubtful solvency, it falls under the         22· ·to validate Mr. Robinson's statement that,
  23· ·umbrella of the Winding Up Rules as we've        23· ·quote, "all major stakeholder are actively
  24· ·defined them, correct?                           24· ·participating," correct?
  25· · · · ·A.· ·Yes.· It's a winding up proceeding.   25· · · · · · · MR. McDONALD:· Objection to form.
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·It's one type of proceeding.                     ·2· · · · ·A.· ·I can't validate that statement.
  ·3· · · · ·Q.· ·Okay.· But whether it's a winding     ·3· ·I'm directing my mind more to the question of
  ·4· ·up proceeding --                                 ·4· ·who are the stakeholders.
  ·5· · · · · · · MR. MORRIS:· Withdrawn.· I'll just    ·5· · · · ·Q.· ·Okay.· So you're talking general,
  ·6· · · · ·leave it at that.                          ·6· ·but those general --
  ·7· · · · ·Q.· ·In paragraph 32 you note that         ·7· · · · ·A.· ·I'm talking general.
  ·8· ·Ms. Pearson has taken issue with                 ·8· · · · ·Q.· ·Okay.· And so those general
  ·9· ·Mr. Robinson's statement, that quote, "all       ·9· ·concepts -- you're not offering an opinion as
  10· ·major stakeholders are actively                  10· ·to whether those general concepts apply to the
  11· ·participating," and she asserts that creditors   11· ·Ascentra case because you don't even know if
  12· ·are, quote, "barred as a matter of law from      12· ·there are creditors, is that fair?
  13· ·participating."                                  13· · · · ·A.· ·That is a fair statement.
  14· · · · · · · Do you see that?                      14· · · · ·Q.· ·Okay.· The next portion of the
  15· · · · ·A.· ·Yes, I do.                            15· ·sentence refers to Ms. Pearson's assertion
  16· · · · ·Q.· ·Okay.· So let's take this in          16· ·that, quote, "the creditors are barred as a
  17· ·pieces.· Do you have any basis to believe that   17· ·matter of law from participating."
  18· ·Mr. Robinson's statement that, quote, "all       18· · · · ·A.· ·Yes.
  19· ·major stakeholders are actively participating"   19· · · · ·Q.· ·And we've looked at a lot of the
  20· ·is true?                                         20· ·provisions of the winding up laws, is that
  21· · · · ·A.· ·Well, I don't know in the             21· ·fair?
  22· ·individual case, being the Ascentra case,        22· · · · ·A.· ·We've looked at some things, yes.
  23· ·what's happening.· But what I'm attempting to    23· · · · ·Q.· ·Okay.· And I'll ask you now:· Can
  24· ·say, perhaps imperfectly, is that from the       24· ·you identify any rule in the Winding Up Rules,
  25· ·Court's point of view, the creditors remain      25· ·or any section or provision of Part V of the


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·Companies Act that gives creditors of a          ·2· ·you've described it from actual rights that
  ·3· ·solvent entity a right to participate in the     ·3· ·creditors have.
  ·4· ·winding up proceeding?                           ·4· · · · ·A.· ·Yes.· That's an important
  ·5· · · · ·A.· ·Well, again, we come back to the      ·5· ·distinction.
  ·6· ·supervisory jurisdiction of the Court.· The      ·6· · · · ·Q.· ·Okay.· So other than the right to
  ·7· ·Court has an obligation to ensure that its       ·7· ·get paid in the ordinary course, can you
  ·8· ·agents, the JOLs, are acting appropriately,      ·8· ·identify any right that a creditor or the body
  ·9· ·competently, fairly, et cetera, and the Court    ·9· ·of creditors has in a winding up proceeding
  10· ·cannot do that without entertaining complaints   10· ·involving a solvent entity?
  11· ·from all those who are involved, which could     11· · · · ·A.· ·There's probably one or two. I
  12· ·include a creditor.· Even though it's a          12· ·would have to go through the law and the rules
  13· ·solvent entity, if a creditor were to write to   13· ·to identify them.· For the most part they
  14· ·the Court, for example, and say I submitted --   14· ·don't have rights, because it's a solvent
  15· ·we submitted our invoice four months ago, it     15· ·entity.· They have a broad right to be treated
  16· ·should have been paid within 30 days, it was     16· ·fairly by the JOLs, and a right, as I've been
  17· ·not, the liquidators will not tell me why they   17· ·at pains to express, to complain to the Court
  18· ·have not paid it, can you help.                  18· ·if they are not treated fairly.
  19· · · · · · · I would either set the matter down    19· · · · ·Q.· ·In paragraph 33 you quote from
  20· ·to be addressed at the next interlocutory        20· ·Ms. Pearson's declaration where she says that,
  21· ·application in the case or I might even call     21· ·quote, "a solvent supervised winding up is
  22· ·in the liquidators and ask them.· Because I'm    22· ·conducted for the benefit of the shareholders,
  23· ·supervising.                                     23· ·not the creditors."
  24· · · · ·Q.· ·And that opinion that you just        24· · · · · · · And you acknowledge that this is,
  25· ·articulated is an opinion that emanates from     25· ·quote, "largely true."
                                            Page 142                                              Page 144
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·the equitable powers of the Court, is that       ·2· · · · ·A.· ·Correct.
  ·3· ·fair?· Is didn't emanate from any particular     ·3· · · · ·Q.· ·Okay.· The only quibble that you
  ·4· ·rule, is that right?                             ·4· ·have with her opinion in that regard is that
  ·5· · · · · · · MR. McDONALD:· Objection to form.     ·5· ·creditors benefit by having the liquidators
  ·6· · · · ·A.· ·I'm sure there's something in the     ·6· ·comply with the law that says they must pay
  ·7· ·Companies Act.                                   ·7· ·creditors in the ordinary course?
  ·8· · · · · · · MR. McDONALD:· Take a moment.· If     ·8· · · · ·A.· ·Yes.
  ·9· · · · ·you want to look through it, take a        ·9· · · · ·Q.· ·Okay.
  10· · · · ·moment.· You don't have to rush.           10· · · · ·A.· ·And that they may in some cases
  11· · · · ·A.· ·I mean, the application that was      11· ·have to liquidate assets to do that.
  12· ·made in this case as in all similar cases is     12· · · · ·Q.· ·A solvent entity that was not
  13· ·for an order that the liquidation continue       13· ·subject to a winding up proceeding would be
  14· ·under the supervision of the Court.              14· ·legally obligated to pay its debts in the
  15· · · · ·Q.· ·Correct.                              15· ·ordinary course, isn't that right?
  16· · · · ·A.· ·So the Court is mandated to           16· · · · ·A.· ·Yes.
  17· ·supervise.                                       17· · · · ·Q.· ·So that from the creditors'
  18· · · · ·Q.· ·Okay.· Anything else?                 18· ·perspective there is no difference when
  19· · · · ·A.· ·That's the way it's always been.      19· ·dealing with a solvent entity, whether it's in
  20· · · · ·Q.· ·Okay.                                 20· ·a winding up proceeding or not in a winding up
  21· · · · ·A.· ·Sometimes statutes don't set out      21· ·proceeding, is that fair?
  22· ·bedrock principles because they're deemed to     22· · · · ·A.· ·Their right to be paid remains the
  23· ·be so obvious that that's unnecessary.           23· ·same.
  24· · · · ·Q.· ·All right.· As opposed -- I want to   24· · · · ·Q.· ·Thank you.
  25· ·distinguish the court's supervisory role as      25· · · · ·A.· ·The practicality of it may differ.


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·Often these entities, even though solvent, are   ·2· · · · · · · MR. MORRIS:· Can we have him look
  ·3· ·not being managed properly.· The liquidators     ·3· · · · ·at the exhibit and not your copy?
  ·4· ·step in and hopefully and presumably bring a     ·4· · · · · · · MR. McDONALD:· He wanted to make a
  ·5· ·higher level of organization to the management   ·5· · · · ·mark for --
  ·6· ·of it.                                           ·6· · · · · · · MR. MORRIS:· He can mark it on
  ·7· · · · ·Q.· ·Looking at paragraph 34.              ·7· · · · ·the --
  ·8· · · · ·A.· ·Yes.                                  ·8· · · · · · · MR. McDONALD:· I don't want him
  ·9· · · · ·Q.· ·Are you disagreeing with anything     ·9· · · · ·marking the official --
  10· ·Ms. Pearson said in paragraph 74 or are you      10· · · · · · · MR. MORRIS:· He's not going to mark
  11· ·just putting a little -- well, I'll just leave   11· · · · ·yours.· Unless we're going to mark that
  12· ·it at that.                                      12· · · · ·as an exhibit.
  13· · · · · · · Is there a disagreement that's        13· · · · ·A.· ·Is this the official exhibit or is
  14· ·identified in paragraph 74 or a criticism?       14· ·this just a copy?
  15· · · · ·A.· ·I'm not sure if it's a                15· · · · ·Q.· ·Yes, the one with the yellow.· If
  16· ·disagreement.· I'm pointing out, though,         16· ·you want to mark it, you can mark.
  17· ·that -- to quote myself, "if a serious           17· · · · · · · MR. MORRIS:· I'm not asking him to
  18· ·challenge were brought, I expect the Court       18· · · · ·mark anything, but if he prefers to do
  19· ·would listen to the submission (probably with    19· · · · ·that, he's got to do that on the exhibit
  20· ·a time limit) and give a direction to the        20· · · · ·because that's got to go into court.
  21· ·liquidators if fairness required it.· The        21· · · · · · · (The witness complied.)
  22· ·rules of standing must (in winding up            22· · · · ·A.· ·Okay.· Should I answer?
  23· ·proceedings) be enforced with a degree of        23· · · · ·Q.· ·Yes, please.· Can you identify
  24· ·flexibility; a judge has a discretion to         24· ·every place in Mr. Robinson's declaration
  25· ·listen to a creditor even though that creditor   25· ·where you believe he fairly represented to the
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·has no right to insist on being heard."          ·2· ·New York court the nature of the supervised
  ·3· · · · · · · I'm just making that point.           ·3· ·solvent winding up?
  ·4· · · · ·Q.· ·Okay, fair enough.                    ·4· · · · ·A.· ·I may not be able to identify every
  ·5· · · · · · · And then finally in paragraph 35      ·5· ·place, but I'll identify the --
  ·6· ·you take strong exception to the charge in       ·6· · · · ·Q.· ·Sure.
  ·7· ·paragraph 75 that Mr. Cowan and Mr. Robinson     ·7· · · · ·A.· ·-- main places that appear to me.
  ·8· ·didn't provide the New York court with, quote,   ·8· ·Paragraph 24.
  ·9· ·a fair representation of the nature of a         ·9· · · · ·Q.· ·Okay.
  10· ·supervised solvent winding up, have I read       10· · · · ·A.· ·He makes the important point that
  11· ·that correctly?                                  11· ·Ascentra's liquidation is under the Cayman
  12· · · · ·A.· ·Yes.                                  12· ·court's supervision.· So that's the most
  13· · · · ·Q.· ·You've got the Cowan and Robinson     13· ·critical point.
  14· ·declarations in front of you.                    14· · · · ·Q.· ·Okay.· Can I stop you there for a
  15· · · · ·A.· ·Mm-hmm.                               15· ·second?
  16· · · · ·Q.· ·I am going to grab a cup of coffee.   16· · · · ·A.· ·Yes.
  17· ·I would ask you to take a look at them and       17· · · · ·Q.· ·And that would be true regardless
  18· ·tell me where in those declarations either       18· ·of whether the entity was solvent, insolvent
  19· ·declarant describes in any way at all the        19· ·or of doubtful solvency, correct?
  20· ·nature of a supervised solvent winding up?       20· · · · ·A.· ·Yes.· Absolutely.
  21· · · · ·A.· ·Okay.· I'll have a look.              21· · · · ·Q.· ·So that's not a representation of
  22· · · · · · · MR. McDONALD:· Which one do you       22· ·the nature of a supervised solvent winding up,
  23· · · · ·have, Cowan or --                          23· ·correct?
  24· · · · · · · THE WITNESS:· I have the Robinson     24· · · · ·A.· ·Well, it doesn't address a rule
  25· · · · ·declaration in front of me.                25· ·that applies only to a solvent entity.

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Right.· That's really what I think    ·2· · · · · · · I think it covers the ground in
  ·3· ·Ms. Pearson was focused on.                      ·3· ·general terms.
  ·4· · · · · · · MR. McDONALD:· Objection to form.     ·4· · · · ·Q.· ·Okay.· So going back to your
  ·5· · · · ·Q.· ·Well, continue.· I don't mean to      ·5· ·declaration --
  ·6· ·interrupt.· Is there any other section or --     ·6· · · · ·A.· ·Yes.
  ·7· · · · ·A.· ·I'll just go through them.            ·7· · · · ·Q.· ·-- the quote that you included in
  ·8· · · · ·Q.· ·Sure.                                 ·8· ·paragraph 35 is the quote that you take strong
  ·9· · · · ·A.· ·In paragraph 27 he says, "all major   ·9· ·exception to, and that is the statement that
  10· ·stakeholders are actively participating."        10· ·Ms. Pearson didn't believe Mr. Cowan or
  11· · · · ·Q.· ·Right.                                11· ·Mr. Robinson provided the Court with, quote,
  12· · · · ·A.· ·I take that to mean that their        12· ·"a fair representation of the nature of a
  13· ·interests are being considered in some manner.   13· ·supervised solvent winding up."· Do you see
  14· · · · · · · I anticipate that most disputes       14· ·that?
  15· ·among the beneficial holders of Ascentra's       15· · · · ·A.· ·I see that.
  16· ·equity will be resolved by the Grand Court."     16· · · · ·Q.· ·Okay.· Did you see anywhere in
  17· · · · · · · I presume that to be an important     17· ·Mr. Robinson's declaration where he disclosed
  18· ·sentence.                                        18· ·to the New York court that creditors would get
  19· · · · · · · And in paragraph 29 he gives us a     19· ·paid in the ordinary course?
  20· ·list of things that have been done since the     20· · · · ·A.· ·Not expressly, no.
  21· ·supervision order was made.                      21· · · · ·Q.· ·And that's a concept that is unique
  22· · · · · · · In paragraph 32 he talks about        22· ·to a winding up proceeding of a solvent
  23· ·imposition of the automatic stay will prevent    23· ·entity, correct?
  24· ·creditors from pursuing extrajudicial            24· · · · ·A.· ·Yes.· Yes, that's true.
  25· ·remedies.· That's an important point that the    25· · · · ·Q.· ·Okay.· Did you see anywhere in
                                            Page 150                                              Page 152
  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·court would want to know about I think, the      ·2· ·Mr. Robinson's declaration where he disclosed
  ·3· ·U.S. court.                                      ·3· ·to the New York court that a liquidation
  ·4· · · · · · · "And will ensure that the assets      ·4· ·committee had been appointed that was
  ·5· ·are preserved for the benefit of all             ·5· ·comprised as it was required to be of only
  ·6· ·stakeholders."                                   ·6· ·contributories?
  ·7· · · · ·Q.· ·Where is that?                        ·7· · · · ·A.· ·I don't recall seeing that.
  ·8· · · · ·A.· ·It's still paragraph 32, right at     ·8· · · · ·Q.· ·But that's a rule in the Cayman
  ·9· ·the end.· The last sentence.                     ·9· ·Islands that applies only to winding up
  10· · · · ·Q.· ·Got it.· Thank you.                   10· ·proceedings of solvent entities, correct?
  11· · · · ·A.· ·It's a general statement.· In         11· · · · ·A.· ·That is correct.
  12· ·paragraph 40:· "As liquidators we have           12· · · · ·Q.· ·Okay.· Did you see anywhere in
  13· ·displaced the prior board of directors of        13· ·Mr. Robinson's declaration where he disclosed
  14· ·Ascentra."                                       14· ·to the New York court that creditors could not
  15· · · · · · · That's an important concept.· The     15· ·participate in duly convened meetings that are
  16· ·liquidators step into the shoes of the           16· ·conducted by the joint official liquidators?
  17· ·directors and enjoy all of the powers, and       17· · · · ·A.· ·No, he doesn't address that I don't
  18· ·most of the obligations that the directors       18· ·think.
  19· ·previously had.· Liquidators are fiduciaries.    19· · · · ·Q.· ·And that's a rule that applies only
  20· · · · · · · Paragraph 41, talking about the       20· ·to winding up proceedings involving solvent
  21· ·requisite notices and filings have been done.    21· ·entities, correct?
  22· ·Arranged for the transfer of the books and       22· · · · ·A.· ·Yes.
  23· ·records.                                         23· · · · ·Q.· ·Did you see anywhere in
  24· · · · · · · Paragraph 42, Ascentra's nerve        24· ·Mr. Robinson's declaration where he discloses
  25· ·center has been the Cayman Islands.              25· ·to the New York court that creditors have no


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·right to file a sanction application in the      ·2· ·expert in bankruptcy or Cayman Islands law.
  ·3· ·Ascentra bankruptcy?                             ·3· · · · ·Q.· ·Okay.· Let's go --
  ·4· · · · ·A.· ·No, I don't think he mentioned        ·4· · · · ·A.· ·But I take it that His Honor will
  ·5· ·that.                                            ·5· ·be that expert.
  ·6· · · · ·Q.· ·And that's a concept, again, that's   ·6· · · · ·Q.· ·Right.· I think that's why he wants
  ·7· ·unique to a winding up proceeding involving a    ·7· ·to hear from you, actually.
  ·8· ·solvent entity, correct?                         ·8· · · · ·A.· ·That's right.
  ·9· · · · ·A.· ·Yes.                                  ·9· · · · ·Q.· ·Go to paragraph 29.· You pointed to
  10· · · · ·Q.· ·Did you see anywhere in               10· ·that paragraph as one that caused you to take
  11· ·Mr. Robinson's declaration where he disclosed    11· ·strong exceptions to the statement made in
  12· ·to the New York court that creditors have no     12· ·paragraph 75.
  13· ·consent rights as to whether or not to use       13· · · · ·A.· ·He's setting out what he did.
  14· ·estate expenses to fund the liquidators'         14· · · · ·Q.· ·Yes.· Is there anything in
  15· ·investigations?                                  15· ·paragraph 29 that is unique to a winding up
  16· · · · ·A.· ·He didn't mention that.               16· ·proceeding involving a solvent debtor?
  17· · · · ·Q.· ·And that's a concept that is unique   17· · · · · · · MR. MORRIS:· Withdrawn.
  18· ·to a winding up proceeding involving a solvent   18· · · · ·Q.· ·Is there anything in paragraph 29
  19· ·entity, correct?                                 19· ·that is unique to a winding up proceeding
  20· · · · ·A.· ·Yes.                                  20· ·involving a solvent entity?
  21· · · · ·Q.· ·And now let's look at the items       21· · · · ·A.· ·No.
  22· ·that he did mention.· Turning to paragraph 27.   22· · · · ·Q.· ·In fact, if you look at D --
  23· ·You focused on the first two sentences.· And I   23· · · · ·A.· ·G?
  24· ·would ask you, sir, if anything in those two     24· · · · ·Q.· ·D, as in David.
  25· ·sentences would have caused the New York court   25· · · · ·A.· ·Oh, D.· Yeah.
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·to believe that the proceeding in the Cayman     ·2· · · · ·Q.· ·That's kind of misleading, isn't
  ·3· ·Islands involved one of a solvent entity?        ·3· ·it?
  ·4· · · · · · · MR. McDONALD:· Objection to form.     ·4· · · · · · · MR. McDONALD:· Objection to form.
  ·5· · · · ·A.· ·I don't know to what extent -- what   ·5· · · · ·A.· ·I don't know that it's misleading.
  ·6· ·sort of inferences --                            ·6· ·It's non-specific.· It doesn't say he wrote
  ·7· · · · · · · MR. MORRIS:· You know what?· I'll     ·7· ·just to the shareholders.
  ·8· · · · ·withdraw the question.· That's a fair      ·8· · · · ·Q.· ·But in fact, given the proceeding
  ·9· · · · ·objection.· I am going to ask you what     ·9· ·in the Cayman Islands involves a solvent
  10· · · · ·you think.                                 10· ·entity, he would have only written to
  11· · · · ·Q.· ·The statements that are in those      11· ·contributories about constituting a
  12· ·first two sentences would apply to any winding   12· ·liquidation committee, correct?
  13· ·up proceeding, isn't that fair?                  13· · · · ·A.· ·That is correct.
  14· · · · ·A.· ·The second sentence talking about     14· · · · ·Q.· ·Okay.· He wouldn't have written to
  15· ·disputes between the beneficial holders of       15· ·stakeholders, if you define stakeholders to
  16· ·equity hints at the fact that this is a          16· ·include --
  17· ·solvent winding up.                              17· · · · ·A.· ·No, he would have written to --
  18· · · · ·Q.· ·But if you weren't an expert in       18· ·sorry.· Go ahead.
  19· ·Cayman Islands law you would -- would you        19· · · · ·Q.· ·He wouldn't have written to
  20· ·think you would have any reason to believe       20· ·stakeholders -- if you define stakeholders to
  21· ·that?· You know that only --                     21· ·include contributories and creditors, he never
  22· · · · · · · MR. MORRIS:· Withdrawn.               22· ·would have written to, quote, stakeholders
  23· · · · ·Q.· ·You know that or you believe that     23· ·about constituting a liquidation committee,
  24· ·only because you're an expert, right?            24· ·right?
  25· · · · ·A.· ·I think you would have to be an       25· · · · ·A.· ·He didn't write to all

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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·stakeholders.· He wrote to one subset of them.   ·2· ·whether it was one involving a solvent,
  ·3· · · · ·Q.· ·And which subset was that?            ·3· ·insolvent or an entity of doubtful solvency?
  ·4· · · · ·A.· ·Well, the shareholders.               ·4· · · · ·A.· ·Yes.
  ·5· · · · ·Q.· ·And you would never know that the     ·5· · · · ·Q.· ·So there's nothing about the first
  ·6· ·way subpart D is crafted, correct?               ·6· ·sentence of paragraph 40 that would alert the
  ·7· · · · ·A.· ·I don't think you would know it,      ·7· ·reader to the fact that the Cayman proceeding
  ·8· ·no.                                              ·8· ·involved a solvent entity, is that fair?
  ·9· · · · ·Q.· ·You would have to be an expert in     ·9· · · · ·A.· ·Nothing about that sentence, no.
  10· ·Cayman Islands law, right?                       10· · · · ·Q.· ·Okay.· The same questions with
  11· · · · ·A.· ·I guess, yeah.                        11· ·respect to the first sentence of paragraph 40:
  12· · · · ·Q.· ·Right?· You would have to be an       12· ·The requisite notices and filings have been
  13· ·expert in Cayman Islands law to know that only   13· ·filed and published.
  14· ·contributories would participate in a            14· · · · · · · Do you see that?
  15· ·liquidation committee involving a solvent        15· · · · ·A.· ·I'm sorry.· What is the number?
  16· ·entity, correct?                                 16· · · · ·Q.· ·Forty-one?
  17· · · · · · · MR. McDONALD:· Objection to form.     17· · · · · · · MR. McDONALD:· You said 40.
  18· · · · ·A.· ·I suppose so.                         18· · · · · · · MR. MORRIS:· Yeah, my mistake.
  19· · · · ·Q.· ·Yes.· Let's go to the end of          19· · · · ·A.· ·I see.· Yes, I see that.
  20· ·paragraph 32.· You referred to the imposition    20· · · · ·Q.· ·That's also a general statement
  21· ·of the automatic stay as something --            21· ·that would apply to any winding up proceeding,
  22· · · · ·A.· ·Oh, yes.                              22· ·is that fair?
  23· · · · ·Q.· ·-- something you believed the         23· · · · ·A.· ·Mm-hmm, yes.
  24· ·New York court should know, right?               24· · · · ·Q.· ·So there's nothing in that
  25· · · · ·A.· ·Yes.                                  25· ·statement that you believe, based on your
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Does the automatic stay apply to      ·2· ·experience, would alert a non-Cayman Islands
  ·3· ·all winding up proceedings?                      ·3· ·expert to the fact that the winding up
  ·4· · · · ·A.· ·I don't know.· I would have to -- I   ·4· ·proceeding involved a solvent entity, correct?
  ·5· ·would have to dig into the legislation.          ·5· · · · ·A.· ·Yes.· True.
  ·6· · · · ·Q.· ·Is there anything about that          ·6· · · · ·Q.· ·Fair?· Okay.· Let's do the same
  ·7· ·sentence that you have cited to, that you        ·7· ·thing now with Mr. Cowan's declaration.· You
  ·8· ·believe fairly puts the reader on notice that    ·8· ·know, before we do that, let's just finish
  ·9· ·the automatic stay applies to solvent            ·9· ·this up.· Going back to 35 of your
  10· ·entities?                                        10· ·declaration.
  11· · · · · · · MR. McDONALD:· Objection to form.     11· · · · ·A.· ·Okay.
  12· · · · ·A.· ·No, I'm just pointing out that that   12· · · · ·Q.· ·Do you still take -- having
  13· ·sentence would probably be important to the      13· ·reviewed Mr. Robinson's declaration and having
  14· ·New York judge.                                  14· ·discussed the provisions that you've
  15· · · · ·Q.· ·Okay.· You're not pointing to that    15· ·identified, do you still take strong exception
  16· ·sentence as a statement that discloses that      16· ·to Ms. Pearson's view that Mr. Robinson did
  17· ·the proceeding in the Cayman Islands involves    17· ·not provide the New York court with a fair
  18· ·a solvent entity, correct?                       18· ·representation of the nature of a supervised
  19· · · · ·A.· ·Yeah.· Correct.                       19· ·solvent winding up?
  20· · · · ·Q.· ·Okay.· And let's go to paragraph      20· · · · ·A.· ·Well, I take her -- I take her view
  21· ·40.· You refer to the first sentence             21· ·to be essentially that Messrs. Cowan and
  22· ·concerning the displacement of the board?        22· ·Robinson deliberately or intentionally
  23· · · · ·A.· ·Yes.                                  23· ·misrepresented the nature of the proceeding to
  24· · · · ·Q.· ·And would the board be displaced in   24· ·the New York court.· I just don't see that to
  25· ·any winding up proceeding regardless of          25· ·be the case.


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·Okay.· And if you take out the        ·2· ·Mr. Robinson has said, I guess.
  ·3· ·pejorative language that you have used,          ·3· · · · · · · (The witness complied.)
  ·4· ·deliberately or intentionally, do you take       ·4· · · · ·A.· ·Well, on my reading of Mr. Cowan's
  ·5· ·issue with -- let me ask you this question.      ·5· ·declaration he doesn't really address the
  ·6· · · · · · · Do you believe, having reviewed       ·6· ·distinction between solvent and insolvent
  ·7· ·Mr. Robinson's declaration, that it fairly       ·7· ·entities.· He doesn't address it.
  ·8· ·represented to the New York court the nature     ·8· · · · ·Q.· ·So is it fair to say that having
  ·9· ·of the supervised solvent winding up             ·9· ·reviewed the declaration you didn't see
  10· ·proceeding that's occurring in the Cayman        10· ·anything in Mr. Cowan's declaration that
  11· ·Islands?                                         11· ·alerted you to the fact that the Cayman
  12· · · · ·A.· ·I believe that it made no             12· ·proceeding was one involving a solvent entity,
  13· ·misrepresentation of the situation.              13· ·correct?
  14· · · · ·Q.· ·I appreciate that.                    14· · · · ·A.· ·There was nothing in Mr. Cowan's
  15· · · · ·A.· ·It could have gone farther, in        15· ·declaration.· There was something in
  16· ·terms of describing the process.· I don't know   16· ·Mr. Robinson's declaration that alerted me to
  17· ·if the New York court wants that sort of thing   17· ·that.
  18· ·or not.· But I do not believe that it            18· · · · ·Q.· ·And what is that?· Because I'm
  19· ·misrepresented the situation.                    19· ·happy to go back there.
  20· · · · ·Q.· ·Do you believe it fairly              20· · · · ·A.· ·Yeah, it was his assertion that
  21· ·represented the nature of a supervised solvent   21· ·there were some $200 million in assets.
  22· ·winding up?                                      22· · · · ·Q.· ·Right.· That's the paragraph 17 and
  23· · · · ·A.· ·It fairly represented the nature of   23· ·18 that you referred to in your declaration,
  24· ·the winding up.                                  24· ·in paragraph 36?
  25· · · · ·Q.· ·Thank you.· And I am going to ask     25· · · · ·A.· ·I referred to it in my declaration.
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·you just to listen carefully to my question.     ·2· · · · ·Q.· ·Yes.· Anything else?
  ·3· ·Because it included the word "solvent."          ·3· · · · ·A.· ·Well, you weigh that against what
  ·4· · · · · · · Having reviewed -- let me ask the     ·4· ·he said in paragraph -- his paragraph 18,
  ·5· ·question.                                        ·5· ·"Ascentra's main liabilities as of December
  ·6· · · · · · · Having reviewed Mr. Robinson's        ·6· ·31, 2021, which is a year later, include the
  ·7· ·declaration, do you, as a former judge and an    ·7· ·costs incurred by the liquidators," which I
  ·8· ·expert in Cayman Islands law, have the opinion   ·8· ·know from experience would be probably in the
  ·9· ·that Mr. Robinson fairly represented to the      ·9· ·seven figures by then.· "And certain ordinary
  10· ·New York court the nature of a supervised        10· ·course operating expenses for storage and
  11· ·solvent winding up?                              11· ·maintenance of Ascentra's information," which
  12· · · · ·A.· ·Well, he doesn't say a lot about      12· ·is going to be -- certainly not going to be
  13· ·the solvent aspect.· But I think that his        13· ·anything approaching $200 million.
  14· ·affidavit is fair.· It's not misleading.         14· · · · ·Q.· ·And what does the last sentence of
  15· · · · ·Q.· ·Okay.· Let's go to Mr. Cowan's        15· ·paragraph 18 say?
  16· ·declaration.                                     16· · · · ·A.· ·Paragraph 18?
  17· · · · ·A.· ·Yes.                                  17· · · · ·Q.· ·Mm-hmm.
  18· · · · ·Q.· ·And why don't you take the time       18· · · · ·A.· ·Yeah, "may have other contingent
  19· ·that you need to review it and identify any      19· ·liabilities that my team and are I
  20· ·statement or disclosure in that declaration      20· ·investigating."
  21· ·that you believe contains a fair                 21· · · · ·Q.· ·And do you have any idea where that
  22· ·representation of the nature of a supervised     22· ·investigation lies today?
  23· ·solvent winding up?                              23· · · · ·A.· ·No.
  24· · · · ·A.· ·Well, his declaration is much         24· · · · ·Q.· ·Do you have any idea what
  25· ·shorter.· It's really supplementary to what      25· ·contingent liabilities he referred to there?


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·A.· ·No.· It appears to be a sort of       ·2· ·BY MR. MORRIS:
  ·3· ·throwaway line.· I mean, in any liquidation in   ·3· · · · ·Q.· ·Mr. Henderson, during the break did
  ·4· ·the early stages there may be contingent         ·4· ·you think of anything that you wanted to share
  ·5· ·liabilities that the JOLs don't know about.      ·5· ·with me in the form of amending, modifying,
  ·6· ·Which is a sort of a statement of the obvious.   ·6· ·changing or supplementing any testimony you've
  ·7· · · · ·Q.· ·This may be my last question.         ·7· ·given today?
  ·8· · · · · · · You said I think you reviewed         ·8· · · · ·A.· ·Well, I could supplement one thing.
  ·9· ·portions of Ms. Pearson's deposition             ·9· · · · ·Q.· ·Okay.
  10· ·transcript, do I have that right?                10· · · · ·A.· ·I refreshed my memory on Section 96
  11· · · · ·A.· ·Yes.                                  11· ·of the Act.
  12· · · · ·Q.· ·Is there anything about that          12· · · · ·Q.· ·Okay.· Let me grab it.· Hold on one
  13· ·transcript that alters any of the opinions       13· ·second.
  14· ·that are set forth in your declaration?          14· · · · ·A.· ·I'll wait.
  15· · · · ·A.· ·No.· I mean, Ms. Pearson and I are    15· · · · ·Q.· ·Okay.· What page is it?· Do you
  16· ·in agreement on a lot of things.· But I still    16· ·have that?
  17· ·disagree with her view that there are two        17· · · · ·A.· ·Page 78 of the Act.
  18· ·separate and distinct types of proceedings.      18· · · · ·Q.· ·Got it.
  19· ·One for solvent entities and one for insolvent   19· · · · ·A.· ·Section 96.· This is an example of
  20· ·entities.· I think that's -- to my mind that's   20· ·something that either a creditor or a
  21· ·a mischaracterization of the process.            21· ·contributory may ask for without regard to
  22· · · · ·Q.· ·Would it be fair to say that even     22· ·whether the entity is thought to be solvent or
  23· ·though they're both winding up proceedings,      23· ·insolvent.· They may, either a credit or a
  24· ·there are certain rules that are different       24· ·contributory may apply to the court for a stay
  25· ·depending on whether the entity that's subject   25· ·of proceedings.
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·to the winding up proceeding is solvent versus   ·2· · · · ·Q.· ·And that rule only applies for the
  ·3· ·insolvent or doubtfully insolvent?               ·3· ·interim period between the time the winding up
  ·4· · · · · · · MR. McDONALD:· Objection to the       ·4· ·petition is presented and the time that the
  ·5· · · · ·form.                                      ·5· ·winding up order is entered, is that fair?
  ·6· · · · ·A.· ·Yes, there are differences in the     ·6· · · · ·A.· ·That is correct as a practical
  ·7· ·rules.· Just as there would be between a         ·7· ·matter.· And then in section 97 --
  ·8· ·murder case and a rape case.                     ·8· · · · ·Q.· ·Before we go on, and is it fair to
  ·9· · · · ·Q.· ·Right.                                ·9· ·say that under Cayman Islands law the decision
  10· · · · · · · Is there anything else that you       10· ·as to whether or not the entity is solvent,
  11· ·recall having an opinion on with respect to      11· ·insolvent or of doubtful solvency is going to
  12· ·Ms. Pearson's deposition transcript?             12· ·be made only after the winding up order is
  13· · · · ·A.· ·She doesn't put much emphasis on      13· ·entered?
  14· ·the supervisory nature of the process.           14· · · · ·A.· ·Well, the liquidator generally
  15· · · · ·Q.· ·Okay.· Anything else?                 15· ·tries to come to a decision as soon as
  16· · · · ·A.· ·Nothing that I recall right now.      16· ·possible.
  17· · · · · · · MR. MORRIS:· Let's just take a very   17· · · · ·Q.· ·I appreciate that.· But is he going
  18· · · · ·short break.· Let me speak to my boss      18· ·to enter his decision, is he going to --
  19· · · · ·here and see if I have anything left.      19· · · · ·A.· ·His formal certificate?
  20· · · · · · · MR. McDONALD:· Okay.                  20· · · · ·Q.· ·Is he going to file his certificate
  21· · · · · · · THE WITNESS:· And I'm still not       21· ·even before --
  22· · · · ·permitted to speak to counsel?             22· · · · · · · MR. MORRIS:· Withdrawn.· Let me ask
  23· · · · · · · MR. MORRIS:· Correct.· You're still   23· · · · ·you this.
  24· · · · ·under oath.                                24· · · · ·Q.· ·What is a winding up order?
  25· · · · · (Recess from 1:36 to 1:44 p.m.)           25· · · · ·A.· ·Well, it appoints -- it's an order


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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· ·that appoints one or more persons and empowers   ·2· ·we close the record --
  ·3· ·them with various rights and certain             ·3· · · · ·A.· ·No, there's nothing else I
  ·4· ·obligations for the purpose of liquidating the   ·4· ·reviewed.
  ·5· ·assets of the company, distributing the          ·5· · · · ·Q.· ·And do you have any other thoughts
  ·6· ·results appropriately, and ultimately            ·6· ·that you want to share in order to modify,
  ·7· ·dissolving the company.                          ·7· ·expand, change?
  ·8· · · · ·Q.· ·So the winding up order is the        ·8· · · · ·A.· ·No.· I think it's all on the
  ·9· ·order of the Cayman Islands court that           ·9· ·record.
  10· ·appoints the official liquidator, or maybe the   10· · · · · · · MR. MORRIS:· Excellent.· I have no
  11· ·provisional liquidator, is that fair?· And       11· · · · ·further questions.
  12· ·sets forth the liquidators scope of duties?      12· · · · · · · MR. McDONALD:· Give me a moment,
  13· · · · ·A.· ·An order appointing a provisional     13· · · · ·John?
  14· ·liquidator would not be a winding up order.      14· · · · · · · MR. MORRIS:· Sure.
  15· · · · ·Q.· ·Okay.· Then I want to make sure I     15· · · · · · · MR. McDONALD:· Thank you.· I just
  16· ·get this right.                                  16· · · · ·need to ask a clarifying question about
  17· · · · ·A.· ·Because they're just there to hold    17· · · · ·his report.
  18· ·the line.                                        18· ·EXAMINATION BY
  19· · · · ·Q.· ·Okay.· But a winding up order then    19· ·MR. McDONALD:
  20· ·would be the order pursuant to which the         20· · · · ·Q.· ·Can you open up exhibit 1 to your
  21· ·official liquidators are appointed and the       21· ·report, please?
  22· ·order would set forth the official               22· · · · · · · MR. MORRIS:· Give me one second.
  23· ·liquidators' duties and responsibilities,        23· · · · ·Q.· ·And if you could turn to paragraph
  24· ·correct?                                         24· ·31?
  25· · · · ·A.· ·Yes.                                  25· · · · ·A.· ·Thirty-one?
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  ·1· · · · · · · · · · A. Henderson                    ·1· · · · · · · · · · A. Henderson
  ·2· · · · ·Q.· ·And so a liquidator is not going to   ·2· · · · ·Q.· ·Yes, of your declaration.
  ·3· ·file his solvency certificate until he or she    ·3· · · · ·A.· ·Okay.
  ·4· ·has been appointed, is that fair?                ·4· · · · ·Q.· ·What do you understand the term
  ·5· · · · ·A.· ·I think in many cases that's true.    ·5· ·"pari passu" to mean?
  ·6· ·The Court may ask -- the Court probably would    ·6· · · · ·A.· ·Well, in this context, I'm not
  ·7· ·ask at the outset, is this a solvent or an       ·7· ·giving a literal interpretation, but in this
  ·8· ·insolvent entity that we're dealing with.        ·8· ·context it means paying out the creditors a
  ·9· · · · ·Q.· ·Okay.· But the credit --              ·9· ·proportion -- the proportion that their debt
  10· · · · ·A.· ·But the certificate would most        10· ·bears to the total debt, that dictates the
  11· ·likely come later.                               11· ·proportion of the amount for distribution that
  12· · · · ·Q.· ·And the creditor's rights under       12· ·they will receive.· Did I confuse that?
  13· ·section 96 terminate upon the entry of a         13· · · · ·Q.· ·Slightly.· Because you say later
  14· ·winding up order, correct?                       14· ·on, "if the liquidator expects the liquidation
  15· · · · ·A.· ·Yes, that is correct.                 15· ·to prove solvent, they will pay 100 cents on
  16· · · · ·Q.· ·Okay.· So now let's go on to the      16· ·the dollar."· Do you see that where you said
  17· ·next provision.                                  17· ·that?
  18· · · · ·A.· ·Well, the other one is Section 97.    18· · · · ·A.· ·Yes.
  19· ·Once the winding up order has been made,         19· · · · ·Q.· ·So would the creditor be paid in
  20· ·there's the automatic stay.                      20· ·proportion to the total amount of debt if it
  21· · · · ·Q.· ·And that applies --                   21· ·receives 100 cents?
  22· · · · ·A.· ·That applies whether the entity's     22· · · · · · · MR. MORRIS:· Objection to the form
  23· ·solvent or insolvent.                            23· · · · ·of the question.
  24· · · · ·Q.· ·Okay.· Is there anything else that    24· · · · ·A.· ·No.· This sentence that mentions
  25· ·you reviewed or want to share with me before     25· ·creditors receiving 100 cents on the dollar

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  ·1· · · · · · · · · · A. Henderson                    ·1

  ·2· ·refers to payments that are made in the          ·2· · · · · · C E R T I F I C A T E

  ·3· ·so-called ordinary course.· Ordinary course of   ·3· ·STATE OF NEW YORK· · · )
                                                        ·4· ·COUNTY OF NEW YORK· · ·)
  ·4· ·business.
                                                        ·5· · · · · · I, FRANK J. BAS, a Certified
  ·5· · · · ·Q.· ·But if a creditor receives 100
                                                        ·6· ·Shorthand Reporter and Notary Public within
  ·6· ·cents --
                                                        ·7· ·and for the State of New York, do hereby
  ·7· · · · ·A.· ·Yeah.· On the dollar, yeah?
                                                        ·8· ·certify:
  ·8· · · · ·Q.· ·-- it has received its equal and
                                                        ·9· · · · · · That the witness whose testimony is
  ·9· ·ratable share of --
                                                        10· ·hereinbefore set forth, was duly sworn by me
  10· · · · · · · MR. MORRIS:· Objection to the form    11· ·and that such testimony given by the witness
  11· · · · ·of the question.                           12· ·was taken down stenographically by me and then
  12· · · · ·A.· ·It ceases to become a creditor at     13· ·transcribed.
  13· ·that point, too.· Yeah.· Yes, it's               14· · · · · · I further certify that I am not
  14· ·received its -- it's received all of its debt.   15· ·related by blood or marriage to any of the
  15· ·It's been paid.· It's no longer a creditor.      16· ·parties in this matter and that I am in no way
  16· · · · ·Q.· ·After satisfaction of the claim?      17· ·interested in the outcome of this matter.
  17· · · · ·A.· ·Yeah.· Once it's been paid, it's no   18· · · · · · That any copy of this transcript
  18· ·longer a creditor.· Are we at cross purposes?    19· ·obtained from a source other than the court
  19· · · · ·Q.· ·No.                                   20· ·reporting firm, including from co-counsel, is
  20· · · · · · · MR. McDONALD:· I have no further      21· ·uncertified and may not be used at trial.
  21· · · · ·questions.· I just wanted to clarify       22· · · · · · IN WITNESS WHEREOF, I have hereunto
  22· · · · ·that.                                      23· ·set my hand this 28th day of September 2023.
  23· · · · · · · MR. MORRIS:· I have nothing           24

  24· · · · ·further.· That's fine.                     · · · · · · · _______________________

  25· · · · · · · THE WITNESS:· Thank you.              25· · · · · · FRANK J. BAS, RPR, CRR

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  ·3· · · · ·you'll read and sign?                      · · · · · · · · · · · · · MR. McDONALD· · · · · · · 171
  ·4· · · · · · · MR. McDONALD:· Yes.                   ·4
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  ·4· ·Foreign Liquidation)                                    ·4· ·Reason for change: __________________________________
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               IN THE COURT OF APPEAL OF THE REPUBLIC OF SINGAPORE


                                      [2023] SGCA 32

         Court of Appeal / Civil Appeal No 23 of 2022


                                          Between

                             (1) Ascentra Holdings, Inc (in
                                 official liquidation)
                             (2) Chua Suk Lin Ivy
                             (3) Graham Robinson
                                                              … Appellants
                                            And

                                  SPGK Pte Ltd
                                                              … Respondent

         In the matter of Originating Summons No 16 of 2022


                                          Between

                             (1) Ascentra Holdings, Inc (In
                                 Official Liquidation)
                             (2) Graham Robinson
                             (3) Chua Suk Lin Ivy
                                                              … Applicants
                                            And

                                  SPGK Pte Ltd
                                                               … Non-party




                                     JUDGMENT
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         [Insolvency Law — Cross-border insolvency — Recognition of foreign
         insolvency proceedings — Recognition of foreign solvent liquidation
         proceedings]
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          with the law, for publication in LawNet and/or the Singapore Law
          Reports.



               Ascentra Holdings, Inc (in official liquidation) and others
                                           v
                                    SPGK Pte Ltd

                                         [2023] SGCA 32

         Court of Appeal — Civil Appeal No 23 of 2022
         Sundaresh Menon CJ, Steven Chong JCA and Belinda Ang Saw Ean JCA
         3 August 2023

         18 October 2023                                              Judgment reserved.

         Sundaresh Menon CJ (delivering the judgment of the court):

         Introduction

         1        This appeal arises from the decision of a High Court judge (the “Judge”)
         in HC/OS 16/2022 (“OS 16”), which considered whether a voluntary liquidation
         qualified as a “foreign proceeding” within the meaning of Art 2(h) of the Third
         Schedule to the Insolvency, Restructuring and Dissolution Act 2018 (2020 Rev
         Ed) (the “IRDA”). The Third Schedule of the IRDA sets out Singapore’s
         adapted enactment of the Model Law on Cross-Border Insolvency, that was
         developed by the United Nations Commission on International Trade Law (the
         “UNCITRAL Model Law”). For convenience, we refer to Singapore’s
         adaptation of the UNCITRAL Model Law as the “SG Model Law”.


         2        The present appeal raises the important question of whether the SG
         Model Law encompasses within its ambit foreign insolvency, restructuring or
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         liquidation proceedings concerning solvent companies. This question must be
         determined having regard to a range of considerations, including: (a) any
         modifications which Parliament made to the UNCITRAL Model Law when
         enacting it as the SG Model Law, and Parliament’s intent in making any such
         modifications; (b) the approaches adopted by courts in other jurisdictions when
         interpreting the UNCITRAL Model Law or the corresponding provisions in
         those jurisdictions; and (c) the broader practical implications that would follow
         if we were to decide that proceedings involving solvent companies do fall within
         the scope of the SG Model Law.


         Facts

         The parties

         3       We begin by recounting the facts. The first appellant is Ascentra
         Holdings, Inc (in official liquidation) (“Ascentra”). Prior to its liquidation,
         Ascentra was in the business of selling health and beauty products as well as
         computer communications software in Hong Kong, Taiwan and Singapore (Re
         Ascentra Holdings, Inc (in official liquidation) and others (SPGK Pte Ltd, non-
         party) [2023] SGHC 82 (“GD”) at [5]).


         4       The second and third appellants are Ms Chua Suk Lin Ivy (“Ms Chua”)
         and Mr Graham Robinson (“Mr Robinson”) respectively. They are the joint
         official liquidators of Ascentra appointed by the Grand Court of the Cayman
         Islands (the “Cayman Grand Court”) and we refer to them collectively as the
         “Liquidators” (GD at [6]).


         5       The respondent is SPGK Pte Ltd, a company incorporated in Singapore,
         and a wholly-owned subsidiary of Shang Peng Gao Ke, Inc (“SPGK Cayman”),
         a company incorporated in the Cayman Islands. The appellants maintain that


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         Ascentra Holdings, Inc v SPGK Pte Ltd                           [2023] SGCA 32


         Ascentra has potential claims against the respondent, SPGK Cayman as well as
         another company incorporated in Singapore, Scuderia Bianco Pte Ltd
         (“Scuderia Bianco”) (GD at [8]). In particular, it is alleged that SPGK Cayman
         owes certain sums of money to Ascentra, some of which is held by the
         respondent and Scuderia Bianco.


         Background to the dispute

         Ascentra’s liquidation

         6      Ascentra’s ultimate beneficial shareholders are seven natural persons.
         From sometime in 2018, a number of disputes arose between these shareholders
         over the strategic direction of Ascentra’s business (GD at [10]–[11]). On 1 June
         2021, Ascentra’s shareholders resolved to place it in voluntary liquidation and
         to appoint Mr Robinson as the “voluntary liquidator”. On 2 June 2021, Ascentra
         filed with the Cayman Islands Registrar of Companies, the documents that were
         required under the Companies Act (2021 Revision) (Cayman Islands) (the
         “Cayman Act”) to initiate its voluntary liquidation. Ascentra’s voluntary
         liquidation is deemed to have commenced on 2 June 2021.


         7      Pursuant to s 124(1) of the Cayman Act and O 15 r 1 of the Cayman
         Islands Companies Winding Up Rules 2018 (the “Cayman CWR”), Ascentra’s
         directors were required to file a declaration of solvency no later than 28 days
         after the voluntary liquidation had commenced (that is, by 30 June 2021), failing
         which the liquidator was required to apply to the Cayman Grand Court for an
         order that the voluntary liquidation continue under the supervision of the court.
         As Ascentra’s directors failed to file the declaration for undisclosed reasons,
         Mr Robinson duly presented a petition to the Cayman Grand Court on 2 July
         2021 for the liquidation to proceed under court supervision (GD at [12]–[13]).




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         8      On 17 September 2021, the Cayman Grand Court allowed
         Mr Robinson’s petition and ordered, among other things, that:

                (a)      the liquidation of Ascentra be continued under the supervision
                         of the Cayman Grand Court pursuant to s 124 of the Cayman Act
                         (the “Supervision Order”); and

                (b)      Mr Robinson and Ms Chua be appointed as the joint official
                         liquidators of Ascentra.


         Ascentra’s solvency

         9      On 23 September 2021, the Liquidators filed a certificate in the Cayman
         Grand Court as to Ascentra’s solvency in the following terms:

                        JOINT OFFICIAL LIQUIDATORS’ CERTIFICATE
                        Ascentra Holdings, Inc – In Official Liquidation (the
                                           “Company”)
                                                 …
                TAKE NOTICE that the Joint Official Liquidators hereby certify
                that they have determined that the above-named Company
                should be treated as solvent, for the purposes of section 110(4)
                of the [Cayman Act] and [Cayman CWR] Orders 8 and 9.
                AND FURTHER TAKE NOTICE that the Joint Official
                Liquidators may change their determination from time to time
                in the light of changes of relevant circumstances and/or their
                assessment of the Company’s financial position.
                [emphasis in original]

         10     On 14 October 2021, in a letter addressed to Ascentra’s shareholders,
         Mr Robinson similarly stated that the Liquidators had determined that Ascentra
         was solvent.




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         The application in OS 16

         11     On 6 January 2022, the appellants filed OS 16 pursuant to Art 15 of the
         SG Model Law, seeking the following orders (GD at [15]):

                (a)     an order recognising Ascentra’s liquidation in the Cayman
                Islands (“Ascentra’s Cayman Liquidation”) in Singapore and, by our
                courts, as a “foreign main proceeding” within the meaning of Art 2(f) of
                the SG Model Law;

                (b)     an order recognising the Liquidators as “foreign representatives”
                of Ascentra within the meaning of Art 2(i) of the SG Model Law; and

                (c)     an order granting the Liquidators such powers in relation to
                Ascentra’s property and assets “as are available to a liquidator under
                Singapore insolvency law”.

         It is evident that the Liquidators seek these powers with a view to pursuing
         possible claims against the respondent and/or Scuderia Bianco. The
         Liquidators’ application is resisted by the respondent (GD at [7]–[9]).


         The decision below

         12     The Judge considered that the only issue arising in OS 16 was whether
         Ascentra’s Cayman Liquidation had its basis in a law relating to insolvency
         within the meaning of Art 2(h) of the SG Model Law. The Judge held that
         Art 2(h) of the SG Model Law had to be interpreted purposively pursuant to
         s 9A of the Interpretation Act 1965 (2020 Rev Ed) (the “IA”), and applying the
         approach to interpretation that was formulated in Tan Cheng Bock v Attorney-
         General [2017] 2 SLR 850 (“Tan Cheng Bock”) at [37] (the “Purposive
         Approach”). Specifically, the Judge took the view that the critical words within



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         Art 2(h) of the SG Model Law that he had to interpret were “law relating to
         insolvency”: see GD at [24] and [28].


         13     For convenience, we set out Art 2(h) of the SG Model Law here:

                Article 2. Definitions
                For the purposes of this Law —
                …

                (h) “foreign proceeding” means a collective judicial or
                administrative proceeding in a foreign State, including an
                interim proceeding, under a law relating to insolvency or
                adjustment of debt in which proceeding the property and affairs
                of the debtor are subject to control or supervision by a foreign
                court, for the purpose of reorganisation or liquidation;

         14     The Judge first separately interpreted the words “insolvency”, “law”
         and “relating to” and proceeded in the following manner:

                (a)     The proper characterisation of a “foreign proceeding” under
                Art 2(h) of the Model Law would take into account the law of the foreign
                state. However, there was no material difference between the concept of
                insolvency under Cayman law as opposed to Singapore law, given the
                similarity in the language of s 125(2)(c) of the IRDA and its analogue,
                s 93(c) of the Cayman Act. In any event, as the test for insolvency under
                Cayman law had not been proved, it was presumed that the test for
                insolvency under Cayman law was the same as that under Singapore
                law. Accordingly, “insolvency” for the purposes of Art 2(h) of the SG
                Model Law referred to a company’s inability to pay debts which had
                already fallen due or which will fall due within the reasonably near
                future, following the position set out by this court in Sun Electric Power
                Pte Ltd v RCMA Asia Pte Ltd (formerly known as Tong Teik Pte Ltd)
                [2021] 2 SLR 478 at [56], [65] and [66] (GD at [45]–[52]).



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                (b)     For the purposes of Art 2(h) of the SG Model Law, “law”
                encompassed both legislation and judge-made law, and would include
                the Cayman Act (GD at [55]–[56]).

                (c)     The appellants’ submission that a law “relating to” insolvency is
                simply one that is contained within a statute that deals generally with the
                subject matter of insolvency was rejected. Such an approach
                subordinated substance to form as any type of proceeding, no matter
                how far removed that proceeding was from any connection to
                insolvency, would fall within the scope of Art 2(h) of the SG Model Law
                as long as it was commenced under a provision contained within a
                statute that also dealt generally with insolvency (GD at [58]–[63]).


         15     The Judge then considered the phrase “under a law relating to
         insolvency” as a whole and held that the ordinary meaning of that phrase must
         refer to a body of rules, whether statutory or judge-made, which governs a
         company that is insolvent. This includes a company which apprehends
         becoming unable to pay its debts as they fall due in the reasonably near future,
         and therefore can be said to be in severe financial distress in the present (GD at
         [64]). The Judge further observed that such an interpretation was consistent with
         and confirmed by the underlying purpose of the UNCITRAL Model Law (GD
         at [72]–[79]), as well as the preparatory records and documents relating to the
         UNCITRAL Model Law such as: (a) various reports and papers of the
         UNCITRAL Working Group on Insolvency Law (the “Working Group”);
         (b) Cross-Border Insolvency: Guide to Enactment of the UNCITRAL Model
         Law on Cross-Border Insolvency, 30th Sess, UN Doc A/CN.9/442 (1997) (the
         “1997 Guide”); and (c) UNCITRAL Model Law on Cross-Border Insolvency
         with Guide to Enactment and Interpretation, UN Sales No E.05.V.10 (2013)
         (the “2013 Guide”) (GD at [81]–[99]).


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         16     As to the relevant case law, the Judge observed as follows:

                (a)     The Court of Appeal in United Securities Sdn Bhd (in
                receivership and liquidation) and another v United Overseas Bank Ltd
                [2021] 2 SLR 950 (“United Securities”) had implicitly affirmed in obiter
                that the relevant foreign law under Art 2(h) of the SG Model Law must
                be one which deals with or addresses insolvency or severe financial
                distress (GD at [107]).

                (b)     Under the bankruptcy law of the United States (the “US”),
                chiefly as reflected in Re Betcorp Limited (in liquidation) 400 BR 266
                (Nevada US Bankruptcy Court, 2009) (“Re Betcorp”), the requirement
                that a “foreign proceeding” be commenced under a law relating to
                insolvency or the adjustment of debts does not require the company to
                be either insolvent or contemplating the adjustment of debt (GD at
                [124]). In the absence of direct evidence as to what Parliament intended,
                it could not be said that by adopting the words “adjustment of debt” from
                Chapter 15 of the Bankruptcy Code 11 USC (US) (1978) (the “US
                Bankruptcy Code”) in Art 2(h) of the SG Model Law, Parliament
                thereby intended to endorse the prevailing position under US bankruptcy
                law (GD at [116]–[117]). Moreover, the US approach has been criticised
                and should not be followed (GD at [132]–[142]). To the extent that the
                position under Australian law is similar to US bankruptcy law, it should
                likewise not be followed (GD at [153]–[159]).

                (c)     It was held in the decision of the High Court of England and
                Wales in Re Sturgeon Central Asia Balanced Fund Ltd (in liquidation)
                (No 2); Carter v Bailey and another (as foreign representatives of
                Sturgeon Central Asia Balanced Fund Ltd) [2020] EWHC 123 (Ch)



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                (“Re Sturgeon”) that it would be contrary to the UNCITRAL Model
                Law’s purpose and object to enlarge its scope by interpreting “foreign
                proceeding” as including proceedings concerning solvent companies
                and proceedings which may be expected to result in the payment of all
                creditors in full and produce a surplus for members. Re Sturgeon is not
                an outlier among English cases and should be followed in Singapore
                (GD at [130] and [143]–[152]).


         17     The Judge accordingly held that Ascentra’s Cayman Liquidation is not
         a “foreign proceeding” within the meaning of Art 2(h) of the SG Model Law,
         because the legislative “track” under which Ascentra’s liquidation was
         commenced (that is, s 116(c), which provides that a company may be
         voluntarily wound up if the company so resolves by special resolution, read with
         s 124 of the Cayman Act) does not and cannot apply to a company that is
         insolvent or in severe financial distress (GD at [161] and [165]). The Judge also
         noted, in any event, that Ascentra is solvent.


         The parties’ cases on appeal

         The appellants’ case

         18     In relation to the ordinary meaning of Art 2(h) of the SG Model Law,
         the appellants argue that the Judge erred in the approach he took in interpreting
         Art 2(h). By isolating the word “insolvency” and equating its meaning in Art
         2(h) with that under s 125(2)(c) of the IRDA, he failed to appreciate that the
         collection of words “law relating to insolvency or adjustment of debt” is framed
         broadly and should therefore be interpreted broadly, such that while it would
         include laws dealing with various issues that arise in a situation where a
         company is or might be unable to pay its debts, it should not be confined to this.




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         19     Following from this, the appellants submit that the Judge took an unduly
         narrow approach by focusing on the specific provisions of the Cayman Act
         under which Ascentra’s Cayman Liquidation is being conducted (which we will
         refer to, for convenience, as the “Narrow Approach”). Instead, the correct
         inquiry is whether Part V of the Cayman Act on “Winding up of Companies and
         Associations”, which contains those specific provisions as well as other
         provisions that also cover insolvent companies, is, as a whole, a law relating to
         insolvency (we refer to this as the “Broad Approach”). The appellants contend
         that Part V of the Cayman Act (as a whole) is a law relating to insolvency
         because it contains all the provisions necessary to wind up any company in the
         Cayman Islands. The appellants thus submit that Ascentra’s Cayman
         Liquidation, which was conducted pursuant to provisions contained in Part V of
         the Cayman Act, falls within the ambit of Art 2(h) of the SG Model Law and
         should therefore be recognised in Singapore as a foreign main proceeding.


         20     Relatedly, the appellants submit that the SG Model Law and the
         extrinsic materials do not impose any requirement for an applicant company to
         be either insolvent or in severe financial distress for a proceeding involving that
         company to be regarded as taking place under a “law relating to insolvency”
         within the meaning of Art 2(h) of the SG Model Law. On the contrary, it is
         evident from the preparatory material surrounding the UNCITRAL Model Law
         that the words “law relating to insolvency” were not intended to confine the
         application of the recognition regime to insolvent or severely financially
         distressed companies. In oral submissions, counsel for the appellants, Mr Lee
         Eng Beng SC (“Mr Lee”) also emphasised that the words “or adjustment of
         debt” were adopted from the US Bankruptcy Code into Art 2(h) of the SG Model
         Law and that this was done to allow the Singapore courts to recognise
         proceedings akin to those under Chapter 11 of the US Bankruptcy Code (these



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         being corporate reorganisations) which are not limited to insolvent companies.
         The appellants thus argue that the Judge erred in holding that Ascentra’s
         Cayman Liquidation was not a “foreign proceeding” under Art 2(h) of the SG
         Model Law on account of Ascentra’s apparent solvency.


         21     The appellants further highlight that allowing the recognition of
         proceedings involving solvent companies is consistent with the weight of the
         authorities in the US, the United Kingdom (“UK”) (with the exception of Re
         Sturgeon), Australia and New Zealand. In this regard, the appellants submit that
         Re Sturgeon should not be followed because: (a) it is an outlier even among
         English cases; (b) in any event, the English cases should be approached with
         some caution due to differences between the legislative regimes in the UK and
         Singapore; and (c) the position under US bankruptcy law should be preferred
         given that Parliament had adopted the definition of “foreign proceeding” in
         Art 2(h) of the SG Model Law from the US Bankruptcy Code and further,
         because the preponderance of authorities in various jurisdictions have adopted
         the US position.


         22     In addition, the appellants also submit that the introduction of a
         requirement of insolvency or severe financial distress would introduce
         significant uncertainty and complexity into the recognition process and
         undermine the purpose of the SG Model Law. This is said to follow from the
         need that would then arise for our court to determine the precise requirements
         as to insolvency under a foreign law. Mr Lee also suggested in his oral
         submissions that the threshold for recognition should be a light one, given that
         the court retains the power to make the order subject to suitable terms, thus
         enabling the court to avoid any overreach.




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         The respondent’s case

         23     The respondent, on the other hand, submits that Ascentra’s Cayman
         Liquidation does not satisfy the definitional requirements in Art 2(h) of the SG
         Model Law because it is not a proceeding under a law relating to insolvency,
         and also because its purpose is not to secure the liquidation of the company
         within the meaning of Art 2(h). To that end, counsel for the respondent,
         Mr Balakrishnan Ashok Kumar (“Mr Kumar”), makes the following
         submissions:

                (a)     A “foreign proceeding” under Art 2(h) refers only to proceedings
                involving companies that are insolvent or in severe financial distress.
                This is confirmed by the context and purpose underlying the SG Model
                Law, as gleaned from the preamble of the SG Model Law as well as
                extrinsic material such as the 1997 Guide, the 2013 Guide and the
                corresponding working papers of the Working Group.

                (b)     The UNCITRAL Legislative Guide on Insolvency Law (2004)
                (the “Legislative Guide”) confirms that the UNCITRAL Model Law
                was intended to be limited to proceedings involving debtors that are
                unable to meet their debts as they fall due and hence to be confined to
                insolvent liquidations.

                (c)     Re Sturgeon was correctly decided by the UK court and is not an
                outlier among English cases. Moreover, the principles that were applied
                in Re Sturgeon are aligned with the preparatory material pertaining to
                the UNCITRAL Model Law. The purported concerns over the
                difficulties which the recognising court would allegedly face in
                determining the financial status of the company concerned in the
                relevant foreign proceeding are unfounded, because the recognising


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                court would typically rely on the foreign court’s assessment. In any case,
                it would be obvious in most cases when a company is solvent.

                (d)     Re Betcorp should not be followed as it was wrongly decided
                and has been criticised. Moreover, in many of the cases where Re
                Betcorp was applied, the recognising court had nonetheless gone on to
                consider whether the company involved in the relevant foreign
                proceeding was insolvent or in financial distress. Indeed, even the US
                courts have acknowledged that the insolvency or financial distress of a
                company is a relevant consideration in determining whether recognition
                should be granted.

                (e)     The approach suggested by the appellants would “open [the]
                floodgates for recognition and assistance applications”, allow solvent
                companies to take advantage of the SG Model Law even where its
                purpose is not engaged, and create potentially absurd outcomes under
                the SG Model Law.


         24     Mr Kumar accordingly contends that Ascentra’s Cayman Liquidation,
         which is being conducted under a “track for solvent companies” and involves a
         company that has been solvent at all material times, cannot be regarded as a
         “foreign proceeding” within the meaning of Art 2(h) of the SG Model Law, and
         ought not to be recognised under the SG Model Law.


         25     The respondent also submits in any event that the Singapore court does
         not have the requisite jurisdiction to hear and determine the application for
         recognition of Ascentra’s Cayman Liquidation pursuant to Art 4(2)(a)(ii) of the
         SG Model Law, because Ascentra allegedly has no property in Singapore.
         Finally, the respondent argues that even if Ascentra’s Cayman Liquidation was



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         to be recognised under the SG Model Law, the discretionary reliefs sought by
         the appellants ought not be granted, or in any event, any order made by the court
         should be circumscribed by the imposition of suitable conditions.


         General principles and issues to be determined

         26     To situate the specific issues arising for our consideration in the proper
         context, it is apposite to first set out the relevant provisions of the SG Model
         Law governing the recognition of foreign proceedings in Singapore.


         27     Pursuant to Art 15(1) of the SG Model Law, a foreign representative
         may apply to the court for recognition of the foreign proceeding in which the
         foreign representative has been appointed. Article 17(1) of the SG Model Law
         further stipulates circumstances in which a foreign proceeding must be
         recognised:

                Article 17. Decision to recognise a foreign proceeding
                1. Subject to Article 6, a proceeding must be recognised if —
                    (a) it is a foreign proceeding within the meaning of
                        Article 2(h);
                    (b) the person or body applying for recognition is a foreign
                        representative within the meaning of Article 2(i);
                    (c)   the application meets the requirements of Article 15(2)
                          and (3); and
                    (d) the application has been submitted to the Court
                        mentioned in Article 4.

         28     We set out again Art 2(h) of the SG Model Law, which defines a
         “foreign proceeding” in the following terms:

                Article 2. Definitions
                For the purposes of this Law —
                …



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                (h) “foreign proceeding” means a collective judicial or
                administrative proceeding in a foreign State, including an
                interim proceeding, under a law relating to insolvency or
                adjustment of debt in which proceeding the property and affairs
                of the debtor are subject to control or supervision by a foreign
                court, for the purpose of reorganisation or liquidation;

         29     It seems to us that Art 2(h) of the SG Model Law prescribes at least five
         different and cumulative requirements for a proceeding to qualify as a “foreign
         proceeding” (see also United Securities at [53]):

                (a)     First, that proceeding must be collective in nature.

                (b)     Second, that proceeding must be a judicial or administrative
                proceeding in a foreign State.

                (c)     Third, that proceeding must be conducted under a law relating to
                insolvency or adjustment of debt.

                (d)     Fourth, the property and affairs of the debtor company must be
                subject to control or supervision by a foreign court in that proceeding.

                (e)     Fifth, that proceeding must be for the purpose of reorganisation
                or liquidation.


         While the Judge proceeded on the basis that only the third requirement was in
         issue, the respondent takes the position before us that the first and fifth
         requirements are also unsatisfied.


         30     Finally, pursuant to Art 4(2)(a)(ii) of the SG Model Law, the General
         Division of the High Court in Singapore will have jurisdiction to recognise
         foreign proceedings under Art 17(1) if the company in question has property
         situated in Singapore.



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         31     In the light of the parties’ submissions and the foregoing statutory
         provisions, the following issues arise for our consideration:

                (a)     whether Ascentra’s Cayman Liquidation is being conducted
                        “under a law relating to insolvency or adjustment of debt” under
                        Art 2(h) of the SG Model Law;

                (b)     whether Ascentra’s Cayman Liquidation is a collective
                        proceeding under Art 2(h) of the SG Model Law;

                (c)     whether Ascentra’s Cayman Liquidation is being conducted “for
                        the purpose of liquidation or reorganisation” under Art 2(h) of
                        the SG Model Law; and

                (d)     whether the Singapore courts have jurisdiction to recognise
                        Ascentra’s Cayman Liquidation under Art 4(2)(a)(ii) of the SG
                        Model Law.


         Whether Ascentra’s Cayman Liquidation is being conducted under a law
         relating to insolvency or adjustment of debt

         32     Before we set out our analysis on the first issue, we make two
         preliminary observations on the approach taken by the Judge towards
         interpreting Art 2(h) of the SG Model Law. First, we note that the Judge focused
         on the interpretation of the words “under a law relating to insolvency”, and
         largely excluded consideration of the words “adjustment of debt”. With respect,
         we disagree with this approach. For reasons we explain in greater detail below,
         we are satisfied that the inclusion of the words “or adjustment of debt” in
         Art 2(h) sheds significant light on Parliament’s intention with regard to the
         ambit of Art 2(h) at least in the context of the SG Model Law. The phrase “under
         a law relating to insolvency or adjustment of debt” must therefore be interpreted
         as a collective whole.


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         33     Second, both the Judge and the parties dealt, in considerable detail, with
         the question of whether the Narrow Approach or Broad Approach should be
         adopted in Singapore, that is to say whether the phrase “law relating to
         insolvency” in Art 2(h) of the SG Model Law refers narrowly to the specific
         provision(s) under which the foreign proceeding is conducted or more broadly
         to the general statutory regime or part of the relevant legislation containing
         those specific provision(s) in addition to others. The key difference between the
         Narrow Approach and the Broad Approach is that with the latter, it will suffice
         that the relevant proceeding is conducted under a law which contains provisions
         relating to insolvency or adjustment of debt, even if the specific provisions
         governing the relevant proceeding do not deal with insolvency or adjustment of
         debt. Conversely, in the former, the specific provisions pursuant to which the
         relevant proceeding is being conducted must relate to insolvency or adjustment
         of debt.


         34     In practical terms, the difference between the Broad Approach and the
         Narrow Approach may be reduced to a more fundamental inquiry: whether the
         Singapore Parliament intended that the words “under a law relating to
         insolvency or adjustment of debt” in Art 2(h) of the SG Model Law should be
         limited to laws that are applicable only to companies in insolvency or severe
         financial distress. The point is significant because there is nothing in either the
         UNCITRAL Model Law or the SG Model Law that expressly defines the
         recognition regime by reference to the solvency status of the company in
         question. Instead, the recognition regime is drafted in terms that accord
         recognition to foreign proceedings by reference to a number of defining
         characteristics of those proceedings, including the laws under which they are
         being conducted. If the narrow view were adopted, the consequence would be




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         to confine the recognition regime in Singapore to insolvent and/or severely
         financially distressed companies to the exclusion of solvent companies.


         35     This seems somewhat counter-intuitive for two related reasons: first, if
         that was the intention, it would have been far easier and clearer to achieve that
         intention by making the solvency status of the company a necessary criterion;
         and second, the choice of the words “law relating to” seems deliberate and their
         purport is broad especially when seen in the light of the fact that in many
         legislative regimes, including ours, and that which applies in the Cayman
         Islands, laws relating to insolvency will frequently include or overlap with laws
         relating to the dissolution of companies that may not be insolvent.


         36     In that light, we first summarise our conclusion on this issue. In our
         judgment, Art 2(h) of the SG Model Law should be interpreted broadly to
         include within its ambit foreign proceedings concerning companies that are
         neither insolvent nor in severe financial distress. We arrive at this conclusion
         for a number of reasons:

                (a)     First, it is evident from the ordinary meaning of the relevant
                provisions of the SG Model Law that there is no express requirement for
                a company to be insolvent or in severe financial distress for a proceeding
                concerning that company to be recognised as a foreign proceeding under
                the SG Model Law. This is made demonstrably clear by the inclusion of
                the words “or adjustment of debt” in Art 2(h) as well as the statutory
                presumption of insolvency in Art 31. Significantly, there is no reference
                at all in Art 2(h) to the solvency status of the company in question. In
                our judgment, one is driven to the conclusion that the solvency status of
                the company is not a relevant consideration both as a matter of the plain




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                interpretation of Art 2(h), as well as by the correct application of the
                Purposive Approach.

                (b)     Second, even if we were to ignore the words “or adjustment of
                debt” in Art 2(h) and assume that Parliament had adopted the
                UNCITRAL Model Law in its original form, we are not satisfied that
                the drafters of the UNCITRAL Model Law intended to exclude solvent
                companies from the scope of the UNCITRAL Model Law for the
                purposes of recognition. The Judge considered that the Broad Approach
                would undermine the purpose of the UNCITRAL Model Law by
                bringing proceedings concerning solvent companies within its scope,
                and accordingly interpreted the phrase “under a law relating to
                insolvency” as referring to a body of rules which governs a company
                that is insolvent or in severe financial distress. On that basis, the Judge
                held that Ascentra’s Cayman Liquidation was not a “foreign
                proceeding” within the meaning of Art 2(h) because the specific
                provisions under which it was commenced are not provisions that apply
                to companies that are either insolvent or in severe financial distress.
                Further, he considered that Ascentra is solvent, which was accepted by
                the Liquidators (GD at [16]–[19] and [161]–[168]). On the last point,
                although the appellants submitted in their Supplemental Case that
                Ascentra was prima facie insolvent when the Cayman Grand Court
                granted the Supervision Order, Mr Lee did not pursue this argument in
                oral submissions. Even accepting that Ascentra is solvent, it is not at all
                clear to us how extending the scope of Art 2(h) to cover proceedings
                involving solvent companies would undermine the purpose of the SG
                Model Law.




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                 (c)     Third, we are satisfied that Art 2(h) should be interpreted in a
                 way that is broadly harmonious with the approaches adopted in other
                 jurisdictions. The weight of the authorities in other jurisdictions favours
                 the interpretation we take, which would enable the recognition of
                 proceedings concerning solvent companies as foreign main proceedings.

                 (d)     Fourth, the practical concerns that the respondent submits would
                 arise from allowing the recognition of proceedings concerning solvent
                 companies may be easily dealt with.

         We elaborate on each of these points.


         Whether the scope of Art 2(h) extends to solvent companies

         The ordinary meaning of Art 2(h)

         37      We begin our analysis with the ordinary meaning of Art 2(h) of the SG
         Model Law. At the outset, we reiterate that there is nothing in the SG Model
         Law, whether in Art 2(h) or elsewhere, which encompasses a specific
         requirement that a particular proceeding must involve a company that is
         insolvent or in severe financial distress to qualify as a “foreign proceeding”
         within the meaning of Art 2(h). On the contrary, Art 2(h) has been drafted
         broadly to refer to proceedings conducted under laws relating to insolvency or
         adjustment of debt (as opposed to, for instance, proceedings conducted under
         laws that are applicable only to companies that are insolvent or in severe
         financial distress).


         38      Further, in considering the terms of Art 2(h) of the SG Model Law, it is
         relevant to consider the UNCITRAL publication, UNCITRAL Model Law on
         Cross-Border Insolvency: The Judicial Perspective, UN Sales No 23.V.I (2022)
         (“The Judicial Perspective”), which discusses the UNCITRAL Model Law


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         from a judge’s perspective with the aim of providing general guidance on the
         issues that a judge might need to consider in a given case, based on the intentions
         of the drafters of the UNCITRAL Model Law and the experiences of those who
         have used it in practice (The Judicial Perspective at para 3). The authors of The
         Judicial Perspective expressly recognise that where States have amended the
         UNCITRAL Model Law to suit local circumstances, different approaches might
         be required if a judge concludes that the omission or modification of a particular
         article from the text as enacted necessitates such a course (The Judicial
         Perspective at para 1).


         39     In ascertaining Parliament’s intention with regard to the ambit of
         Art 2(h) of the SG Model Law, it is therefore imperative to note that the
         UNCITRAL Model Law was not adopted in Singapore without modification.
         In particular, Art 2(a) of the UNCITRAL Model Law, which corresponds to
         Art 2(h) of the SG Model Law, defines a “foreign proceeding” as “a collective
         judicial or administrative proceeding in a foreign State, including an interim
         proceeding, pursuant to a law relating to insolvency in which proceeding the
         assets and affairs of the debtor are subject to control or supervision by a foreign
         court, for the purpose of reorganization or liquidation” [emphasis added]. When
         Parliament adopted the UNCITRAL Model Law in the Third Schedule to the
         IRDA as the SG Model Law, it added the words “or adjustment of debt” to the
         definition of “foreign proceeding” in Art 2(h). What is significant is that
         s 101(23) of the US Bankruptcy Code, which is the analogue of Art 2(h) of the
         SG Model Law, contains the same additional words “or adjustment of debt”.
         The appellants referred us to a working draft of the Companies (Amendment)
         Bill 2017, which indicates that Art 2(h) of the SG Model Law was adapted from
         s 101(23) of the US Bankruptcy Code, and this was not seriously disputed.




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         40     In this regard, we note that the phrase “adjustment of debt” appears in
         various provisions within Chapter 11 of the US Bankruptcy Code. The purposes
         of Chapter 11 include: (a) the preservation of going concerns and the
         maximisation of property available to satisfy creditors (see Bank of America
         National Trust and Savings Association v 203 North LaSalle Street Partnership
         526 US 434 at 453); and (b) restructuring a business’s finances so that it may
         continue to operate, pay its creditors and produce a return for its stockholders
         (see In re The Bible Speaks 65 BR 415 (Massachusetts US Bankruptcy Court,
         1986) at 425). It is thus apparent, and the respondent does not dispute, that the
         inclusion of the words “adjustment of debt” in Art 2(h) of the SG Model Law
         permits the recognition of foreign proceedings involving: (a) the restructuring
         of a company’s debts; and/or (b) the reorganisation of a company’s affairs
         through schemes of arrangement: see Neil Hannan, Cross-Border Insolvency:
         The Enactment and Interpretation of the UNCITRAL Model Law (Springer,
         2017) at p 65; Gerard McCormack & Wan Wai Yee, “The UNCITRAL Model
         Law on Cross-Border Insolvency Comes of Age: New Times or New
         Paradigms?” (2019) 54(2) Texas International Law Journal 273 at 289; and
         Look Chan Ho, “Recognising an Australian Solvent Liquidation under the
         UNCITRAL Model Law: In re Betcorp” (October 2009) Norton Journal of
         Bankruptcy Law and Practice (“Look’s Article”). Neither of these situations is
         necessarily limited to insolvent companies, as we explain in the paragraphs that
         follow. In our judgment, it may also be inferred from Parliament’s deliberate
         modification of Art 2(a) of the UNCITRAL Model Law in accordance with
         s 101(23) of the US Bankruptcy Code that Parliament intended to bring within
         the ambit of the SG Model Law proceedings that are recognisable under the
         provisions of US law that correspond to the SG Model Law, specifically
         Chapter 15 of the US Bankruptcy Code.




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         41      In sum, we are satisfied that the words “or adjustment of debt” were
         included in Art 2(h) of the SG Model Law to enable the Singapore courts to
         recognise under the SG Model Law:

                 (a)     proceedings in foreign jurisdictions that are akin to schemes of
                 arrangement commenced under Singapore law and/or reorganisations
                 commenced under Chapter 11 of the US Bankruptcy Code; and

                 (b)     proceedings recognisable under Chapter 15 of the US
                 Bankruptcy Code (which sets out the US’ adaptation of the UNCITRAL
                 Model Law).


         42      This is significant because neither of the categories of proceedings set
         out in the previous paragraph requires the subject company to be insolvent or in
         severe financial distress as a prerequisite for commencement. Schemes of
         arrangement may be commenced in Singapore under either Part 5 of the IRDA
         or Part 7 of the Companies Act 1967 (2020 Rev Ed) (the “SG Companies Act”).
         In relation to the former, s 63(1) of the IRDA provides that Part 5 will apply
         where there is a compromise or arrangement between the company and its
         creditors or any class of those creditors. In relation to the latter, under ss 210(1)
         and 210(2) of the SG Companies Act, the court has the power to order a meeting
         where a compromise or arrangement is proposed, upon the application of:
         (a) the liquidator (in the case of a company being wound up); or (b) the company
         or any creditor, member or holder of units of shares of the company (in any
         other case). There is nothing in Part 5 of the IRDA or Part 7 of the SG
         Companies Act that requires the subject company to be insolvent or in severe
         financial distress before the court may grant relief in aid of any scheme of
         arrangement or compromise contemplated in respect of the subject company.
         Indeed, in holding that the pari passu principle should not be extended to



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         schemes which do not concern an insolvent company, this court recognised in
         Hitachi Plant Engineering & Construction Co Ltd and another v Eltraco
         International Pte Ltd and another appeal [2003] 4 SLR(R) 384 at [85] that there
         are a myriad of situations in which schemes of arrangement could be deployed
         in the corporate restructuring of solvent companies, for instance, to reorganise
         the share capital of a company or in the reconstruction or merger of a group of
         companies.


         43     Similarly, corporate reorganisations in the US may be commenced under
         Chapter 11 of the US Bankruptcy Code in respect of solvent companies (see In
         re Integrated Telecom Express, Inc 384 F.3d 108 (3rd Cir, 2004) (“Re
         Integrated Telecom”) at 121). Section 1121 of the US Bankruptcy Code, which
         prescribes who may file a plan under Chapter 11, does not impose any
         requirement as to the insolvency or severe financial distress of an applicant.
         Likewise, s 109 of the US Bankruptcy Code, which prescribes the criteria to
         qualify as a debtor under Chapter 11, does not include any requirement of
         insolvency or severe financial distress.


         44     As the US Bankruptcy Court observed in In re Johns-Manville
         Corporation 36 BR 727 (SD New York US Bankruptcy Court, 1984) at 736 and
         741, the drafters of the US Bankruptcy Code envisioned that a financially
         beleaguered debtor with real debt and real creditors should not be required to
         wait until the economic situation is beyond repair in order to file a
         reorganisation petition. The reorganisation provisions of the US Bankruptcy
         Code were thus drafted with the aim of liquidation avoidance by granting ready,
         albeit not unfettered, access to Chapter 11. Indeed, it would make little sense to
         allow companies recourse to reorganisation only when they are already
         insolvent or in such severe financial distress as to be virtually insolvent. At the
         same time, we recognise that Chapter 11 petitions filed by financially healthy


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         companies with no reason to seek rehabilitation or reorganisation may be
         rejected by the US courts (see Re Integrated Telecom at 121). Chapter 11 was
         designed with the object of affording a rehabilitative platform and that,
         therefore, operates as a constraint on when it may be resorted to. But the critical
         point for our purposes is that this regime is not restricted to insolvent companies
         or those in severe financial distress.


         45     As for proceedings that may be recognised under Chapter 15 of the US
         Bankruptcy Code, it is instructive to examine the authorities in which
         recognition of foreign proceedings was sought under that chapter. Re Betcorp
         involved an Australian company, Betcorp Limited (“Betcorp”), which was
         liquidated by its shareholders. Betcorp’s liquidators applied successfully for the
         recognition of Betcorp’s voluntary liquidation in Australia as a foreign
         proceeding under Chapter 15 of the US Bankruptcy Code, the US Bankruptcy
         Court holding that Betcorp’s voluntary liquidation was a “foreign proceeding”
         within the meaning of s 101(23) of the US Bankruptcy Code. Importantly, the
         court held that the requirement that Betcorp’s liquidation be authorised or
         conducted under a law related to insolvency or the adjustment of debt did not
         entail that Betcorp had either to be insolvent or already contemplating invoking
         the provisions of Australian law to adjust any debts (Re Betcorp at 282). To
         much the same effect, the US Bankruptcy Court in In re ABC Learning Centres
         Ltd 445 BR 318 (Delaware US Bankruptcy Court, 2010) (“Re ABC Learning
         Centres”) and In re Manley Toys Limited 580 BR 632 (New Jersey US
         Bankruptcy Court, 2018) (“Re Manley Toys”) granted recognition in respect of
         foreign proceedings without considering whether the companies involved in
         those proceedings were either insolvent or in severe financial distress.


         46     Given what we have said at [40] above and in the light of the discussion
         at [42]–[45], it may be inferred that the addition of the words “or adjustment of


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         debt” to the definition of “foreign proceeding” in Art 2(h) of the SG Model Law
         was meant to empower the Singapore courts to recognise as foreign proceedings
         under the SG Model Law, proceedings concerning a company that were
         conducted under a foreign law relating to insolvency or adjustment of debt, even
         if that company was solvent.


         47     In seeking to construe the provision purposively, the Judge had regard
         to certain extraneous materials to ascertain the purpose of Art 2(h) of the SG
         Model Law, to which we will turn shortly. We do not disagree with the Judge
         that pursuant to s 252(2) of the IRDA, in interpreting provisions of the SG
         Model Law, regard may be had to documents forming part of the record
         pertaining to the preparation of the UNCITRAL Model Law, as well as the 1997
         Guide. Furthermore, the 2013 Guide may be considered where the 1997 Guide
         is silent and to the extent that there is no conflict with the 1997 Guide (see Re
         Zetta Jet Pte Ltd and others (Asia Aviation Holdings Pte Ltd, intervener) [2019]
         4 SLR 1343 (“Re Zetta”) at [37]). However, in construing the extraneous
         material, it is incumbent on the court to do so in the light of the fact that
         Parliament did not adopt the UNCITRAL Model Law in its original form but
         added the words “or adjustment of debt” to Art 2(h) of the SG Model Law. It
         seems clear that these words were intended to enable the recognition of certain
         types of foreign proceedings, including those that do not require that the
         company be insolvent or in severe financial distress. To the extent that the words
         “or adjustment of debt” were not considered in the material referred to by the
         Judge, we think, with respect, that he fell into error. As was noted in Tan Cheng
         Bock at [35], [43] and [54(c)(ii)], the legislative purpose of a statute should
         ordinarily be gleaned from the text itself, which has primacy over any
         extraneous material. The key textual amendment that was deliberately made by
         Parliament when it adopted the UNCITRAL Model Law considerably



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         diminishes the weight of the other extraneous material that was relied on by the
         Judge. In any event, for the reasons we set out below at [55]–[68], we do not
         think the extraneous material demonstrates that it would undermine the purpose
         or object of the UNCITRAL Model Law to extend its scope to proceedings
         involving solvent companies.


         48     This conclusion is also consistent with the presumption of insolvency
         under Art 31 of the SG Model Law, which provides that:

                In the absence of evidence to the contrary, recognition of a
                foreign main proceeding is, for the purpose of commencing a
                proceeding under Singapore insolvency law, proof that the
                debtor is unable to pay its debts within the meaning given to
                the expression under Singapore insolvency law.

         If it were a pre-requisite for recognition that the company involved must be
         insolvent, then Art 31 of the SG Model Law, which presumes the insolvency of
         a company upon the recognition of a proceeding involving that company as a
         foreign main proceeding, would be largely superfluous.


         The Judge’s application of the Purposive Approach

         49     We turn to consider how the Judge applied the Purposive Approach
         when he set out to interpret Art 2(h) of the SG Model Law. The Judge examined
         various academic commentaries and the preparatory material pertaining to the
         UNCITRAL Model Law (GD at [72]–[76] and [81]–[98]), on the basis of which
         he concluded that the underlying purpose of the UNCITRAL Model Law is to
         “empower a recognising court to extend recognition to a foreign proceeding the
         subject of which is a company that is insolvent or in severe financial distress”.
         In line with this, the Judge considered that the words “under a law relating to
         insolvency” contemplate a law that prescribes a process applicable to a company
         that is either insolvent or in severe financial distress (GD at [99]). Thus far, we



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         have no real difficulty with the Judge’s analysis and his conclusion that when
         the UNCITRAL Model Law was prepared, its primary purpose was to lay down
         a framework for the co-ordinated cross-border management of proceedings
         involving insolvent companies. But the Judge then held that the intent of the
         UNCITRAL Model Law was therefore to exclude from its scope the liquidation
         of solvent companies, and further that it would be contrary to the underlying
         purpose of the UNCITRAL Model Law to grant recognition of foreign
         proceedings concerning companies which are neither insolvent nor in severe
         financial distress. We do not follow this part of the Judge’s analysis.


         50     Simply put, it does not seem to us to follow from the primary purpose
         of the UNCITRAL Model Law being to prescribe a co-ordinated regime for
         proceedings involving insolvent companies, that this must therefore exclude
         such proceedings where they concern solvent companies; or that to extend the
         operation of the UNCITRAL Model Law to solvent companies would be
         contrary to or would otherwise undermine its primary purpose.


         51     The Purposive Approach is enshrined in s 9A(1) of the IA and
         contemplates that in the interpretation of a written law, an interpretation that
         would promote the purpose or object underlying the written law shall be
         preferred over one that would not. To that end, the Purposive Approach requires
         the court to ascertain the possible interpretations of the relevant provision and
         to compare the possible interpretations against the purposes or objects of the
         relevant statute. We have explained at [37]–[48] above that at least in the
         context of the SG Model Law, the legislative purpose of that law was not as
         narrow as the Judge framed it. But even in the context of the UNCITRAL Model
         Law, the Purposive Approach does not yield the conclusion that the Judge
         arrived at because the Broad Approach does not seem to us to undermine the
         primary purpose of that instrument.


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         52     To put it another way, the present case does not require the court to
         choose between two interpretations of Art 2(h) which are incompatible or
         mutually exclusive, in the sense that one interpretation would further the
         underlying legislative purpose or object while the other would undermine that.
         Even in relation to the SG Model Law, it is uncontroversial that it is primarily
         intended to be applicable to insolvent or financially distressed companies. That
         much is clear from paras (c) and (e) of the preamble, which state that the
         purposes of the SG Model Law include the provision of effective mechanisms
         for dealing with cases of cross-border insolvency so as to promote:

                (a)     the   “fair   and   efficient   administration   of   cross‑border
                        insolvencies that protects the interests of all creditors and other
                        interested persons, including the debtor”; and

                (b)     the “facilitation of the rescue of financially troubled businesses,
                        thereby protecting investment and preserving employment”.


         53     And it is common ground among all parties that a proceeding concerning
         an insolvent company would, assuming the other conditions are met, be
         recognised as a foreign proceeding. But what then of solvent companies? In our
         judgment, extending the ambit of the UNCITRAL Model Law beyond its
         primary purpose of providing for the co-ordinated cross-border management of
         proceedings concerning insolvent companies to encompass such proceedings
         concerning solvent companies would equally advance its primary purpose,
         while conferring some additional advantages that are consistent with the broader
         goal of securing a co-ordinated approach to the liquidation of companies with
         transnational operations. We explain this in the next section where we consider
         the extraneous material that the Judge relied on.




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         54     In sum, we do not think the Purposive Approach leads us to the
         conclusion that the Judge arrived at because:

                (a)     the addition of the words “or adjustment of debt” positively
                        suggests a Parliamentary object to extend the SG Model Law to
                        proceedings concerning solvent companies; and

                (b)     even aside from this, extending the SG Model Law to such
                        proceedings would not be contrary to or undermine the primary
                        legislative object of facilitating the co-ordination of cross-border
                        insolvencies.


         Whether solvent companies are excluded under the UNCITRAL Model Law

         55     As we have noted, based on the preparatory material pertaining to the
         purpose of the UNCITRAL Model Law, the Judge concluded that the intent of
         the UNCITRAL Model Law was to “exclude the liquidation of solvent
         companies from [its] scope” and instead it was to “empower a recognising court
         to extend recognition to a foreign proceeding the subject of which is a company
         that is insolvent or in severe financial distress” (see GD at [79] and [99]). We
         examine the following portions of the preparatory material, the 1997 Guide and
         the 2013 Guide which seem to lend the strongest support to the Judge’s
         conclusion.


         56     First, the 1997 Guide explains that the word “insolvency” as used in the
         title of the UNCITRAL Model Law refers to “various types of collective
         proceedings against insolvent debtors” (at para 51). This was elaborated upon
         in the 2013 Guide at para 48, which states:

                Acknowledging that different jurisdictions might have different
                notions of what falls within the term ‘insolvency proceedings’,
                the [UNCITRAL] Model Law does not define the term



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                ‘insolvency’. However, as used in the Model Law, the word
                ‘insolvency’ refers to various types of collective proceedings
                commenced with respect to debtors that are in severe financial
                distress or insolvent. The reason is that the [UNCITRAL] Model
                Law covers proceedings concerning different types of debtors
                and, among those proceedings, deals with proceedings aimed at
                liquidating or reorganizing the debtor as a commercial entity. A
                judicial or administrative proceeding to wind up a solvent entity
                where the goal is to dissolve the entity and other foreign
                proceedings not falling within [Art 2(a)] are not insolvency
                proceedings falling within the scope of the Model Law. Where a
                proceeding serves several purposes, including the winding up
                of a solvent entity, it falls under [Art 2(a) of the UNCITRAL Model
                Law] only if the debtor is insolvent or in severe financial distress.
                [emphasis added]

         57     The 1997 Guide (at para 68) and the 2013 Guide (at para 63) further
         explain that, by specifying the required characteristics of a “foreign
         proceeding”, Art 2(a) of the UNCITRAL Model Law serves to limit the law’s
         scope of application. The 2013 Guide also states that the term “insolvency” in
         Art 2(a) is used to describe, on a broad level, “proceedings involving debtors
         that are in severe financial distress or insolvent”, and that the focus of the
         UNCITRAL Model Law is upon such debtors and the laws that address the
         financial distress of those debtors (see the 2013 Guide at paras 65 and 67).
         Specifically in relation to the phrase “law relating to insolvency”, the 2013
         Guide explains at para 73 that:

                This formulation is used in the [UNCITRAL] Model Law to
                acknowledge the fact that liquidation and reorganization might
                be conducted under law that is not labelled as insolvency law
                (e.g. company law), but which nevertheless deals with or
                addresses insolvency or severe financial distress. The purpose
                was to find a description that was sufficiently broad to
                encompass a range of insolvency rules irrespective of the type
                of statute or law in which they might be contained and
                irrespective of whether the law that contained the rules related
                exclusively to insolvency. A simple proceeding for a solvent legal
                entity that does not seek to restructure the financial affairs of the
                entity, but rather to dissolve its legal status, is likely not one
                pursuant to a law relating to insolvency or severe financial
                distress. [emphasis added]



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         58      The upshot of the extracts that we have reproduced in the preceding
         paragraphs is that the UNCITRAL Model Law, as originally contemplated by
         its drafters, was undeniably intended to be focused primarily on companies that
         are either insolvent or in severe financial distress. It is thus unsurprising that the
         1997 Guide and the 2013 Guide explain, in that context, that for the purposes of
         Art 2(a) of the UNCITRAL Model Law, proceedings pursuant to a “law relating
         to insolvency” generally do not include proceedings concerning solvent
         companies. That was very likely the view at the time the UNCITRAL Model
         Law was drafted. It is also almost certainly the case that the need for a co-
         ordinated approach arose acutely in the context of insolvent companies.


         59      That said, we do not think that the preparatory material, the 1997 Guide
         and the 2013 Guide go so far as to suggest that expanding the ambit of the
         UNICTRAL Model Law to include solvent companies would undermine the
         purpose of the UNCITRAL Model Law. Nor does the preparatory material
         suggest that the processes available under the provisions of the UNCITRAL
         Model Law were intended to be excluded from their application to solvent
         companies.


         60      We are fortified in this view by the observations in The Judicial
         Perspective regarding the interpretation of the phrase “pursuant to a law relating
         to insolvency” in the 2013 Guide. At paras 83–85, the authors of The Judicial
         Perspective set out the different approaches that have been taken towards
         interpreting the phrase “law relating to insolvency”. By then, Re Stanford
         International Bank Ltd and another [2010] 3 WLR 941 (“Re Stanford (CA)”)
         and Re Betcorp had been decided and in these decisions, the courts in the UK
         and the US had held that the UNCITRAL Model Law could apply to solvent
         companies. The authors, having noted the developments in case law, observed
         at para 86:


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                Following consideration and discussion of this issue in
                UNCITRAL Working Group V (Insolvency Law) and the
                Commission, the [2013 Guide] clarifies that the word
                ‘insolvency’, as used in the [UNCITRAL Model Law], refers to
                various types of collective proceedings commenced with respect
                to debtors that are in severe financial distress or insolvent. A
                judicial or administrative proceeding to wind up a solvent entity
                where the goal is to dissolve the entity and other foreign
                proceedings not falling within [Art 2(a) of the UNCITRAL Model
                Law] are not insolvency proceedings within the scope of the
                [UNCITRAL Model Law]. Where a type of proceeding serves
                several purposes, including the winding up of a solvent entity,
                it falls under [Art 2(a) of the UNCITRAL Model Law] only if the
                debtor is insolvent or in severe financial distress.

         In making this observation, the authors also referred to para 48 of the 2013
         Guide (which has been reproduced above at [56]). That is significant because,
         having acknowledged the different approaches that had been and may be taken
         to the interpretation of a “law relating to insolvency”, the authors do not suggest
         that the position in Re Betcorp and Re Stanford is contrary to or otherwise
         undermines the underlying purpose of the UNCITRAL Model Law. There is
         also no suggestion that proceedings concerning solvent companies are
         positively to be excluded from the scope of the UNCITRAL Model Law.


         61     Further, in the Report of Working Group V (Insolvency Law) on the work
         of its thirty-ninth session, UNCITRAL, 44th Sess, UN Doc A/CN.9/715 (2010),
         the Working Group noted that Art 2(a) of the UNCITRAL Model Law had
         “given rise to diverse interpretation in case law”, and the question was raised as
         to whether the Working Group should clarify the definition of certain elements
         in Art 2(a). Specifically in response to the question of whether there was a need
         to define the requirement of the insolvency of the debtor, it was said that this
         was unnecessary as such a requirement “would flow from the terms ‘pursuant
         to a law relating to insolvency’”. The Working Group then stated at para 19:

                With respect to the need of providing a definition for the terms
                ‘pursuant to a law relating to insolvency’, it was felt that



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                difficulties in judicial interpretations of those terms had
                resulted from equating terminology of legislation of different
                jurisdictions. It was noted that the Working Group did not aim
                for unification of insolvency laws, but to provide clarity on
                concepts in the Model Law. In that respect, it was said that it
                would be impossible to further detail the definition of a ‘foreign
                proceeding’ that would still capture all domestic proceedings. It
                was further noted that the notion of ‘a law relating to insolvency’
                already provided the desirable degree of flexibility. … [emphasis
                added]

         62     The reluctance of the Working Group to expressly prescribe a
         requirement of insolvency or severe financial distress in Art 2(a) of the
         UNCITRAL Model Law, despite being cognisant of the differing interpretations
         of Art 2(a) by various courts in different countries, reinforces our conclusion
         that extending the recognition regime under the UNCITRAL Model Law to
         proceedings concerning solvent companies is neither inconsistent nor
         incompatible with the primary purpose of the UNCITRAL Model Law.


         63     We note in this regard that Mr Kumar accepted at the hearing before us
         that there is nothing in the preparatory material which suggests that solvent
         proceedings were meant to be excluded from the ambit of the UNCITRAL
         Model Law, much less that the purposes of the UNCITRAL Model Law would
         be undermined by the inclusion of such proceedings within its scope. We are
         therefore satisfied that even if the words “or adjustment of debt” were not added
         to Art 2(h) of the SG Model Law, and Art 2(a) of the UNCITRAL Model Law
         was adopted in its original form, it would not be contrary to the purpose of the
         UNCITRAL Model Law to extend its scope to include solvent companies.


         64     We would venture further to say that the Broad Approach and
         consequently, interpreting Art 2(h) of the SG Model Law as encompassing
         solvent proceedings within its ambit, is consistent with the overall purpose of
         the UNCITRAL Model Law. The UNCITRAL Model Law is designed to



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         provide a harmonised approach to the treatment of cross-border insolvency
         proceedings in national legal systems, to facilitate co-operation between courts
         and office holders involved in the same insolvency across different jurisdictions,
         to provide for the recognition of proceedings (and the consequences of such
         recognition), and to afford direct access by foreign representatives of such
         companies to the courts of the enacting state (Goode on Principles of Corporate
         Insolvency Law (Kristin van Zwieten gen ed) (Sweet & Maxwell, 5th Ed, 2018)
         (“Goode on Insolvency Law”) at para 16-16; see also 1997 Guide at paras 1–3
         and 2013 Guide at paras 1–3). To this end, one of the four key principles
         underlying the UNCITRAL Model Law is the co-operation and co-ordination
         principle, which obliges courts and insolvency representatives to communicate
         and co-operate in order to ensure that the debtor’s insolvency estate is
         administered fairly and efficiently, with a view to maximising benefits to
         creditors (The Judicial Perspective at para 14(d)). It appears to us, as the Judge
         noted (GD at [78]), that at least one of the fundamental objects of the
         UNCITRAL Model Law is to prevent creditors from rushing to satisfy their
         claims against a debtor company in a particular jurisdiction in order to gain an
         advantage over other creditors. This in turn ensures a sensible and orderly
         dissolution of a company or facilitates the successful rehabilitation of the
         company, as the case may be.


         65     While the concerns mentioned above arise predominantly in the context
         of an insolvent company whose assets are insufficient to satisfy the claims of
         all its creditors in full, solvent regimes and insolvent regimes are seldom
         mutually exclusive. A company undergoing a solvent, voluntary liquidation
         may subsequently need to come under the court’s supervision should it transpire
         that the company is insolvent. In such circumstances, the relevant legislation
         may provide for mechanisms to facilitate the transition between solvent and



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         insolvent regimes. For instance, pursuant to s 496(1)(a) of the Australian
         Corporations Act 2001 (Cth) (the “Australian Corporations Act”), where a
         liquidator is of the opinion that a company will not be able to pay or provide for
         the payment of its debts in full in accordance with the declaration of solvency
         filed by the company’s directors pursuant to s 494, the liquidator must, among
         other things, apply for the company to be wound up in insolvency. Relatedly,
         s 467B allows the court to order the winding up of a company even if the
         company is already being wound up voluntarily. Conversely, s 482 empowers
         the court to terminate a winding up. Indeed, it was against this backdrop that the
         court in Re Betcorp considered that companies had “the statutory ability to shift
         among various forms of dissolution given changing circumstances” under the
         Australian Corporations Act (see Re Betcorp at 279 and 282). To similar effect,
         s 124(1) of the Cayman Act and O 15 r 1 of the Cayman CWR oblige a liquidator
         to apply for an order that the solvent, voluntary liquidation of a company
         continues under the Cayman Grand Court’s supervision if the directors of the
         company fail to sign a declaration of solvency (see [7] above). In our judgment,
         the possibility of movement between solvent and insolvent regimes provides
         further support for adopting the Broad Approach. In view of the possibility that
         a proceeding concerning a solvent company might transition into one dealing
         with an insolvent entity, that proceeding should be regarded as one being
         conducted under a law relating to insolvency or adjustment of debt as long as
         the relevant law contains provisions dealing with insolvency or adjustment of
         debt.


         66      Furthermore, it bears reiterating a proceeding must satisfy other
         requirements to qualify as a foreign proceeding within the meaning of Art 2(h)
         of the SG Model Law. In our judgment, the purposes of the UNCITRAL Model
         Law identified above, in particular, to ensure the co-ordinated and orderly



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         dissolution or successful rehabilitation of a company, would be engaged in
         respect of a proceeding which satisfies these other requirements, even if the
         company in question is solvent. Specifically, Art 2(h) requires among other
         things that: (a) the proceeding in question must be collective in nature, which as
         we elaborate below at [104], means that the proceeding must involve all
         creditors of the debtor generally and deal with substantially all of the debtor’s
         assets and liabilities; (b) the property and affairs of the debtor must be subject
         to the foreign court’s control or supervision; and (c) the overall purpose of the
         proceeding must be the reorganisation or liquidation of a company. The sum
         effect of these requirements is to exclude from the scope of the SG Model Law
         certain types of private liquidations or restructurings commenced by individual
         creditors in respect of only part of company’s assets, simple proceedings such
         as striking a company off the register, and proceedings pertaining to the
         investigation of misappropriated corporate funds (see [105] below). Quite
         clearly, in such proceedings, the need for co-operation and co-ordination
         between creditors, office holders and courts in different jurisdictions simply
         does not arise.


         67     Conversely, where a proceeding involves all the creditors of a company
         and its assets and liabilities for the purpose of the company’s reorganisation or
         liquidation, and the company’s property and affairs are placed under the foreign
         court’s control or supervision, the importance of co-operation and co-ordination
         between the different stakeholders becomes paramount in securing an orderly
         dissolution and/or the successful rehabilitation of the company. Put simply,
         where the other requirements of Art 2(h) are satisfied, it seems to us that the
         rationale for according recognition of foreign proceedings would be engaged, at
         least to some degree, regardless of the solvency of the company in question.
         This is all the more so where the overall status of a company with transnational



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         operations may be solvent, while its branches may not be solvent within
         particular jurisdictions.


         68      For these reasons, we are satisfied that adopting the Broad Approach,
         and in consequence interpreting Art 2(h) of the SG Model Law as encompassing
         solvent proceedings in its ambit, would not contradict or undermine the
         underlying object of the UNCITRAL Model Law. On the contrary, such an
         approach coheres with the purposes of the UNCITRAL Model Law which we
         have identified at [64] above.


         The prevailing approach to the interpretation of the UNCITRAL Model Law

         69      A further factor that militates in favour of interpreting Art 2(h) of the
         SG Model Law as including proceedings concerning solvent companies is the
         desire to ensure that our interpretation of Art 2(h) of the SG Model Law is
         broadly harmonious with the approaches taken in other jurisdictions. Article 8
         of the SG Model Law mandates that in the interpretation of the SG Model Law,
         regard is to be had to its international origin and the need to promote uniformity
         in its application and the observance of good faith. In this regard, the court in
         Re Zetta noted at [38] that as far as possible, Singapore courts ought to attempt
         to “tack as closely as possible to the general interpretive trends taken in other
         jurisdictions that apply the Model Law in its various enactments”. It is
         noteworthy that in the majority of cases across various jurisdictions, courts have
         held that the scope of their respective adaptations of the UNCITRAL Model
         Law includes proceedings involving solvent companies. We set out the position
         in the US, the UK, Australia and New Zealand.




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         The position in the US

         70     We first consider the position in the United States. The equivalent of
         Art 2(h) of the SG Model Law in the US is s 101(23) of the US Bankruptcy
         Code, which provides:

                The term ‘foreign proceeding’ means a collective judicial or
                administrative proceeding in a foreign country, including an
                interim proceeding, under a law relating to insolvency or
                adjustment of debt in which proceeding the assets and affairs
                of the debtor are subject to control or supervision by a foreign
                court, for the purpose of reorganization or liquidation.

         71     The position in the US is encapsulated in the landmark decision in
         Re Betcorp, to which we have referred, and which concerned an application for
         recognition of Betcorp’s voluntary liquidation in Australia as a foreign
         proceeding under Chapter 15 of the US Bankruptcy Code. The US court held
         that there was no requirement for a company to be insolvent or contemplating
         the adjustment of any debts in order for a proceeding concerning that company
         to be regarded as being conducted under a law related to insolvency or the
         adjustment of debts. In particular, the court noted that the Australian
         Corporations Act “regulates the whole of the corporate life-cycle of an
         Australian corporation”, and that several sub-parts of Chapter 5 of the
         Australian Corporations Act (on External Administration) contain provisions
         that deal with corporate insolvency and allow for the adjustment of debts (Re
         Betcorp at 282). These facts, coupled with “the statutory ability to shift among
         various forms of dissolution given changing circumstances”, led the court to
         conclude that the Australian Corporations Act was a law related to insolvency
         or the adjustment of debt. On this basis, the US court held that Betcorp’s
         voluntary winding up, which was conducted under the Australian Corporations
         Act, was a proceeding conducted under a law relating to insolvency or
         adjustment of debt for the purposes of s 101(23) of the US Bankruptcy Code:



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         see Re Betcorp at 281–282). In other words, the position in the US is that the
         requirement that a proceeding be conducted under a law relating to insolvency
         or adjustment of debt would be satisfied as long as the law in question that
         contained the specific provision under which the proceeding was conducted also
         contains provisions dealing with insolvency or the adjustment of debt, even if
         those provisions are not implicated in the case at hand. This is what we have
         referred to above as the Broad Approach.


         72     Re Betcorp has attracted a degree of academic criticism. In Cross-
         Border Insolvency (Richard Sheldon QC gen ed) (Bloomsbury Publishing, 4th
         Ed, 2015) (“Sheldon on Cross-Border Insolvency”), it is noted at para 3.35 that
         although the members’ voluntary winding up in Re Betcorp was initiated under
         a body of law which included provisions for an insolvent liquidation, “that
         coincidence does not necessarily justify bringing within the UNCITRAL Model
         Law’s scheme of recognition and assistance a proceeding in relation to a solvent
         company, the purpose of which includes the return of a surplus to members”.
         Importantly, however, this is qualified by the observation that:

                Unless some specific modification is made to the UNCITRAL
                Model Law, it is arguable that there is no obvious justification
                for allowing creditors’ rights to be restrained by recognising a
                solvent liquidation as a foreign proceeding. [emphasis added]

         73     As an example of such a modification, the authors refer to s 101(23) in
         the context of Chapter 15 of the US Bankruptcy Code, which “modifies the
         UNCITRAL Model Law to enable recognition of a solvent scheme of
         arrangement”. In a similar vein, and as we have explained above at [37]–[46],
         the addition of the words “or adjustment of debt” to Art 2(h) of the SG Model
         Law was a deliberate modification of Art 2(a) of the UNCITRAL Model Law,
         which was meant to extend the scope of the SG Model Law to solvent
         companies.


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         74     The respondent also relies on the critique of Re Betcorp in Look’s
         Article, where it is suggested that the decision in Re Betcorp is open to question
         for a number of reasons. Those pertinent to the present appeal may be
         summarised as follows:

                (a)     The US Bankruptcy Court relied on the Australian version of the
                UNCITRAL Model Law to conclude that a members’ voluntary winding
                up was a “foreign proceeding” for the purposes of Chapter 15 of the US
                Bankruptcy Code. However, the US court appears to have overlooked
                the legislative history behind Australia’s adaptation of the UNCITRAL
                Model Law. In particular, the Commonwealth of Australia, Parliament,
                Cross-Border Insolvency: Corporate Law Economic Reform Program
                Proposals for Reform Paper No 8 (Discussion Paper, 2002) (“the
                CLERP Paper”) expressly states that the scope of the UNCITRAL
                Model Law as implemented in Australia would not extend to a members’
                voluntary winding up or a winding up by a court on just and equitable
                grounds as such proceedings may not be insolvency-related.

                (b)     The US Bankruptcy Court also considered that Australia’s
                Parliament viewed a voluntary winding up as a proceeding that is
                conducted under a law relating to insolvency under Australia’s version
                of the UNCITRAL Model Law. The US Bankruptcy Court had relied on
                the explanatory memorandum (the “Explanatory Memorandum”)
                accompanying the Cross-Border Insolvency Bill 2008 (Cth), which
                enacted the UNCITRAL Model Law in Australia. The Explanatory
                Memorandum identified “Chapter 5 (other than Parts 5.2 and 5.4A)” of
                the Australian Corporations Act as a law relating to insolvency. The US
                Bankruptcy Court thought it significant that Part 5.5 of Chapter 5 of the
                Australian Corporations Act, which governed the voluntary winding up


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                of a company, was not excluded from the description of laws relating to
                insolvency in the Explanatory Memorandum. However, it failed to
                appreciate the distinction between a members’ voluntary winding up
                (which is generally a solvent liquidation) and a creditors’ voluntary
                winding up (which is generally an insolvent liquidation). The fact that
                both forms of winding up are contained in Part 5.5 of Chapter 5 of the
                Australian Corporations Act, which was identified as a “law relating to
                insolvency”, did not necessarily mean that a members’ voluntary
                liquidation would fall within the ambit of Australia’s version of the
                UNCITRAL Model Law.

                (c)     Recognising a foreign members’ voluntary liquidation could
                entail an automatic stay on all litigation against the company. Yet, it is
                difficult to see why a proceeding primarily aimed at conferring benefit
                on shareholders should have the effect of impeding creditors from
                enforcing their rights against the company through litigation.


         75     In relation to the first two criticisms noted at [74(a)] and [74(b)] above,
         we accept that the US Bankruptcy Court in Re Betcorp may not have fully
         appreciated the legislative history behind Australia’s adoption of the
         UNCITRAL Model Law. However, as the Judge pointed out, the question
         before the US court in Re Betcorp was whether Betcorp’s voluntary liquidation
         was a “foreign proceeding” within the meaning of s 101(23) of the US
         Bankruptcy Code (GD at [139]). That is a question reserved for the recognising
         court which will determine this in accordance with its own application of the
         UNCITRAL Model Law. The US court is not bound by the way in which the
         foreign proceeding is characterised under Australian law (see Re Agrokor DD
         and in the matter of the Cross-Border Insolvency Regulations 2006 [2017] All
         ER (D) 83 (Nov) (“Re Agrokor”) at [34]). Furthermore, apart from Australia’s


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         adoption of the UNCITRAL Model Law and the Explanatory Memorandum,
         there was another key pillar underlying the US court’s conclusion that Betcorp’s
         voluntary liquidation was conducted under a law relating to insolvency or
         adjustment of debt. That was the fact that several sub-parts of Chapter 5 of the
         Australian Corporations Act contain provisions that deal with corporate
         insolvency and also allow for the adjustment of debt. Further, these also
         contemplated the possibility of shifting among various pathways to dissolution
         in the light of changing circumstances (see above at [71]). Therefore, even if the
         US court had misunderstood the Australian legislature’s intentions with regard
         to Australia’s version of the UNCITRAL Model Law, that is not an adequate
         reason not to adopt the approach in Re Betcorp. As to the suggestion that the
         court in Re Betcorp may have misunderstood the legislative intention behind
         Australia’s enactment of the UNCITRAL Model Law, we note that this is not
         how at least one Australian court has approached the question (see [90]–[91]
         below).


         76     As to the third criticism at [74(c)] above, such concerns may be
         adequately managed through the recognising court granting recognition subject
         to conditions. We address this point in more detail below at [96].


         77     We now consider other decisions of the US Bankruptcy Court. In Re
         ABC Learning Centres, the boards of an Australian Company (“ABC
         Learning”) and its wholly-owned subsidiary (“ABC Holdings”) resolved that
         the companies were likely to become insolvent and should enter voluntary
         administration pursuant to the Australian Corporations Act. Petitions were filed
         before the US Bankruptcy Court seeking recognition of the voluntary
         administration proceedings, which were subsequently converted by the
         creditors of the companies into liquidation proceedings. Endorsing Re Betcorp,
         the US court held that the liquidations of ABC Learning and ABC Holdings


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         were authorised or conducted under a law related to insolvency or the
         adjustment of debts for the purposes of s 101(23) of the US Bankruptcy Code,
         as numerous subsections within the Australian Corporations Act address
         corporate insolvency and the adjustment of corporate debt (see Re ABC
         Learning Centres at 331). Importantly, in determining that the Australian
         Corporations Act was a law related to insolvency or the adjustment of debts, the
         court did not consider the companies’ solvency or financial status.


         78     In Re Manley Toys, a Hong Kong company entered into voluntary
         liquidation in Hong Kong in the face of ongoing litigation, including a pending
         sanctions motion in a US court in connection with a judgment debt owed by the
         company, and alleged declining sales. The voluntary liquidation was
         commenced under the Companies (Winding Up and Miscellaneous Provisions)
         Ordinance (Cap 32) (HK) (the “CWMPO”), which both parties’ experts on
         Hong Kong insolvency law agreed set forth the framework for liquidating a
         company. The US Bankruptcy Court determined that the voluntary liquidation
         was conducted under a law related to insolvency or adjustment of debts (see Re
         Manley Toys at 638 and 643). As was the case in Re Betcorp and Re ABC
         Learning Centres, the solvency status of the company was not a relevant
         consideration in the court’s decision that the Hong Kong proceeding was
         conducted under a law related to insolvency or adjustment of debts.


         79     The respondent relies on In re Global Cord Blood Corporation 2022
         WL 17478530 (SD New York US Bankruptcy Court) (“Re Global Cord”), to
         contend that even though the court in that case adopted the Broad Approach, the
         decision illustrates that courts in the US would nonetheless consider whether a
         foreign proceeding concerns an insolvent or severely financially distressed
         company in determining whether to grant recognition under Chapter 15 of the
         US Bankruptcy Code. In our judgment, the respondent’s reliance on Re Global


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         Cord is misplaced. The US Bankruptcy Court accepted that the relevant
         Cayman proceeding was brought under the “just and equitable” ground for
         winding up with the purpose of preventing corporate misconduct, and not under
         the insolvency provisions of the Cayman Act (Re Global Cord at 3 and 12). It
         then went on to conclude that the Cayman proceeding was not a “foreign
         proceeding” as was required for Chapter 15 recognition because the Cayman
         proceeding was neither collective nor for the purpose of reorganisation or
         liquidation within the meaning of s 101(23) of the US Bankruptcy Code (Re
         Global Cord at 8–9 and 12–13).


         80     What is material is that notwithstanding that the Cayman proceeding
         was not brought under the insolvency provisions of the Cayman Act, the US
         Bankruptcy Court in Re Global Cord opined that the Cayman Act satisfied the
         definitional requirement of a “law relating to insolvency or adjustment of debt”.
         Importantly, the court’s observation that the purpose of Chapter 15 was to assist
         foreign courts dealing with “insolvency” was made in the limited context of
         explaining the case law’s focus on the role and impact of creditors in
         determining whether a proceeding is “collective”. The court did not, however,
         hold that the solvency status of a company would bear on its decision to grant
         recognition under Chapter 15. The court in fact expressly affirmed the decision
         in Re Betcorp, observing (at 9):

                The relevant test is not whether the currently pending
                proceeding concerns insolvency or adjustment of [debt], or even
                whether the current proceeding in some sense relates to those
                objectives, but rather whether the proceeding is being brought
                under a ‘law’ that ‘relat[es] to’ insolvency or adjustment of debt.
                Further, section 101(23) is to be ‘broadly construed.’ … This
                guidance counsels against an unduly grudging application of
                this flexibly worded test by narrowly examining whether the
                specific subsections of the governing Cayman statutory scheme
                that are presently being applied redress insolvency or creditor
                rights.




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         81     On the court’s observation that the foreign proceeding was neither
         “collective” nor “for the purpose of reorganization or liquidation” as the law
         requires, it was found on the facts of the case that the Cayman proceeding fell
         outside the range of matters that Chapter 15 was designed to address. In
         delineating the limits of this range of matters, the court should examine all the
         criteria spelt out in the relevant provision – in our context, Art 2(h) of the SG
         Model Law – without being fixated on the solvency status of the relevant
         company.


         The position in the UK

         82     The UK equivalent of Art 2(h) of the SG Model Law is Art 2(i) of
         Schedule 1 to The Cross-Border Insolvency Regulations 2006 (SI 2006
         No 1030) (UK) (respectively, “Art 2(i) of the UK Model Law” and the “CBIR”),
         which defines a “foreign proceeding” as:

                [A] collective judicial or administrative proceeding in a foreign
                State, including an interim proceeding, pursuant to a law
                relating to insolvency in which proceeding the assets and affairs
                of the debtor are subject to control or supervision by a foreign
                court, for the purpose of reorganisation or liquidation[.]

         83     In Re Stanford International Bank Ltd and others [2009] EWHC 1441
         (Ch) (“Re Stanford (HC)”), a company (“SIB”) was liquidated by the court in
         Antigua and Barbuda pursuant to s 300 of the International Business
         Corporations Act (Cap 222) (Antigua and Barbuda) (the “IBCA”), and
         liquidators were appointed pursuant to ss 304–306 of the IBCA. Section 300 of
         the IBCA pertained to the liquidation and dissolution of companies under the
         supervision of the court where the company had failed to comply with
         regulatory requirements. Lewison J found that the liquidators of SIB were
         appointed pursuant to a law relating to insolvency, notwithstanding that




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         insolvency did not feature as a ground under s 300 of the IBCA. In particular,
         he observed at [94]:

                It is, in my judgment, clear from the court’s order and the
                judgment of [the court in Antigua and Barbuda] that it was not
                basing the order on section 300 alone. It made the order
                because, having considered the evidence, it concluded that it
                was just and equitable that SIB be wound up. An important part
                of the evidence was that SIB was insolvent and could not be
                reorganised via the receivership. In my judgment at least one of
                the reasons why [the judge in Antigua and Barbuda] made the
                order that he did was that he was satisfied that SIB was
                insolvent. [emphasis added]

         84     On appeal in Re Stanford (CA), the Court of Appeal (“EWCA”) came to
         the same conclusion as Lewison J albeit for slightly different reasons. The
         EWCA held that for the purposes of the definition of “foreign proceeding”
         under the Art 2(i) of the UK Model Law, it was necessary to start by identifying
         the law under which the relevant proceedings had been brought and was being
         pursued, before considering whether that law related to insolvency and whether
         in the light of the other factors to which the definition referred, the proceeding
         could be regarded as being brought “pursuant” to that law (Re Stanford (CA) at
         [24], per Sir Andrew Morritt C). Applying this approach, the EWCA identified
         Part IV of the IBCA as the law under which SIB’s liquidation proceedings had
         been brought, and held that Part IV was a law relating to insolvency because it
         “provided for the winding up of corporations incorporated in Antigua for the
         purpose of carrying on an international trade or business on just and equitable
         grounds, which included insolvency, as well as infringements of regulatory
         requirements” (Re Stanford (CA) at [15]). A key point to note is that in Re
         Stanford (CA), the insolvency of the company was not taken into account in
         determining whether the company’s liquidation was conducted under a law
         relating to insolvency. Instead, the focus was on whether insolvency was one of
         the grounds for winding up within Part IV of the IBCA.



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         85     In Re Agrokor, a court in Croatia ordered the extraordinary
         administration of a company incorporated in Croatia (“Agrokor DD”), under the
         Law on Extraordinary Administration Proceeding in Companies of Systemic
         Importance for the Republic of Croatia (the “Extraordinary Administration
         Law”). The High Court of England and Wales held that the Extraordinary
         Administration Law was a law relating to insolvency for the purposes of the
         CBIR (Re Agrokor at [77]). In particular, having examined the relevant case law
         in the US, the UK and Australia, the court observed (at [63] and [73]):

                63.     From these authorities and guides to interpretation, it
                is clear that the requirement that the law under which the
                proceeding is brought be ‘an insolvency law’ is satisfied if
                insolvency is one of the grounds on which the proceeding can be
                commenced, even if (as in Re Betcorp) insolvency could not
                actually be demonstrated, and there was another basis for
                commencing the proceeding. The matter is obviously all the
                clearer if insolvency can indeed be demonstrated.
                …
                73.     It is clear that the test applied [by the courts in Belgrade
                and Montenegro] for a law relating to insolvency is whether
                under the law concerned there must necessarily be insolvency
                shown in relation to all the companies concerned. That is far
                from the test applied in the ‘common law’ cases discussed
                above, where it was accepted that a law could be a law relating
                to insolvency if insolvency was one of the grounds on which a
                proceeding could be brought. Indeed, in [Re Betcorp], the
                evidence was that the company subject to members’ voluntary
                winding up was in fact solvent. But insolvency would have been
                a basis for such a winding up, as it was in [Re Stanford]. In my
                judgment I should not reject the wider approach of those
                common law cases in favour of the narrower one adopted by the
                courts of Belgrade and Montenegro. …
                [emphasis in original omitted; emphasis added in italics]

         86     Nevertheless, the court also considered that the extraordinary
         administration of Agrokor DD could only be commenced on grounds of
         insolvency or impending insolvency, whether proved or deemed (at [68]), and




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         that there was evidence that Agrokor DD was in a state of serious financial
         distress (at [69]).


         87      It appears to us, based on these cases, that to this point, the position in
         the UK with respect to the interpretation of Art 2(i) of the UK Model Law is
         broadly aligned with the US position. It is true that in these cases, the courts
         have also considered the insolvency and/or financially distressed state of the
         relevant companies. However, it seems to us that the most that can be said is
         that where the proceedings can be opened on multiple grounds, only some of
         which relate to insolvency, the proceedings would nonetheless clearly fall
         within the scope of the UK Model Law if they were opened on an insolvency-
         related ground or where an anticipation of insolvency might have influenced the
         decision to open proceedings on some other ground (see Goode on Insolvency
         Law at para 16-29). It is also apparent that in these cases, the inquiry into the
         solvency of the company was not a necessary step in coming to a decision on
         whether to accord recognition to the “foreign proceeding” under Art 2(i) of the
         UK Model Law.


         88      Against the weight of these cases, the High Court in Re Sturgeon
         declined to follow the US position. In Re Sturgeon, a solvent Bermuda-
         registered company (“Sturgeon Ltd”) was wound up in Bermuda on the just and
         equitable ground under s 161(g) of the Bermuda Companies Act 1981 (the
         “Bermuda Companies Act”). Notably, s 161(e) of the Bermuda Companies Act
         provided that a company may be wound up if it is unable to pay its debts (see
         Re Sturgeon at [9]). The liquidators obtained an ex parte order recognising the
         Bermudan liquidation in the UK, and the applicant, a former director of the
         company, applied to terminate the recognition order. An issue which the High
         Court had to determine was whether the solvent liquidation of Sturgeon Ltd on
         the just and equitable ground was a “foreign proceeding” within the meaning of


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         Art 2(i) of the UK Model Law. After undertaking a review of the Working
         Group’s reports and preparatory papers, the High Court answered that question
         in the negative. In arriving at that conclusion, the court observed that the
         Working Group’s reports were focused on “the need to recognise and provide
         relief upon recognition of foreign proceedings, that concerned debtors that
         either could not pay their debts or were struggling to pay their debts and seeking
         to reorganise” (Re Sturgeon at [70]). It was therefore thought to be contrary to
         the purpose and object of the UNCITRAL Model Law to interpret “foreign
         proceeding” as including proceedings that concerned solvent companies and
         proceedings that have the purpose of producing a return to members and not
         creditors (Re Sturgeon at [117]). The court criticised Re Betcorp as having made
         a wrong turn by recognising as a foreign proceeding the liquidation of a
         company which was neither insolvent nor in severe financial distress (see Re
         Sturgeon at [121]).


         89      With respect, we do not agree with the criticisms levelled in Re Sturgeon
         against Re Betcorp. We accept, as we have already said, that the UNCITRAL
         Model Law was primarily focused on companies that are insolvent or in severe
         financial distress and was not drafted to deal specifically with solvent
         companies. However, as we explained above at [55]–[63], we do not think that
         it would be contrary to the purpose and object of the UNCITRAL Model Law
         to extend the scope of the UNCITRAL Model Law to proceedings concerning
         solvent companies. Indeed, as we have also explained at [64]–[68] above and as
         we will explain at [97] below, there are good reasons for construing the
         UNCITRAL Model Law as having this effect both as a matter of principle and
         practicality.




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         The position in Australia

         90      The position in Australia is also aligned with the position in the US. In
         Re Chow Cho Poon (Private) Ltd (2011) 80 NSWLR 507 (SC, NSW), a
         Singapore-incorporated company (“CCP”) was ordered to be wound up
         pursuant to s 254(1)(i) of the Singapore Companies Act (Cap 50, 2006 Rev Ed)
         (the “Companies Act 2006”) on the just and equitable ground. The Supreme
         Court of New South Wales (“NSWSC”) acknowledged at [40] that intuitively,
         the Singapore winding-up proceeding was not a proceeding “pursuant to a law
         relating to insolvency” as it was not the inability of CCP to pay its debts as they
         fell due that constituted the ground on which the Singapore court ordered that
         the company be wound up. Nevertheless, the NSWSC, endorsing the
         approaches taken in Re Stanford (HC), Re Stanford (CA), Re ABC Learning
         Centres and Re Betcorp, went on to observe at [51]:

                 These English and American decisions point to a clear basis on
                 which the whole of the Singapore Companies Act or, at the least,
                 the whole of its winding up provisions might be classified as ‘a
                 law relating to insolvency’, even though the particular winding
                 up was ordered on the just and equitable ground alone and, so
                 far as this court has been told, without any finding (express or
                 implied) of insolvency. [emphasis added]

         91      The NSWSC accordingly found that the winding up of CCP in
         Singapore was a “foreign proceeding” under Art 2(a) of sch 1 to the Australian
         Cross-Border Insolvency Act 2008 (Cth) (which is in pari materia with Art 2(i)
         of the UK Model Law), without giving further consideration to whether CCP
         was in fact insolvent or in financial distress.


         The position in New Zealand

         92      So too is the position in New Zealand broadly consistent with the US
         position in that the solvent status of a company does not exclude proceedings



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         concerning that company from the scope of the Insolvency (Cross-Border) Act
         2006 (NZ) (the “NZ Cross-Border Insolvency Act”). In ANZ National Bank Ltd
         v Sheahan and Lock [2013] 1 NZLR 674 (“ANZ National Bank”), several
         Australian companies were placed into liquidation by creditors’ resolutions. The
         liquidation in Australia produced a surplus after all the creditors had been paid,
         meaning that the Australian companies were solvent. The liquidators
         subsequently applied under the NZ Cross-Border Insolvency Act for an order
         that an employee of a bank which had financed the Australian companies attend
         for examination and produce documents on matters relating to the Australian
         companies. The bank opposed the application, arguing that the NZ Cross-
         Border Insolvency Act was not intended for use by foreign representatives of a
         solvent company. This submission was rejected by the Auckland High Court,
         which observed at [104]:

                … [W]hile the administration of the Australian liquidations
                happens to have produced a surplus, it remains appropriate to
                characterise the regime as a ‘collective … proceeding …
                pursuant to a law relating to insolvency’. … The purpose [of a
                winding up] is ‘to ensure that an orderly regime is imposed
                upon all interested parties to that none of them individually
                may enhance his position by exploiting some fortuitous
                circumstance which may yield an unfair advantage …’

         Practical concerns

         93     Finally, we address the practical concerns that may arise if proceedings
         concerning solvent companies were included within the scope of the SG Model
         Law pursuant to the Broad Approach. This was alluded to by the Judge and by
         the respondent.


         94     The Judge observed that the Broad Approach “subordinates substance
         entirely to form” because under the Broad Approach, any type of proceeding,
         no matter how far removed it may be from any connection to insolvency, would



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         be a proceeding under a law relating to insolvency within the meaning of
         Art 2(h) of the SG Model Law simply because that proceeding is commenced
         under a provision which happens to be found in a statute which deals generally
         with insolvency. The Judge raised as an example an applicant who has secured
         relief under s 216(2)(c) of the Companies Act 2006 to commence civil
         proceedings in the name of and on behalf of the company, noting the absurdity
         of categorising such a proceeding as a “foreign proceeding” under Art 2(h)
         simply because the Companies Act 2006 also contained provisions dealing with
         corporate insolvency (see the GD at [59]–[61]). In our judgment, the Judge’s
         concerns are adequately addressed by the safeguards present in the other
         elements of Art 2(h). As the Judge noted at [62], and as was accepted by counsel
         for the respondent during the hearing before us, proceedings conducted under
         s 216 of the Companies Act 2006 would not be collective proceedings within
         the meaning of Art 2(h) of the SG Model Law since such proceedings do not
         deal with all of the company’s creditors collectively. We elaborate below at
         [102]–[107] on the requirement that the foreign proceeding must be collective
         and whether Ascentra’s Cayman Liquidation counts as such a proceeding. Aside
         from this, we reiterate the point we have made at [29] above that there are at
         least five criteria that must be met for a proceeding to come within Art 2(h).
         Accordingly, the concern that any type of proceeding, no matter how
         disconnected it may be from insolvency, may be brought into the ambit of
         Art 2(h) seems to us to be somewhat overstated.


         95     Relatedly, the respondent submits that adopting the Broad Approach
         “open[s] [the] floodgates for recognition and assistance applications”, which
         would allow solvent companies to take advantage of the SG Model Law and
         create absurd outcomes. In particular, it is suggested that:




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                (a)     The Broad Approach would result in an automatic moratorium
                being granted to solvent companies if proceedings concerning such
                companies are recognised as foreign main proceedings (see Art 20(1) of
                the SG Model Law). However, there is no justification for providing a
                moratorium to a solvent company, especially when doing so would
                afford the company a shield against litigation that they would not
                otherwise be entitled to.

                (b)     The recognition of a foreign proceeding as a foreign main
                proceeding would give rise to a presumption of insolvency under Art 31
                of the SG Model Law. This may lead to the absurd outcome where a
                solvent company is presumed to be insolvent for the purpose of
                commencing secondary proceedings under Singapore insolvency law,
                and would allow the solvent company to sidestep legislative
                requirements that would otherwise apply to it.


         96     In our view, the policy concerns raised by the respondent are overstated.
         In relation to the risk of a moratorium being granted to a solvent company,
         Art 20(6) of the SG Model Law expressly provides that the court may, on the
         application of the foreign representative or a person affected by the moratorium,
         or of its own motion, modify or terminate such stay and suspension or any part
         of it, either altogether or for a limited time, on such terms and conditions as the
         court thinks fit. It is thus clear that the Singapore courts may recognise a foreign
         proceeding as a foreign main proceeding without an accompanying moratorium
         necessarily being maintained. This would prevent the legitimate claims of
         creditors against a solvent company from being unfairly stymied. As to the
         respondent’s argument regarding the presumption of insolvency, this can be
         dealt with quickly. The presumption of insolvency in Art 31 of the SG Model
         Law is expressly qualified by the words “[i]n the absence of evidence to the


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         contrary”. It is therefore inconceivable that a company which has been proved
         to be solvent would nonetheless be able to invoke the presumption of insolvency
         under Art 31 of the SG Model Law.


         97     On the contrary, we agree with the appellants’ submission that imposing
         a requirement that the subject company must be either insolvent or in severe
         financial distress may introduce some measure of complexity at the recognition
         stage. Assuming for the moment that the Judge was correct in holding that
         recognition would only be granted to foreign proceedings involving insolvent
         companies, and “insolvency” is to be determined having regard to the law of the
         foreign State in which the foreign proceeding was commenced (see the GD at
         [48]), that would require the Singapore court to determine whether the subject
         company is insolvent or in severe financial distress under the law of the foreign
         State. In other words, the applicant for recognition must be prepared, at the time
         of presentation of the petition for recognition, to prove the insolvency or severe
         financial distress of the subject company under the relevant foreign law. This
         may require that in contested cases, evidence be adduced not only as to the
         financial status of the company but conceivably as to foreign law (see Pacific
         Recreation Pte Ltd v S Y Technology Inc and another appeal [2008] 2 SLR(R)
         491 at [54]). In our view, introducing such requirements at the recognition stage
         would be undesirable. On this, we agree with Mr Lee’s suggestion that a light
         threshold should be imposed for recognition, which can then be tempered by
         granting recognition or relief subject to the imposition of appropriate conditions.


         Conclusion on the first issue

         98     We are therefore satisfied that there is no requirement under the SG
         Model Law for a company to be insolvent or in severe financial distress before
         a proceeding concerning that company may be recognised as a foreign



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         proceeding under the SG Model Law. For this reason, we agree with the
         appellants that the approach taken in Re Betcorp towards the interpretation of
         the words “law relating to insolvency or adjustment of debt” (ie, the Broad
         Approach) should be adopted in Singapore. Interpreting Art 2(h) of the SG
         Model Law in that manner better coheres with its ordinary meaning and reflects
         Parliament’s intention to include proceedings concerning solvent companies
         within the scope of the SG Model Law. We are also satisfied that such an
         interpretation does not undermine, and is indeed consistent with, the overall
         purpose of the UNCITRAL Model Law.


         99     To reiterate, under the Broad Approach, the requirement that a
         proceeding be conducted “under a law relating to insolvency or adjustment of
         debt” within the meaning of Art 2(h) will be satisfied as long as the law or the
         relevant part of the law under which the relevant proceeding is conducted
         includes provisions dealing with the insolvency of a company or the adjustment
         of its debts. It will generally be irrelevant that the company concerned in the
         relevant proceeding is not insolvent or in severe financial distress.


         100    We turn to consider whether Ascentra’s Cayman Liquidation is a
         proceeding being conducted under a law relating to insolvency or adjustment of
         debt for the purposes of Art 2(h) of the SG Model Law. Ascentra’s Cayman
         Liquidation had begun as a voluntary winding up commenced pursuant to a
         shareholders’ resolution, the requirements of which are prescribed by s 116(c)
         of the Cayman Act. That provides that a company may be wound up voluntarily
         if it so resolves by special resolution. Ascentra’s Cayman Liquidation was
         subsequently brought under the supervision of the Cayman Grand Court
         pursuant to s 124(1) of the Cayman Act (see [8] above).




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         101    Both ss 116(c) and 124(1) of the Cayman Act are contained within
         Part V of the Cayman Act, titled “Winding up of Companies and Associations”.
         Part V of the Cayman Act also contains other provisions that indisputably deal
         with the insolvency or adjustment of debt of a company. For instance, s 92 of
         the Cayman Act sets out the circumstances in which a company may be wound
         up by the court, which includes the situation where the company is unable to
         pay its debts (see s 92(d) of the Cayman Act). The Cayman Act also contains
         provisions dealing with arrangements and reconstructions. Section 86 of the
         Cayman Act provides that the company may compromise with its creditors and
         members, while s 87 of the Cayman Act sets out provisions for facilitating the
         reconstruction and amalgamation of companies. Applying the approach set out
         at [98] and [99] above, we are satisfied that the Cayman Act is a law relating to
         insolvency or adjustment of debt. It follows that Ascentra’s Cayman
         Liquidation, which is being conducted pursuant to provisions of the Cayman
         Act, is a proceeding being conducted under a law relating to insolvency or
         adjustment of debt for the purposes of Art 2(h) of the SG Model Law.


         Whether Ascentra’s Cayman Liquidation is a collective proceeding

         102    The next issue is whether Ascentra’s Cayman Liquidation is a collective
         proceeding within the meaning of Art 2(h) of the SG Model Law. Before the
         Judge, the parties accepted and proceeded on the basis that the Cayman
         proceeding was a collective proceeding. It is therefore not surprising that this
         point was not pursued by the respondent in its written submissions. However,
         during the hearing before us, Mr Kumar took a different stance and informed us
         that the respondent was not prepared to concede that Ascentra’s Cayman
         Liquidation is a collective proceeding. Mr Lee did not object to Mr Kumar’s
         withdrawal of his earlier concession.




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         103    The respondent’s argument in this regard is contingent on its argument
         that Parliament did not intend for the SG Model Law to extend to proceedings
         involving solvent companies. However, for the reasons we have explained at
         [37]–[46] above, it is clear to us that Parliament had in fact modified Art 2(h)
         the SG Model Law to include proceedings concerning solvent companies within
         the scope of the SG Model Law.


         104    In any event, the respondent has not pointed to any authority or material
         which suggests that a proceeding such as the present is not a collective
         proceeding for the purposes of the UNCITRAL Model Law just because it
         concerns a solvent company. The relevant principles and authorities concerning
         the requirement of a proceeding being collective were set out by this court in
         United Securities at [55]–[62] and may be summarised as follows:

                (a)       For a proceeding to be collective, it must concern all creditors of
                the debtor generally, in contrast to, for instance, one that is instigated at
                the request, and for the benefit, of a single secured creditor (Cross-
                Border Insolvency: A Commentary on the UNCITRAL Model Law (Look
                Chan Ho gen ed) (Globe Law and Business Publishing, 4th Ed, 2017) at
                p 178).

                (b)       In evaluating whether a proceeding is collective, a key
                consideration is whether substantially all of the assets and liabilities of
                the debtor are dealt with in the proceeding, subject to local priorities and
                statutory exceptions, and to local exclusions relating to the rights of
                secured creditors (2013 Guide, part two at para 70).


         105    In Re Betcorp, the US Bankruptcy Court similarly observed that a
         collective proceeding is one which considers the rights and obligations of all



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         creditors. On that basis, the US court held that the voluntary liquidation of
         Betcorp in Australia was a collective proceeding (Re Betcorp at 281). Re
         Betcorp may be contrasted with Re Global Cord, where the Cayman Grand
         Court appointed Joint Provisional Liquidators (“JPLs”) as fiduciaries to, among
         other things, investigate and potentially recover allegedly misappropriated
         corporate funds. The JPLs sought recognition of the proceedings under
         Chapter 15 of the US Bankruptcy Code. The US court refused recognition,
         finding that the Cayman proceeding was not a collective proceeding because it
         did not involve all of the creditors of the company, which is the “main
         definitional hallmark” of a collective proceeding within meaning of s 101(23)
         of the US Bankruptcy Code (Re Global Cord at 7–9).


         106    Applying these principles to the present case, we are satisfied that
         Ascentra’s Cayman Liquidation is a collective proceeding within the meaning
         of Art 2(h) of the SG Model Law. Ascentra’s Cayman Liquidation is subject to
         various provisions in the Cayman Act that are concerned generally with the
         rights of all of Ascentra’s creditors. For instance, ss 140(1) and 140(2) of the
         Cayman Act provide:

                Distribution of the company’s property
                140. (1) Subject to subsection (2), the property of the company
                shall be applied in satisfaction of its liabilities pari passu and
                subject thereto shall be distributed amongst the members
                according to their rights and interests in the company.
                (2) The collection in and application of the property of the
                company referred to in subsection (1) is without prejudice to
                and after taking into account and giving effect to the rights of
                preferred and secured creditors and to any agreement between
                the company and any creditors that the claims of such creditors
                shall be subordinated or otherwise deferred to the claims of any
                other creditors and to any contractual rights of set-off or netting
                of claims between the company and any person or persons
                (including without limitation any bilateral or any multi-lateral
                set-off or netting arrangements between the company and any



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                 person or persons) and subject to any agreement between the
                 company and any person or persons to waive or limit the same.

         107     Moreover, the Liquidators were appointed by the Cayman Grand Court
         as the joint official liquidators of Ascentra. In this connection, ss 110(1)(a) and
         110(1)(b) of the Cayman Act prescribe that the function of an official liquidator
         is to: (a) collect, realise and distribute the assets of the company to its creditors
         and, if there is a surplus, to the persons entitled to it; and (b) report to the
         company’s creditors and contributories upon the affairs of the company and the
         manner in which it has been wound up. In the premises, we are satisfied that the
         voluntary liquidation of Ascentra is one which concerns all of Ascentra’s
         creditors generally and therefore qualifies as a collective proceeding under
         Art 2(h) of the SG Model Law.


         Whether Ascentra’s Cayman Liquidation is being conducted for the
         purpose of reorganisation or liquidation

         108     We deal next with the respondent’s contention that Ascentra’s Cayman
         Liquidation is not being conducted for the purpose of reorganisation or
         liquidation within the meaning of Art 2(h) of the SG Model Law. The
         respondent chiefly relies on para 35 of part one of the Legislative Guide (which
         is a document intended by the UNCITRAL to be used as a reference by national
         authorities and legislative bodies when preparing or reviewing laws and
         regulations which address the financial difficulty of debtors):

                 35.     There are a number of legal and economic justifications
                 for liquidation. Broadly speaking, it can be argued that a
                 commercial business that is unable to compete in a market
                 economy should be removed from the marketplace. A principal
                 identifying mark of an uncompetitive business is one that
                 satisfies one of the tests of insolvency, that is, it is unable to
                 meet its mature debts as they become due or its debts exceed
                 its assets. More specifically, the need for liquidation
                 proceedings can be viewed as addressing inter-creditor
                 problems (when an insolvent debtor’s assets are insufficient to



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                meet the claims of all creditors it will be in a creditor’s own best
                interests to take action to recover its claim before other
                creditors can take similar action) and as a disciplinary force
                that is an essential element of a sustainable debtor-creditor
                relationship. …

         On this basis, the respondent argues that “liquidation” within the meaning of the
         UNCITRAL Model Law was intended to refer to insolvent liquidation, and
         Ascentra’s solvent liquidation therefore did not satisfy this requirement.


         109    For the reasons set out at [37]–[99] above, we have concluded that the
         SG Model Law extends to the recognition of foreign proceedings concerning
         solvent companies. That being the case, interpreting the word “liquidation” in
         Art 2(h) as being limited to insolvent liquidations, as the respondent suggests,
         would be incompatible with our conclusion.


         110    In any event, we do not accept the respondent’s submission that the
         passage from the Legislative Guide that we have reproduced above shows that
         the UNCITRAL Model Law was intended to be limited to proceedings
         concerning insolvent liquidations. The passage in the Legislative Guide relied
         upon by the respondent states that one of the justifications for liquidating a
         company is its inability to compete in a market economy, which is evidenced
         by its insolvency. As the appellants rightly point out, that passage does not deal
         specifically with the UNCITRAL Model Law, let alone state that the word
         “liquidation” in Art 2(a) of the UNCITRAL Model Law was intended to refer
         only to insolvent liquidations.


         111    In the premises, we hold that Ascentra’s Cayman Liquidation was
         conducted for the purpose of liquidation within the meaning of Art 2(h) of the
         SG Model Law.




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         Whether the Singapore courts have jurisdiction to recognise Ascentra’s
         Cayman Liquidation

         112    Finally, we turn to consider whether the Singapore courts have
         jurisdiction to recognise Ascentra’s Cayman Liquidation. Pursuant to
         Art 4(2)(a)(ii) of the SG Model Law, such jurisdiction will be established if the
         debtor has property situated in Singapore. Section 2(1) of the IRDA defines
         “property” broadly as: (a) money, goods, things in action, land and every
         description of property, wherever situated; and (b) obligations and every
         description of interest, whether present or future or vested or contingent, arising
         out of or incidental to property.


         113    The appellants submit that the following constitute property situated in
         Singapore within the meaning of Art 4(2)(a)(ii) of the SG Model Law: (a) legal
         and/or equitable claims against the respondent and Scuderia Bianco; (b) retainer
         fees paid to its solicitors; and (c) shares in a Singapore-incorporated company,
         Interush (Singapore) Pte Ltd (“Interush”), which are held by Ascentra. The
         respondent does not dispute that Ascentra holds shares in Interush, nor that such
         shares constitute property situated in Singapore. Indeed, the respondent appears
         to have conceded in its submissions in the proceedings below that Ascentra’s
         shares in Interush constitute property for the purposes of Art 4(2)(a)(ii) of the
         SG Model Law. That alone suffices to found jurisdiction in Singapore to
         recognise Ascentra’s Cayman Liquidation under Art 17 of the SG Model Law.
         In the circumstances, it is unnecessary for us to determine whether Ascentra’s
         legal and/or equitable claims against the respondent and Scuderia Bianco and/or
         the legal fees paid by Ascentra to its solicitors also constitute property within
         the meaning of Art 4(2)(a)(ii) of the SG Model Law.




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         Conclusion

         114    For these reasons, we are satisfied that Ascentra’s Cayman Liquidation
         qualifies as a “foreign proceeding” within the meaning of Art 2(h) of the SG
         Model Law. In particular, we are satisfied that Ascentra’s Cayman Liquidation:
         (a) is a collective proceeding; (b) is being conducted under a law relating to
         insolvency or adjustment of debt; and (c) has as its purpose the liquidation of
         Ascentra. In addition, we are satisfied that we have jurisdiction to recognise
         Ascentra’s Cayman Liquidation pursuant to Art 4(2)(a)(ii) of the SG Model
         Law.


         115    As we have found the requirements for recognition under Art 17 of the
         SG Model Law to be fulfilled, we are obliged to recognise Ascentra’s Cayman
         Liquidation as a foreign main proceeding in Singapore under Art 17 of the SG
         Model Law (see [27] above). We therefore allow the present appeal. However,
         we will hear the parties on the question of whether the recognition of Ascentra’s
         Cayman Liquidation should be made subject to any conditions and give
         permission to the parties to make submissions on this within 14 days of the date
         of this judgment if they wish to seek the imposition of any conditions. If this is
         sought by either party, then the other party shall have 14 days to respond.


         116    We award costs to the appellants fixed at $60,000 (inclusive of
         disbursements), this reflecting the position of both parties in their costs




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         submissions as to the appropriate quantum of costs. The usual consequential
         orders are to apply.




         Sundaresh Menon                          Stteven Chong
                                                  Steven
         Chief Justice                            Justice of the Court of Appeal




         Belinda Ang Saw Ean
         JJustice
             ti off the
                    th Court
                        C t off Appeal
                                A




                          Lee Eng Beng SC and Yeo En Fei Walter (Rajah & Tann Singapore
                            LLP) (instructed), Han Guangyuan Keith and Angela Phoon Yan
                                                Ling (Oon & Bazul LLP) for the appellants;
                          Balakrishnan Ashok Kumar, Gloria Chan Hui En, Stanley Tan Sing
                                Yee and Shreya Prakash (BlackOak LLC) for the respondent.




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                                                             Supreme Court Singapore
